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                     EXHIBIT B
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              IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,               )
                                         )
Plaintiffs,                              )
                                         )   Case No. 16-2105-JAR-JPO
v.                                       )
                                         )
SCOTT SCHWAB, in his official capacity   )
as Secretary of State for the State of   )
Kansas,
                                         )
              Defendant.                 )
                                         )



        DECLARATION OF NEIL A. STEINER IN SUPPORT OF PLAINTIFFS’
       APPLICATION FOR ATTORNEYS’ FEES AND LITIGATION EXPENSES
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        I, Neil A. Steiner, declare pursuant to 28 U.S.C. § 1746 as follows:

        1.     I am a member of the law firm Dechert LLP (“Dechert”), one of Plaintiffs’

counsel in the above-captioned matter, and work in the firm’s office in New York, New

York. I joined Dechert in January 2005 as an associate and became a partner on January 1,

2006. I have had overall responsibility for Dechert’s representation of Plaintiffs since the

inception of this case in 2015. I respectfully submit this Declaration in support of Plaintiffs’

Application for Attorneys and Litigation Expenses (“Fee Petition”).

        2.     In accordance with Dechert’s standard practices, I contemporaneously recorded

the time I spent on this action, which my assistant or our word processing department entered

into Dechert’s electronic billing system. Other lawyers, paralegals, summer associates, and

other timekeepers at Dechert are likewise required to record their time spent on client matters

contemporaneously and to enter or cause their assistants or our word processing department to

enter accurate time records and descriptions of work performed in the Dechert billing system.

        3.     During the course of Dechert’s representation of Plaintiffs in this matter, and

excluding the time set forth in the Declaration of Neil A. Steiner in Support of Plaintiffs’

Motion For Attorneys’ Fees and Litigation Expenses In Connection With Their Motion for

Contempt, Doc. 529-4 (“Steiner Contempt Declaration”), a team of approximately 69 partners,

associates, summer associates, paralegals, and other timekeepers devoted more than 8,400

hours to the highly successful representation of Plaintiffs in this Court, the Tenth Circuit

Court of Appeals, and the United States Supreme Court.

        4.     Annexed hereto as Exhibit 1 is an Excel spreadsheet generated from Dechert’s

billing system, which sets forth the time detail of all time expended on this matter by Dechert

timekeepers from the inception of Dechert’s involvement through December 22, 2020, aside




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from the time set forth in the Steiner Contempt Declaration. The time detail accurately reflects

the time expended by the timekeepers who recorded time on this matter, and the time recorded

was actually expended for the purposes listed.

       5.      I did not necessarily record my time for every instance in which I discussed this

case with other lawyers at Dechert or with co-counsel. Other Dechert timekeepers may likewise

have determined not to record time in every instance in which he or she discussed this case with

other lawyers at Dechert or with co-counsel. Any discrepancy between my reported time and

that of others reflects a decision to exercise billing judgment by not recording time, and not an

inaccuracy in the time records.

        6.     In addition, even though I am including in Exhibit 1 all of the time recorded by

all Dechert timekeepers through December 22, 2020, aside from the time set forth in the Steiner

Contempt Declaration, in the exercise of my billing judgment, I have determined to limit the

application for attorneys’ fees and expenses to the time spent by a core team of six current

and former Dechert lawyers who worked on the matter. In addition to myself, those lawyers

are Rebecca Kahan Waldman, Angela M. Liu, Daphne T. Ha (former associate, and currently

counsel at the Federal Reserve Board of New York), Tharuni A. Jayaraman, and Margaret

Mortimer. I am therefore not seeking reimbursement for time spent by other Dechert

attorneys, paralegals, and staff, including the substantial time and effort expended by two

additional members of the core trial team: current Dechert associate Mary H. Kim, who

spent more than 760 hours on this matter and former Dechert associate Thomas H. Cordova,

who spent more than 900 hours on this matter.

        7.     Additionally, even though, in my experience, I believe that all of the time

expended by Dechert was reasonable and appropriate in the representation of Plaintiffs in




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this action and in obtaining the exceptional results and that the staffing structure employed

by Dechert and Plaintiffs’ other counsel in this case is typical of the staffing on a multi-year,

complex litigation with multiple appeals, to address any arguable duplication or inefficiency

as a result of the number of lawyers involved in this action, I have further reduced the total

attorneys’ fees sought for the work performed by Dechert by 5%.

       8.      During this litigation, Dechert incurred costs and expenses for filing fees,

transcript fees, expert witnesses, travel costs, photocopies, electronic research, and similar

out-of-pocket expenses ordinarily paid by a fee-paying client. Those expenses are recorded

in Dechert’s billing system. Annexed hereto as Exhibit 2 is an Excel spreadsheet

summarizing the costs and expenses incurred by Dechert through December 22, 2020, aside

from the costs and expenses set forth in the Steiner Contempt Declaration, which total

$138,934.18. This expense detail accurately reflects the costs and expenses incurred by

Dechert in this matter.

        9.     I am a 1997 magna cum laude graduate of Harvard Law School with 23.5

years of legal experience. Prior to joining Dechert, I was an associate with the New York

firm Shereff, Friedman, Hoffman & Goodman, LLP and subsequently in the New York

office of Swidler Berlin Shereff Friedman, LLP. I have spent the entirety of my legal career

litigating complex, high-stakes cases in federal and state courts and before arbitral tribunals

throughout the United States and defending companies and individuals in governmental and

regulatory investigations. I have also published at least nine articles on topics relating to

securities litigation and investigations, am the co-author of two chapters in treatises on

litigation in federal and New York state courts, and taught a course entitled Basic Skills for

the New Litigating Attorney for recent graduates of Cardozo Law School.




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       10.     I am also active in pro bono matters, with a particular emphasis on voting

rights litigation. During the last fifteen years, I have litigated voting rights cases on a pro

bono basis in eleven states, have tried four cases (in Wisconsin, Texas and New York in

addition to this case) and argued two appeals. In addition to this action, I currently represent

or have represented plaintiffs in (i) claims to enforce the provisions of the National Voter

Registration Act requiring voter registration services to be provided at public assistance

agencies in Ohio (which included arguing Harkless v. Brunner, a first-impression case in the

Sixth Circuit Court of Appeals, the subsequent settlement of which resulted in more than

400,000 low-income Ohio citizens registering to vote in the two years following the

settlement), Nevada (including arguing a successful appeal to the Ninth Circuit Court of

Appeals), and Georgia; (ii) challenges to the voter identification statutes in Wisconsin (which

has reached the Seventh Circuit Court of Appeals three times) and Texas; (iii) challenges to

the partisan election of Supreme Court and Court of Criminal Appeals judges in Texas; (iv)

challenges to the improper purge of voters in New York City and the failure to include

“inactive voters” in poll books in New York state; (v) challenges to the absentee voting

requirements in Mississippi; and (vi) claims to require an early voting location on tribal lands

in Jackson County, South Dakota.

        11.    During the 2020 election cycle, I represented Plaintiffs in Mississippi, Ohio,

Pennsylvania, Tennessee, and Texas seeking to ensure access to voting safely during the

COVID-19 pandemic. Additionally, I led the Dechert teams that, along with the Brennan

Center for Justice, submitted an amicus brief in support of the Harris County, Texas election

clerk, who was seeking to distribute applications for mail-in ballots to registered voters and,

along with the Lawyers’ Committee for Civil Rights Under Law, successfully intervened on




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behalf of voters in a federal court action where the plaintiffs sought to invalidate ballots cast

at drive-through ballot locations in Harris County, Texas.

        12.   My efforts in voting rights cases have won widespread acclaim. In 2018, the

Financial Times recognized me as one of the ten most innovative lawyers in North America

for my pro bono work on voting rights cases, and recognized Dechert and the American

Civil Liberties Union with a “standout” ranking in the rule of law category for our work in

this case. In 2020, the American Bar Association Standing Committee on Pro Bono and

Public Service awarded me its Pro Bono Publico Award, which it describes as the “top

honor” for extraordinary and sustained commitment to pro bono service. And earlier this

month, the Second Circuit’s Federal Bar Council awarded me the 2020 Thurgood Marshall

Award for Exceptional Commitment to Pro Bono Service for my work on voting rights

litigation.

        13.   I am a member in good standing of the bars of the State of New York, the

United States Courts of Appeals for the Second, Fifth, Sixth, Seventh, Ninth, and Tenth

Circuits, and the United States District Courts for the Southern, Eastern, and Northern

Districts of New York, the Eastern District of Michigan, and the Eastern District of

Wisconsin.

        14.   As lead counsel from Dechert, I oversaw and participated in all aspects of th is

case from its inception.

        15.   Rebecca Kahan Waldman is a partner is the firm’s litigation practice group. Ms.

Waldman obtained a Bachelor of Arts, magna cum laude, from the University of Pennsylvania

in 2003 and a Juris Doctor from the Fordham University School of Law in 2006. Following law

school, Ms. Waldman was a litigation associate in the New York office of Mayer Brown




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LLP. She joined Dechert as a senior litigation associate in August 2011 and became a partner

on January 1, 2016.

       16.    Ms. Waldman focuses her practice on complex commercial and securities

disputes with an emphasis on litigation involving the banking and financial services sectors,

white collar and internal investigations, and eDiscovery. Ms. Waldman has significant trial

experience and has served as trial counsel in a number of matters in state and federal courts.

       17.    In 2018, Ms. Waldman was named a Rising Star by the New York Law Journal,

which is an award that was established to honor the most promising young lawyers in the

region. She was also a recipient of the Legal Aid Society’s 2018 Pro Bono Publico Award for

outstanding service.

       18.    Ms. Waldman is a member in good standing of the bars of the State of New

York, the State of Connecticut, and the United States District Courts for the Southern and

Eastern Districts of New York.

       19.    Ms. Waldman participated in this case from its inception. She oversaw the

discovery process, prepared for and argued a motion for class certification, participated in

multiple depositions, oversaw the drafting of multiple motions, assisted in the preparation of

associates for trial, examined a witness at trial, oversaw the drafting of the proposed findings of

fact, reviewed and revised the Tenth Circuit brief, and participated in moots for oral argument

before the Tenth Circuit, among other things.

       20.    Angela M. Liu is a partner in the firm’s litigation practice group. She obtained a

Bachelor of Arts, highest honors, Phi Beta Kappa, from the University of North Carolina at

Chapel Hill in 2004, where she was also a Morehead Scholar. She obtained a Juris Doctor from

the University of North Carolina School of Law in 2009.




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        21.    Following law school, Ms. Liu clerked for the Honorable John R. Gibson of the

United States Court of Appeals for Eighth Circuit and then was an associate in the Chicago

office of Katten Muchin Rosenman LLP. Ms. Liu joined Dechert as a litigation associate in

2012 and became a partner on January 1, 2019.

        22.    Ms. Liu’s practice focuses on the defense of publicly-traded companies and their

directors and officers in securities class action litigation, derivative litigation, SEC

investigations, merger litigation, corporate governance disputes, and other complex commercial

litigation.

        23.    Ms. Liu maintains an active voting rights pro bono practice. In addition to this

case, she has worked extensively with me on the pending challenge to the Wisconsin voter

identification statute and a constitutional challenge in Georgia for failure to provide

necessary tools for running an election. She also served as lead counsel in the challenge that

resulted in expanded access to mail-in voting in Tennessee during the COVID-19 pandemic,

and argued plaintiffs’ preliminary injunction motion in the Tennessee Chancery Court as

well as the Tennessee Supreme Court.

        24.    Ms. Liu is a member in good standing of the bars of the State of New York and

the State of Illinois, the United States Supreme Court, the United States Courts of Appeals

for the Seventh, Eighth, and Tenth Circuits, and the United States District Courts for the

Southern and Eastern Districts of New York, the Eastern and Northern Districts of

Wisconsin, the District of Colorado, and the Northern District of Illinois.

        25.    Ms. Liu participated in this case from its inception. She oversaw the discovery

process, deposed or defended multiple fact and expert witnesses, drafted and revised multiple

motions, examined multiple fact and expert witnesses at trial, oversaw the drafting of the




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proposed findings of fact, reviewed and revised the Tenth Circuit brief, participated in moots for

oral argument before the Tenth Circuit, and drafted a section of the opposition to the petition for

a writ of certiorari, among other things.

       26.     Tharuni A. Jayaraman is an associate in the firm’s litigation practice group. Ms.

Jayaraman obtained a Bachelor of Arts, summa cum laude, Phi Beta Kappa, from the

University of Pennsylvania in 2011 and a Master in Public Policy from the Harvard

Kennedy School in 2016. She obtained a Juris Doctor, cum laude, from Harvard Law

School in 2016. Her JD/MPP thesis was entitled, “Protecting the Right to Vote: A Toolkit

for Lawyer-Organizers Working to Protect the Right to Vote of Native Americans.” While

in law school, Ms. Jayaraman was a legal intern with the Voting Rights Project of the

Lawyers’ Committee for Civil Rights Under Law, where she worked on the National

Commission on Voting Rights’ 2014 report on voting discrimination entitled, “Protecting

Minority Voters: Our Work is Not Done.”

       27.     Ms. Jayaraman focuses her practice on complex commercial litigation, internal

investigations, and white collar defense. Her representative matters include cases in federal

and state court and arbitration proceedings.

       28.    Ms. Jayaraman maintains an active voting rights pro bono practice. In

addition to this case, Ms. Jayaraman worked extensively with me on the successful

challenge to the State of New York’s practice of removing “inactive voters” from poll books

found at polling locations on Election Day and in the challenge that resulted in expanded

access to mail-in voting in Tennessee during the COVID-19 pandemic. She is also working

with me on the pending challenge to the Wisconsin voter identification statute.




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        29.     Ms. Jayaraman is a member in good standing of the bars of the State of New

York, the District of Columbia, and the United States District Courts for the Southern and

Eastern Districts of New York.

        30.     In this case, Ms. Jayaraman drafted discovery requests and responses, assisted

in preparing for depositions, drafted motions and conducted legal research in support thereof,

assisted in preparing for the examination of witnesses at trial, drafted sections of the

proposed findings of fact and summary judgment brief, participated in a moot for oral

argument before the Tenth Circuit, and researched and drafted a section of the opposition to

the petition for a writ of certiorari, among other things.

        31.     Margaret Mortimer is an associate in the firm’s litigation practice group. Ms.

Mortimer obtained a Bachelor of Science, cum laude, from the College of Charleston in

2011 and a Juris Doctor from the New York University School of Law in 2016.

        32.     Ms. Mortimer focuses her practice on representing corporations and their

executives, directors, and employees in government and internal investigations as well as

complex commercial disputes. In particular, Ms. Mortimer represents clients in cases

brought by federal and local agencies, including the U.S. Department of Justice, the U.S.

Securities and Exchange Commission, and the U.S. Commodity Futures Trading

Commission.

        33.     Ms. Mortimer is a member in good standing of the bars of the State of New

York and the United States District Courts for the Southern and Eastern Districts of New

York.

        34.     In this case, Ms. Mortimer drafted discovery requests and responses, assisted

in preparing for depositions, drafted motions and conducted legal research in support




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thereof, assisted in preparing for the examination of witnesses at trial, interviewed a last -

minute witness during trial, and drafted sections of the proposed findings of fact and

summary judgment brief, among other things.

        35.     Daphne T. Ha served as a litigation associate at Dechert between October

2012 and June 2018 and is currently Counsel at the Federal Reserve Bank of New York.

        36.     Ms. Ha obtained a Bachelor of Arts from Barnard College in 2007 and a

Master of Arts from John Jay College in 2009. She obtained a Juris Doctor from the

Fordham University School of Law in 2012, where she served as an Associate Editor of The

Fordham Law Review.

        37.     In this case, Ms. Ha drafted discovery requests and responses, deposed

multiple witnesses, drafted multiple motions, and examined a witness at trial .

        38.     As set forth in Table 1 below, each attorney seeks fees at rates that are well-

within the range for attorneys of comparable skill and experience in the Kansas City market. In

particular, this Court has already approved the requested rates for attorneys Liu and Jayaraman.

See Doc. 554.

        39.     As is also shown in Table 1 below, these rates are significantly below the

standard hourly rates paid by fee-paying clients.

        Attorney Name               Class Year           Hourly Rate Requested    Current Billing Rate
 Neil A. Steiner                       1997                      $500                   $1,350
 Rebecca Kahan Waldman                 2006                      $500                   $1,100
 Angela M. Liu                         2009                      $250                   $1,100
 Tharuni A. Jayaraman                  2016                      $195                    $900
 Margaret Mortimer                     2016                      $195                    $900
                               Table 1: Hourly Rates for Dechert Attorneys

        40.     For the purposes of this Fee Petition, I believe the appropriate hourly rate for

Ms. Ha is $240. Dechert’s standard hourly rate paid by fee-paying clients for litigation

associates who graduated from law school in 2012 (as Ms. Ha did) is $995/hour.


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        41.     The total fees sought before the 5% reduction for the Dechert timekeepers for

whose work an award of fees is sought is summarized in Table 2 below, including the total

hours worked by each attorney (aside from the time set forth in the Steiner Contempt

Declaration), the hours charged, and the applicable rate. The table below does not include the

hours expended by the other Dechert timekeepers for which an award of fees is not being

sought, but the number of hours expended and description of work performed is included for

those timekeepers in Exhibit 1.

                                                                                        Total
                                                                 Hourly Rate
                  Attorney Name                     Hours                           (Without 5%
                                                                  Requested          Reduction)
        Neil A. Steiner                             399.10            $500           $199,550.00
        Rebecca Kahan Waldman                       683.30            $500           $341,650.00
        Angela M. Liu                              1,294.52           $250           $323,630.00
        Daphne T. Ha                                541.40            $240           $129,936.00
        Tharuni A. Jayaraman                        706.08            $195           $137,685.60
        Margaret Mortimer                           961.82            $195           $187,554.90
                   Total                           4,586.22                        $1,320,006.50
        Table 2: Total Fees Requested for Current and Former Dechert Attorneys Before the 5% Reduction

        42.     Based on the foregoing, I believe that an appropriate calculation of Dechert’s

lodestar fees before the 5% reduction is $1,320,006.50. With the 5% reduction, the total fees

sought for time expended by Dechert attorneys is $1,254,006.18.

        43.     In addition, Dechert incurred costs and expenses in the total amount of

$138,934.18 for which I believe reimbursement is appropriate.

        44.     I declare under penalty of perjury that the forgoing is true and correct.

Executed on January 28, 2021, in New York, New York.


                                                           /s/ Neil A. Steiner
                                                           Neil A. Steiner




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                      EXHIBIT 1
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                                             Hours       Rate
 Date               Name          Hours                                 Amount     Description
                                            Charged    Requested
11/06/15 Neil A. Steiner             0.40         0.40    $500.00         $200.00 Email correspondence with A. Liu; email correspondence
                                                                                  with expert issues; telephone conversation with A. Liu.

11/06/15 Angela M. Liu               0.90        0.90     $250.00         $225.00 Prepare for and attend call regarding upcoming tasks.
11/11/15 Neil A. Steiner             1.50        1.50     $500.00         $750.00 Conference call with D. Ho, counsel in pending KS case;
                                                                                  telephone conversation with D. Ha; email correspondence
                                                                                  with DH and A. Liu.
11/12/15 Neil A. Steiner             0.40        0.40     $500.00         $200.00 Analyze class issues; email correspondence with D. Ho.
11/12/15 Thomas H. Cordova           0.50        0.00       $0.00           $0.00 Discuss background of case and next steps with team
                                                                                  member.
11/13/15 Rebecca Kahan Waldman       0.20        0.20     $500.00         $100.00 Correspondence with A. Liu regarding case.

11/16/15 Neil A. Steiner             2.30        2.30     $500.00        $1,150.00 Revised notice letter; email correspondence with D. Ho;
                                                                                   meeting with A. Liu; team meeting.
11/16/15 Rebecca Kahan Waldman       1.70        1.70     $500.00         $850.00 Prepared for and attended meeting regarding Kansas
                                                                                   litigations.
11/16/15 Angela M. Liu               4.20        4.20     $250.00        $1,050.00 Attend strategy meeting and follow-up; travel.
11/16/15 Thomas H. Cordova           1.00        0.00       $0.00            $0.00 Review background materials relevant to the case.
11/16/15 Thomas H. Cordova           1.70        0.00       $0.00            $0.00 Attend team meeting to discuss recent developments and
                                                                                   next steps.
11/16/15 Mary H. Kim                 1.90        0.00       $0.00            $0.00 Attend staff meeting to discuss case priorities.
11/18/15 Neil A. Steiner             0.30        0.30     $500.00         $150.00 Review and revise draft notice letter and email
                                                                                   correspondence with co-counsel regarding same.
11/20/15 Neil A. Steiner             0.30        0.30     $500.00         $150.00 Email correspondence with co-counsel and review final
                                                                                   notice letter.
11/20/15 Mary H. Kim                 1.00        0.00       $0.00            $0.00 Draft KORA requests.
11/23/15 Neil A. Steiner             0.30        0.30     $500.00         $150.00 Review discovery order; email correspondence with co-
                                                                                   counsel.
11/23/15 Mary H. Kim                 3.15        0.00       $0.00            $0.00 Draft KORA requests.
11/25/15 Mary H. Kim                 0.50        0.00       $0.00            $0.00 Draft KORA requests.
11/27/15 Rebecca Kahan Waldman       0.20        0.20     $500.00         $100.00 Correspondence regarding class certification.

11/27/15 Angela M. Liu               0.50        0.50     $250.00         $125.00 Oversee class certification and preliminary injunction
                                                                                  briefing.
11/27/15 Thomas H. Cordova           1.50        0.00       $0.00           $0.00 Outline class certification.


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                                             Hours       Rate
 Date             Name            Hours                                 Amount      Description
                                            Charged    Requested
11/28/15 Thomas H. Cordova           8.90         0.00      $0.00            $0.00 Draft outline for class certification.
11/29/15 Thomas H. Cordova           3.60         0.00      $0.00            $0.00 Draft outline for class certification.
11/30/15 Thomas H. Cordova           1.10         0.00      $0.00            $0.00 Draft outline for class certification.
11/30/15 Mary H. Kim                 4.42         0.00      $0.00            $0.00 Edit KORA requests and outline for class certification brief.

12/01/15 Mari Stonebraker            2.10        0.00       $0.00           $0.00 Conduct legal research into PI.
12/01/15 Angela M. Liu               0.90        0.90     $250.00         $225.00 Review preliminary injunction cases; revise KORA requests.

12/01/15 Thomas H. Cordova           2.50        0.00       $0.00            $0.00 Create outline for cert petition.
12/01/15 Mary H. Kim                 1.52        0.00       $0.00            $0.00 Edit KORA requests.
12/02/15 Neil A. Steiner             0.80        0.80     $500.00         $400.00 Conference call with co-counsel; review Cromwell amended
                                                                                   complaint; email correspondence with co-counsel; analyze
                                                                                   PI, strategy issues.
12/02/15 Rebecca Kahan Waldman       1.50        1.50     $500.00         $750.00 Call regarding next steps; reviewed outline for class cert
                                                                                   motion.
12/02/15 Angela M. Liu               0.30        0.30     $250.00           $75.00 Revise KORA request.
12/02/15 Thomas H. Cordova           1.90        0.00       $0.00            $0.00 Draft outline for cert petition.
12/02/15 Mary H. Kim                 0.42        0.00       $0.00            $0.00 Review outline for class certification brief.
12/03/15 Angela M. Liu               4.00        4.00     $250.00        $1,000.00 Continue to review statutes, conduct research relating to
                                                                                   class certification and preliminary injunction.
12/04/15 Thomas H. Cordova           2.10        0.00       $0.00            $0.00 Organize and outline preliminary injunction.
12/05/15 Thomas H. Cordova           2.10        0.00       $0.00            $0.00 Draft class certification motion.
12/06/15 Thomas H. Cordova           1.20        0.00       $0.00            $0.00 Draft class certification motion.
12/07/15 Angela M. Liu               0.60        0.60     $250.00         $150.00 Review draft declaration and prepare expert report.
12/07/15 Thomas H. Cordova           0.80        0.00       $0.00            $0.00 Draft class certification brief.
12/07/15 Mary H. Kim                 2.50        0.00       $0.00            $0.00 Draft class certification brief.
12/08/15 Mari Stonebraker            2.40        0.00       $0.00            $0.00 Conduct legal research into PI issues and draft outline.
12/08/15 Thomas H. Cordova           4.30        0.00       $0.00            $0.00 Draft certification petition and edit preliminary injunction
                                                                                   outline.
12/08/15 Mary H. Kim                 0.83        0.00       $0.00            $0.00 Draft class certification brief.
12/09/15 Rebecca Kahan Waldman       1.20        1.20     $500.00         $600.00 Review draft class cert petition and correspondence
                                                                                   regarding same.
12/09/15 Mari Stonebraker            0.20        0.00       $0.00            $0.00 Attention to emails relating to class certification and PI
                                                                                   issues.
12/09/15 Mary H. Kim                 0.32        0.00       $0.00            $0.00 Draft and revise class certification brief.


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                                              Hours       Rate
 Date              Name            Hours                                 Amount     Description
                                             Charged    Requested
12/10/15 Rebecca Kahan Waldman        1.30         1.30    $500.00         $650.00 Revise class certification brief.

12/10/15 Mari Stonebraker             2.10        0.00       $0.00           $0.00 Conduct legal research into voter registration case issues.
12/11/15 Mari Stonebraker             0.80        0.00       $0.00           $0.00 Call with client for developing affidavit.
12/11/15 Thomas H. Cordova            3.00        0.00       $0.00           $0.00 Update class certification briefing.
12/11/15 Mary H. Kim                  0.98        0.00       $0.00           $0.00 Prepare for and conduct client interview call.
12/14/15 Rebecca Kahan Waldman        1.00        1.00     $500.00         $500.00 Review draft complaint.

12/14/15 Mari Stonebraker             2.60        0.00       $0.00           $0.00 Draft section of PI brief.
12/14/15 Angela M. Liu                0.30        0.30     $250.00          $75.00 Review complaint.
12/14/15 Mary H. Kim                  0.97        0.00       $0.00           $0.00 Draft client affidavit.
12/15/15 Mari Stonebraker             1.30        0.00       $0.00           $0.00 Edit draft PI.
12/15/15 Angela M. Liu                2.10        2.10     $250.00         $525.00 Review preliminary injunction research and declarations.
12/15/15 Thomas H. Cordova            2.60        0.00       $0.00           $0.00 Draft preliminary injunction.
12/16/15 Neil A. Steiner              0.60        0.60     $500.00         $300.00 Conference call with co-counsel.
12/16/15 Rebecca Kahan Waldman        0.80        0.80     $500.00         $400.00 Prepare for and participate in status update call.

12/16/15 Mari Stonebraker             1.10        0.00       $0.00           $0.00 Conduct factual research into Kansas voting issues.
12/16/15 Angela M. Liu                1.00        1.00     $250.00         $250.00 Attend conference call.
12/16/15 Thomas H. Cordova            0.60        0.00       $0.00           $0.00 Finalize preliminary injunction brief and circulate newest
                                                                                   version to team.
12/21/15 Angela M. Liu                0.40        0.40     $250.00         $100.00 Review amended complaint.
12/21/15 Mary H. Kim                  3.20        0.00       $0.00           $0.00 Draft KORA request; draft class certification brief; review
                                                                                   complaint.
12/22/15 Angela M. Liu                3.20        3.20     $250.00         $800.00 Review draft complaint, draft declarations, and data
                                                                                   collection.
12/22/15 Thomas H. Cordova            0.30        0.00       $0.00           $0.00 Edit certification petition draft.
12/22/15 Mary H. Kim                  2.80        0.00       $0.00           $0.00 Drafted class certification brief.
12/23/15 Rebecca Kahan Waldman        0.80        0.80     $500.00         $400.00 Attend strategy call.

12/23/15 Angela M. Liu                2.00        2.00     $250.00         $500.00 Review complaint comments in advance of call; attend
                                                                                   strategy call.
12/27/15 Mauricio A. España           1.50        0.00       $0.00           $0.00 Review complaint and submissions.
12/28/15 Neil A. Steiner              0.20        0.20     $500.00         $100.00 Telephone conversation with A. Liu.
12/28/15 Mauricio A. España           1.00        0.00       $0.00           $0.00 Review and revise class cert motion.


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                                            Hours       Rate
 Date               Name         Hours                                 Amount      Description
                                           Charged    Requested
12/28/15 Angela M. Liu              0.50         0.50    $250.00         $125.00 Review class certification brief.
12/29/15 Mauricio A. España         3.50         0.00      $0.00           $0.00 Review and revise class cert motion.
12/30/15 Mauricio A. España         1.50         0.00      $0.00           $0.00 Review and revise class cert motion.
01/04/16 Angela M. Liu              1.20         1.20    $250.00         $300.00 Revise KORA request; review preliminary injunction draft.
01/05/16 Angela M. Liu              2.10         2.10    $250.00         $525.00 Continue to review survey and statutes.
01/06/16 Neil A. Steiner            0.30         0.30    $500.00         $150.00 Conference call with co-counsel.
01/06/16 Rebecca Kahan Waldman      0.70         0.70    $500.00         $350.00 Participate in weekly call.

01/06/16 Angela M. Liu              0.60        0.60     $250.00         $150.00 Attend strategy call and follow-up.
01/07/16 Mari Stonebraker           0.20        0.00       $0.00            $0.00 Emails with A. Liu.
01/11/16 Neil A. Steiner            0.30        0.30     $500.00         $150.00 Review memo re: LWV meeting and email correspondence
                                                                                  with co-counsel re same.
01/12/16 Angela M. Liu              3.30        3.30     $250.00         $825.00 Review documents relating to M. Johnson and complaint.
01/14/16 Angela M. Liu              0.90        0.90     $250.00         $225.00 Review Bush v. Gore; continue to analyze documents.
01/15/16 Rebecca Kahan Waldman      2.00        2.00     $500.00        $1,000.00 Revise class cert brief.

01/18/16 Neil A. Steiner            0.40        0.40     $500.00         $200.00 Review class cert motion; email correspondence with A. Liu
                                                                                  and R. Waldman re same.
01/18/16 Angela M. Liu              4.20        4.20     $250.00        $1,050.00 Review class certification motion, complaint, and documents
                                                                                  relating to registration issues.
01/19/16 Rebecca Kahan Waldman      1.20        1.20     $500.00         $600.00 Revise class cert petition.

01/19/16 Mari Stonebraker           0.40        0.00       $0.00           $0.00 Call with client.
01/19/16 Angela M. Liu              2.10        2.10     $250.00         $525.00 Continue document review.
01/21/16 Mari Stonebraker           1.30        0.00       $0.00           $0.00 Research into factual issues for affidavits; emails with A. Liu.

01/21/16 Angela M. Liu              3.20        3.20     $250.00         $800.00 Continue to review deposition.
01/22/16 Mari Stonebraker           0.90        0.00       $0.00            $0.00 Emails with A. Liu; call with D. Bucci.
01/22/16 Angela M. Liu              2.10        2.10     $250.00         $525.00 Review complaint; revise affidavits.
01/22/16 Mary H. Kim                0.70        0.00       $0.00            $0.00 Conduct legal research on class certification mootness
                                                                                  issues.
01/23/16 Angela M. Liu              1.20        1.20     $250.00         $300.00 Review deposition transcript.
01/25/16 Neil A. Steiner            0.30        0.30     $500.00         $150.00 Email correspondence with co-counsel; review articles
                                                                                  regarding voter fraud prosecutions.
01/25/16 Angela M. Liu              5.30        5.30     $250.00        $1,325.00 Review and analyze deposition and documents.


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                                            Hours       Rate
 Date               Name         Hours                                 Amount      Description
                                           Charged    Requested
01/26/16 Angela M. Liu              3.20         3.20    $250.00         $800.00 Review affidavits for signature; review expert survey;
                                                                                  continue to review documents.
01/26/16 Mary H. Kim                4.10        0.00       $0.00            $0.00 Conduct legal research and updated memo to reflect new
                                                                                  research on class certification mootness issues.
01/28/16 Angela M. Liu              0.80        0.80     $250.00         $200.00 Continue to review and revise survey; reach out to education
                                                                                  expert.
01/28/16 Angela M. Liu              4.20        4.20     $250.00        $1,050.00 Review and revise complaint and preliminary injunction;
                                                                                  review Kansas election laws.
01/29/16 Mari Stonebraker           0.20        0.00       $0.00            $0.00 Emails with A. Liu.
01/29/16 Angela M. Liu              2.70        2.70     $250.00         $675.00 Continue to review and revise preliminary injunction memo
                                                                                  and complaint.
01/31/16 Angela M. Liu              1.50        1.50     $250.00         $375.00 Continue to revise preliminary injunction memorandum.
02/01/16 Mari Stonebraker           0.50        0.00       $0.00            $0.00 Emails with A. Liu.
02/01/16 Angela M. Liu              3.20        3.20     $250.00         $800.00 Continue to revise preliminary injunction brief, complaint,
                                                                                  deposition document memo.
02/02/16 Mary H. Kim                5.40        0.00       $0.00            $0.00 Conduct legal research on class certification issues and edit
                                                                                  class certification brief.
02/03/16 Neil A. Steiner            0.80        0.80     $500.00         $400.00 Conference call with co-counsel.
02/03/16 Rebecca Kahan Waldman      0.80        0.80     $500.00         $400.00 Participate in update call.

02/03/16 Mari Stonebraker           3.20        0.00       $0.00            $0.00 Legal research regarding complaint.
02/04/16 Mari Stonebraker           3.50        0.00       $0.00            $0.00 Legal research re: new claim.
02/05/16 Mari Stonebraker           0.60        0.00       $0.00            $0.00 Edit findings.
02/05/16 Angela M. Liu              1.30        1.30     $250.00         $325.00 Revise and comment on M. Stonebraker's memorandum
                                                                                  regarding issues relating to additional claim.
02/08/16 Mari Stonebraker           2.30        0.00       $0.00            $0.00 Edits and further legal research.
02/08/16 Angela M. Liu              0.20        0.20     $250.00           $50.00 Discuss memorandum with M. Stonebraker re: additional
                                                                                  claims.
02/09/16 Neil A. Steiner            1.30        1.30     $500.00         $650.00 Telephone conversation with A. Liu; review and revise
                                                                                  complaint.
02/09/16 Rebecca Kahan Waldman      0.80        0.80     $500.00         $400.00 Reviewed revisions to draft complaint and correspondence
                                                                                  regarding same.
02/09/16 Angela M. Liu              0.60        0.60     $250.00         $150.00 Discuss issues relating to subclassing.
02/10/16 Neil A. Steiner            3.00        3.00     $500.00        $1,500.00 Conference call with co-counsel; review and revise
                                                                                  complaint; email correspondence with co-counsel.


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                                             Hours       Rate
 Date               Name          Hours                                 Amount      Description
                                            Charged    Requested
02/10/16 Rebecca Kahan Waldman       2.40         2.40    $500.00        $1,200.00 Call regarding status of briefs; review draft of pleadings.

02/10/16 Mari Stonebraker            0.10        0.00       $0.00            $0.00 Attention to emails.
02/10/16 Angela M. Liu               6.00        6.00     $250.00        $1,500.00 Travel to Kansas City for plaintiffs; continue to research and
                                                                                   analyze issues relating to class certification.
02/10/16 Thomas H. Cordova           4.30        0.00       $0.00            $0.00 Edit and update certification petition.
02/11/16 Neil A. Steiner             3.00        3.00     $500.00        $1,500.00 Review and revise PI brief; review and revise class cert brief;
                                                                                   email correspondence with co-counsel.
02/11/16 Rebecca Kahan Waldman       1.10        1.10     $500.00         $550.00 Revise class cert brief; review drafts of pleadings.

02/11/16 Angela M. Liu              12.30       12.30     $250.00        $3,075.00 Continue to search for and interview plaintiffs.
02/12/16 Rebecca Kahan Waldman       2.00        2.00     $500.00        $1,000.00 Revise class cert brief; review revised draft of complaint;
                                                                                   review correspondence regarding upcoming filings.
02/12/16 Angela M. Liu              10.70       10.70     $250.00        $2,675.00 Meetings with potential plaintiffs.
02/12/16 Thomas H. Cordova           2.00        0.00       $0.00            $0.00 Draft motion for class certification.
02/13/16 Angela M. Liu               4.50        4.50     $250.00        $1,125.00 Travel to Kansas City for plaintiffs.
02/14/16 Rebecca Kahan Waldman       0.80        0.80     $500.00         $400.00 Revise draft of motion for class certification and
                                                                                   correspondence regarding same.
02/14/16 Mary H. Kim                 1.40        0.00       $0.00            $0.00 Prepare class certification brief for filing.
02/15/16 Neil A. Steiner             0.40        0.40     $500.00         $200.00 Review and revise class cert motion and email
                                                                                   correspondence with co-counsel re same.
02/15/16 Rebecca Kahan Waldman       0.50        0.50     $500.00         $250.00 Correspondence regarding revised class cert brief.

02/15/16 Angela M. Liu               2.70        2.70     $250.00         $675.00 Continue to prepare and revise expert materials, revise class
                                                                                  certification brief.
02/15/16 Thomas H. Cordova           3.70        0.00       $0.00           $0.00 Edit and update certification motion and brief.
02/15/16 Mary H. Kim                 1.60        0.00       $0.00           $0.00 Prepare class certification brief for filing.
02/16/16 Rebecca Kahan Waldman       1.50        1.50     $500.00         $750.00 Review drafts of pleadings; correspondence regarding
                                                                                  upcoming filings.
02/16/16 Angela M. Liu               0.60        0.60     $250.00         $150.00 Continue to revise class certification brief.
02/16/16 Thomas H. Cordova           1.90        0.00       $0.00           $0.00 Edit and update certification petition.




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                                             Hours       Rate
 Date               Name          Hours                                 Amount      Description
                                            Charged    Requested
02/16/16 Danielle J. Shaw            2.50         0.00      $0.00            $0.00 Review and cite/fact check Plaintiffs' Memorandum of Law
                                                                                   in support of Motion for Class Certification; research cited
                                                                                   case law, statutes and negative treatment regarding cite
                                                                                   check of Motion for Class Certification; review relevant
                                                                                   pleadings in conjunction with fact check of Motion for Class
                                                                                   Certification and pending filing.
02/16/16 Mary H. Kim                 1.00        0.00       $0.00            $0.00 Prepare class certification brief for filing.
02/17/16 Neil A. Steiner             0.50        0.50     $500.00         $250.00 Conference call with co-counsel.
02/17/16 Rebecca Kahan Waldman       2.50        2.50     $500.00        $1,250.00 Revise drafts of pleadings.

02/17/16 Angela M. Liu               4.20        4.20     $250.00        $1,050.00 Continue to prepare for complaint and class certification
                                                                                   briefing for filing; attend weekly conference call.
02/17/16 Thomas H. Cordova           2.50        0.00       $0.00            $0.00 Prepare class certification brief.
02/18/16 Rebecca Kahan Waldman       1.00        1.00     $500.00         $500.00 Review final pleadings and media coverage.

02/18/16 Mari Stonebraker            0.30        0.00       $0.00           $0.00 Emails with clients.
02/18/16 Angela M. Liu               2.10        2.10     $250.00         $525.00 Continue to prepare complaint and class certification
                                                                                  briefing for filing.
02/19/16 Rebecca Kahan Waldman       1.50        1.50     $500.00         $750.00 Review pleadings regarding consolidation and
                                                                                  correspondence regarding same.
02/19/16 Angela M. Liu               0.50        0.50     $250.00         $125.00 Strategize regarding motion for consolidation.
02/21/16 Angela M. Liu               0.80        0.80     $250.00         $200.00 Case and document organization and management.
02/22/16 Rebecca Kahan Waldman       0.90        0.90     $500.00         $450.00 Correspondence regarding response to motion to
                                                                                  consolidate.
02/22/16 Angela M. Liu               1.20        1.20     $250.00         $300.00 Call regarding motion for consolidation; review TRO issues;
                                                                                  correspond with plaintiffs regarding press issues.
02/22/16 Thomas H. Cordova           3.40        0.00       $0.00           $0.00 Draft opposition to motion to consolidation.
02/22/16 Mary H. Kim                 1.20        0.00       $0.00           $0.00 Call with R. Waldman, A. Liu, and T. Cordova regarding
                                                                                  opposition to motion to consolidate; draft opposition to
                                                                                  motion to consolidate.
02/23/16 Neil A. Steiner             0.20        0.20     $500.00         $100.00 Review proposed schedule; email correspondence with co-
                                                                                  counsel.
02/23/16 Thomas H. Cordova           2.80        0.00       $0.00           $0.00 Draft opposition motion to consolidation.
02/24/16 Neil A. Steiner             0.80        0.80     $500.00         $400.00 Conference call with co-counsel.



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                                             Hours       Rate
 Date               Name          Hours                                 Amount     Description
                                            Charged    Requested
02/24/16 Rebecca Kahan Waldman       0.50         0.50    $500.00         $250.00 Review opposition to class cert motion; correspondence
                                                                                  regarding opposition to motion to consolidate.
02/24/16 Thomas H. Cordova           1.40        0.00       $0.00           $0.00 Draft opposition motion to consolidation.
02/25/16 Neil A. Steiner             0.30        0.30     $500.00         $150.00 Revise PI brief and email correspondence with co-counsel re:
                                                                                  same.
02/25/16 Angela M. Liu               1.20        1.20     $250.00         $300.00 Review and revise response to motion to consolidate.
02/25/16 Mary H. Kim                 4.70        0.00       $0.00           $0.00 Drafted opposition to motion to consolidate; Drafted
                                                                                  consultancy agreement for education expert.
02/26/16 Angela M. Liu               0.50        0.50     $250.00         $125.00 Continue to revise response to motion to consolidate.
02/26/16 Mary H. Kim                 2.30        0.00       $0.00           $0.00 Revise opposition to motion to consolidate; revise
                                                                                  consultancy agreement for expert.
02/28/16 Neil A. Steiner             0.30        0.30     $500.00         $150.00 Review and revise draft opposition to motion to consolidate
                                                                                  and email correspondence with co-counsel regarding same.

02/28/16 Rebecca Kahan Waldman       0.50        0.50     $500.00         $250.00 Review and revise response to motion to consolidate.

02/29/16 Rebecca Kahan Waldman       0.70        0.70     $500.00         $350.00 Review revisions to response to motion to consolidate.

02/29/16 Nicole A. La Due            1.30        0.00       $0.00           $0.00 Review case dockets, locate and review new pleadings,
                                                                                  prepare deadline reminders of upcoming dates for each
                                                                                  team attorney and update master deadline calendar.
02/29/16 Mary H. Kim                 1.20        0.00       $0.00           $0.00 Edit opposition to motion to consolidate.
03/01/16 Neil A. Steiner             1.00        1.00     $500.00         $500.00 Revise response to motion to consolidate; phone conference
                                                                                  and meeting with R. Waldman; email correspondence with
                                                                                  co-counsel.
03/01/16 Rebecca Kahan Waldman       0.50        0.50     $500.00         $250.00 Review revisions to response to motion to consolidate.

03/01/16 Angela M. Liu               0.80        0.80     $250.00         $200.00 Continue to revise opposition to motion for consolidation.

03/02/16 Neil A. Steiner             2.50        2.50     $500.00        $1,250.00 Conference call with co-counsel; review and revise response
                                                                                   to motion for extension; revise response to consolidation;
                                                                                   email correspondence with co-counsel.
03/02/16 Rebecca Kahan Waldman       0.50        0.50     $500.00         $250.00 Communications regarding extensions of time.




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                                             Hours       Rate
 Date               Name          Hours                                 Amount      Description
                                            Charged    Requested
03/02/16 Angela M. Liu               5.60         5.60    $250.00        $1,400.00 Attend weekly strategy meeting; continue to revise
                                                                                   opposition to motion to consolidate; organize discovery
                                                                                   issues; review and revise motion for extension of time and
                                                                                   discovery deadline emails; strategize with experts.
03/02/16 Thomas H. Cordova           3.10        0.00       $0.00            $0.00 Prepare response motion to consolidation.
03/02/16 Mary H. Kim                 1.00        0.00       $0.00            $0.00 Prepare opposition to motion to consolidate for filing.
03/03/16 David W. Lang               1.40        0.00       $0.00            $0.00 Research for T. Cordova re: criminal background check.
03/03/16 Neil A. Steiner             0.50        0.50     $500.00         $250.00 Email correspondence with co-counsel; work on discovery
                                                                                   issues; finalize response to consolidation, extensions of time.

03/03/16 Angela M. Liu               1.00        1.00     $250.00         $250.00 Draft KORA responses and prepare to send.
03/03/16 Nicole A. La Due            0.90        0.00       $0.00           $0.00 Receive and review new documents, prepare deadline
                                                                                  reminders of upcoming date for each team attorney and
                                                                                  update master deadline calendar.
03/03/16 Thomas H. Cordova           5.40        0.00       $0.00           $0.00 Draft first request for production to Secretary of State of
                                                                                  Kansas and Secretary of Revenue.
03/03/16 Mary H. Kim                 0.50        0.00       $0.00           $0.00 Review drafts of requests for production.
03/04/16 Angela M. Liu               2.30        2.30     $250.00         $575.00 Provide overview of case to C. Schmidt, update task list and
                                                                                  status to team, review document requests.
03/04/16 Thomas H. Cordova           2.60        0.00       $0.00           $0.00 Edit request for production to Kansas Secretary or State and
                                                                                  Secretary of Revenue.
03/06/16 Angela M. Liu               0.40        0.40     $250.00         $100.00 Review and comment on document requests.
03/06/16 Thomas H. Cordova           2.70        0.00       $0.00           $0.00 Edit request for production to Kansas Secretary or State and
                                                                                  Secretary of Revenue.
03/07/16 Neil A. Steiner             0.80        0.80     $500.00         $400.00 Court conference call regarding consolidation, status; email
                                                                                  correspondence with co-counsel; work on discovery issues.

03/07/16 Nicole A. La Due            1.70        0.00       $0.00           $0.00 Receive and review new documents, prepare deadline
                                                                                  reminders of upcoming date for each team attorney and
                                                                                  update master deadline calendar.
03/08/16 Neil A. Steiner             0.40        0.40     $500.00         $200.00 Review and revise document requests and interrogatories;
                                                                                  email correspondence with co-counsel regarding same.

03/08/16 Rebecca Kahan Waldman       0.40        0.40     $500.00         $200.00 Correspondence regarding discovery.



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                                             Hours       Rate
 Date               Name          Hours                                  Amount     Description
                                            Charged    Requested
03/08/16 Nicole A. La Due            0.90         0.00      $0.00            $0.00 Receive and review new documents, prepare deadline
                                                                                   reminders of upcoming date for each team attorney and
                                                                                   update master deadline calendar.
03/09/16 Neil A. Steiner             1.00        1.00     $500.00          $500.00 Conference call with co-counsel; revise discovery requests
                                                                                   and email correspondence with co-counsel regarding same;
                                                                                   review summary of EAC hearing.
03/09/16 Rebecca Kahan Waldman       1.50        1.50     $500.00          $750.00 Participate in weekly call; meeting with T. Cordova regarding
                                                                                   discovery requests; revise drafts of discovery requests.

03/09/16 Thomas H. Cordova           3.20        0.00       $0.00            $0.00 Prepare requests for production and interrogatories.
03/09/16 Mary H. Kim                 2.20        0.00       $0.00            $0.00 Revise discovery requests.
03/10/16 Cara J. Schmidt             1.40        0.00       $0.00            $0.00 Review draft of class certification brief.
03/10/16 Nicole A. La Due            1.80        0.00       $0.00            $0.00 Receive and review new pleadings and upload to archive
                                                                                   folder.
03/10/16 Nicole A. La Due            3.60        0.00       $0.00            $0.00 Receive and review new pleadings, prepare several deadline
                                                                                   reminders of upcoming dates for each team attorney and
                                                                                   update master deadline calendar removing previously
                                                                                   scheduled dates.
03/11/16 Cara J. Schmidt             2.50        0.00       $0.00            $0.00 Review draft of class certification brief.
03/12/16 Neil A. Steiner             0.20        0.20     $500.00          $100.00 Email correspondence with D. Ho re: depositions, strategy.

03/13/16 Neil A. Steiner             1.50        1.50     $500.00          $750.00 Review and revise complaint.
03/14/16 Rebecca Kahan Waldman       1.50        1.50     $500.00          $750.00 Participate in meet and confer; participate in follow-up call;
                                                                                   correspondence with Dechert team regarding supplemental
                                                                                   class cert brief.
03/14/16 Angela M. Liu               1.80        1.80     $250.00          $450.00 Review amended complaint, initial disclosures and class
                                                                                   certification briefing.
03/15/16 Neil A. Steiner             1.00        1.00     $500.00          $500.00 Revise amended complaint and telephone conversation with
                                                                                   O. Danjuma re: same; email correspondence with co-
                                                                                   counsel.
03/15/16 Rebecca Kahan Waldman       1.20        1.20     $500.00          $600.00 Review revised draft of complaint; correspondence
                                                                                   regarding same.
03/15/16 Angela M. Liu               2.10        2.10     $250.00          $525.00 Continue to revise motions for class certification.
03/15/16 Nicole A. La Due            2.10        0.00       $0.00            $0.00 Review, prepare and organize ACLU document request
                                                                                   documents for electronic review.


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                                            Hours       Rate
 Date               Name         Hours                                  Amount      Description
                                           Charged    Requested
03/15/16 Mary H. Kim                7.20         0.00      $0.00             $0.00 Conduct legal research for and draft supplemental class
                                                                                   certification brief.
03/16/16 Neil A. Steiner            0.80        0.80     $500.00          $400.00 Conference call with co-counsel; continue work on discovery
                                                                                   issues, amended complaint, class cert; email
                                                                                   correspondence regarding same.
03/16/16 Neil A. Steiner            0.20        0.20     $500.00          $100.00 Email correspondence with co-counsel re: schedule, atty
                                                                                   fees motion.
03/16/16 Cara J. Schmidt            4.10        0.00       $0.00             $0.00 Research on defendants' objections to discovery requests in
                                                                                   preparation for joint call with magistrate judge.
03/16/16 Rebecca Kahan Waldman      0.90        0.90     $500.00          $450.00 Review revised draft of complaint; correspondence
                                                                                   regarding discovery.
03/16/16 Angela M. Liu              4.20        4.20     $250.00         $1,050.00 Continue to review amended complaint; continue to revise
                                                                                   motion for class certification; oversee preparation of
                                                                                   subpoenas for depositions.
03/16/16 Nicole A. La Due           3.60        0.00       $0.00             $0.00 Receive and review new pleadings, prepare several deadline
                                                                                   reminders of upcoming dates for each team attorney and
                                                                                   update master deadline calendar removing previously
                                                                                   scheduled dates.
03/16/16 Nicole A. La Due           1.00        0.00       $0.00             $0.00 Receive and review new pleadings and upload to archive
                                                                                   folder.
03/16/16 Mary H. Kim                2.30        0.00       $0.00             $0.00 Draft supplemental class certification brief.
03/17/16 Neil A. Steiner            1.00        1.00     $500.00          $500.00 Review Kobach discovery objections; email correspondence
                                                                                   with co-counsel re: same; meet with R. Waldman; review
                                                                                   amended class cert brief.
03/17/16 Cara J. Schmidt            5.10        0.00       $0.00             $0.00 Research on defendants' objections to discovery requests in
                                                                                   preparation for joint call with magistrate judge.
03/17/16 Rebecca Kahan Waldman      2.50        2.50     $500.00         $1,250.00 Correspondence regarding status of discovery; revise draft of
                                                                                   supplemental class certification brief.
03/17/16 Angela M. Liu              3.10        3.10     $250.00          $775.00 Continue to review and revise supplemental class
                                                                                   certification; protective order; and strategize regarding 26(f)
                                                                                   conference.
03/17/16 Mary H. Kim                4.80        0.00       $0.00             $0.00 Edit class certification brief; draft third party subpoenas and
                                                                                   document riders.




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                                            Hours       Rate
 Date               Name         Hours                                  Amount     Description
                                           Charged    Requested
03/18/16 Neil A. Steiner            0.50         0.50    $500.00          $250.00 Participate in 26(f) conference; continue work on discovery
                                                                                  issues; email correspondence with co-counsel, defendants'
                                                                                  counsel.
03/18/16 Cara J. Schmidt            1.70        0.00       $0.00            $0.00 Research on defendants' objections to discovery requests in
                                                                                  preparation for joint call with magistrate judge.
03/18/16 Angela M. Liu              3.10        3.10     $250.00          $775.00 Review and oversee subpoenas.
03/18/16 Nicole A. La Due           2.10        0.00       $0.00            $0.00 Receive and review new pleadings, prepare several deadline
                                                                                  reminders of upcoming date for each team attorney and
                                                                                  update master deadline calendar.
03/18/16 Mary H. Kim                4.70        0.00       $0.00            $0.00 Finalize third party subpoena and document rider.
03/19/16 Neil A. Steiner            0.20        0.20     $500.00          $100.00 Review revised draft of discovery requests and protective
                                                                                  order.
03/19/16 Angela M. Liu              0.20        0.20     $250.00           $50.00 Review issues relating to protective order.
03/20/16 Mary H. Kim                1.20        0.00       $0.00            $0.00 Draft third party subpoena and document rider for Caskey.

03/21/16 Rebecca Kahan Waldman      2.50        2.50     $500.00         $1,250.00 Correspondence regarding upcoming depositions and
                                                                                   outstanding discovery related issues.
03/21/16 Angela M. Liu              5.20        5.20     $250.00         $1,300.00 Continue to revise class certification brief; oversee issues
                                                                                   relating to subpoenas; begin preparing for depositions.
03/21/16 Mary H. Kim                2.30        0.00       $0.00             $0.00 Finalize third party subpoena for Caskey.
03/22/16 Neil A. Steiner            1.30        1.30     $500.00          $650.00 Continue work on discovery issues; telephone conference
                                                                                   with co-counsel.
03/22/16 Cara J. Schmidt            5.50        0.00       $0.00             $0.00 Finalize and summarize research on defendants' objections
                                                                                   to our discovery requests in preparation for joint call with
                                                                                   magistrate judge.
03/22/16 Rebecca Kahan Waldman      2.00        2.00     $500.00         $1,000.00 Correspondence regarding upcoming depositions; review
                                                                                   drafts of protective order; prepare for depositions.
03/22/16 Angela M. Liu              3.30        3.30     $250.00          $825.00 Continue to oversee subpoena and deposition process.
03/22/16 Nicole A. La Due           3.00        0.00       $0.00             $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                   to attorneys for review and upload to archive folder.
03/22/16 Nicole A. La Due           2.50        0.00       $0.00             $0.00 Review account and ECF materials in order to determine
                                                                                   status of related cases and determine best method to set up
                                                                                   intercase tracking.
03/22/16 Mary H. Kim                0.50        0.00       $0.00             $0.00 Finalize third party subpoena for Caskey.



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                                               Hours       Rate
 Date               Name            Hours                                  Amount     Description
                                              Charged    Requested
03/23/16 Neil A. Steiner               3.30         3.30    $500.00         $1,650.00 Email correspondence with co-counsel; continue work on
                                                                                      discovery issues; telephonic conference with magistrate
                                                                                      judge.
03/23/16 Cara J. Schmidt               2.50        0.00       $0.00             $0.00 Research case law regarding whether discovery should be
                                                                                      stayed pending dispositive motion.
03/23/16 Rebecca Kahan Waldman         4.90        4.90     $500.00         $2,450.00 Participate in telephonic court conference; prepare for
                                                                                      upcoming depositions; correspondence regarding discovery.

03/23/16 Angela M. Liu                 3.80        3.80     $250.00          $950.00 Court conference and discussion; review correspondence
                                                                                      relating to discovery issues; continue to oversee issues
                                                                                      relating to depositions.
03/23/16 Nicole A. La Due              3.50        0.00       $0.00             $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                      to attorneys for review and upload to archive folder.
03/23/16 Nicole A. La Due              1.00        0.00       $0.00             $0.00 Review account and ECF materials in order to determine
                                                                                      status of related cases and determine best method to set up
                                                                                      intercase tracking.
03/23/16 Nicole A. La Due              0.50        0.00       $0.00             $0.00 Receive and review new pleadings, prepare deadline
                                                                                      reminders of upcoming date for each team attorney and
                                                                                      update master deadline calendar.
03/24/16 Neil A. Steiner               1.20        1.20     $500.00          $600.00 Continue work on protective order; email correspondence
                                                                                      with co-counsel; telephone conversation with R. Waldman;
                                                                                      review Kobach discovery responses.
03/24/16 Elisabeth L. Sachse           1.00        0.00       $0.00             $0.00 Call with R. Waldman and A. Liu regarding document and
                                                                                      data collection for potential production; email
                                                                                      correspondence with vendor regarding potential collection
                                                                                      and related charges; prepare Kansas AG produced materials
                                                                                      for attorney review.
03/24/16 Cara J. Schmidt               5.10        0.00       $0.00             $0.00 Draft opposition to defendants' motion to stay discovery
                                                                                      pending a decision on motion to dismiss.
03/24/16 Rebecca Kahan Waldman         3.20        3.20     $500.00         $1,600.00 Review drafts of notices; correspondence regarding
                                                                                      protective order; correspondence regarding depositions;
                                                                                      prepare for depositions.
03/24/16 Angela M. Liu                 4.30        4.30     $250.00         $1,075.00 Continue to follow up on discovery requests and oversee
                                                                                      subpoenas.



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                                            Hours       Rate
 Date               Name         Hours                                  Amount      Description
                                           Charged    Requested
03/24/16 Nicole A. La Due           7.50         0.00      $0.00             $0.00 Research and review various formats to obtain court alerts,
                                                                                   set up account information to receive further alerts in
                                                                                   related cases (2.1); review recently produced documents in
                                                                                   order to prepare section breaks for uploading into review
                                                                                   database (3.5); receive and review new documents, prepare
                                                                                   deadline reminders of upcoming date for each team
                                                                                   attorney and update master deadline calendar (1.9).

03/24/16 Mary H. Kim                2.70        0.00       $0.00             $0.00 Draft 30(b)(6) deposition notice and handle deposition
                                                                                   logistics.
03/25/16 Neil A. Steiner            0.50        0.50     $500.00          $250.00 Continue work on discovery issues, protective order issues;
                                                                                   email correspondence with co-counsel.
03/25/16 Cara J. Schmidt            3.80        0.00       $0.00             $0.00 Draft subpoena riders for election officials; research address
                                                                                   information for election officials.
03/25/16 Rebecca Kahan Waldman      3.00        3.00     $500.00         $1,500.00 Correspondence regarding depositions; prepare for 30(b)(6)
                                                                                   deposition; correspondence regarding supplemental class
                                                                                   cert brief.
03/25/16 Angela M. Liu              2.10        2.10     $250.00          $525.00 Review issues relating to class certification, discovery, and
                                                                                   oversee subpoenas.
03/25/16 Nicole A. La Due           3.70        0.00       $0.00             $0.00 Review new tracking on related case, update archive files to
                                                                                   include filed pleadings for related case.
03/28/16 Rebecca Kahan Waldman      2.50        2.50     $500.00         $1,250.00 Call regarding class cert brief and correspondence regarding
                                                                                   same; revised class cert brief; prepared for upcoming
                                                                                   depositions.
03/28/16 Angela M. Liu              0.90        0.90     $250.00          $225.00 Strategize regarding class certification and oversee
                                                                                   subpoenas.
03/28/16 Nicole A. La Due           1.30        0.00       $0.00             $0.00 Receive and review new documents; prepare deadline
                                                                                   reminders of upcoming date for each team attorney and
                                                                                   update master deadline calendar.
03/28/16 Mary H. Kim                0.50        0.00       $0.00             $0.00 Manage deposition logistics.
03/29/16 Neil A. Steiner            1.00        1.00     $500.00          $500.00 Email correspondence with co-counsel; continue work on
                                                                                   discovery issues; initial review of oppositions to PI motion.

03/29/16 Angela M. Liu              1.40        1.40     $250.00          $350.00 Continue to review discovery.
03/29/16 Mary H. Kim                0.40        0.00       $0.00            $0.00 Manage deposition logistics.


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                                            Hours       Rate
 Date               Name         Hours                                  Amount     Description
                                           Charged    Requested
03/30/16 Neil A. Steiner            1.50         1.50    $500.00          $750.00 Continue work on discovery, PI issues; conference call with
                                                                                  co-counsel.
03/30/16 Brian K. Deaver            1.00        0.00       $0.00            $0.00 Search for articles regarding Kris Kobach, Bryan Caskey and
                                                                                  Tabitha Lehman on Kansas voter registration and proof of
                                                                                  citizenship for A. Liu.
03/30/16 Cara J. Schmidt            1.60        0.00       $0.00            $0.00 Participate in conference call with the ACLU regarding class
                                                                                  certification motion, upcoming depositions, and defendants'
                                                                                  oppositions to motion for preliminary injunction.

03/30/16 Rebecca Kahan Waldman      4.00        4.00     $500.00         $2,000.00 Review draft disclosures; correspondence regarding class
                                                                                   cert brief; prepare for upcoming depositions; review
                                                                                   oppositions to PI motion.
03/30/16 Angela M. Liu              2.70        2.70     $250.00          $675.00 Attend conference call; continue to oversee depositions and
                                                                                   subpoena process.
03/30/16 Nicole A. La Due           4.20        0.00       $0.00             $0.00 Receive and review new documents, prepare deadline
                                                                                   reminders of upcoming date for each team attorney and
                                                                                   update master deadline calendar, prepare materials for
                                                                                   upcoming deposition.
03/30/16 Mary H. Kim                3.80        0.00       $0.00             $0.00 Edit supplemental class certification brief.
03/31/16 Brian K. Deaver            0.50        0.00       $0.00             $0.00 Search for articles quoting Kris Kobach, Bryan Caskey and
                                                                                   Tabitha Lehman on Kansas voter registration and proof of
                                                                                   citizenship for A. Liu.
03/31/16 Cara J. Schmidt            4.00        0.00       $0.00             $0.00 Review defendants' opposition to motion for preliminary
                                                                                   injunction, including Lehman affidavit, as background
                                                                                   information in preparation for Lehman deposition outline.

03/31/16 Rebecca Kahan Waldman      4.20        4.20     $500.00         $2,100.00 Review motion to dismiss and motion to stay; prepare for
                                                                                   upcoming depositions; review outline for PI reply; revise
                                                                                   class cert motion.
03/31/16 Angela M. Liu              1.80        1.80     $250.00          $450.00 Review and analyze supplemental class certification motion
                                                                                   and discovery responses.
03/31/16 Nicole A. La Due           2.00        0.00       $0.00             $0.00 Receive and review new documents, prepare deadline
                                                                                   reminders of upcoming date for each team attorney and
                                                                                   update master deadline calendar, prepare materials for
                                                                                   upcoming deposition.


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                                             Hours       Rate
 Date               Name          Hours                                  Amount      Description
                                            Charged    Requested
04/01/16 Bernard G. Powell           1.50         0.00      $0.00             $0.00 Deposition preparation.
04/01/16 Cara J. Schmidt             5.70         0.00      $0.00             $0.00 Review Defendant Jordan's motion to dismiss and motion to
                                                                                    stay; research case law related to staying discovery when
                                                                                    Eleventh Amendment immunity is claimed.
04/01/16 Rebecca Kahan Waldman       6.00        6.00     $500.00         $3,000.00 Revise class cert brief; correspondence regarding opposition
                                                                                    to motion to stay; prepare for depositions and
                                                                                    correspondence with ACLU regarding same.
04/01/16 Angela M. Liu               2.00        2.00     $250.00          $500.00 Review discovery materials.
04/01/16 Nicole A. La Due            1.50        0.00       $0.00             $0.00 Review materials for use at upcoming deposition
                                                                                    preparation.
04/01/16 Mary H. Kim                 1.60        0.00       $0.00             $0.00 Revise supplemental class certification brief.
04/02/16 Cara J. Schmidt             2.00        0.00       $0.00             $0.00 Finalize first draft of opposition to motion to stay.
04/02/16 Angela M. Liu               0.20        0.20     $250.00            $50.00 Review discovery materials.
04/03/16 Neil A. Steiner             1.00        1.00     $500.00          $500.00 Review discovery responses and continue work on discovery
                                                                                    issues.
04/03/16 Cara J. Schmidt             3.00        0.00       $0.00             $0.00 Prepare draft deposition outline for Lehman.
04/03/16 Rebecca Kahan Waldman       0.80        0.80     $500.00          $400.00 Review opposition brief.

04/03/16 Angela M. Liu               7.20        7.20     $250.00         $1,800.00 Review and revise opposition to motion to stay; prepare for
                                                                                    deposition.
04/03/16 Mary H. Kim                 0.70        0.00       $0.00             $0.00 Prepare amended class certification motion for filing.
04/04/16 Neil A. Steiner             1.00        1.00     $500.00          $500.00 Email correspondence with co-counsel; continue work on
                                                                                    discovery issues.
04/04/16 Cara J. Schmidt             2.00        0.00       $0.00             $0.00 Update opposition to motion to stay based on comments
                                                                                    from A. Liu.
04/04/16 Rebecca Kahan Waldman       5.00        5.00     $500.00         $2,500.00 Revise class cert brief; prepare for deposition; revise
                                                                                    opposition to motion to stay.
04/04/16 Angela M. Liu               1.50        1.50     $250.00          $375.00 Review and revise opposition to motion to stay; continue
                                                                                    preparing for deposition.
04/04/16 Nicole A. La Due            6.10        0.00       $0.00             $0.00 Review materials, locate, pull and prepare documents for
                                                                                    upcoming deposition; receive and review all recent
                                                                                    pleadings and upload to archive folder.
04/04/16 Mary H. Kim                 0.80        0.00       $0.00             $0.00 Prepared amended class certification motion for filing.
04/05/16 Neil A. Steiner             0.50        0.50     $500.00          $250.00 Revise motion to stay; email correspondence with co-
                                                                                    counsel; continue work on discovery issues.


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                                                Hours       Rate
 Date               Name             Hours                                  Amount     Description
                                               Charged    Requested
04/05/16 Rebecca Kahan Waldman          6.70         6.70    $500.00         $3,350.00 Prepare for deposition; travel to Kansas; correspondence
                                                                                       regarding preliminary injunction.
04/05/16 Angela M. Liu                  7.30        7.30     $250.00         $1,825.00 Travel to and prepare for deposition.
04/05/16 Nicole A. La Due               1.20        0.00       $0.00             $0.00 Receive and review new pleadings, convert and upload to
                                                                                       archive folder; receive and review newly filed discovery
                                                                                       materials in order to properly classify each, convert and
                                                                                       upload to archive folder.
04/06/16 Rebecca Kahan Waldman         10.00       10.00     $500.00         $5,000.00 Conduct 30(b)(6) deposition; attend Lehman deposition;
                                                                                       travel to and from same.
04/06/16 Angela M. Liu                  9.00        9.00     $250.00         $2,250.00 Prepare for and attend depositions of B. Caskey and T.
                                                                                       Lehman; travel for depositions.
04/06/16 Nicole A. La Due               2.10        0.00       $0.00             $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                       to attorneys for review and upload to archive folder.
04/07/16 Rebecca Kahan Waldman          4.50        4.50     $500.00         $2,250.00 Travel from depositions.

04/07/16 Angela M. Liu                  4.00        4.00     $250.00         $1,000.00 Travel from depositions.
04/07/16 Nicole A. La Due               1.60        0.00       $0.00             $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                       to attorneys for review and upload to archive folder.
04/08/16 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Email correspondence with co-counsel; continued work on
                                                                                       discovery issues; email correspondence with opposing
                                                                                       counsel.
04/08/16 Cara J. Schmidt                0.50        0.00       $0.00             $0.00 Review timing for opposition to Defendant Jordan's motion
                                                                                       to dismiss.
04/08/16 Angela M. Liu                  1.50        1.50     $250.00          $375.00 Review deposition transcript; call T. Stricker; organize
                                                                                       motion to dismiss.
04/08/16 Nicole A. La Due               1.80        0.00       $0.00             $0.00 Receive and review new pleadings, convert and upload to
                                                                                       electronic file; prepare deadline reminders of upcoming date
                                                                                       for each team attorney and update master deadline
                                                                                       calendar.
04/08/16 Mary H. Kim                    1.60        0.00       $0.00             $0.00 Legal research relating to depositions.
04/09/16 Mary H. Kim                    1.10        0.00       $0.00             $0.00 Legal research relating to privilege issues.
04/09/16 Taylor T. Southworth           1.33        0.00       $0.00             $0.00 Pull cases for Angela Liu.
04/11/16 Neil A. Steiner                4.50        4.50     $500.00         $2,250.00 Review and revise PI reply brief.
04/11/16 Cara J. Schmidt                1.50        0.00       $0.00             $0.00 Prepare outline for opposition to Defendant Jordan's motion
                                                                                       to dismiss.


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                                               Hours       Rate
 Date               Name            Hours                                  Amount      Description
                                              Charged    Requested
04/11/16 Rebecca Kahan Waldman         1.00         1.00    $500.00          $500.00 Attention to issues related to discovery and PI hearing.

04/11/16 Nicole A. La Due              1.90        0.00       $0.00             $0.00 Receive and review new pleadings, convert and upload to
                                                                                      electronic file; prepare deadline reminders of upcoming date
                                                                                      for each team attorney and update master deadline
                                                                                      calendar.
04/12/16 Neil A. Steiner               1.00        1.00     $500.00          $500.00 Prepare for PI hearing.
04/12/16 Cara J. Schmidt               2.40        0.00       $0.00             $0.00 Prepare outline for opposition to Defendant Jordan's motion
                                                                                      to dismiss; discuss opposition with A. Liu and begin drafting
                                                                                      of same.
04/12/16 Rebecca Kahan Waldman         2.20        2.20     $500.00         $1,100.00 Review draft expert report; review draft PI brief;
                                                                                      correspondence regarding same.
04/12/16 Angela M. Liu                 4.80        4.80     $250.00         $1,200.00 Strategize and review issues relating to motion to dismiss.
04/13/16 Neil A. Steiner               8.00        8.00     $500.00         $4,000.00 Travel to Kansas City; participate in moot court and prepare
                                                                                      for hearing.
04/13/16 Elisabeth L. Sachse           0.40        0.00       $0.00             $0.00 Prepare Kansas AG produced materials for attorney review.

04/13/16 Cara J. Schmidt               3.20        0.00       $0.00             $0.00 Research and draft opposition to Jordan's motion to dismiss.

04/13/16 Rebecca Kahan Waldman         1.20        1.20     $500.00          $600.00 Review of Lehman documents and correspondence
                                                                                      regarding same; participate in moot.
04/13/16 Angela M. Liu                 2.00        2.00     $250.00          $500.00 Strategize regarding issues re: discovery and motion to
                                                                                      dismiss.
04/13/16 Mary H. Kim                   4.40        0.00       $0.00             $0.00 Legal research relating to privilege issues.
04/14/16 Neil A. Steiner               9.00        9.00     $500.00         $4,500.00 Attend hearing on preliminary injunction; return to New
                                                                                      York.
04/14/16 Cara J. Schmidt               2.70        0.00       $0.00             $0.00 Research and draft opposition to Jordan's motion to dismiss.

04/14/16 Mary H. Kim                   4.30        0.00       $0.00             $0.00 Legal research for motion to dismiss.
04/17/16 Cara J. Schmidt               2.40        0.00       $0.00             $0.00 Research and draft opposition to Jordan's motion to dismiss.

04/18/16 Neil A. Steiner               0.50        0.50     $500.00          $250.00 Review and revise opposition to motion to dismiss and email
                                                                                     correspondence regarding same.
04/18/16 Cara J. Schmidt               7.50        0.00       $0.00            $0.00 Finalize draft of opposition to Jordan's motion to dismiss.



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                                            Hours       Rate
 Date               Name         Hours                                  Amount      Description
                                           Charged    Requested
04/18/16 Rebecca Kahan Waldman      1.80         1.80    $500.00          $900.00 Correspondence regarding discovery; revise draft of
                                                                                   opposition to motion to dismiss.
04/18/16 Mary H. Kim                5.70        0.00       $0.00             $0.00 Legal research relating to privilege issues and motion to
                                                                                   dismiss.
04/19/16 Neil A. Steiner            0.80        0.80     $500.00          $400.00 Continue work on discovery issues; email correspondence
                                                                                   with co-counsel; review and revise opposition to Jordan
                                                                                   motion to dismiss.
04/19/16 Cara J. Schmidt            2.60        0.00       $0.00             $0.00 Update the draft opposition to Defendant Jordan's motion
                                                                                   to dismiss and circulate to ACLU for review.
04/19/16 Rebecca Kahan Waldman      0.80        0.80     $500.00          $400.00 Correspondence regarding revised draft of brief;
                                                                                   correspondence regarding status of discovery.
04/19/16 Angela M. Liu              4.90        4.90     $250.00         $1,225.00 Review and revise opposition to motion to dismiss.
04/20/16 Neil A. Steiner            1.20        1.20     $500.00          $600.00 Conference call with co-counsel; revise opposition to motion
                                                                                   to dismiss; continue work on discovery issues.
04/20/16 Cara J. Schmidt            5.00        0.00       $0.00             $0.00 Update opposition to motion to dismiss based on comments
                                                                                   from the ACLU.
04/20/16 Rebecca Kahan Waldman      0.60        0.60     $500.00          $300.00 Review revised opposition to motion to dismiss;
                                                                                   correspondence regarding discovery.
04/20/16 Angela M. Liu              5.60        5.60     $250.00         $1,400.00 Continue to draft and revise opposition to motion to dismiss.

04/20/16 Tiffany Lewis              3.00        0.00       $0.00             $0.00 Cite check opposition to motion to dismiss.
04/21/16 Cara J. Schmidt            4.90        0.00       $0.00             $0.00 Review and incorporate final comments on opposition to
                                                                                   motion to dismiss, prepare accompanying declaration and
                                                                                   exhibits, and coordinate filing.
04/21/16 Rebecca Kahan Waldman      0.80        0.80     $500.00          $400.00 Review revised draft of opposition to motion to dismiss;
                                                                                   correspondence regarding discovery and class certification
                                                                                   motion.
04/21/16 Angela M. Liu              5.20        5.20     $250.00         $1,300.00 Prepare opposition to motion to dismiss for filing.
04/21/16 Nicole A. La Due           3.40        0.00       $0.00             $0.00 Receive and review new pleadings, convert and upload to
                                                                                   electronic file; prepare deadline reminders of upcoming date
                                                                                   for each team attorney and update master deadline
                                                                                   calendar.




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                                            Hours       Rate
 Date              Name          Hours                                  Amount      Description
                                           Charged    Requested
04/22/16 Cara J. Schmidt            4.00         0.00      $0.00            $0.00 Review discovery requests directed at Plaintiff Bucci and
                                                                                  discuss discovery responses with A. Liu in preparation for call
                                                                                  with Plaintiff Bucci; call Plaintiff Bucci and review discovery
                                                                                  requests and facts from her affidavit; circulate notes on the
                                                                                  call to team.
04/22/16 Rebecca Kahan Waldman      0.80        0.80     $500.00          $400.00 Revise opposition to motion for extension; correspondence
                                                                                  regarding discovery.
04/22/16 Angela M. Liu              1.60        1.60     $250.00          $400.00 Continue to review document requests.
04/22/16 Mary H. Kim                6.70        0.00       $0.00            $0.00 Draft responses to defendants' discovery requests.
04/23/16 Angela M. Liu              2.20        2.20     $250.00          $550.00 Review document requests, prepare for depositions, and
                                                                                  continue to attempt to reach D. Bucci.
04/24/16 Rebecca Kahan Waldman      0.50        0.50     $500.00          $250.00 Correspondence regarding discovery.

04/24/16 Angela M. Liu              1.50        1.50     $250.00          $375.00 Strategize regarding issues relating to depositions and
                                                                                  declarations.
04/25/16 Rebecca Kahan Waldman      0.30        0.30     $500.00          $150.00 Correspondence regarding discovery.

04/25/16 Angela M. Liu              3.50        3.50     $250.00          $875.00 Continue to revise discovery requests.
04/25/16 Mary H. Kim                3.60        0.00       $0.00             $0.00 Draft responses to defendants' discovery requests.
04/26/16 Rebecca Kahan Waldman      1.80        1.80     $500.00          $900.00 Correspondence regarding depositions; review responses to
                                                                                   written discovery requests.
04/26/16 Angela M. Liu              4.50        4.50     $250.00         $1,125.00 Prepare discovery responses; continue to schedule
                                                                                   depositions.
04/26/16 Mary H. Kim                2.60        0.00       $0.00             $0.00 Draft responses to defendants' discovery requests.
04/27/16 Rebecca Kahan Waldman      3.10        3.10     $500.00         $1,550.00 Review and revise responses to discovery requests;
                                                                                   correspondence regarding deposition schedule;
                                                                                   correspondence with clients regarding discovery; participate
                                                                                   in weekly call.
04/27/16 Angela M. Liu              6.30        6.30     $250.00         $1,575.00 Continue to strategize regarding discovery and issues
                                                                                   relating to depositions; revise responses to discovery
                                                                                   requests.
04/28/16 Rebecca Kahan Waldman      5.00        5.00     $500.00         $2,500.00 Correspondence regarding deposition schedule; draft
                                                                                   motion for protective order; draft related declarations; call
                                                                                   with client regarding documents.
04/28/16 Angela M. Liu              4.90        4.90     $250.00         $1,225.00 Continue to strategize issues relating to discovery.


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                                               Hours       Rate
 Date               Name            Hours                                  Amount      Description
                                              Charged    Requested
04/28/16 Thomas H. Cordova             0.50         0.00      $0.00             $0.00 Review documents produced by Kansas regarding our
                                                                                      clients.
04/29/16 Rebecca Kahan Waldman         4.50        4.50     $500.00         $2,250.00 Participate in meet and confers with defendants;
                                                                                      correspondence with co-counsel regarding discovery
                                                                                      requests and deposition schedule; revise responses and
                                                                                      objections to discovery requests.
04/29/16 Angela M. Liu                 3.00        3.00     $250.00          $750.00 Strategize regarding issues relating to discovery.
04/29/16 Thomas H. Cordova             0.50        0.00       $0.00             $0.00 Review documents produced by Kansas related to our
                                                                                      clients.
05/01/16 Rebecca Kahan Waldman         2.20        2.20     $500.00         $1,100.00 Revise motion for protective order and related declaration.

05/02/16 Neil A. Steiner               1.50        1.50     $500.00          $750.00 Meet with R. Waldman; review opposition to motion for
                                                                                      protective order; review and revise reply; multiple emails
                                                                                      with co-counsel regarding discovery issues.
05/02/16 Cara J. Schmidt               3.90        0.00       $0.00             $0.00 Research legal standards for when a protective order will be
                                                                                      granted to control the time and place of a deposition in
                                                                                      preparation for telephonic hearing.
05/02/16 Rebecca Kahan Waldman         4.50        4.50     $500.00         $2,250.00 Finalize motion for protective order and declaration; prepare
                                                                                      for court conference; correspondence regarding responses
                                                                                      to discovery requests; draft reply brief.
05/02/16 Angela M. Liu                 7.80        7.80     $250.00         $1,950.00 Continue to revise discovery responses, strategize regarding
                                                                                      issue relating to discovery, and prepare documents for
                                                                                      service.
05/02/16 Nicole A. La Due              0.90        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                      electronic file and prepare deadline reminders of upcoming
                                                                                      date for each team attorney.
05/02/16 Mary H. Kim                   0.70        0.00       $0.00             $0.00 Review and revise responses to defendants' discovery
                                                                                      requests.
05/03/16 Neil A. Steiner               0.50        0.50     $500.00          $250.00 Continue work on discovery issues; email correspondence
                                                                                      with co-counsel; review order on preliminary injunction
                                                                                      motion.
05/03/16 Elisabeth L. Sachse           0.50        0.00       $0.00             $0.00 Prepare Kansas SOS production for attorney review.
05/03/16 Cara J. Schmidt               0.30        0.00       $0.00             $0.00 Discuss Plaintiff Bucci's previous interview statements with
                                                                                      R. Waldman prior to client deposition preparation.



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                                             Hours       Rate
 Date               Name          Hours                                  Amount      Description
                                            Charged    Requested
05/03/16 Rebecca Kahan Waldman       6.30         6.30    $500.00         $3,150.00 Deposition prep. of Bucci and Stricker; prepare for court
                                                                                    conference; correspondence regarding responses to
                                                                                    discovery; revise response to discovery.
05/03/16 Angela M. Liu              13.80       13.80     $250.00         $3,450.00 Prepare witnesses, travel for depositions, prepare for
                                                                                    depositions, revise and prepare discovery requests.
05/03/16 Nicole A. La Due            6.90        0.00       $0.00             $0.00 Review materials, create several unique bates numbered
                                                                                    production sets, forward to attorney to review and
                                                                                    distribute to team; receive and review new pleadings,
                                                                                    convert, upload to electronic file and prepare deadline
                                                                                    reminders of upcoming date for each team J409attorney of
                                                                                    the team.
05/03/16 Thomas H. Cordova           0.30        0.00       $0.00             $0.00 Organize documents related to our clients.
05/03/16 Mary H. Kim                 8.60        0.00       $0.00             $0.00 Worked on responses to defendants' discovery requests.
05/04/16 Neil A. Steiner             0.50        0.50     $500.00          $250.00 Numerous email correspondence with co-counsel regarding
                                                                                    discovery, deposition issues.
05/04/16 Rebecca Kahan Waldman       2.70        2.70     $500.00         $1,350.00 Correspondence regarding depositions; responded to
                                                                                    questions arising out of depositions; correspondence
                                                                                    regarding written discovery.
05/04/16 Angela M. Liu              14.20       14.20     $250.00         $3,550.00 Prepare for and defend depositions.
05/04/16 Nicole A. La Due            3.20        0.00       $0.00             $0.00 Review materials, create several unique bates numbered
                                                                                    production sets, forward to attorney to review and
                                                                                    distribute to team; receive and review new pleadings,
                                                                                    convert, upload to electronic file and prepare deadline
                                                                                    reminders of upcoming date for each attorney of the team.

05/04/16 Mary H. Kim                 1.30        0.00       $0.00            $0.00 Worked on responses to defendants' discovery requests.
05/05/16 Neil A. Steiner             1.30        1.30     $500.00          $650.00 Conference call with co-counsel; work on discovery issues.

05/05/16 Rebecca Kahan Waldman       4.50        4.50     $500.00         $2,250.00 Correspondence regarding upcoming depositions; prepared
                                                                                    witness for upcoming deposition; reviewed Jordan's reply
                                                                                    brief; reviewed responses to discovery requests; call with co-
                                                                                    counsel.
05/05/16 Angela M. Liu               6.70        6.70     $250.00         $1,675.00 Continue to revise discovery responses, strategize regarding
                                                                                    discovery, update depositions.



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                                               Hours       Rate
 Date               Name            Hours                                  Amount      Description
                                              Charged    Requested
05/05/16 Nicole A. La Due              1.80         0.00      $0.00             $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                      to attorneys for review and upload to archive folder.
05/05/16 Mary H. Kim                   0.60        0.00       $0.00             $0.00 Worked on responses to defendants' discovery requests.
05/06/16 Cara J. Schmidt               2.50        0.00       $0.00             $0.00 Draft third document request for Kobach and circulate it to
                                                                                      the team.
05/06/16 Angela M. Liu                 0.80        0.80     $250.00          $200.00 Oversee and prepare discovery for service.
05/06/16 Nicole A. La Due              1.30        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                      electronic file and prepare deadline reminders of upcoming
                                                                                      date for each attorney of the team.
05/06/16 Mary H. Kim                   2.50        0.00       $0.00             $0.00 Worked on responses to defendants' discovery requests.
05/07/16 Neil A. Steiner               0.30        0.30     $500.00          $150.00 Email correspondence with co-counsel, opposing counsel
                                                                                      regarding discovery issues.
05/07/16 Angela M. Liu                 0.30        0.30     $250.00            $75.00 Continue to strategize regarding depositions and document
                                                                                      review.
05/08/16 Elisabeth L. Sachse           1.00        0.00       $0.00             $0.00 Prepare additional Kansas AG and Secretary of State
                                                                                      produced materials for attorney review. Email
                                                                                      correspondence with CDS regarding Secretary of State
                                                                                      material and related processing requests.
05/08/16 Angela M. Liu                 2.20        2.20     $250.00          $550.00 Review transcript of preliminary injunction hearing.
05/09/16 Neil A. Steiner               1.50        1.50     $500.00          $750.00 Conference call with co-counsel; continue work on discovery
                                                                                      issues.
05/09/16 Elisabeth L. Sachse           0.50        0.00       $0.00             $0.00 Prepare Kansas AG and Secretary of State produced
                                                                                      materials for attorney review.
05/09/16 Cara J. Schmidt               1.00        0.00       $0.00             $0.00 Update the third request for production from Kobach based
                                                                                      on comment from the team.
05/09/16 Rebecca Kahan Waldman         3.00        3.00     $500.00         $1,500.00 Correspondence regarding revisions to privilege log; call with
                                                                                      ACLU regarding outstanding issues; reviewed discovery
                                                                                      requests to LWV; correspondence regarding status of
                                                                                      discovery.
05/09/16 Angela M. Liu                 4.20        4.20     $250.00         $1,050.00 Attend strategy conference call; continue to manage
                                                                                      requests for admission and production; review supplemental
                                                                                      authority; arrange scheduling for T. Stricker media.




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                                               Hours       Rate
 Date               Name            Hours                                  Amount     Description
                                              Charged    Requested
05/09/16 Nicole A. La Due              3.00         0.00      $0.00             $0.00 Review materials, create several unique bates numbered
                                                                                      production sets, forward to attorney to review and
                                                                                      distribute to team; Receive and review new pleadings,
                                                                                      convert, upload to electronic file and prepare deadline
                                                                                      reminders of upcoming date for each attorney of the team .

05/09/16 Mary H. Kim                   4.00        0.00       $0.00            $0.00 Worked on responses to defendants' discovery requests.
05/10/16 Cara J. Schmidt               1.60        0.00       $0.00            $0.00 Finalize the third request for production and coordinate in
                                                                                     its service.
05/10/16 Rebecca Kahan Waldman         1.00        1.00     $500.00          $500.00 Correspondence regarding RFAs and depositions.

05/10/16 Angela M. Liu                 3.50        3.50     $250.00          $875.00 Prepare discovery documents for service.
05/10/16 Nicole A. La Due              2.80        0.00       $0.00             $0.00 Review materials, create several unique bates numbered
                                                                                      production sets, forward to attorney to review and
                                                                                      distribute to team; Receive and review new pleadings,
                                                                                      convert, upload to electronic file and prepare deadline
                                                                                      reminders of upcoming date for each attorney.
05/10/16 Thomas H. Cordova             2.30        0.00       $0.00             $0.00 Review Secretary of State's document production.
05/10/16 Mary H. Kim                   2.00        0.00       $0.00             $0.00 Review and revise responses to defendants' discovery
                                                                                      requests.
05/11/16 Neil A. Steiner               1.00        1.00     $500.00          $500.00 Telephone conference with co-counsel; continued work on
                                                                                      discovery issues.
05/11/16 Rebecca Kahan Waldman         3.80        3.80     $500.00         $1,900.00 Participate in weekly status call; correspondence regarding
                                                                                      discovery; review document requests to league.
05/11/16 Angela M. Liu                 4.40        4.40     $250.00         $1,100.00 Attend strategy call; strategize regarding LWV; manage
                                                                                      assignments relating to research; review deposition
                                                                                      transcripts.
05/11/16 Nicole A. La Due              1.30        0.00       $0.00             $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                      to attorneys for review and upload to archive folder.
05/11/16 Thomas H. Cordova             0.60        0.00       $0.00             $0.00 Review Secretary of State's first document production.
05/12/16 Elisabeth L. Sachse           0.50        0.00       $0.00             $0.00 Email correspondence regarding personal email collections;
                                                                                      provide Relativity support for case team.
05/12/16 Rebecca Kahan Waldman         2.00        2.00     $500.00         $1,000.00 Call with CDS; correspondence regarding discovery;
                                                                                      correspondence regarding research; review initial research
                                                                                      regarding class cert.


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                                             Hours       Rate
 Date               Name          Hours                                  Amount     Description
                                            Charged    Requested
05/12/16 Angela M. Liu               4.10         4.10    $250.00         $1,025.00 Continue reviewing deposition transcripts; attend call with
                                                                                    vendor relating to LWV documents; review requests for
                                                                                    admission.
05/12/16 Thomas H. Cordova           3.10        0.00       $0.00             $0.00 Draft research memo regarding potential standing issues.
05/12/16 Mary H. Kim                 1.30        0.00       $0.00             $0.00 Review and revise responses to defendant's subpoena duces
                                                                                    tecum.
05/13/16 David W. Lang               4.00        0.00       $0.00             $0.00 Research for C. Schmidt to obtain public statements by Kris
                                                                                    Kobach, Brian Caskey, and Jameson Beckner.
05/13/16 Neil A. Steiner             0.50        0.50     $500.00          $250.00 Continue work on discovery issues and numerous emails re
                                                                                    same.
05/13/16 Cara J. Schmidt             0.30        0.00       $0.00             $0.00 Work with research services to pull statements made by KS
                                                                                    Secretary of State defendants related to the DPOC law.
05/13/16 Rebecca Kahan Waldman       4.00        4.00     $500.00         $2,000.00 Draft responses and objections to discovery requests;
                                                                                    correspondence regarding status of discovery.
05/13/16 Angela M. Liu               0.60        0.60     $250.00          $150.00 Review responses to DOR regarding document requests.
05/13/16 Thomas H. Cordova           0.90        0.00       $0.00             $0.00 Draft research memo regarding standing issues.
05/13/16 Mary H. Kim                 1.10        0.00       $0.00             $0.00 Review and revise responses to defendant's subpoena duces
                                                                                    tecum.
05/15/16 Neil A. Steiner             0.30        0.30     $500.00          $150.00 Continue work on discovery issues and email
                                                                                    correspondence with co-counsel re same.
05/15/16 Thomas H. Cordova           0.70        0.00       $0.00             $0.00 Draft research memo regarding potential standing issues.
05/16/16 David W. Lang               2.50        0.00       $0.00             $0.00 Research for C. Schmidt to obtain public statements by Kris
                                                                                    Kobach, Brian Caskey, and Jameson Beckner.
05/16/16 Neil A. Steiner             1.50        1.50     $500.00          $750.00 Continue work on discovery issues; telephone conversation
                                                                                    with R. Waldman; email correspondence with D. Ho; review
                                                                                    defendants' expert report.
05/16/16 Cara J. Schmidt             0.40        0.00       $0.00             $0.00 Work with research services to pull statements made by KS
                                                                                    Secretary of State defendants related to the DPOC law.
05/16/16 Rebecca Kahan Waldman       2.30        2.30     $500.00         $1,150.00 Review recent discovery requests from Jordan and
                                                                                    correspondence regarding same.
05/16/16 Angela M. Liu               3.20        3.20     $250.00          $800.00 Review response to supplemental authority; review expert
                                                                                    report; continue to strategize regarding subpoena,
                                                                                    documents requests.
05/16/16 Thomas H. Cordova           4.80        0.00       $0.00             $0.00 Draft research memo regarding potential standing issue.



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                                               Hours       Rate
 Date               Name            Hours                                  Amount      Description
                                              Charged    Requested
05/17/16 Neil A. Steiner               1.50         1.50    $500.00          $750.00 Initial review of opinion and email correspondence regarding
                                                                                      same; continue work on discovery issues.
05/17/16 Rebecca Kahan Waldman         2.50        2.50     $500.00         $1,250.00 Review opinion and order; correspondence regarding class
                                                                                      cert issues.
05/17/16 Thomas H. Cordova             0.80        0.00       $0.00             $0.00 Draft research memo regarding potential standing issues.
05/17/16 Mary H. Kim                   2.80        0.00       $0.00             $0.00 Prepare for meet and confer regarding discovery disputes.

05/18/16 Neil A. Steiner               3.00        3.00     $500.00         $1,500.00 Continue review of opinion; review oppositions to class
                                                                                      certification; continue work on discovery issues; conference
                                                                                      call with co-counsel.
05/18/16 Cara J. Schmidt               5.10        0.00       $0.00             $0.00 Review defendants' most recent filings--opposition to
                                                                                      motion for class certification; create search terms to be run
                                                                                      against production by League of Women Voters.
05/18/16 Rebecca Kahan Waldman         4.50        4.50     $500.00         $2,250.00 Revise responses and objections to document requests;
                                                                                      participate in weekly call; review recent filings;
                                                                                      correspondence regarding research.
05/18/16 Angela M. Liu                 3.50        3.50     $250.00          $875.00 Attend conference call; strategize regarding document
                                                                                      review and requests; review memorandum opinion; review
                                                                                      class certification briefs.
05/18/16 Nicole A. La Due              0.50        0.00       $0.00             $0.00 Receive and review several new pleadings, distribute
                                                                                      electronic copy to attorneys for review and upload to
                                                                                      archive folder.
05/18/16 Thomas H. Cordova             4.00        0.00       $0.00             $0.00 Draft memo regarding potential standing issues.
05/18/16 Mary H. Kim                   4.60        0.00       $0.00             $0.00 Participate in team call; prepare for meet and confer.
05/19/16 Neil A. Steiner               1.30        1.30     $500.00          $650.00 Email correspondence with co-counsel; continue work on
                                                                                      discovery issues, expert issues.
05/19/16 Elisabeth L. Sachse           1.10        0.00       $0.00             $0.00 Prepare League of Women Voters materials for production;
                                                                                      email correspondence with CDS regarding email collection
                                                                                      processing and related requests.
05/19/16 Cara J. Schmidt               0.50        0.00       $0.00             $0.00 Review defendants' most recent filings--opposition to
                                                                                      motion for class certification and notice of policy change.
05/19/16 Rebecca Kahan Waldman         4.00        4.00     $500.00         $2,000.00 Revise discovery requests; prepare for meet and confer;
                                                                                      correspondence regarding discovery and class certification;
                                                                                      meeting regarding research assignments; review recent
                                                                                      filings.


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                                                Hours       Rate
 Date               Name             Hours                                  Amount     Description
                                               Charged    Requested
05/19/16 Angela M. Liu                  1.30         1.30    $250.00          $325.00 Continue to manage discovery.
05/19/16 Nicole A. La Due               2.30         0.00      $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
05/19/16 Thomas H. Cordova              2.40        0.00       $0.00             $0.00 Draft memo regarding potential standing issues.
05/19/16 Kaitlyn N. Walsh               5.30        0.00       $0.00             $0.00 Review and organize Class Certification Motion materials;
                                                                                       research issue regarding adequacy of representation.
05/20/16 Neil A. Steiner                2.50        2.50     $500.00         $1,250.00 Continued work on discovery issues; review motion to stay;
                                                                                       participate in team meeting; email correspondence with co-
                                                                                       counsel.
05/20/16 Elisabeth L. Sachse            2.50        0.00       $0.00             $0.00 Prepare, finalize and send League of Women Voters
                                                                                       production.
05/20/16 Cara J. Schmidt                2.20        0.00       $0.00             $0.00 Meeting with summer associates to explain case and assign
                                                                                       research.
05/20/16 Rebecca Kahan Waldman          7.20        7.20     $500.00         $3,600.00 Prepare for and participate in meet and confer; team
                                                                                       meeting regarding research; finalize discovery responses.
05/20/16 Angela M. Liu                  3.70        3.70     $250.00          $925.00 Attend conference call with B. Cox regarding discovery
                                                                                       requests; attend strategy meeting; continue to manage
                                                                                       issues relating to discovery and class certification.
05/20/16 Nicole A. La Due               2.50        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
05/20/16 Thomas H. Cordova              4.20        0.00       $0.00             $0.00 Draft memo regarding potential standing issues.
05/20/16 Mary H. Kim                    1.60        0.00       $0.00             $0.00 Meet and confer with opposing counsel; attend team
                                                                                       meeting to discuss case progress and next steps.
05/20/16 John E. Ludwig                 0.15        0.00       $0.00             $0.00 Draft memo regarding irreparable harm in Tenth Circuit.
05/20/16 John E. Ludwig                 0.73        0.00       $0.00             $0.00 Memo regarding preliminary injunction stay.
05/20/16 Hyun Soo Jung                  1.30        0.00       $0.00             $0.00 Attend group meeting regarding case strategy.
05/20/16 Alaina R. Heine                3.00        0.00       $0.00             $0.00 Review memo in support of plaintiff's motion for class
                                                                                       certification and attend team meeting.
05/20/16 Samuel H. Scarritt-Selman      1.70        0.00       $0.00             $0.00 Review pleadings, attend team meeting to discuss research
                                                                                       projects.
05/20/16 Kaitlyn N. Walsh               5.70        0.00       $0.00             $0.00 Research and prepare initial draft of memorandum of law
                                                                                       regarding issue of adequacy of representation.
05/20/16 Kaitlyn N. Walsh               1.00        0.00       $0.00             $0.00 Attend team meeting.


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                                                Hours       Rate
 Date               Name             Hours                                  Amount      Description
                                               Charged    Requested
05/21/16 Neil A. Steiner                1.00         1.00    $500.00          $500.00 Continued review of stay brief; review and revise opposition
                                                                                      outline; email correspondence with co-counsel re: same.

05/21/16 Thomas H. Cordova              1.40        0.00       $0.00            $0.00 Draft research memo regarding potential standing issue.
05/22/16 Rebecca Kahan Waldman          1.50        1.50     $500.00          $750.00 Revise template for responses to RFAs.

05/22/16 Angela M. Liu                  1.20        1.20     $250.00          $300.00 Review class certification issues.
05/22/16 Thomas H. Cordova              4.80        0.00       $0.00            $0.00 Draft research memo regarding potential standing issue.
05/22/16 Mary H. Kim                    1.10        0.00       $0.00            $0.00 Review and revise amended responses to Jordan's requests
                                                                                      for admissions.
05/22/16 Alaina R. Heine                3.00        0.00       $0.00            $0.00 Review Motion for Class Certification and Defendants'
                                                                                      Responses.
05/23/16 Neil A. Steiner                1.00        1.00     $500.00          $500.00 Continued work on discovery issues; telephone conversation
                                                                                      with co-counsel.
05/23/16 Elisabeth L. Sachse            1.30        0.00       $0.00            $0.00 Review and revise search terms; email correspondence with
                                                                                      Dechert and CDS regarding email processing requests and
                                                                                      related issues.
05/23/16 Cara J. Schmidt                2.50        0.00       $0.00            $0.00 Develop review system for document review.
05/23/16 Rebecca Kahan Waldman          1.00        1.00     $500.00          $500.00 Correspondence regarding discovery.

05/23/16 Angela M. Liu                  4.00        4.00     $250.00         $1,000.00 Review and revise research regarding class certification;
                                                                                       continue to manage document production.
05/23/16 Thomas H. Cordova              1.70        0.00       $0.00             $0.00 Draft research memo regarding potential standing issue.
05/23/16 Mary H. Kim                    2.10        0.00       $0.00             $0.00 Review Kobach and Jordan's responses to class certification;
                                                                                       review and revise amended responses to Jordan's requests
                                                                                       for admissions.
05/23/16 John E. Ludwig                 7.60        0.00       $0.00             $0.00 Research and draft of stay standard section for opposition to
                                                                                       motion to stay.
05/23/16 Hyun Soo Jung                  1.33        0.00       $0.00             $0.00 Review litigation documents to gain understanding of
                                                                                       matter.
05/23/16 Alaina R. Heine                7.00        0.00       $0.00             $0.00 Prepare case summaries for Kobach and Jordan briefs.
05/23/16 Alaina R. Heine                1.00        0.00       $0.00             $0.00 Review Defendants' briefs and highlight relevant cases to be
                                                                                       summarized.
05/23/16 Samuel H. Scarritt-Selman      0.30        0.00       $0.00             $0.00 Email R. Waldman re: research assignment.



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                                               Hours       Rate
 Date               Name            Hours                                  Amount      Description
                                              Charged    Requested
05/23/16 Kaitlyn N. Walsh              6.20         0.00      $0.00            $0.00 Continue drafting memorandum; prepare chart of
                                                                                     deposition testimony comparison.
05/24/16 Elisabeth L. Sachse           0.50        0.00       $0.00            $0.00 Email correspondence with CDS and A. Liu regarding
                                                                                     processing requests and related issues.
05/24/16 Jaime F. Freedman             1.50        0.00       $0.00            $0.00 Review background materials for document review.
05/24/16 Cara J. Schmidt               5.00        0.00       $0.00            $0.00 Participate in discovery planning call with ACLU; research
                                                                                     issues for class certification reply brief.
05/24/16 Rebecca Kahan Waldman         0.80        0.80     $500.00          $400.00 Correspondence regarding discovery.

05/24/16 Angela M. Liu                 3.60        3.60     $250.00          $900.00 Continue to manage discovery, issues relating to class
                                                                                      certification, stay standards etc.
05/24/16 Mary H. Kim                   1.40        0.00       $0.00             $0.00 Prepare amended responses to Jordan's requests for
                                                                                      admissions.
05/24/16 John E. Ludwig                2.45        0.00       $0.00             $0.00 Finalize stay standards section of brief.
05/24/16 Hyun Soo Jung                 5.57        0.00       $0.00             $0.00 Legal research regarding timing for proceeding and
                                                                                      determination of a class certification.
05/24/16 Alaina R. Heine               8.00        0.00       $0.00             $0.00 Review and summarize cases cited in Defendants' briefs.
05/24/16 Kaitlyn N. Walsh              4.00        0.00       $0.00             $0.00 Finalize memorandum for issue of adequacy of
                                                                                      representation; continued work on charts to conceptualize
                                                                                      testimony.
05/24/16 Kaitlyn N. Walsh              4.02        0.00       $0.00             $0.00 Finalize memorandum for issue of adequacy of
                                                                                      representation; continued work on charts to conceptualize
                                                                                      testimony.
05/25/16 Neil A. Steiner               0.30        0.30     $500.00          $150.00 Initial review of order; email correspondence with co-
                                                                                      counsel.
05/25/16 Cara J. Schmidt               4.70        0.00       $0.00             $0.00 Research issues for class certification reply brief.
05/25/16 Rebecca Kahan Waldman         1.80        1.80     $500.00          $900.00 Attend weekly update call; correspondence regarding
                                                                                      discovery; review research related to class cert. motion.
05/25/16 Angela M. Liu                 4.80        4.80     $250.00         $1,200.00 Continue to oversee issues relating to document review,
                                                                                      discovery, and research assignments.
05/25/16 Thomas H. Cordova             4.30        0.00       $0.00             $0.00 Draft reply brief for certification petition.
05/25/16 Mary H. Kim                  10.10        0.00       $0.00             $0.00 Drafted class certification reply brief; participate in team
                                                                                      call; review expert documents responsive to requests for
                                                                                      production.



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                                                Hours       Rate
 Date               Name             Hours                                  Amount      Description
                                               Charged    Requested
05/25/16 Kelly Yanahan                  4.10         0.00      $0.00             $0.00 Analyze and review deposition citations in preparation for
                                                                                       upcoming filing.
05/25/16 John E. Ludwig                 0.43        0.00       $0.00             $0.00 Finalize brief section and organize cited resources.
05/25/16 Hyun Soo Jung                  2.30        0.00       $0.00             $0.00 Prepare summary of findings regarding timing for
                                                                                       proceeding and determination of a class certification.
05/25/16 Alaina R. Heine                7.00        0.00       $0.00             $0.00 Finalize case summaries for Kobach and Jordan's briefs.
05/25/16 Samuel H. Scarritt-Selman      0.07        0.00       $0.00             $0.00 Discuss research assignment with R. Waldman

05/25/16 Kaitlyn N. Walsh               0.70        0.00       $0.00             $0.00 Continued preparation of chart regarding contextualized
                                                                                       deposition testimony.
05/26/16 David W. Lang                  2.50        0.00       $0.00             $0.00 Legal research regarding 10th circuit cases on deposition
                                                                                       immunity of public officials.
05/26/16 Neil A. Steiner                0.40        0.40     $500.00          $200.00 Continued work on discovery issues and email
                                                                                       correspondence with co-counsel re: same.
05/26/16 Elisabeth L. Sachse            1.20        0.00       $0.00             $0.00 Prepare and review revised search term reports for League
                                                                                       of Women Voters email review; email correspondence with
                                                                                       CDS regarding email collection processing and related
                                                                                       requests;. call with CDS regarding wall between Wisconsin
                                                                                       and Kansas ACLU materials.
05/26/16 Rebecca Kahan Waldman          3.00        3.00     $500.00         $1,500.00 Review responses to discovery requests; correspondence
                                                                                       regarding same; call with Garrett Roe.
05/26/16 Angela M. Liu                  4.40        4.40     $250.00         $1,100.00 Continue to manage issues regarding discovery and research
                                                                                       assignments relating to discovery and stay.
05/26/16 Nicole A. La Due               2.00        0.00       $0.00             $0.00 Collect documents for attorney review, prepare package for
                                                                                       attorney review; modify documents for filing, prepare all
                                                                                       materials, convert, file pleadings via CM/ECF and circulate
                                                                                       electronically file stamped materials to team for review.

05/26/16 Mary H. Kim                    7.40        0.00       $0.00             $0.00 Draft class certification reply brief; legal research on class
                                                                                       certification issues and Rule 23(b) standards; review
                                                                                       deposition transcripts for citations to include in brief.
05/26/16 Kelly Yanahan                  1.60        0.00       $0.00             $0.00 Analyze and review deposition citations in preparation for
                                                                                       upcoming filing.
05/26/16 Alaina R. Heine                1.00        0.00       $0.00             $0.00 Review case law.
05/26/16 Alyssa C. Clark                4.30        0.00       $0.00             $0.00 Research issues relating to discovery.


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                                               Hours       Rate
 Date               Name            Hours                                  Amount      Description
                                              Charged    Requested
05/27/16 Neil A. Steiner               2.00         2.00    $500.00         $1,000.00 Continue work on discovery, expert issues; email
                                                                                      correspondence with D. Ho, MB re: same; telephone
                                                                                      conversation with D. Ho; review answer; email
                                                                                      correspondence with co-counsel.
05/27/16 Jefferson Holder              0.40        0.00       $0.00             $0.00 Docketing and review of case information update into the
                                                                                      MA3000 Case Management Docketing System and
                                                                                      Monitoring (case) status of pending matters.
05/27/16 Rebecca Kahan Waldman         3.60        3.60     $500.00         $1,800.00 Draft revised interrogatory response; correspondence
                                                                                      regarding subpoena response; attention to issues related to
                                                                                      document review; attention to issues related to meet and
                                                                                      confers.
05/27/16 Angela M. Liu                 3.00        3.00     $250.00          $750.00 Continue to oversee issues relating to media relations for T.
                                                                                      Stricker, discovery responses, and document review.
05/27/16 Nicole A. La Due              2.40        0.00       $0.00             $0.00 Review client materials, bates stamp and mark for
                                                                                      confidentiality, prepare for production.
05/27/16 Thomas H. Cordova             1.30        0.00       $0.00             $0.00 Review local rules for 10th Circuit for filing brief.
05/27/16 Mary H. Kim                   4.10        0.00       $0.00             $0.00 Revise responses to document riders; revise amended
                                                                                      responses to requests for admissions; finalize expert
                                                                                      documents and uploaded for production.
05/27/16 Kelly Yanahan                 0.90        0.00       $0.00             $0.00 Organize and prepare documents for production.
05/27/16 Alyssa C. Clark               3.55        0.00       $0.00             $0.00 Legal research regarding deposition.
05/27/16 Kaitlyn N. Walsh              1.50        0.00       $0.00             $0.00 Finalize deposition chart contextualizing testimony.
05/28/16 Neil A. Steiner               0.70        0.70     $500.00          $350.00 Review 10th Cir. stay motion; continue work on discovery
                                                                                      issues.
05/28/16 Elisabeth L. Sachse           1.00        0.00       $0.00             $0.00 Prepare search term analysis review workflow and related
                                                                                      materials; provide Relativity support for case team.

05/28/16 Rebecca Kahan Waldman         6.00        6.00     $500.00         $3,000.00 Revise reply in support of motion for class certification.

05/28/16 Angela M. Liu                 2.30        2.30     $250.00          $575.00 Manage logistics of document review and upcoming
                                                                                     depositions.
05/30/16 Elisabeth L. Sachse           1.00        0.00       $0.00            $0.00 Prepare initial search term reports for attorney review;
                                                                                     create search term analysis related workflow; provide
                                                                                     Relativity support to Dechert team.



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                                               Hours       Rate
 Date                Name           Hours                                  Amount     Description
                                              Charged    Requested
05/30/16 Rebecca Kahan Waldman         3.00         3.00    $500.00         $1,500.00 Review research for class certification motion and
                                                                                      correspondence regarding same.
05/30/16 Angela M. Liu                 0.40        0.40     $250.00          $100.00 Continue to prepare for depositions and document review.

05/30/16 Mary H. Kim                   3.30        0.00       $0.00             $0.00 Legal research to distinguish Defendants' cases cited in
                                                                                      opposition to class certification brief; revise class
                                                                                      certification brief.
05/31/16 Neil A. Steiner               2.00        2.00     $500.00         $1,000.00 Continued work on discovery, expert issues; review
                                                                                      interrogatory responses; review and revise HVS deposition
                                                                                      outline and email correspondence with D. Ho re: same.

05/31/16 Elisabeth L. Sachse           1.50        0.00       $0.00             $0.00 Email correspondence with CDS and Dechert team regarding
                                                                                      search term requests and related issues; prepare League of
                                                                                      Women Voters email review workflow and related layouts;
                                                                                      complete search term analysis reports for attorney review;
                                                                                      prepare revised search terms for testing.

05/31/16 Euk Y. Oh                     2.50        0.00       $0.00             $0.00 Review amended complaint; responses and objections, and
                                                                                      memo on document review.
05/31/16 Rebecca Kahan Waldman         3.00        3.00     $500.00         $1,500.00 Revise reply brief; correspondence regarding outstanding
                                                                                      discovery requests; review document review protocol;
                                                                                      correspondence regarding review of documents.
05/31/16 Angela M. Liu                 8.20        8.20     $250.00         $2,050.00 Review and analyze class certification brief, stay research,
                                                                                      and set up document review.
05/31/16 Mary H. Kim                   3.20        0.00       $0.00             $0.00 Revisions to class certification brief and amended responses
                                                                                      to interrogatories.
05/31/16 Sarah A. Burke                2.30        0.00       $0.00             $0.00 Review amended complaint, responses/objections and guide
                                                                                      to document review.
05/31/16 Colleen M. Evans              1.00        0.00       $0.00             $0.00 Review pleadings for case background.
05/31/16 Peter Y. Choung               1.40        0.00       $0.00             $0.00 Review complaint and responses/objections.
05/31/16 Kelly Yanahan                 0.20        0.00       $0.00             $0.00 Update newly filed pleadings and deadlines.
05/31/16 Bayard Dodge                  2.70        0.00       $0.00             $0.00 Review Fish v. Kobach amended complaint and Response to
                                                                                      Defendant's Request for Production; review document
                                                                                      review protocol.
05/31/16 Alaina R. Heine               0.50        0.00       $0.00             $0.00 Emails to M. Kim and R. Waldman regarding next steps.


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                                                Hours       Rate
 Date               Name             Hours                                  Amount      Description
                                               Charged    Requested
05/31/16 Alyssa C. Clark                3.17         0.00      $0.00             $0.00 Legal research regarding Shelton and Morgan Doctrine
                                                                                       issues.
05/31/16 Samuel H. Scarritt-Selman      1.03        0.00       $0.00             $0.00 Legal research regarding Kansas interrogatory issue.

05/31/16 Kaitlyn N. Walsh               0.90        0.00       $0.00             $0.00 Legal research regarding a specific case granting certification
                                                                                       for adequate representation.
06/01/16 Matthew B. Tate                1.00        0.00       $0.00             $0.00 Relativity training of case team reviewers.
06/01/16 Neil A. Steiner                3.50        3.50     $500.00         $1,750.00 HVS deposition; email correspondence with co-counsel;
                                                                                       review and revise class cert reply brief; review draft Barreto
                                                                                       rebuttal report.
06/01/16 Elisabeth L. Sachse            2.00        0.00       $0.00             $0.00 Provide Relativity training for review team; Relativity
                                                                                       support for case team.
06/01/16 Katarina V. McClellan          1.50        0.00       $0.00             $0.00 Prepare case law for reply brief.
06/01/16 Rebecca Kahan Waldman          3.50        3.50     $500.00         $1,750.00 Document review training; revisions to class certification
                                                                                       brief; attention to issues related to discovery.
06/01/16 Angela M. Liu                  7.50        7.50     $250.00         $1,875.00 Continue to manage discovery and prepare for upcoming
                                                                                       depositions.
06/01/16 Thomas H. Cordova              0.80        0.00       $0.00             $0.00 Attend team meeting regarding document production.
06/01/16 Thomas H. Cordova              0.60        0.00       $0.00             $0.00 Review documents in preparation for document production.

06/01/16 Mary H. Kim                    0.90        0.00       $0.00            $0.00 Attended document review; overview presentation.
06/01/16 Sarah A. Burke                 0.90        0.00       $0.00            $0.00 Attend document review training.
06/01/16 Colleen M. Evans               5.20        0.00       $0.00            $0.00 Attend Relativity and case overview meeting; perform
                                                                                      document review.
06/01/16 Peter Y. Choung                0.20        0.00       $0.00            $0.00 Attention to project memo.
06/01/16 Bayard Dodge                   1.20        0.00       $0.00            $0.00 Conference with Dechert attorneys on review protocol;
                                                                                      review case history and filings.
06/01/16 Hyun Soo Jung                  0.80        0.00       $0.00            $0.00 Participated in document review training session.
06/01/16 Hyun Soo Jung                  0.50        0.00       $0.00            $0.00 Review documents to be produced on behalf of the League
                                                                                      of Women Voters of Kansas.
06/01/16 Alyssa C. Clark                5.13        0.00       $0.00            $0.00 Drafted memorandum regarding depositions.
06/01/16 Samuel H. Scarritt-Selman      5.37        0.00       $0.00            $0.00 Attended Relativity training; researched and drafted email
                                                                                      memo to R. Waldman on discovery issue.
06/02/16 Neil A. Steiner                1.30        1.30     $500.00          $650.00 Conf. call with co-counsel; email correspondence with co-
                                                                                      counsel; work on discovery issues.


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                                                  Hours       Rate
 Date               Name               Hours                                  Amount      Description
                                                 Charged    Requested
06/02/16 Elisabeth L. Sachse              1.00         0.00      $0.00             $0.00 Provide Relativity support for review team; prepare
                                                                                         LWVK_002 production set for attorney QC; create and revise
                                                                                         proposed privilege searches for production QC; prepare
                                                                                         production QC searches for attorney review.
06/02/16 Euk Y. Oh                        1.00        0.00       $0.00             $0.00 Review Relativity software and training videos.
06/02/16 Lilian Philiposian               3.80        0.00       $0.00             $0.00 Review and analyze document review protocol, amended
                                                                                         complaint, and responses and objections to Defendant's
                                                                                         requests for production of documents in preparation for
                                                                                         meeting; review and analyze multiple correspondence
                                                                                         regarding review of documents; attend meeting regarding
                                                                                         document review project.
06/02/16 Heather M. Satterfield           4.00        0.00       $0.00             $0.00 Video conference with Team Leads, R. Waldman and C.
                                                                                         Schmidt; review case background material to prepare for
                                                                                         document review, and related communications with Project
                                                                                         Attorney Team.
06/02/16 James Figorski                   0.50        0.00       $0.00             $0.00 Meeting with C. Schmidt and R. Waldman to discuss review.

06/02/16 Rebecca Kahan Waldman            5.00        5.00     $500.00         $2,500.00 Document review training; attend weekly call; revise reply
                                                                                         brief; review documents for production on behalf of LWVK.

06/02/16 Angela M. Liu                    6.00        6.00     $250.00         $1,500.00 Continue to manage document review; attend conference
                                                                                         call.
06/02/16 Mary H. Kim                      4.30        0.00       $0.00             $0.00 Revise class certification reply brief; attend weekly team call.

06/02/16 Colleen M. Evans                 2.80        0.00       $0.00             $0.00 Perform document review.
06/02/16 Peter Y. Choung                  1.80        0.00       $0.00             $0.00 Document review training; review of memo.
06/02/16 Bayard Dodge                     2.70        0.00       $0.00             $0.00 Review LWVK documents for Jordan discovery request.
06/02/16 Anne A. Gruner                   2.10        0.00       $0.00             $0.00 Review amended complaint and various discovery responses
                                                                                         regarding categories of responsive documents requiring
                                                                                         production; review document coding protocol in advance of
                                                                                         reviewing documents for responsiveness and various related
                                                                                         issues; review correspondence between review team
                                                                                         regarding analysis for responsive documents.




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                                                  Hours       Rate
 Date                Name              Hours                                  Amount      Description
                                                 Charged    Requested
06/02/16 Hyun Soo Jung                    5.20         0.00      $0.00             $0.00 Review documents to be produced on behalf of League of
                                                                                         Women Voters of Kansas.
06/02/16 Alaina R. Heine                  0.50        0.00       $0.00             $0.00 Meeting with C. Schmidt to discuss how to navigate relativity
                                                                                         and document review assignment.
06/02/16 Alyssa C. Clark                  3.85        0.00       $0.00             $0.00 Revisions to memorandum incorporating comments.
06/02/16 Samuel H. Scarritt-Selman        3.55        0.00       $0.00             $0.00 Document review.

06/03/16 Elisabeth L. Sachse              1.50        0.00       $0.00             $0.00 Provide Relativity support for review team; prepare and
                                                                                         submit LWVK_002 production.
06/03/16 Euk Y. Oh                        3.40        0.00       $0.00             $0.00 Continue with document review of collection 1 and
                                                                                         collection 2.
06/03/16 Lilian Philiposian               9.00        0.00       $0.00             $0.00 Review, analyze and categorize multiple documents for
                                                                                         document review; draft multiple correspondence regarding
                                                                                         document review; review and analyze multiple
                                                                                         correspondence regarding document review.
06/03/16 Heather M. Satterfield           9.50        0.00       $0.00             $0.00 Review documents for responsiveness and privilege
                                                                                         regarding production, and related email and verbal
                                                                                         communications with Project Attorney Team.
06/03/16 Katarina V. McClellan            3.50        0.00       $0.00             $0.00 Legal research regarding various cases for attorney review
                                                                                         regarding reply briefs.
06/03/16 James Figorski                   2.10        0.00       $0.00             $0.00 Review client documents for responsiveness and privilege.

06/03/16 Rebecca Kahan Waldman            4.50        4.50     $500.00         $2,250.00 Correspondence regarding discovery; revised reply brief.

06/03/16 Thomas H. Cordova                2.80        0.00       $0.00             $0.00 Draft reply certification brief.
06/03/16 Thomas H. Cordova                2.00        0.00       $0.00             $0.00 Review Kansas League of Women Voters documents for
                                                                                         production to defendants.
06/03/16 Thomas H. Cordova                2.10        0.00       $0.00             $0.00 Draft deposition outline for Bryan Caskey.
06/03/16 Mary H. Kim                      1.60        0.00       $0.00             $0.00 Finalize errata sheets for plaintiff depositions; legal research
                                                                                         on adequacy of class representatives; review and revise
                                                                                         amended responses to interrogatories.
06/03/16 Colleen M. Evans                 2.50        0.00       $0.00             $0.00 Document review.
06/03/16 Peter Y. Choung                  3.10        0.00       $0.00             $0.00 Document review.
06/03/16 Bayard Dodge                     4.30        0.00       $0.00             $0.00 Review LWVK documents regarding Fish v. Kobach discovery.



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                                                  Hours       Rate
 Date               Name               Hours                                  Amount     Description
                                                 Charged    Requested
06/03/16 Anne A. Gruner                   4.80         0.00      $0.00             $0.00 Correspond with CDS support team regarding upgrade to
                                                                                         database and review platform issues; review various
                                                                                         documents for responsiveness and related issues and apply
                                                                                         appropriate coding tags.
06/03/16 Hyun Soo Jung                    3.50        0.00       $0.00             $0.00 Review documents to be produced on behalf of the League
                                                                                         of Women Voters of Kansas.
06/03/16 Alaina R. Heine                  5.50        0.00       $0.00             $0.00 Document review.
06/03/16 Alyssa C. Clark                  2.45        0.00       $0.00             $0.00 Revisions to memo regarding deposition immunity.
06/03/16 Samuel H. Scarritt-Selman        5.75        0.00       $0.00             $0.00 Document review.

06/04/16 Lilian Philiposian               6.00        0.00       $0.00             $0.00 Review, analyze and categorize multiple documents for
                                                                                         document review project.
06/04/16 Heather M. Satterfield           2.00        0.00       $0.00             $0.00 Review documents for responsiveness and privilege
                                                                                         regarding production.
06/04/16 Rebecca Kahan Waldman            4.60        4.60     $500.00         $2,300.00 Revise class certification reply brief.

06/04/16 Thomas H. Cordova                4.70        0.00       $0.00            $0.00 Draft deposition outline for Bryan Caskey.
06/04/16 Mary H. Kim                      0.30        0.00       $0.00            $0.00 Legal research on adequacy of class representatives.
06/04/16 Peter Y. Choung                  0.60        0.00       $0.00            $0.00 Document review.
06/04/16 Anne A. Gruner                   6.30        0.00       $0.00            $0.00 Review various documents for responsiveness and apply
                                                                                        appropriate issue and privilege coding; correspond with
                                                                                        team regarding review questions; review and refer to
                                                                                        document coding protocol to ensure accuracy of
                                                                                        responsiveness coding.
06/04/16 Alaina R. Heine                  1.00        0.00       $0.00            $0.00 Document review.
06/05/16 Elisabeth L. Sachse              0.50        0.00       $0.00            $0.00 Create and revise potential privilege searches for LWVK_002
                                                                                        production set.
06/05/16 Lilian Philiposian               4.00        0.00       $0.00            $0.00 Review, analyze and categorize multiple documents for
                                                                                        document review.
06/05/16 Rebecca Kahan Waldman            0.40        0.40     $500.00          $200.00 Correspondence regarding discovery.

06/05/16 Thomas H. Cordova                4.10        0.00       $0.00             $0.00 Draft deposition outline for Bryan Caskey.




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                                                  Hours       Rate
 Date               Name               Hours                                  Amount      Description
                                                 Charged    Requested
06/05/16 Anne A. Gruner                   7.10         0.00      $0.00             $0.00 Review various documents for responsiveness and apply
                                                                                         appropriate issue and privilege coding; correspond with
                                                                                         team regarding review questions; review and refer to
                                                                                         document coding protocol to ensure accuracy of
                                                                                         responsiveness coding.
06/05/16 Alaina R. Heine                  1.50        0.00       $0.00             $0.00 Document review.
06/06/16 Neil A. Steiner                  2.00        2.00     $500.00         $1,000.00 Preparation for McFerron deposition.
06/06/16 Elisabeth L. Sachse              1.00        0.00       $0.00             $0.00 QC and prepare LWVK_002 production for production to
                                                                                         Defendants; provide Relativity support for case team.
06/06/16 Lilian Philiposian               7.50        0.00       $0.00             $0.00 Review, analyze and categorize multiple documents for
                                                                                         document review.
06/06/16 Heather M. Satterfield           9.50        0.00       $0.00             $0.00 Review documents for responsiveness and privilege
                                                                                         regarding production.
06/06/16 Katarina V. McClellan            2.50        0.00       $0.00             $0.00 Cite check, shepardize, Bluebook, quote check reply memo
                                                                                         in support class certification.
06/06/16 Rebecca Kahan Waldman            8.50        8.50     $500.00         $4,250.00 Revise class cert reply; review testimony in preparation for
                                                                                         oral argument; correspondence regarding upcoming
                                                                                         depositions.
06/06/16 Thomas H. Cordova                5.20        0.00       $0.00             $0.00 Draft deposition outline for Bryan Caskey.
06/06/16 Colleen M. Evans                 1.80        0.00       $0.00             $0.00 Document review.
06/06/16 Peter Y. Choung                  6.60        0.00       $0.00             $0.00 Document review.
06/06/16 Bayard Dodge                     1.90        0.00       $0.00             $0.00 Review LWVK documents regarding Fish v. Kobach discovery
                                                                                         request; conferences and correspondence with team
                                                                                         attorneys.
06/06/16 Anne A. Gruner                   8.80        0.00       $0.00             $0.00 Review various documents to determine responsiveness for
                                                                                         production based on review protocol; apply responsiveness
                                                                                         and issue coding as applicable; correspond with team
                                                                                         regarding various questions as to responsiveness.

06/06/16 Hyun Soo Jung                    6.80        0.00       $0.00             $0.00 Review documents to be produced on behalf of the League
                                                                                         of Women Voters of Kansas.
06/06/16 Alaina R. Heine                  1.00        0.00       $0.00             $0.00 Conducted document review.
06/06/16 Samuel H. Scarritt-Selman        2.67        0.00       $0.00             $0.00 Document review.

06/07/16 Neil A. Steiner                  6.00        6.00     $500.00         $3,000.00 McFerron depositions; met with D. Ho.


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                                                  Hours       Rate
 Date               Name               Hours                                  Amount      Description
                                                 Charged    Requested
06/07/16 Elisabeth L. Sachse              1.00         0.00      $0.00             $0.00 Provide Relativity support for case team. Prepare 2L review
                                                                                         workflow; prepare potential production set for issues.

06/07/16 Lilian Philiposian               5.50        0.00       $0.00             $0.00 Review, analyze and categorize multiple documents for
                                                                                         document review project.
06/07/16 Heather M. Satterfield           9.00        0.00       $0.00             $0.00 Review documents for responsiveness and privilege
                                                                                         regarding production, and related email and verbal
                                                                                         communications with Project Attorney Team.
06/07/16 Rebecca Kahan Waldman            2.50        2.50     $500.00         $1,250.00 Finalize class cert reply brief; prepared for oral argument.

06/07/16 Nicole A. La Due                 1.30        0.00       $0.00             $0.00 Download materials from FTP, prepare all materials for
                                                                                         production, bates stamp and mark confidential, prepare
                                                                                         final production set of materials and forward zip file to
                                                                                         attorney for distribution.
06/07/16 Thomas H. Cordova                8.90        0.00       $0.00             $0.00 Draft deposition outline for Bryan Caskey.
06/07/16 Mary H. Kim                      2.20        0.00       $0.00             $0.00 Proofread and finalized reply brief for class certification;
                                                                                         prepared League documents for production.
06/07/16 Sarah A. Burke                   4.20        0.00       $0.00             $0.00 Review batch of documents for responsiveness;
                                                                                         correspondence to C. Schmidt regarding same.
06/07/16 Colleen M. Evans                 1.90        0.00       $0.00             $0.00 Document review.
06/07/16 Peter Y. Choung                  3.00        0.00       $0.00             $0.00 Document review.
06/07/16 Kelly Yanahan                    0.20        0.00       $0.00             $0.00 Review cited cases in preparation for upcoming brief.
06/07/16 Kelly Yanahan                    1.20        0.00       $0.00             $0.00 Analyze and prepare documents for production.
06/07/16 Bayard Dodge                     1.80        0.00       $0.00             $0.00 Review LWVK correspondence and documents for Fish v.
                                                                                         Kobach discovery request.
06/07/16 Anne A. Gruner                   1.30        0.00       $0.00             $0.00 Review various documents and determine responsiveness
                                                                                         based on review protocol; apply various responsiveness and
                                                                                         issue tags to documents; correspond with team regarding
                                                                                         questions as to responsiveness; correspond with C. Schmidt
                                                                                         regarding review of privileged and redacted documents.

06/07/16 Hyun Soo Jung                    1.80        0.00       $0.00             $0.00 Review documents to be produced on behalf of the League
                                                                                         of Women Voters of Kansas.
06/07/16 Alaina R. Heine                  1.00        0.00       $0.00             $0.00 Finalize document review.



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                                                  Hours       Rate
 Date               Name               Hours                                  Amount      Description
                                                 Charged    Requested
06/08/16 Neil A. Steiner                  1.50         1.50    $500.00          $750.00 Review and revise opposition to stay; telephone
                                                                                         conversation with D. Ho; conference call with co-counsel;
                                                                                         email correspondence regarding expert, discovery issues.
06/08/16 Elisabeth L. Sachse              1.00        0.00       $0.00             $0.00 Provide Relativity support for case team; review and resolve
                                                                                         potential tiffing issues; prepare additional materials for 2L
                                                                                         review.
06/08/16 Euk Y. Oh                        3.20        0.00       $0.00             $0.00 Continued document review.
06/08/16 Heather M. Satterfield           0.20        0.00       $0.00             $0.00 Review documents for responsiveness and privilege
                                                                                         regarding production, and related email and verbal
                                                                                         communications with Project Attorney Team.
06/08/16 Rebecca Kahan Waldman            8.60        8.60     $500.00         $4,300.00 Prepare for Caskey deposition; prepare for oral argument.

06/08/16 Angela M. Liu                    0.40        0.40     $250.00          $100.00 Review correspondence relating to discovery.
06/08/16 Nicole A. La Due                 0.60        0.00       $0.00            $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                        to attorneys for review and upload to archive folder.
06/08/16 Thomas H. Cordova                1.60        0.00       $0.00            $0.00 Prepare for deposition of Bryan Caskey.
06/08/16 Mary H. Kim                      1.00        0.00       $0.00            $0.00 Prepared for class certification hearing.
06/08/16 Colleen M. Evans                 2.70        0.00       $0.00            $0.00 Document review.
06/08/16 Kelly Yanahan                    0.20        0.00       $0.00            $0.00 Organize preparation of class certification documents for
                                                                                        attorney review.
06/08/16 Anne A. Gruner                   2.10        0.00       $0.00            $0.00 Correspond with C. Schmidt regarding privilege and
                                                                                        redaction review of documents in advance of production;
                                                                                        initial review of database documents in order to review
                                                                                        privilege designations and apply redactions as appropriate.

06/08/16 Samuel H. Scarritt-Selman        0.10        0.00       $0.00             $0.00 Correction in coding in document review.

06/09/16 Neil A. Steiner                  1.80        1.80     $500.00          $900.00 Continue work on discovery issues, participate in moot for
                                                                                         class cert argument.
06/09/16 Elisabeth L. Sachse              0.50        0.00       $0.00             $0.00 Provide Relativity support for review team; prepare
                                                                                         confidentiality redaction review workflow.
06/09/16 Katarina V. McClellan            1.00        0.00       $0.00             $0.00 Prepare class certification documents.
06/09/16 Rebecca Kahan Waldman            6.20        6.20     $500.00         $3,100.00 Prepare for and participate in moot; prepare for oral
                                                                                         argument.
06/09/16 Angela M. Liu                    2.00        2.00     $250.00          $500.00 Prepare for and attend moot relating to class certification.


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                                                Hours       Rate
 Date               Name             Hours                                  Amount     Description
                                               Charged    Requested
06/09/16 Alaina R. Heine                1.50         0.00      $0.00             $0.00 Reviewed briefs in preparation for moot.
06/09/16 Alaina R. Heine                1.50         0.00      $0.00             $0.00 Attend moot for upcoming oral argument.
06/09/16 Samuel H. Scarritt-Selman      1.63         0.00      $0.00             $0.00 Attend moot oral argument meeting for class certification
                                                                                       hearing.
06/09/16 Kaitlyn N. Walsh               1.10        0.00       $0.00             $0.00 Prepare deposition chart with testimony for upcoming oral
                                                                                       argument.
06/10/16 Neil A. Steiner                1.50        1.50     $500.00          $750.00 Review rebuttal expert report and email correspondence
                                                                                       regarding same; review 10th circuit stay opinion and email
                                                                                       correspondence regarding same; revise responses to
                                                                                       requests for admission and email correspondence with co-
                                                                                       counsel regarding same.
06/10/16 Elisabeth L. Sachse            2.00        0.00       $0.00             $0.00 Provide Relativity support for review team; prepare
                                                                                       LWVK_003 production set and related QC searches; prepare
                                                                                       additional materials for 2L Review.
06/10/16 Katarina V. McClellan          2.00        0.00       $0.00             $0.00 Preparation of cases regarding class certification hearing.
06/10/16 Rebecca Kahan Waldman          2.50        2.50     $500.00         $1,250.00 Prepare for oral argument.

06/10/16 Thomas H. Cordova              1.60        0.00       $0.00             $0.00 Research cases for certification petition.
06/10/16 Mary H. Kim                    0.40        0.00       $0.00             $0.00 Review and revise amended answers to interrogatories.
06/10/16 Kaitlyn N. Walsh               0.70        0.00       $0.00             $0.00 Finalize deposition chart.
06/11/16 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Continue work on discovery issues; email correspondence
                                                                                       with co-counsel.
06/11/16 Elisabeth L. Sachse            1.00        0.00       $0.00             $0.00 Provide Relativity support for review team; review and
                                                                                       resolve production LWVK_VOL003 image and technical
                                                                                       issues.
06/11/16 Rebecca Kahan Waldman          3.00        3.00     $500.00         $1,500.00 Correspondence regarding service of subpoena; prepare for
                                                                                       oral argument.
06/11/16 Angela M. Liu                  1.70        1.70     $250.00          $425.00 Call with D. Bucci relating to issues regarding subpoena;
                                                                                       strategize with team regarding subpoena.
06/12/16 Neil A. Steiner                0.70        0.70     $500.00          $350.00 Continue work on discovery issues; review and revise motion
                                                                                       to quash and email correspondence with co-counsel
                                                                                       regarding same.
06/12/16 Elisabeth L. Sachse            1.00        0.00       $0.00             $0.00 Prepare and submit LWVK_VOL003 production request;
                                                                                       provide Relativity support for Dechert team.



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                                               Hours       Rate
 Date               Name            Hours                                  Amount     Description
                                              Charged    Requested
06/12/16 Rebecca Kahan Waldman         5.00         5.00    $500.00         $2,500.00 Review drafts of motion to quash; correspondence regarding
                                                                                      same; prepare for Caskey deposition; prepare for oral
                                                                                      argument.
06/13/16 Neil A. Steiner               0.50        0.50     $500.00          $250.00 Continue work on discovery issues and email
                                                                                      correspondence with co-counsel regarding same.
06/13/16 Jefferson Holder              0.30        0.00       $0.00             $0.00 Docketing/review of case information update into the
                                                                                      MA3000 Case Management Docketing System and
                                                                                      Monitoring (case) status of pending matters.
06/13/16 Elisabeth L. Sachse           1.00        0.00       $0.00             $0.00 Provide Relativity support for case team; prepare additional
                                                                                      material for redaction review.
06/13/16 Rebecca Kahan Waldman         7.00        7.00     $500.00         $3,500.00 Travel to Kansas; prepare for oral argument.

06/13/16 Angela M. Liu                 1.00        1.00     $250.00          $250.00 Review opposition for subpoena and call with D. Bucci
                                                                                      regarding subpoena; review Caskey deposition outline.
06/13/16 Anne A. Gruner               12.70        0.00       $0.00             $0.00 Perform second line review of all potentially privileged
                                                                                      documents to ensure appropriate coding for privilege,
                                                                                      including coding for attorney-client and work product
                                                                                      protections; review and draft all privilege descriptions for
                                                                                      privileged documents and ensure assertion of defensible
                                                                                      privilege claims.
06/13/16 Jacob R. Porter               0.20        0.00       $0.00             $0.00 Receive case information regarding assignment.
06/14/16 Neil A. Steiner               0.40        0.40     $500.00          $200.00 Telephone conversation with A. Liu; telephone conversation
                                                                                      with R. Waldman; email correspondence regarding
                                                                                      argument.
06/14/16 Elisabeth L. Sachse           2.00        0.00       $0.00             $0.00 Provide Relativity support for case team; prepare additional
                                                                                      materials for privilege and confidentiality review; prepare
                                                                                      updated potential production set for QC purposes; QC,
                                                                                      prepare and send LWVK_003 production.
06/14/16 Rebecca Kahan Waldman         7.50        7.50     $500.00         $3,750.00 Prepare for oral argument; oral argument; prepare for
                                                                                      Caskey deposition.
06/14/16 Angela M. Liu                 0.80        0.80     $250.00          $200.00 Strategize regarding class certification hearing; organize
                                                                                      production of documents.
06/14/16 Nicole A. La Due              2.10        0.00       $0.00             $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                      to attorneys for review and upload to archive folder.



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                                               Hours       Rate
 Date               Name            Hours                                  Amount      Description
                                              Charged    Requested
06/14/16 Robyn M. McAllen              0.30         0.00      $0.00             $0.00 Review request from A. Gruner whether two exhibits were
         Broughton                                                                    publicly available court filings.
06/14/16 Anne A. Gruner                9.10        0.00       $0.00             $0.00 Perform second line review of all potentially privileged
                                                                                      documents to ensure appropriate coding for privilege,
                                                                                      including coding for attorney-client and work product
                                                                                      protections; review and draft all privilege descriptions for
                                                                                      privileged documents for consistency in descriptions and
                                                                                      ensure assertion of defensible privilege claims.
06/15/16 Elisabeth L. Sachse           1.50        0.00       $0.00             $0.00 Provide Relativity support for case team; review and resolve
                                                                                      potential tiffing and technical issues; prepare additional
                                                                                      production set QC searches for attorney review.

06/15/16 Rebecca Kahan Waldman        15.50       15.50     $500.00         $7,750.00 Caskey deposition; return from Kansas; correspondence
                                                                                      regarding discovery.
06/15/16 Angela M. Liu                 0.90        0.90     $250.00          $225.00 Strategize regarding privilege issues relating to production;
                                                                                      confer with clients regarding issues relating to registration
                                                                                      and discovery.
06/15/16 Mary H. Kim                   0.40        0.00       $0.00             $0.00 Organize discovery chart for trial.
06/15/16 Anne A. Gruner                8.70        0.00       $0.00             $0.00 Perform review of all potentially privileged documents to
                                                                                      ensure appropriate coding for privilege, including coding for
                                                                                      attorney-client and work product protections; review and
                                                                                      draft all privilege descriptions for privileged documents for
                                                                                      consistency in descriptions and ensure assertion of
                                                                                      defensible privilege claims; review all quality check searches
                                                                                      to ensure consistency in coding for responsiveness,
                                                                                      redactions and privilege in advance of production; apply
                                                                                      appropriate redactions to confidential documents.

06/16/16 Neil A. Steiner               0.50        0.50     $500.00          $250.00 Continued work on discovery, expert issues and email
                                                                                     correspondence with co-counsel re: same.
06/16/16 Elisabeth L. Sachse           2.50        0.00       $0.00            $0.00 Provide Relativity support for review team; QC, prepare and
                                                                                     submit LWVK_VOL004 production request.
06/16/16 Rebecca Kahan Waldman         1.00        1.00     $500.00          $500.00 Correspondence regarding discovery.

06/16/16 Angela M. Liu                 0.50        0.50     $250.00          $125.00 Prepare for document production.


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                                                Hours       Rate
 Date              Name              Hours                                  Amount      Description
                                               Charged    Requested
06/16/16 Nicole A. La Due               1.20         0.00      $0.00             $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                       to attorneys for review and upload to archive folder.
06/16/16 Mary H. Kim                    0.30        0.00       $0.00             $0.00 Update clients on injunction status.
06/16/16 Anne A. Gruner                 6.70        0.00       $0.00             $0.00 Review all potentially privileged documents based on quality
                                                                                       check search to ensure appropriate coding for privilege;
                                                                                       review all privilege descriptions for privileged documents to
                                                                                       ensure consistency in descriptions and ensure assertion of
                                                                                       defensible privilege claims; coordinate production of
                                                                                       privilege log with team.
06/16/16 Jacob R. Porter                3.00        0.00       $0.00             $0.00 Research expert rebuttal; prepare memo with findings.
06/17/16 Elisabeth L. Sachse            2.50        0.00       $0.00             $0.00 Provide Relativity support for review team; QC and prepare
                                                                                       LWVK_VOL004 for production to Kansas Department of
                                                                                       Revenue; prepare draft privilege log for attorney review.

06/17/16 Rebecca Kahan Waldman          1.50        1.50     $500.00          $750.00 Correspondence regarding discovery; reviewed draft
                                                                                       responses.
06/17/16 Mary H. Kim                    0.30        0.00       $0.00             $0.00 Review, revise and serve amended responses to
                                                                                       interrogatories.
06/17/16 Taylor T. Southworth           0.25        0.00       $0.00             $0.00 Research to find scheduling orders.
06/17/16 Anne A. Gruner                 6.30        0.00       $0.00             $0.00 Review all entries on draft privilege log to ensure accuracy of
                                                                                       description and defensiveness of assertion of privilege and
                                                                                       coordinate production of privilege log with team; streamline
                                                                                       all entries in log for consistency.
06/17/16 Jacob R. Porter                5.20        0.00       $0.00             $0.00 Research expert rebuttal; prepare memo with findings.
06/20/16 Elisabeth L. Sachse            0.50        0.00       $0.00             $0.00 Prepare and send unencrypted production disc for Kansas
                                                                                       Department of Revenue.
06/20/16 Rebecca Kahan Waldman          2.00        2.00     $500.00         $1,000.00 Review privilege log; correspondence regarding discovery.

06/20/16 Nicole A. La Due               5.20        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney (1.2); review deposition
                                                                                       information and organize for attorney review (2.9); begin
                                                                                       preparing documents pursuant to attorney request (1.1).




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                                            Hours       Rate
 Date              Name          Hours                                  Amount      Description
                                           Charged    Requested
06/20/16 Mary H. Kim                1.20         0.00      $0.00             $0.00 Review and revise responses to Kobach's interrogatories
                                                                                   (0.20); Revise and serve amended responses to Jordan's
                                                                                   interrogatories (1.00).
06/20/16 Anne A. Gruner             8.10        0.00       $0.00             $0.00 Review opposition brief filed by defendant Jordan in
                                                                                   response to class certification; review various cases in order
                                                                                   to respond to arguments regarding inability to sue
                                                                                   individuals other than the Secretary of State in relation to
                                                                                   enforcement of voter registration violations; draft and edit
                                                                                   reply brief responding to arguments raised in opposition;
                                                                                   ensure accuracy of various citations.
06/20/16 Jacob R. Porter            4.80        0.00       $0.00             $0.00 Research and preparation of memo regarding expert
                                                                                   rebuttal reports.
06/21/16 Jefferson Holder           0.40        0.00       $0.00             $0.00 Docketing/review of case information update into the
                                                                                   MA3000 Case Management Docketing System and
                                                                                   Monitoring (case) status of pending matters.
06/21/16 Mary H. Kim                0.50        0.00       $0.00             $0.00 Review and revise responses to Kobach's interrogatories
                                                                                   (0.50).
06/21/16 Anne A. Gruner             8.10        0.00       $0.00             $0.00 Review opposition brief filed by defendant Jordan in
                                                                                   response to class certification; review various cases in order
                                                                                   to respond to arguments regarding inability to sue
                                                                                   individuals other than the Secretary of State in relation to
                                                                                   enforcement of voter registration violations; draft and edit
                                                                                   reply brief responding to arguments raised in opposition;
                                                                                   ensure accuracy of various citations.
06/21/16 Jacob R. Porter            4.00        0.00       $0.00             $0.00 Research and preparation of memo on expert rebuttal
                                                                                   reports.
06/22/16 Rebecca Kahan Waldman      2.30        2.30     $500.00         $1,150.00 Review recent filings; correspondence regarding discovery;
                                                                                   research related to response to Cox.
06/22/16 Lisa M. Parisi             3.00        0.00       $0.00             $0.00 Research for cases on expert reports for J. Porter.
06/22/16 Anne A. Gruner             4.70        0.00       $0.00             $0.00 Prepare for and participate in teleconference with team to
                                                                                   discuss all pending items; correspond with R. Waldman
                                                                                   regarding response to defendant's supplemental submission;
                                                                                   review supplemental submission and analyze issues to
                                                                                   present in response brief



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                                            Hours       Rate
 Date              Name          Hours                                  Amount     Description
                                           Charged    Requested
06/22/16 Jacob R. Porter            7.50         0.00      $0.00             $0.00 Research and preparation of memo regarding expert
                                                                                   rebuttal reports.
06/23/16 Jefferson Holder           0.30        0.00       $0.00             $0.00 Docketing/review of case information update into the
                                                                                   MA3000 Case Management Docketing System and
                                                                                   Monitoring (case) status of pending matters.
06/23/16 Rebecca Kahan Waldman      1.20        1.20     $500.00          $600.00 Review research memo; correspondence regarding response
                                                                                   to Jordan.
06/23/16 Mary H. Kim                2.60        0.00       $0.00             $0.00 Legal research on standing issues under the NVRA (2.60)
06/23/16 Jacob R. Porter            0.60        0.00       $0.00             $0.00 Research and preparation of memo on expert rebuttal
                                                                                   reports.
06/24/16 Angela M. Liu              0.50        0.50     $250.00          $125.00 Review supplemental motion to dismiss and organize
                                                                                   arguments.
06/24/16 Nicole A. La Due           1.90        0.00       $0.00             $0.00 Receive new documents, prepare all for proper archive and
                                                                                   discuss organization of materials with attorney.
06/24/16 Jacob R. Porter            3.90        0.00       $0.00             $0.00 Research and revise memo on expert rebuttal reports based
                                                                                   on feedback from R. Waldman.
06/26/16 Rebecca Kahan Waldman      2.00        2.00     $500.00         $1,000.00 Revise response to Jordan.

06/26/16 Angela M. Liu              0.50        0.50     $250.00          $125.00 Revise response to supplemental briefing regarding motion
                                                                                   to dismiss.
06/27/16 Steven B. Singer           1.17        0.00       $0.00             $0.00 Retrieved documents/docket sheets; search for expert
                                                                                   report for Jacob Porter.
06/27/16 Rebecca Kahan Waldman      3.00        3.00     $500.00         $1,500.00 Revise response to Jordan.

06/27/16 Nicole A. La Due           1.10        0.00       $0.00             $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                   to attorneys for review and upload to archive folder.
06/27/16 Lisa M. Parisi             1.40        0.00       $0.00             $0.00 Retrieve documents from dockets for A Gruner.
06/27/16 Anne A. Gruner             7.60        0.00       $0.00             $0.00 Review opposition brief filed by defendant Jordan in
                                                                                   response to class certification; review various cases in order
                                                                                   to respond to arguments regarding inability to sue
                                                                                   individuals other than the Secretary of State in relation to
                                                                                   enforcement of voter registration violations; draft and edit
                                                                                   reply brief responding to arguments raised in opposition;
                                                                                   ensure accuracy of various citations.



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                                                Hours       Rate
 Date               Name             Hours                                  Amount     Description
                                               Charged    Requested
06/27/16 Jacob R. Porter                4.50         0.00      $0.00             $0.00 Research and revise memo on expert rebuttal reports based
                                                                                       on feedback from R. Waldman.
06/28/16 Elisabeth L. Sachse            1.00        0.00       $0.00             $0.00 Prepare LWVK production index.
06/28/16 Steven B. Singer               0.17        0.00       $0.00             $0.00 Retrieve case and statute for A. Gruner.
06/28/16 Rebecca Kahan Waldman          3.00        3.00     $500.00         $1,500.00 Correspondence regarding discovery; finalized response to
                                                                                       Jordan.
06/28/16 Mary H. Kim                    0.90        0.00       $0.00             $0.00 Preparation of chart outlining League documents responsive
                                                                                       to Jordan's request for production.
06/28/16 Robyn M. McAllen               0.30        0.00       $0.00             $0.00 Retrieve documents from docket.
         Broughton
06/28/16 Taylor T. Southworth           0.50        0.00       $0.00            $0.00 Retrieve documents from docket.
06/28/16 Anne A. Gruner                 8.10        0.00       $0.00            $0.00 Review opposition brief filed by defendant Jordan in
                                                                                      response to class certification; review various cases in order
                                                                                      to respond to arguments regarding inability to sue
                                                                                      individuals other than the Secretary of State in relation to
                                                                                      enforcement of voter registration violations; draft and edit
                                                                                      reply brief responding to arguments raised in opposition;
                                                                                      ensure accuracy of various citations.
06/28/16 Jacob R. Porter                4.60        0.00       $0.00            $0.00 Research and revise memo on expert rebuttal reports based
                                                                                      on feedback from R. Waldman.
06/29/16 Neil A. Steiner                1.00        1.00     $500.00          $500.00 Conference call with co-counsel, email correspondence with
                                                                                      co-counsel.
06/29/16 Rebecca Kahan Waldman          1.50        1.50     $500.00          $750.00 Attention to outstanding discovery issues; participate in
                                                                                      weekly call; attention to draft stipulation.
06/29/16 Angela M. Liu                  1.00        1.00     $250.00          $250.00 Attend conference call; call with T. Stricker regarding
                                                                                      discovery and issues relating to potential state court case.
06/29/16 Thomas H. Cordova              2.00        0.00       $0.00            $0.00 Review and categorize Kansas League of Woman Voter's
                                                                                      document production.
06/29/16 Mary H. Kim                    3.90        0.00       $0.00            $0.00 Review League production documents; edit League
                                                                                      responsive documents chart; compile and review rules for
                                                                                      summary judgment motion and appellate oral argument.

06/29/16 Taylor T. Southworth           0.10        0.00       $0.00             $0.00 Retrieve documents for Jacob Porter.
06/29/16 Jacob R. Porter                0.30        0.00       $0.00             $0.00 Research and revise memo on expert rebuttal reports based
                                                                                       on feedback from R. Waldman.


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                                               Hours       Rate
 Date              Name             Hours                                  Amount      Description
                                              Charged    Requested
06/30/16 Nicole A. La Due              2.20         0.00      $0.00             $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                      to attorneys for review and upload to archive folder.
06/30/16 Jacob R. Porter               4.30        0.00       $0.00             $0.00 Research and revise memo on expert rebuttal reports based
                                                                                      on feedback from R. Waldman.
07/01/16 Elisabeth L. Sachse           1.00        0.00       $0.00             $0.00 Review redacted materials for use in responding to Kansas
                                                                                      AG requests.
07/01/16 Nicole A. La Due              2.60        0.00       $0.00             $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                      to attorneys for review and upload to archive folder.
07/05/16 Rebecca Kahan Waldman         3.50        3.50     $500.00         $1,750.00 Review hearing transcript; draft stipulation.

07/05/16 Angela M. Liu                 5.00        5.00     $250.00         $1,250.00 Review class certification transcript; attend conference call;
                                                                                      review Defendant Jordan's supplemental submission.

07/05/16 Nicole A. La Due              1.60        0.00       $0.00             $0.00 Review recently received deposition transcripts and exhibits.

07/05/16 Anne A. Gruner                2.90        0.00       $0.00             $0.00 Review class certification transcript in connection with
                                                                                      Court's request for stipulation as to certification in the event
                                                                                      plaintiffs prevail on injunction and in litigation; correspond
                                                                                      with team regarding language to include in stipulation; draft
                                                                                      stipulation based on Court's instructions and
                                                                                      communications with team regarding substance of
                                                                                      stipulation and circulate draft to team for review.
07/06/16 Rebecca Kahan Waldman         3.00        3.00     $500.00         $1,500.00 Attend weekly update call; meeting regarding research tasks;
                                                                                      review of Cox letter; finalize stipulation.
07/06/16 Angela M. Liu                 2.50        2.50     $250.00          $625.00 Continued review of motion to dismiss filings.
07/06/16 Thomas H. Cordova             2.70        0.00       $0.00             $0.00 Draft motion to compel for defendant Jordan.
07/06/16 Thomas H. Cordova             0.50        0.00       $0.00             $0.00 Attend team meeting regarding recent developments.
07/06/16 Thomas H. Cordova             1.40        0.00       $0.00             $0.00 Research issue regarding deposition.
07/06/16 Mary H. Kim                   4.10        0.00       $0.00             $0.00 Review and revise motion to compel production of
                                                                                      documents.
07/06/16 Daron Hovannisian             1.00        0.00       $0.00             $0.00 Attend team meeting.




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                                             Hours       Rate
 Date              Name           Hours                                  Amount      Description
                                            Charged    Requested
07/06/16 Anne A. Gruner              1.10         0.00      $0.00             $0.00 Review proposed edits from team regarding draft stipulation
                                                                                    in connection with class certification hearing and update
                                                                                    based on suggested revisions; review agenda and prepare
                                                                                    for and participate in team teleconference regarding all case
                                                                                    planning issues.
07/06/16 Dana Martin                 2.05        0.00       $0.00             $0.00 Review materials and attend a conference call to better
                                                                                    understand research for a pro bono project; complete
                                                                                    research project.
07/07/16 Rebecca Kahan Waldman       1.50        1.50     $500.00          $750.00 Review research memo; correspondence regarding meet and
                                                                                    confer.
07/07/16 Angela M. Liu               4.00        4.00     $250.00         $1,000.00 Conduct research and analysis of issues relating to 30(b)(6)
                                                                                    discovery; continue to organize pleadings and discovery;
                                                                                    review 10th circuit appellant brief.
07/07/16 Thomas H. Cordova           3.20        0.00       $0.00             $0.00 Research issue related to deposition issue.
07/07/16 Mary H. Kim                 3.60        0.00       $0.00             $0.00 Conduct legal research to prepare for meet and confer
                                                                                    regarding 30(b)(6) witness (2.90); review docket to compile
                                                                                    list of briefings and orders for 56.1 statement (0.70).

07/07/16 Daron Hovannisian           7.80        0.00       $0.00            $0.00 Review case file.
07/07/16 Jacob R. Porter             0.90        0.00       $0.00            $0.00 Review revisions of R. Waldman to second draft memo.
07/07/16 Dana Martin                 3.83        0.00       $0.00            $0.00 Research legality of appeal using same arguments as motion
                                                                                   to dismiss in 10th circuit.
07/08/16 Rebecca Kahan Waldman       1.00        1.00     $500.00          $500.00 Correspondence regarding discovery.

07/08/16 Angela M. Liu               0.70        0.70     $250.00          $175.00 Confer with R. Waldman regarding issues relating to
                                                                                   discovery; review cases relating to potential appeal for
                                                                                   motion to dismiss.
07/08/16 Thomas H. Cordova           3.40        0.00       $0.00            $0.00 Draft 56.1 statement.
07/08/16 Daron Hovannisian           7.60        0.00       $0.00            $0.00 Review Motion to Dismiss briefs and Order regarding
                                                                                   Plaintiff's Motion for a Preliminary Injunction; research 11th
                                                                                   Amendment Immunity arguments.
07/08/16 Anne A. Gruner              2.40        0.00       $0.00            $0.00 Correspond with team regarding all pending tasks; begin to
                                                                                   review all Tenth Circuit briefing material in order to analyze
                                                                                   issues on appeal in connection with upcoming briefing on
                                                                                   issues.


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                                             Hours       Rate
 Date               Name          Hours                                  Amount      Description
                                            Charged    Requested
07/08/16 Dana Martin                 2.00         0.00      $0.00             $0.00 Research issues related to procedural posture of
                                                                                    interlocutory appeal for preliminary injunction and pending
                                                                                    motion to dismiss.
07/11/16 Neil A. Steiner             1.50        1.50     $500.00          $750.00 Review and revise class cert. stip and email correspondence
                                                                                    with co-counsel regarding same; review Kobach 10th circuit
                                                                                    brief; amicus 10th circuit brief.
07/11/16 Rebecca Kahan Waldman       2.00        2.00     $500.00         $1,000.00 Correspondence regarding discovery; reviewed 11 Cir. brief.

07/11/16 Angela M. Liu               4.00        4.00     $250.00         $1,000.00 Revise 10th Circuit brief.
07/11/16 Mary H. Kim                 1.80        0.00       $0.00             $0.00 Review class certification briefings for 56.1 statement.
07/11/16 Daron Hovannisian           7.90        0.00       $0.00             $0.00 Research cases involving alleged NVRA violations and
                                                                                    whether such claims were barred by Eleventh Amendment
                                                                                    Immunity; research requisite connection that a state official
                                                                                    must have to the enforcement of an unconstitutional statute
                                                                                    in order for it to be a proper defendant under the Ex Parte
                                                                                    Young exception to Eleventh Amendment Immunity.

07/11/16 Kelly Yanahan               0.20        0.00       $0.00            $0.00 Analyze and prepare case docket report from the Court of
                                                                                   Appeals.
07/11/16 Anne A. Gruner              4.40        0.00       $0.00            $0.00 Perform final review of class certification stipulation and
                                                                                   provide proposed edits to team; review draft Tenth Circuit
                                                                                   Response and Motion to Strike from co-counsel and provide
                                                                                   proposed edits for review; continue to review Tenth Circuit
                                                                                   briefing materials and analyze issues on appeal in
                                                                                   connection with drafting responsive brief.
07/11/16 Dana Martin                 1.00        0.00       $0.00            $0.00 Research issues related to interlocutory appeals and pending
                                                                                   motion to dismiss.
07/12/16 Neil A. Steiner             0.50        0.50     $500.00          $250.00 Review and revise 10th circuit brief.
07/12/16 Rebecca Kahan Waldman       1.80        1.80     $500.00          $900.00 Review and comment on briefs; correspondence regarding
                                                                                   discovery.
07/12/16 Angela M. Liu               0.40        0.40     $250.00          $100.00 Review motion to strike; confer with R. Waldman regarding
                                                                                   issues relating to discovery.
07/12/16 Thomas H. Cordova           1.60        0.00       $0.00            $0.00 Draft motion to compel.




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                                             Hours       Rate
 Date              Name           Hours                                  Amount     Description
                                            Charged    Requested
07/12/16 Daron Hovannisian           8.10         0.00      $0.00            $0.00 Research Ex Parte Young doctrine as applied to voter ID and
                                                                                   NVRA cases; research relevant 10th Circuit case law;
                                                                                   organized cases and prepare outline.
07/12/16 Anne A. Gruner              3.40        0.00       $0.00            $0.00 Review draft of Tenth Circuit brief and provide proposed
                                                                                   edits to team; review all additional Tenth Circuit appellate
                                                                                   issues in connection with drafting reply brief.
07/13/16 Rebecca Kahan Waldman       0.50        0.50     $500.00          $250.00 Correspondence regarding discovery.

07/13/16 Angela M. Liu               0.40        0.40     $250.00          $100.00 Oversee and review motion to compel and stipulation
                                                                                   regarding class certification motion.
07/13/16 Thomas H. Cordova           3.90        0.00       $0.00            $0.00 Research whether older versions of documents can be
                                                                                   compelled.
07/13/16 Daron Hovannisian           8.00        0.00       $0.00            $0.00 Created memorandum applying 10th circuit case law to
                                                                                   Defendant Kobach and Defendant Jordan's jurisdictional
                                                                                   arguments; researched cases dealing with Ex Parte Young
                                                                                   exception to 11th Amendment immunity as applied to
                                                                                   voters' rights.
07/14/16 Rebecca Kahan Waldman       1.50        1.50     $500.00          $750.00 Correspondence regarding discovery; revised request for
                                                                                   extension of time.
07/14/16 Angela M. Liu               1.50        1.50     $250.00          $375.00 Review 10th Circuit case law relating to Eleventh
                                                                                   Amendment immunity (.6);oversee and prepare for filing of
                                                                                   10th Circuit response regarding Kobach (.9).
07/14/16 Thomas H. Cordova           2.20        0.00       $0.00            $0.00 Research for motion to compel.
07/14/16 Mary H. Kim                 2.90        0.00       $0.00            $0.00 Review local rules for Tenth Circuit filing; draft motion for
                                                                                   extension of time for motion to compel.
07/14/16 Daron Hovannisian           7.80        0.00       $0.00            $0.00 Research cases and drafted memorandum concerning
                                                                                   whether chief election officer is the only proper defendant
                                                                                   under the NVRA.
07/14/16 Anne A. Gruner              0.30        0.00       $0.00            $0.00 Review correspondence from counsel regarding meet and
                                                                                   confer with respect to discovery disputes; correspond with
                                                                                   team regarding coverage of call with defense counsel.

07/15/16 Rebecca Kahan Waldman       0.50        0.50     $500.00          $250.00 Correspondence regarding discovery; finalize motion for
                                                                                   extension of time.



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                                              Hours       Rate
 Date               Name           Hours                                  Amount      Description
                                             Charged    Requested
07/15/16 Justin A. Goldberg           0.20         0.00      $0.00             $0.00 Review sample National Voting Rights Act settlement
                                                                                     agreement related to draft of possible Kansas settlement
                                                                                     agreement.
07/15/16 Angela M. Liu                0.70        0.70     $250.00          $175.00 Review and revise motion for extension of time; review rules
                                                                                     relating to 10th circuit filing.
07/16/16 Neil A. Steiner              2.00        2.00     $500.00         $1,000.00 Revised 10th circuit brief.
07/17/16 Neil A. Steiner              2.50        2.50     $500.00         $1,250.00 Revise 10th circuit brief; email correspondence with D. Ho;
                                                                                     email correspondence with A. Liu.
07/18/16 Neil A. Steiner              0.30        0.30     $500.00          $150.00 Numerous emails with co-counsel re: discovery, mediation
                                                                                     issues.
07/18/16 Rebecca Kahan Waldman        2.00        2.00     $500.00         $1,000.00 Prepare for and participate in meet and confer;
                                                                                     correspondence regarding status of discovery and motion
                                                                                     practice; review research.
07/18/16 Angela M. Liu                3.00        3.00     $250.00          $750.00 Draft response to motion for extension of time (1.0); review
                                                                                     and discuss correspondence relating to discovery issues (.4);
                                                                                     continue to revise and prepare 10th Circuit Kobach brief for
                                                                                     filing (1.6).
07/18/16 Nicole A. La Due             0.50        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                     electronic file and prepare deadline reminders of upcoming
                                                                                     date for each team attorney.
07/18/16 Mary H. Kim                  6.00        0.00       $0.00             $0.00 Conduct substantive cite-check and bluebooked Statement
                                                                                     of the Case section of Tenth Circuit brief; conduct
                                                                                     substantive cite-check and bluebook Argument section of
                                                                                     Tenth Circuit brief.
07/18/16 Robyn M. McAllen             0.30        0.00       $0.00             $0.00 Attention to A. Gruner request for docket sheet and
         Broughton                                                                   document filing.
07/18/16 Robyn M. McAllen             0.90        0.00       $0.00             $0.00 Attention to M. Kim request for government website search.
         Broughton
07/18/16 Kelly Yanahan                2.00        0.00       $0.00             $0.00 Analyze and prepare cited cases in preparation for filing
                                                                                     Plaintiffs-Appellees' Brief.
07/18/16 Anne A. Gruner               0.50        0.00       $0.00             $0.00 Review correspondence from defense counsel regarding
                                                                                     production of outstanding discovery; prepare for and
                                                                                     participate in meet and confer teleconference regarding stay
                                                                                     of discovery; review defendant's filing of motion for
                                                                                     extension of time.


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                                              Hours       Rate
 Date               Name           Hours                                  Amount     Description
                                             Charged    Requested
07/19/16 Justin A. Goldberg           3.10         0.00      $0.00             $0.00 Research sample National Voter Registration Act settlement
                                                                                     agreements regarding draft of potential Kansas settlement
                                                                                     agreement.
07/19/16 Angela M. Liu                0.70        0.70     $250.00          $175.00 Review and analyze motion to strike; prepare 10th Circuit
                                                                                     brief for filing.
07/19/16 Nicole A. La Due             1.60        0.00       $0.00             $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                     to attorneys for review and upload to archive folder.
07/19/16 Mary H. Kim                  5.60        0.00       $0.00             $0.00 Conduct substantive cite-check and bluebook Argument
                                                                                     section of Tenth Circuit brief; revise table of authorities.
07/19/16 Kelly Yanahan                0.90        0.00       $0.00             $0.00 Analyze and review cited cases in preparation of Appeal
                                                                                     Brief.
07/20/16 Rebecca Kahan Waldman        3.00        3.00     $500.00         $1,500.00 Revised motion to compel; correspondence regarding same.

07/20/16 Angela M. Liu                2.90        2.90     $250.00          $725.00 Draft and revise motion to compel; prepare 10th Circuit brief
                                                                                    for filing; review and revise reply in support of motion to
                                                                                    strike.
07/20/16 Lisa M. Parisi               0.40        0.00       $0.00            $0.00 Docket search for A. Gruner.
07/20/16 Mary H. Kim                  2.80        0.00       $0.00            $0.00 Revisions to tables and proofread Tenth Circuit brief for
                                                                                    filing.
07/20/16 Kelly Yanahan                0.40        0.00       $0.00            $0.00 Edit and update cited cases in preparation for Appellate
                                                                                    Brief.
07/20/16 Anne A. Gruner               1.20        0.00       $0.00            $0.00 Review rules regarding deadline for compelling discovery
                                                                                    and provide analysis to team; review internal
                                                                                    correspondence regarding motion to compel in order to
                                                                                    obtain factual background of issue.
07/21/16 Angela M. Liu                0.90        0.90     $250.00          $225.00 Prepare 10th Circuit brief for filing; draft motion to compel.

07/21/16 Mary H. Kim                  1.40        0.00       $0.00            $0.00 Draft corporate disclosure statement for Tenth Circuit brief;
                                                                                    legal research for motion to compel production of
                                                                                    documents.
07/22/16 Rebecca Kahan Waldman        0.70        0.70     $500.00          $350.00 Correspondence regarding status of mediation and
                                                                                    outstanding discovery issues.
07/22/16 Angela M. Liu                1.20        1.20     $250.00          $300.00 Conduct meet and confer; draft voting rights publication for
                                                                                    pro bono newsletter.



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                                             Hours       Rate
 Date              Name           Hours                                  Amount      Description
                                            Charged    Requested
07/25/16 Rebecca Kahan Waldman       0.50         0.50    $500.00          $250.00 Revise discovery letter.

07/25/16 Angela M. Liu               0.40        0.40     $250.00          $100.00 Revise letter regarding meet and confer.
07/25/16 Daron Hovannisian           3.80        0.00       $0.00             $0.00 Research whether, at the preliminary injunction stage, 7th
                                                                                    circuit standing depends on the likelihood of success on the
                                                                                    merits.
07/26/16 Angela M. Liu               0.90        0.90     $250.00          $225.00 Oversee research and analysis regarding 10th Circuit Jordan
                                                                                    brief.
07/26/16 Nicole A. La Due            1.20        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                    electronic file and prepare deadline reminders of upcoming
                                                                                    date for each team attorney.
07/26/16 Thomas H. Cordova           1.90        0.00       $0.00             $0.00 Research local rules for motions.
07/26/16 Daron Hovannisian           3.20        0.00       $0.00             $0.00 Review case file.
07/27/16 Neil A. Steiner             0.90        0.90     $500.00          $450.00 Conference call with co-counsel.
07/27/16 Rebecca Kahan Waldman       2.50        2.50     $500.00         $1,250.00 Call with co-counsel regarding status; correspondence
                                                                                    regarding discovery; attention to motion to compel.
07/27/16 Angela M. Liu               2.50        2.50     $250.00          $625.00 Attend conference call; oversee research relating to motion
                                                                                    to compel, registration and notice issues.
07/27/16 Thomas H. Cordova           1.70        0.00       $0.00             $0.00 Draft motion to compel.
07/27/16 Mary H. Kim                 1.60        0.00       $0.00             $0.00 Attend team call to discuss strategy; legal research on the
                                                                                    voting and elections code.
07/27/16 Daron Hovannisian           7.50        0.00       $0.00             $0.00 Review and outline Defendant Jordan's motions to dismiss,
                                                                                    supplemental submissions, docketing statement, and court's
                                                                                    preliminary injunction order.
07/27/16 Anne A. Gruner              5.20        0.00       $0.00             $0.00 Prepare for and participate in teleconference regarding all
                                                                                    pending issues in case; initial review of preliminary
                                                                                    injunction motion and requests in connection with analyzing
                                                                                    notice issues and compliance with preliminary injunction
                                                                                    order; review and analyze Tenth Circuit briefing and analyze
                                                                                    issues to discuss in connection with upcoming moot.

07/28/16 Steven B. Singer            0.08        0.00       $0.00            $0.00 Retrieve order from Fish v. Kobach for A. Gruner.
07/28/16 Rebecca Kahan Waldman       1.50        1.50     $500.00          $750.00 Review motion to compel; correspondence regarding
                                                                                   appeal.
07/28/16 Angela M. Liu               0.40        0.40     $250.00          $100.00 Revise motion to compel.


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                                             Hours       Rate
 Date               Name          Hours                                  Amount     Description
                                            Charged    Requested
07/28/16 Thomas H. Cordova           5.20         0.00      $0.00            $0.00 Draft motion to compel.
07/28/16 Mary H. Kim                 5.20         0.00      $0.00            $0.00 Legal research regarding Elections Code 52 USC 10101;
                                                                                   Revise motion to compel production of documents from
                                                                                   Jordan.
07/28/16 Daron Hovannisian           7.70        0.00       $0.00            $0.00 Research cases and outline Defendant Jordan's potential
                                                                                   arguments in preparation for appeal.
07/28/16 Anne A. Gruner              5.40        0.00       $0.00            $0.00 Review draft motion to compel and provide proposed edits
                                                                                   to group; perform review of additional edits from team;
                                                                                   correspond with A. Liu regarding project to analyze
                                                                                   deficiencies in notice provided to voters registered to vote
                                                                                   pursuant to preliminary injunction and review preliminary
                                                                                   injunction.
07/29/16 Rebecca Kahan Waldman       1.50        1.50     $500.00          $750.00 Correspondence regarding motion to compel; reviewed
                                                                                   recent opinions.
07/29/16 Angela M. Liu               1.10        1.10     $250.00          $275.00 Revise motion to compel.
07/29/16 Thomas H. Cordova           0.90        0.00       $0.00            $0.00 Draft motion to compel.
07/29/16 Mary H. Kim                 0.30        0.00       $0.00            $0.00 Conference with D. Bucci.
07/29/16 Daron Hovannisian           7.80        0.00       $0.00            $0.00 Research case law and drafted memorandum discussing
                                                                                   potential eleventh amendment immunity arguments in
                                                                                   anticipation of defendant Jordan's appeal.
07/29/16 Anne A. Gruner              4.20        0.00       $0.00            $0.00 Review updated draft motion to compel and provide
                                                                                   additional suggested revisions to team; review added factual
                                                                                   information to ensure accuracy; review preliminary
                                                                                   injunction order in order to analyze issues associated with
                                                                                   notice regarding registration provided to voters registered
                                                                                   pursuant to preliminary injunction order.

07/30/16 Angela M. Liu               0.40        0.40     $250.00          $100.00 Review research relating to Election Code section 10101.
07/31/16 Neil A. Steiner             0.30        0.30     $500.00          $150.00 Review draft motion to compel and email correspondence
                                                                                   with co-counsel.
07/31/16 Rebecca Kahan Waldman       1.00        1.00     $500.00          $500.00 Revise motion to compel.

07/31/16 Angela M. Liu               0.50        0.50     $250.00          $125.00 Review supplemental pleading of B. Cox; review motion to
                                                                                   compel and prepare for filing.



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                                             Hours       Rate
 Date              Name           Hours                                  Amount      Description
                                            Charged    Requested
08/01/16 Rebecca Kahan Waldman       3.00         3.00    $500.00         $1,500.00 Review training materials; finalize motion to compel and
                                                                                    related documents.
08/01/16 Angela M. Liu               0.60        0.60     $250.00          $150.00 Prepare motion to compel for filing; confer with D. Bucci
                                                                                    regarding issues relating to voting in primary election.
08/01/16 Thomas H. Cordova           0.40        0.00       $0.00             $0.00 Review and draft motion to compel.
08/01/16 Mary H. Kim                 2.70        0.00       $0.00             $0.00 Conduct follow-up research on the Elections Code 52 USC
                                                                                    10101.
08/01/16 Daron Hovannisian           6.10        0.00       $0.00             $0.00 Draft 10th circuit standards section for review of grant of
                                                                                    preliminary injunction motion; revise memorandum and
                                                                                    added sections concerning standing in anticipation of
                                                                                    Secretary Jordan's appeal.
08/01/16 Kelly Yanahan               1.10        0.00       $0.00             $0.00 Prepare cited cases in preparation for Motion to Dismiss.
08/01/16 Anne A. Gruner              8.20        0.00       $0.00             $0.00 Review motion to compel documents in relation to request
                                                                                    for training manuals; draft and edit declaration in support of
                                                                                    motion to compel documents, including research and review
                                                                                    local rules regarding requirements for meet and confer
                                                                                    obligations; review proposed edits to motion and
                                                                                    declaration with team and perform final edits in advance of
                                                                                    filing; review preliminary injunction order in order to analyze
                                                                                    issues associated with notice regarding registration provided
                                                                                    to voters registered pursuant to preliminary injunction
                                                                                    order.
08/02/16 Rebecca Kahan Waldman       1.00        1.00     $500.00          $500.00 Correspondence regarding client voting in primary.

08/02/16 Kelly Yanahan               1.50        0.00       $0.00            $0.00 Prepare cited cases for upcoming Motion to Dismiss.
08/02/16 Anne A. Gruner              2.10        0.00       $0.00            $0.00 Review preliminary injunction order in order to analyze
                                                                                   issues associated with notice regarding registration provided
                                                                                   to voters registered pursuant to preliminary injunction
                                                                                   order; draft list of issues with notice and circulate to team
                                                                                   for review.
08/03/16 Steven B. Singer            0.30        0.00       $0.00            $0.00 Retrieve documents from Fish v. Kobach for A. Gruner.
08/03/16 Rebecca Kahan Waldman       1.80        1.80     $500.00          $900.00 Review motion for sanctions and correspondence regarding
                                                                                   same.
08/03/16 Angela M. Liu               0.60        0.60     $250.00          $150.00 Review motion for sanctions and strategize.



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                                             Hours       Rate
 Date              Name           Hours                                  Amount      Description
                                            Charged    Requested
08/03/16 Nicole A. La Due            0.80         0.00      $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                    electronic file and prepare deadline reminders of upcoming
                                                                                    date for each team attorney.
08/03/16 Thomas H. Cordova           0.30        0.00       $0.00             $0.00 Research local rules on filing.
08/03/16 Anne A. Gruner              2.10        0.00       $0.00             $0.00 Review motion for sanctions from defense counsel; begin to
                                                                                    analyze and research issues to raise in reply; correspond
                                                                                    with team regarding response strategy.
08/04/16 Neil A. Steiner             2.00        2.00     $500.00         $1,000.00 Review briefs and prepare for moot court.
08/04/16 Nicole A. La Due            0.60        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                    electronic file and prepare deadline reminders of upcoming
                                                                                    date for each team attorney.
08/04/16 Kelly Yanahan               7.50        0.00       $0.00             $0.00 Analyze and prepare cited cases in preparation for upcoming
                                                                                    Motion to Dismiss.
08/04/16 Anne A. Gruner              3.60        0.00       $0.00             $0.00 Review Defendant Jordan's motion for sanctions and
                                                                                    correspond with team regarding strategy for responding to
                                                                                    motion; review procedural history and background of case in
                                                                                    order to determine validity of factual assertions in motion;
                                                                                    review various cases cited in support of motion for sanctions
                                                                                    to determine accuracy of holdings cited; research and review
                                                                                    various procedural rules and cases regarding imposition of
                                                                                    sanctions and dismissal for violations of discovery process;
                                                                                    analyze elements required for dismissal of case based on
                                                                                    discovery violation in conjunction with facts of case in order
                                                                                    to determine strength of Defendant's motion.

08/05/16 Neil A. Steiner             2.50        2.50     $500.00         $1,250.00 Participate in moot court and prepare for argument.
08/05/16 Rebecca Kahan Waldman       2.00        2.00     $500.00         $1,000.00 Participate in moot.

08/05/16 Angela M. Liu               2.00        2.00     $250.00          $500.00 Attend moot for 10th Circuit oral argument.
08/05/16 Nicole A. La Due            1.30        0.00       $0.00            $0.00 Coordinate with vendor to obtain database credentials for
                                                                                   deposition transcript downloads, begin download of
                                                                                   materials for archiving.
08/05/16 Kelly Yanahan               1.00        0.00       $0.00            $0.00 Analyze and prepare cited cases in preparation for upcoming
                                                                                   Motion to Dismiss.



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                                             Hours       Rate
 Date               Name          Hours                                  Amount     Description
                                            Charged    Requested
08/05/16 Anne A. Gruner              5.40         0.00      $0.00            $0.00 Prepare for and participate in moot in preparation for 10th
                                                                                   Circuit oral argument, including review preliminary
                                                                                   injunction order, appeal briefing, and notes regarding
                                                                                   questions to pose; discuss legal strategies for responding to
                                                                                   various questions regarding issuance of preliminary
                                                                                   injunction; review various cases cited in Defendant Jordan's
                                                                                   motion for sanctions and provide analysis of key Starlight
                                                                                   case to team for review, including analyze points to
                                                                                   distinguish in opposition brief; review negative citing
                                                                                   references to Starlight to determine validity of holding;
                                                                                   correspond with team regarding strategy for responding to
                                                                                   motion for sanctions.
08/06/16 Neil A. Steiner             0.20        0.20     $500.00          $100.00 Review draft 28(j) letter and email correspond with co-
                                                                                   counsel re: same.
08/08/16 Rebecca Kahan Waldman       0.60        0.60     $500.00          $300.00 Review research for response to motion for sanctions.

08/08/16 Angela M. Liu               1.70        1.70     $250.00          $425.00 Review preliminary injunction briefing and order.
08/08/16 Anne A. Gruner              5.20        0.00       $0.00            $0.00 Review Defendant Jordan's motion for sanctions and
                                                                                   research and review cases cited in support in order to draft
                                                                                   opposition to motion; correspond with team regarding
                                                                                   strategy for opposing motion for sanctions; review cases and
                                                                                   citing references for instances in which court has imposed
                                                                                   sanctions and dismissal for discovery violations and create
                                                                                   comprehensive summary of relevant cases for use in
                                                                                   opposition.
08/09/16 Thomas H. Cordova           0.20        0.00       $0.00            $0.00 Draft response brief.
08/09/16 Anne A. Gruner              4.80        0.00       $0.00            $0.00 Review Defendant Jordan's motion for sanctions and
                                                                                   research and review cases cited in support in order to draft
                                                                                   opposition to motion; correspond with team regarding
                                                                                   strategy for opposing motion for sanctions; review cases and
                                                                                   citing references for instances in which court has imposed
                                                                                   sanctions and dismissal for discovery violations and create
                                                                                   comprehensive summary of relevant cases for use in
                                                                                   opposition.
08/10/16 Thomas H. Cordova           3.80        0.00       $0.00            $0.00 Review cases cited in Jordan's reply brief.


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                                             Hours       Rate
 Date              Name           Hours                                  Amount     Description
                                            Charged    Requested
08/10/16 Samuel W. Stelk             3.50         0.00      $0.00            $0.00 Prepare summary of cases cited in Defendant's response to
                                                                                   Plaintiffs' Motion for Preliminary Injunction.
08/10/16 Anne A. Gruner              5.70        0.00       $0.00            $0.00 Review procedural posture of 10th Circuit case, including
                                                                                   review all appellate briefing; review all pleadings filed by
                                                                                   Defendant Jordan in conjunction with motion to dismiss in
                                                                                   order to determine facts and background relevant to appeal;
                                                                                   correspond with A. Liu regarding drafting facts and
                                                                                   background section of 10th Circuit brief opposing Defendant
                                                                                   Jordan's appeal from the preliminary injunction order;
                                                                                   review preliminary injunction briefing; correspond with team
                                                                                   regarding review of all cases cited in support of Defendant
                                                                                   Jordan's opposition to motion for preliminary injunction;
                                                                                   research existence of case law in which court has imposed
                                                                                   sanction of dismissal for discovery abuses under Kansas law
                                                                                   for use in opposition to Defendant Jordan's motion for
                                                                                   sanctions.
08/11/16 Samuel W. Stelk             3.00        0.00       $0.00            $0.00 Prepare summary of cases cited in Defendant's response to
                                                                                   Plaintiffs' Motion for Preliminary Injunction.
08/11/16 Anne A. Gruner              5.47        0.00       $0.00            $0.00 Review prior pleadings and factual background of case;
                                                                                   review template from 7th Circuit appellate brief in order to
                                                                                   draft introduction to 10th Circuit appellate reply brief; begin
                                                                                   to draft introduction to reply brief; review defendant's
                                                                                   motion for sanctions and research applicable case law to rely
                                                                                   on in opposition to motion; review all citing references to
                                                                                   Starlight case cited in defendant's brief in order to
                                                                                   undermine applicability of case to facts at issue.

08/12/16 Nicole A. La Due            0.60        0.00       $0.00            $0.00 Receive and review new pleadings, convert, upload to
                                                                                   electronic file and prepare deadline reminders of upcoming
                                                                                   date for each team attorney.
08/12/16 Samuel W. Stelk             4.50        0.00       $0.00            $0.00 Prepare summary of cases cited in Defendant's response to
                                                                                   Plaintiffs' Motion for Preliminary Injunction.
08/15/16 Thomas H. Cordova           2.50        0.00       $0.00            $0.00 Distinguish cases for reply brief.
08/15/16 Samuel W. Stelk             5.00        0.00       $0.00            $0.00 Prepare summary of cases cited in Defendant's response to
                                                                                   Plaintiffs' Motion for Preliminary Injunction.


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                                             Hours       Rate
 Date               Name          Hours                                  Amount      Description
                                            Charged    Requested
08/15/16 Mary H. Kim                 5.10         0.00      $0.00             $0.00 Distinguish Jordan's preliminary injunction cases in
                                                                                    preparation for Tenth Circuit brief.
08/15/16 Anne A. Gruner              5.20        0.00       $0.00             $0.00 Review prior briefing filed in 10th Circuit in order to edit and
                                                                                    revise factual background and procedural history sections
                                                                                    for new 10th Circuit appellate brief; review all filings on
                                                                                    behalf of Defendant Jordan in order to include draft and edit
                                                                                    procedural posture section of appellate brief.

08/16/16 Neil A. Steiner             0.50        0.50     $500.00          $250.00 Review memo re: contempt and email correspondence
                                                                                   regarding same.
08/16/16 Rebecca Kahan Waldman       1.50        1.50     $500.00          $750.00 Review briefs related to 11th Cir. appeal; correspondence
                                                                                   regarding contempt motion.
08/16/16 Thomas H. Cordova           2.60        0.00       $0.00            $0.00 Distinguish cases for reply.
08/16/16 Anne A. Gruner              4.20        0.00       $0.00            $0.00 Review correspondence from co-counsel regarding all
                                                                                   upcoming issues to address, including clarifying injunction
                                                                                   for online registrants, clarifying misleading registration
                                                                                   notices under injunction, and use of provisional ballots for
                                                                                   motor-voter registrants and correspond with group
                                                                                   regarding strategy for proceeding; review prior briefing filed
                                                                                   in 10th Circuit in order to edit and revise factual background
                                                                                   and procedural history sections for new 10th Circuit
                                                                                   appellate brief; review all filings on behalf of Defendant
                                                                                   Jordan in order to include draft and edit procedural posture
                                                                                   section of appellate brief.
08/17/16 Rebecca Kahan Waldman       1.00        1.00     $500.00          $500.00 Prepare for moot.

08/18/16 Thomas H. Cordova           3.30        0.00       $0.00             $0.00 Distinguish cases in Defendant Jordan's response.
08/18/16 Samuel W. Stelk             3.00        0.00       $0.00             $0.00 Prepare summary of cases cited in Defendant's response to
                                                                                    Plaintiffs' Motion for Preliminary Injunction.
08/19/16 Neil A. Steiner             2.00        2.00     $500.00         $1,000.00 Participated in Moot court for oral argument.
08/19/16 Rebecca Kahan Waldman       2.00        2.00     $500.00         $1,000.00 Participated in moot.

08/19/16 Thomas H. Cordova           3.80        0.00       $0.00             $0.00 Review and distinguish cases from Defendant Jordan's
                                                                                    response.



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                                                Hours       Rate
 Date              Name              Hours                                  Amount     Description
                                               Charged    Requested
08/19/16 Samuel W. Stelk                1.00         0.00      $0.00            $0.00 Prepare summary of cases cited in Defendant's response to
                                                                                      Plaintiffs' Motion for Preliminary Injunction.
08/19/16 Taylor T. Southworth           0.80        0.00       $0.00            $0.00 Retrieve cases for M. Kim.
08/19/16 Anne A. Gruner                 6.57        0.00       $0.00            $0.00 Prepare for and participate in moot in preparation for 10th
                                                                                      Circuit oral argument, including review preliminary
                                                                                      injunction order, appeal briefing, and notes from prior moot;
                                                                                      discuss legal strategies for responding to various questions
                                                                                      regarding issuance of preliminary injunction; review various
                                                                                      cases cited in Defendant Jordan's motion for sanctions and
                                                                                      provide analysis of key Starlight case to team for review,
                                                                                      including analyze points to distinguish in opposition brief;
                                                                                      review negative citing references to Starlight to determine
                                                                                      validity of holding; correspond with team regarding strategy
                                                                                      for responding to motion for sanctions and formulate
                                                                                      argument for opposing imposition of sanctions for use in
                                                                                      reply brief.
08/20/16 Mary H. Kim                    1.00        0.00       $0.00            $0.00 Review and edit document distinguishing Jordan's cases in
                                                                                      preliminary injunction response brief.
08/21/16 Thomas H. Cordova              2.20        0.00       $0.00            $0.00 Review and distinguish cases from Defendant Jordan's
                                                                                      response.
08/22/16 Steven B. Singer               0.10        0.00       $0.00            $0.00 Retrieve docket sheet from Fish v. Jordan for A. Gruner.
08/22/16 Rebecca Kahan Waldman          0.80        0.80     $500.00          $400.00 Review opposition to motion for sanctions.

08/22/16 Angela M. Liu                  4.50        4.50     $250.00         $1,125.00 Travel to oral argument in Denver; review briefing in
                                                                                       preparation for oral argument.
08/22/16 Nicole A. La Due               0.60        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
08/22/16 Mary H. Kim                    0.40        0.00       $0.00             $0.00 Prepare for oral argument on Kobach's appeal.




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                                            Hours       Rate
 Date              Name          Hours                                  Amount      Description
                                           Charged    Requested
08/22/16 Anne A. Gruner             8.07         0.00      $0.00             $0.00 Review all of Defendant Jordan's briefing and pleadings in
                                                                                   case to ascertain underlying factual information; identify
                                                                                   pertinent facts and arguments in anticipation of drafting
                                                                                   10th Circuit appellate reply brief; draft and edit introductory
                                                                                   and fact sections of 10th Circuit reply brief; review
                                                                                   comprehensive case chart distinguishing all cases cited in
                                                                                   defendant Jordan's briefing to understand factual nuances;
                                                                                   review draft opposition to motion for sanctions from Mr.
                                                                                   Bonney and begin to revise motion.
08/23/16 Rebecca Kahan Waldman      0.60        0.60     $500.00          $300.00 Correspondence regarding response to motion for sanctions;
                                                                                   correspondence regarding oral argument.
08/23/16 Angela M. Liu              5.50        5.50     $250.00         $1,375.00 Prepare for and attend 10th Circuit oral argument; travel
                                                                                   from 10th Circuit oral argument.
08/23/16 Anne A. Gruner             8.02        0.00       $0.00             $0.00 Review 10th Circuit Kobach brief in order to review format
                                                                                   for drafting procedural history and background sections of
                                                                                   10th Circuit Jordan appeal; identify and pull all pleadings
                                                                                   filed by Defendant Jordan in case and draft and edit
                                                                                   procedural history, facts, and background sections of 10th
                                                                                   Circuit brief; review and edit draft opposition to Defendant
                                                                                   Jordan's motion for sanctions and correspond with team
                                                                                   regarding strategy and additional points to raise in
                                                                                   opposition motion; review all citing references to Starlight
                                                                                   case cited by plaintiffs in order to counter arguments raised
                                                                                   by Defendant Jordan regarding dismissal as appropriate
                                                                                   sanction for discovery violation; review chart of cases cited
                                                                                   in Jordan's response in order to identify issues to contest in
                                                                                   appeal; edit draft opposition to Defendant Jordan's motion
                                                                                   for sanctions and begin to review testimony of Ms. Ahrens to
                                                                                   ensure qualifications as corporate witness.

08/24/16 Mary H. Kim                1.30        0.00       $0.00             $0.00 Review and revise brief opposing Jordan's motion for
                                                                                   sanctions.




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                                          Hours       Rate
 Date             Name         Hours                                  Amount     Description
                                         Charged    Requested
08/24/16 Anne A. Gruner           6.80         0.00      $0.00            $0.00 Review and edit draft opposition to Defendant Jordan's
                                                                                motion for sanctions and correspond with team regarding
                                                                                strategy and additional points to raise in opposition motion;
                                                                                review all citing references to Starlight case cited by
                                                                                plaintiffs in order to counter arguments raised by Defendant
                                                                                Jordan regarding dismissal as appropriate sanction for
                                                                                discovery violation; research cases preventing party from
                                                                                responding to motion for summary judgment as sanction for
                                                                                discovery violation in order to determine strength of
                                                                                Defendant's motion and draft argument in response;
                                                                                research propriety of questions regarding claims in case in
                                                                                30(b)(6) deposition to identify potential privilege waiver
                                                                                issues in connection with witness testimony regarding
                                                                                drafting of complaint; review all testimony of Ms. Ahrens in
                                                                                conjunction with deposition notice to determine
                                                                                thoroughness of testimony as designated representative.

08/25/16 Mary H. Kim              2.40        0.00       $0.00            $0.00 Review M. Ahrens' deposition testimony for 30(b)(6)
                                                                                purposes.
08/25/16 Anne A. Gruner           6.20        0.00       $0.00            $0.00 Review all pleadings in case related to Defendant Jordan in
                                                                                order to draft procedural history section of 10th Circuit
                                                                                appeal brief and draft and edit procedural history and
                                                                                introduction sections; review 10th Circuit Kobach brief as
                                                                                template in guiding drafting of Jordan brief; edit and revise
                                                                                opposition to Defendant Jordan's motion for sanctions,
                                                                                including review all testimony of Ms. Ahrens in order to
                                                                                ascertain adequacy of testimony; research and review case
                                                                                law regarding viability of dismissal as appropriate sanction
                                                                                for dismissal of claims based on discovery violations.




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                                            Hours       Rate
 Date               Name         Hours                                  Amount     Description
                                           Charged    Requested
08/26/16 Anne A. Gruner             5.30         0.00      $0.00            $0.00 Draft and revise opposition to Defendant Jordan's motion
                                                                                  for sanctions, including review of all testimony from Ms.
                                                                                  Ahrens to determine comprehensiveness of answers; review
                                                                                  case law to identify cases in which sanctions have been
                                                                                  awarded in order to counter argument that dismissal is
                                                                                  appropriate; review factual section of motion and confirm
                                                                                  accuracy of all statements.
08/27/16 Neil A. Steiner            0.40        0.40     $500.00          $200.00 Review and revise opposition to Jordan motion for sanctions
                                                                                  and email correspondence with co-counsel regarding same.

08/27/16 Rebecca Kahan Waldman      1.50        1.50     $500.00          $750.00 Revise opposition to motion for sanctions and
                                                                                  correspondence regarding same.
08/27/16 Angela M. Liu              2.10        2.10     $250.00          $525.00 Revise response to motion for sanctions.
08/27/16 Anne A. Gruner             1.60        0.00       $0.00            $0.00 Review proposed edits from R. Waldman and A. Liu to
                                                                                  opposition to Defendant Jordan's motion for sanctions and
                                                                                  correspond with team regarding proposed edits; circulate
                                                                                  updated brief to co-counsel in order to obtain group consent
                                                                                  to edits.
08/28/16 Anne A. Gruner             0.60        0.00       $0.00            $0.00 Review proposed edits to introduction and other portions
                                                                                  opposition to Defendant Jordan's motion for sanctions and
                                                                                  incorporate edits as necessary; circulate updated opposition
                                                                                  motion to team for review.
08/29/16 Neil A. Steiner            0.30        0.30     $500.00          $150.00 Review opinion re: Jordan motion to dismiss and multiple
                                                                                  emails with co-counsel regarding same.
08/29/16 Steven B. Singer           0.10        0.00       $0.00            $0.00 Retrieve document from Fish v. Kobach for A. Gruner.
08/29/16 Rebecca Kahan Waldman      1.50        1.50     $500.00          $750.00 Correspondence regarding opposition to motion for
                                                                                  sanctions; correspondence regarding opinion on motion to
                                                                                  dismiss and related appeals.
08/29/16 Angela M. Liu              0.40        0.40     $250.00          $100.00 Review and revise response to motion for sanctions.
08/29/16 Robyn M. McAllen           0.20        0.00       $0.00            $0.00 Retrieve case.
         Broughton
08/29/16 Kelly Yanahan              0.80        0.00       $0.00            $0.00 Update pleadings with newly filed court documents.




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                                            Hours       Rate
 Date               Name         Hours                                  Amount     Description
                                           Charged    Requested
08/29/16 Anne A. Gruner             5.10         0.00      $0.00            $0.00 Review all proposed edits from team and ensure inclusion in
                                                                                  updated draft of opposition to Defendant Jordan's Motion
                                                                                  for Sanctions; perform final review of Opposition to Motion
                                                                                  for Sanctions in advance of filing and edit as necessary;
                                                                                  correspond with team regarding strategy with respect to
                                                                                  Court order dismissing Defendant Jordan from case; review
                                                                                  Court order and relevant case law in order to analyze validity
                                                                                  of decision and potential arguments for appeal or
                                                                                  reconsideration.
08/30/16 Neil A. Steiner            0.70        0.70     $500.00          $350.00 Conference call with co-counsel.
08/30/16 Angela M. Liu              0.60        0.60     $250.00          $150.00 Attend weekly conference call.
08/30/16 Mary H. Kim                3.60        0.00       $0.00            $0.00 Review deposition transcripts and draft list of complete
                                                                                  transcripts; prepare chart for all depositions with relevant
                                                                                  identifying information.
08/30/16 Anne A. Gruner             5.70        0.00       $0.00            $0.00 Prepare for and participate in teleconference regarding all
                                                                                  pending tasks and deadlines, including discuss strategy for
                                                                                  drafting and filing motion for contempt and motion for
                                                                                  summary judgment; correspond with A. Liu to review issues
                                                                                  discussed on teleconference; review motion to compel
                                                                                  documents from witness Ms. Lehman and corresponding
                                                                                  Lehman deposition transcript and draft declarations in
                                                                                  support of motion to compel on behalf of A. Liu and R.
                                                                                  Waldman; begin to review motions for summary judgment
                                                                                  filed in corresponding voting rights cases in order to develop
                                                                                  strategy for drafting outline for motion for summary
                                                                                  judgment.
08/31/16 Brian K. Deaver            0.20        0.00       $0.00            $0.00 PACER search for document filed in League of Women
                                                                                  Voters case for A. Gruner.
08/31/16 Rebecca Kahan Waldman      1.00        1.00     $500.00          $500.00 Review declaration; correspondence regarding motion to
                                                                                  compel and motion for summary judgment.
08/31/16 Angela M. Liu              3.90        3.90     $250.00          $975.00 Prepare summary judgment chart, deposition outline charts,
                                                                                  and discuss and oversee assignment distribution for
                                                                                  summary judgment outline; revise motion to compel.
08/31/16 Mary H. Kim                4.40        0.00       $0.00            $0.00 Prepare for summary judgment brief; reviewed and excerpt
                                                                                  plaintiff declarations for 56.1 statement chart.


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                                                 Hours       Rate
 Date              Name               Hours                                  Amount     Description
                                                Charged    Requested
08/31/16 Anne A. Gruner                  8.60         0.00      $0.00            $0.00 Review motion to compel documents subpoenaed from
                                                                                       witness Ms. Lehman, including review various supporting
                                                                                       documents and exhibits; correspond with A. Liu regarding
                                                                                       facts underlying motion; revise motion based on current
                                                                                       posture of case; draft and edit declarations for R. Waldman
                                                                                       and A. Liu in support of motion and revise based on
                                                                                       proposed edits; prepare for and participate in
                                                                                       teleconference regarding strategy for drafting motion for
                                                                                       summary judgment and revise issue tracking charts; begin to
                                                                                       review transcript of Ms. Ahrens in order to identify facts to
                                                                                       cite in support of motion for summary judgment.
09/01/16 Angela M. Liu                   0.80        0.80     $250.00          $200.00 Oversee research and fact finding of summary judgment
                                                                                       motion.
09/01/16 Anne A. Gruner                  6.30        0.00       $0.00            $0.00 Coordinate citation to all appropriate exhibits and
                                                                                       declarations in motion to compel documents from
                                                                                       deposition of Ms. Lehman and review all citations for
                                                                                       accuracy; review and edit declarations of A. Liu and R.
                                                                                       Waldman in support of motion to compel and transmit to
                                                                                       team for final review; perform final review of motion and
                                                                                       declarations and circulate to team in advance of filing;
                                                                                       review all exhibits in advance of filing; review various
                                                                                       deposition transcripts and exhibits and identify all testimony
                                                                                       and documents to cite in support of pertinent issues in
                                                                                       motion for summary judgment, including add all relevant
                                                                                       testimony to comprehensive summary judgment tracking
                                                                                       chart.
09/01/16 James T. Van Strander           0.70        0.00       $0.00            $0.00 Review background materials related to Kansas voting rights
                                                                                       case.
09/02/16 Anne A. Gruner                  5.80        0.00       $0.00            $0.00 Review Ahrens and Caskey deposition transcripts and
                                                                                       exhibits and identify all testimony and documents to cite in
                                                                                       support of pertinent issues in motion for summary
                                                                                       judgment; draft statements of undisputed facts based on
                                                                                       testimony and exhibits and add to comprehensive summary
                                                                                       judgment tracking chart.



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                                                 Hours       Rate
 Date               Name              Hours                                  Amount      Description
                                                Charged    Requested
09/03/16 Angela M. Liu                   4.20         4.20    $250.00         $1,050.00 Review deposition transcripts for motion for summary
                                                                                        judgment.
09/06/16 Neil A. Steiner                 0.30        0.30     $500.00          $150.00 Email correspondence with co-counsel regarding strategy,
                                                                                        discovery and briefing schedule.
09/06/16 Katarina V. McClellan           0.50        0.00       $0.00             $0.00 Update and review R. Waldman and A. Liu declarations and
                                                                                        motion to compel.
09/06/16 Angela M. Liu                   2.70        2.70     $250.00          $675.00 Oversee motion to compel; call with T. Cordova regarding
                                                                                        issues relating to summary judgment review; oversee
                                                                                        organization of summary judgment review.
09/06/16 Thomas H. Cordova               0.60        0.00       $0.00             $0.00 Review recent developments and new assignments.
09/06/16 Mary H. Kim                     3.40        0.00       $0.00             $0.00 Update summary judgment fact chart; review Bucci
                                                                                        deposition transcript for 56.1 statement.
09/06/16 Anne A. Gruner                  5.80        0.00       $0.00             $0.00 Review various deposition transcripts for factual information
                                                                                        useful to all issues in motion for summary judgment,
                                                                                        including annotate motion chart with all undisputed
                                                                                        material facts to cite in support of motion; review various
                                                                                        deposition transcript exhibits for use in motion for summary
                                                                                        judgment; review proposed edits from co-counsel in relation
                                                                                        motion to compel documents from deposition of Ms.
                                                                                        Lehman and revise motion and declarations as necessary;
                                                                                        coordinate updating of all exhibits and citations in motion
                                                                                        based on revisions; correspond with team regarding receipt
                                                                                        of documents from defense counsel and discuss strategy
                                                                                        with respect to filing motion to compel.

09/07/16 Katarina V. McClellan           6.00        0.00       $0.00            $0.00 Prepare Lehman third party production.
09/07/16 Angela M. Liu                   1.80        1.80     $250.00          $450.00 Attend conference call; revise demand letter; oversee bates
                                                                                       stamping relating to Lehman documents.
09/07/16 Mary H. Kim                     0.90        0.00       $0.00            $0.00 Culled facts from Plaintiffs' declarations into summary
                                                                                       judgment chart.




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                                                 Hours       Rate
 Date               Name              Hours                                  Amount     Description
                                                Charged    Requested
09/07/16 Anne A. Gruner                  4.30         0.00      $0.00            $0.00 Review draft demand letter seeking Defendant Kobach's
                                                                                       compliance with preliminary injunction order and transmit
                                                                                       proposed edits; review proposed edits from co-counsel to
                                                                                       demand letter and perform final proof before transmission
                                                                                       to Defendant Kobach; prepare for and participate in team
                                                                                       teleconference regarding strategy for upcoming deadlines
                                                                                       and filings; correspond with A. Liu regarding scheduling of
                                                                                       motion for summary judgment briefing; review Caskey
                                                                                       deposition transcript and identify all testimony and exhibits
                                                                                       to cite as undisputed material facts and include all relevant
                                                                                       information in summary judgment tracking chart.

09/08/16 Angela M. Liu                   0.70        0.70     $250.00          $175.00 Oversee training staff attorneys and associates regarding
                                                                                       summary judgment fact-finding; review reply in support of
                                                                                       letter to Defendant Kobach.
09/08/16 Thomas H. Cordova               4.70        0.00       $0.00            $0.00 Review deposition transcripts for summary judgment.
09/08/16 Mary H. Kim                     6.20        0.00       $0.00            $0.00 Draft production letter; review legal research findings on
                                                                                       attorney-client privilege issues; review Boynton deposition
                                                                                       transcript for 56.1 statement; review Hutchinson deposition
                                                                                       transcript for 56.1 statement; review Jordan deposition
                                                                                       transcript for 56.1 statement.
09/08/16 Anne A. Gruner                  6.10        0.00       $0.00            $0.00 Review various fact and expert witness depositions and
                                                                                       incorporate all information into summary tracking chart for
                                                                                       use in drafting motion for summary judgment.
09/08/16 James T. Van Strander           0.20        0.00       $0.00            $0.00 Call to discuss research on standards for motions for
                                                                                       reconsideration.
09/09/16 Neil A. Steiner                 0.30        0.30     $500.00          $150.00 Review DC Cir opinion and email correspondence with co-
                                                                                       counsel regarding same.
09/09/16 Angela M. Liu                   2.00        2.00     $250.00          $500.00 Oversee fact-finding relating to summary judgment motion.

09/09/16 Nicole A. La Due                1.40        0.00       $0.00            $0.00 Prepare production materials, burn to CD and prepare items
                                                                                       for final delivery.
09/09/16 Thomas H. Cordova               0.80        0.00       $0.00            $0.00 Review deposition transcripts for summary judgment.
09/09/16 Mary H. Kim                     3.00        0.00       $0.00            $0.00 Collect all production and created chart for staff attorney
                                                                                       review.


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                                             Hours       Rate
 Date               Name          Hours                                  Amount     Description
                                            Charged    Requested
09/10/16 Neil A. Steiner             0.40         0.40    $500.00          $200.00 Review and revise 28(j) letter; email correspondence with co-
                                                                                   counsel.
09/10/16 Mary H. Kim                 1.90        0.00       $0.00            $0.00 Legal research on attorney-client privilege issues.
09/11/16 Neil A. Steiner             0.30        0.30     $500.00          $150.00 Additional work on 28(j) letter and multiple email
                                                                                   correspondence with co-counsel regarding same.
09/11/16 Thomas H. Cordova           2.90        0.00       $0.00            $0.00 Review deposition transcripts in preparation for summary
                                                                                   judgment.
09/12/16 Jaime F. Freedman           3.50        0.00       $0.00            $0.00 Review documents and log documentary evidence in Kansas
                                                                                   DPOC chart for inclusion in summary judgment motion.

09/12/16 Angela M. Liu               0.50        0.50     $250.00          $125.00 Attend meeting relating to summary judgment fact
                                                                                   gathering.
09/12/16 Thomas H. Cordova           3.30        0.00       $0.00            $0.00 Review deposition transcripts in preparation of summary
                                                                                   judgment.
09/12/16 Mary H. Kim                 0.20        0.00       $0.00            $0.00 Update client on case status.
09/12/16 Anne A. Gruner              1.20        0.00       $0.00            $0.00 Retrieve all expert deposition materials and begin to review
                                                                                   deposition transcript of Ms. Minnite and enter all relevant
                                                                                   factual information into comprehensive chart for use in
                                                                                   drafting motion for summary judgment.
09/12/16 Shelby K. Riney             2.80        0.00       $0.00            $0.00 Call with A. Liu and other members of team to discuss
                                                                                   assessment and summary of facts in connection with
                                                                                   summary judgment briefing; review and analyze transcript of
                                                                                   hearing on preliminary injunction in connection with
                                                                                   summary judgment briefing.
09/13/16 Jaime F. Freedman           3.50        0.00       $0.00            $0.00 Review documents and log documentary evidence in Kansas
                                                                                   DPOC chart for inclusion in summary judgment motion.

09/13/16 Nicole A. La Due            0.50        0.00       $0.00            $0.00 Receive and review new pleadings, convert, upload to
                                                                                   electronic file and prepare deadline reminders of upcoming
                                                                                   date for each team attorney.
09/13/16 Thomas H. Cordova           3.50        0.00       $0.00            $0.00 Review deposition transcripts in preparation of summary
                                                                                   judgment.
09/13/16 Mary H. Kim                 1.70        0.00       $0.00            $0.00 Review Fish deposition transcript for 56.1 statement.




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                                                 Hours       Rate
 Date              Name               Hours                                  Amount      Description
                                                Charged    Requested
09/13/16 Anne A. Gruner                  2.80         0.00      $0.00             $0.00 Review deposition transcript of Ms. Minnite and enter all
                                                                                        relevant factual information into comprehensive chart for
                                                                                        use in drafting motion for summary judgment.
09/13/16 James T. Van Strander           4.30        0.00       $0.00             $0.00 Research legal standards governing motions for
                                                                                        reconsideration in the Tenth Circuit and District of Kansas.

09/13/16 Shelby K. Riney                 2.80        0.00       $0.00             $0.00 Review and analyze hearing on preliminary injunction in
                                                                                        connection with summary judgment briefing.
09/14/16 Elisabeth L. Sachse             0.50        0.00       $0.00             $0.00 Create and revise searches for A. Liu.
09/14/16 Jaime F. Freedman               4.50        0.00       $0.00             $0.00 Review documents and log documentary evidence in Kansas
                                                                                        DPOC chart for inclusion in summary judgment motion.

09/14/16 Steven B. Singer                0.50        0.00       $0.00             $0.00 Discussion re: gaining access to, and provide a section of, an
                                                                                        online federal civil procedure guide for James Van Strander.

09/14/16 Angela M. Liu                   5.10        5.10     $250.00         $1,275.00 Attend status conference to set dates; attend strategy
                                                                                        conference call; oversee issues relating to document review
                                                                                        for summary judgment motion, motion for reconsideration
                                                                                        research, research relating to privilege.
09/14/16 Thomas H. Cordova               3.10        0.00       $0.00             $0.00 Review transcripts in preparation of summary judgment.
09/14/16 Mary H. Kim                     6.20        0.00       $0.00             $0.00 Conduct legal research on privilege issues regarding county
                                                                                        and state employees; update discovery chart based on new
                                                                                        productions.
09/14/16 Anne A. Gruner                  4.90        0.00       $0.00             $0.00 Review applicable case law and analysis regarding rules for
                                                                                        motion to alter or amend versus motion for reconsideration
                                                                                        in advance of entry of final judgment in matter and
                                                                                        correspond with team regarding strategy for filing potential
                                                                                        motion regarding denial of partial motion; review various
                                                                                        deposition transcripts and fact materials and enter relevant
                                                                                        information into comprehensive chart for use in drafting
                                                                                        motion for summary judgment; review all aspects of case
                                                                                        management for strategy call.
09/14/16 James T. Van Strander           4.10        0.00       $0.00             $0.00 Research motions for reconsideration in Tenth Circuit and
                                                                                        District of Kansas.



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                                                 Hours       Rate
 Date               Name              Hours                                  Amount     Description
                                                Charged    Requested
09/14/16 Shelby K. Riney                 3.80         0.00      $0.00            $0.00 Review and analyze transcript and exhibits of hearing on
                                                                                       preliminary injunction; draft summary and analysis of key
                                                                                       facts for summary judgment motion.
09/15/16 Jefferson Holder                0.50        0.00       $0.00            $0.00 Docketing/review of case information update into the
                                                                                       MA3000 Case Management Docketing System and
                                                                                       Monitoring (case) status of pending matters.
09/15/16 Jaime F. Freedman               5.00        0.00       $0.00            $0.00 Review documents and log documentary evidence in Kansas
                                                                                       DPOC chart for inclusion in summary judgment motion.

09/15/16 Angela M. Liu                   2.20        2.20     $250.00          $550.00 Continue to oversee summary judgment fact finding and
                                                                                       issues relating to motion to compel.
09/15/16 Nicole A. La Due                0.60        0.00       $0.00            $0.00 Receive and review new pleadings, distribute electronic copy
                                                                                       to attorneys for review and upload to archive folder.
09/15/16 Thomas H. Cordova               1.80        0.00       $0.00            $0.00 Review deposition transcripts.
09/15/16 Mary H. Kim                     2.40        0.00       $0.00            $0.00 Memorialize findings on privilege issues; cull facts from
                                                                                       Plaintiffs' deposition transcripts into summary judgment
                                                                                       chart.
09/15/16 Robyn M. McAllen                0.20        0.00       $0.00            $0.00 Retrieve case for A. Gruner: Rosario, et al. v. Livaditis, et al.,
         Broughton                                                                     963 F.2d 1013, 1017 (7th Cir. 1992)
09/15/16 James T. Van Strander           1.60        0.00       $0.00            $0.00 Review motion for preliminary injunction.
09/15/16 Shelby K. Riney                 2.70        0.00       $0.00            $0.00 Review and analyze transcript and exhibits of hearing on
                                                                                       preliminary injunction; draft summary and analysis of key
                                                                                       facts for summary judgment motion.
09/16/16 Alvin C. Knight                 4.50        0.00       $0.00            $0.00 Review training materials and call with A. Liu regarding
                                                                                       review process and goals.
09/16/16 Angela M. Liu                   2.60        2.60     $250.00          $650.00 Conference call relating to issues regarding fact-finding and
                                                                                       research regarding privileges and immunities and standards
                                                                                       for summary judgment brief; continue strategizing regarding
                                                                                       motion to compel; oversees issues relating to fact finding.




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                                             Hours       Rate
 Date               Name          Hours                                  Amount     Description
                                            Charged    Requested
09/16/16 Hilary Bonaccorsi           3.90         0.00      $0.00             $0.00 Correspondence and call with A. Liu regarding background
                                                                                    on case and research assignment to draft the summary
                                                                                    judgment standard for upcoming Motion for Summary
                                                                                    Judgment as well as research regarding the privileges and
                                                                                    immunities clause argument relating to the "90-day rule."

09/16/16 Anne A. Gruner              1.07        0.00       $0.00             $0.00 Review various deposition transcripts in order to incorporate
                                                                                    relevant factual information into comprehensive tracking
                                                                                    chart in connection with motion for summary judgment.

09/16/16 Shelby K. Riney             2.90        0.00       $0.00             $0.00 Review and analyze transcript and exhibits of hearing on
                                                                                    preliminary injunction; draft summary and analysis of key
                                                                                    facts for summary judgment motion.
09/17/16 Angela M. Liu               4.20        4.20     $250.00         $1,050.00 Continue to review transcripts for summary judgment
                                                                                    motion.
09/19/16 Alvin C. Knight             4.20        0.00       $0.00             $0.00 Review documents related to Kansas' Voter ID registration.

09/19/16 Thomas H. Cordova           3.60        0.00       $0.00             $0.00 Review and edit materials in preparation of summary
                                                                                    judgment.
09/19/16 Mary H. Kim                 1.10        0.00       $0.00             $0.00 Draft motion to compel Lehman documents.
09/19/16 Anne A. Gruner              8.35        0.00       $0.00             $0.00 Review all relevant fact and expert witness depositions and
                                                                                    incorporate relevant factual material into comprehensive
                                                                                    chart for use in drafting motion for summary judgment;
                                                                                    review prior entries in chart and streamline factual entries
                                                                                    by topical relevance, including revise all entries in
                                                                                    connection with deposition of Ms. Ahrens; correspond with
                                                                                    team and supervise finalizing chart for review by ACLU.

09/20/16 Alvin C. Knight             2.60        0.00       $0.00            $0.00 Conduct document review.
09/20/16 Angela M. Liu               3.10        3.10     $250.00          $775.00 Continue overseeing fact discovery and motion to compel.

09/20/16 Thomas H. Cordova           1.60        0.00       $0.00             $0.00 Attend to summary judgment preparation.
09/20/16 Hilary Bonaccorsi           0.40        0.00       $0.00             $0.00 Research regarding seminal case law relating to the
                                                                                    privileges and immunities clause of Article IV and the
                                                                                    Fourteenth Amendment.


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                                                 Hours       Rate
 Date               Name              Hours                                  Amount     Description
                                                Charged    Requested
09/20/16 Mary H. Kim                     1.90         0.00      $0.00            $0.00 Review responses to Defendants' discovery requests for
                                                                                       inclusion in summary judgment chart.
09/20/16 Anne A. Gruner                  5.92        0.00       $0.00            $0.00 Review all relevant fact and expert witness depositions and
                                                                                       incorporate relevant factual material into comprehensive
                                                                                       chart for use in drafting motion for summary judgment;
                                                                                       review prior entries in chart and streamline factual entries
                                                                                       by topical relevance, including revise all entries in
                                                                                       connection with deposition of Ms. Ahrens.

09/20/16 James T. Van Strander           1.40        0.00       $0.00            $0.00 Research summary judgment standards in District of Kansas.

09/20/16 Shelby K. Riney                 2.90        0.00       $0.00            $0.00 Review and analyze transcript and exhibits of hearing on
                                                                                       preliminary injunction; draft summary and analysis of key
                                                                                       facts for summary judgment motion.
09/21/16 Neil A. Steiner                 0.30        0.30     $500.00          $150.00 Numerous emails with co-counsel re status, strategy, state
                                                                                       argument.
09/21/16 Angela M. Liu                   2.60        2.60     $250.00          $650.00 Continue to oversee fact finding for summary judgment;
                                                                                       review and revise motion for contempt.
09/21/16 Mary H. Kim                     5.60        0.00       $0.00            $0.00 Draft motion to compel Lehman documents; legal research
                                                                                       on class certification numerosity requirement.
09/21/16 Anne A. Gruner                  5.80        0.00       $0.00            $0.00 Review summary judgment chart to ensure inclusion of all
                                                                                       appropriate factual information from deposition transcripts,
                                                                                       pleadings, and documents; review motion to compel
                                                                                       documents from Ms. Lehman withheld on basis of privilege,
                                                                                       including review privilege log and relevant portions of
                                                                                       deposition transcript regarding production of documents;
                                                                                       prepare for and coordinate meet and confer teleconference
                                                                                       regarding privileged documents; review deposition
                                                                                       transcript of Mr. Caskey and incorporate all relevant
                                                                                       information into comprehensive chart for use in drafting
                                                                                       motion for summary judgment.
09/21/16 James T. Van Strander           4.20        0.00       $0.00            $0.00 Draft outline of summary judgment brief.
09/22/16 Hilary Bonaccorsi               0.40        0.00       $0.00            $0.00 Discuss research approach to privileges and immunities issue
                                                                                       with K. Wyman.



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                                                Hours       Rate
 Date              Name              Hours                                  Amount     Description
                                               Charged    Requested
09/22/16 Mary H. Kim                    1.10         0.00      $0.00            $0.00 Meet and confer with Roe regarding Lehman documents;
                                                                                      compile notes on meet and confer.
09/22/16 Anne A. Gruner                 7.70        0.00       $0.00            $0.00 Prepare for and participate in meet and confer with defense
                                                                                      counsel regarding privileged documents from Ms. Lehman;
                                                                                      review privilege log and confer with Mr. Orion in advance of
                                                                                      teleconference; draft summary of meet and confer and
                                                                                      strategize regarding anticipated motion; review and edit
                                                                                      draft motion to compel; review various deposition
                                                                                      transcripts in order to incorporate relevant information in
                                                                                      support of motion for summary judgment into
                                                                                      comprehensive tracking chart of key facts.
09/22/16 Shelby K. Riney                4.80        0.00       $0.00            $0.00 Review and analyze transcript and exhibits of hearing on
                                                                                      preliminary injunction; finalize summary and analysis of key
                                                                                      facts for summary judgment motion.
09/23/16 Elisabeth L. Sachse            0.50        0.00       $0.00            $0.00 Provide support for A. Liu; prepare additional produced
                                                                                      materials for attorney review.
09/23/16 Angela M. Liu                  1.20        1.20     $250.00          $300.00 Continue to oversee fact finding for summary judgment.
09/23/16 Thomas H. Cordova              1.60        0.00       $0.00            $0.00 Review important aspects of case with new team member
                                                                                      and review documents in preparation of summary judgment.

09/23/16 Hilary Bonaccorsi              3.70        0.00       $0.00            $0.00 Research regarding scope of privileges and immunities
                                                                                      clause of Article IV as compared to the scope of the right to
                                                                                      travel under the privilege and immunities clause of the
                                                                                      Fourteenth Amendment; pull cases on topic; read Saenz v.
                                                                                      Rowe and recent E.D. Texas case failing to extend Saenz v.
                                                                                      Rowe; outline topics for memo on the issue including the
                                                                                      standard of review, analysis against Saenz v Rowe and right
                                                                                      to travel cases relating to classifications based on durational
                                                                                      residency requirements; outline potential counterarguments
                                                                                      that may be posed by the defendant and initial responses to
                                                                                      same.
09/23/16 Tharuni A. Jayaraman           3.10        3.10     $195.00          $604.50 Telephone conversation with T. Cordova about case filing
                                                                                      system; read complaint, memorandum order, and other
                                                                                      pleadings.



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                                               Hours       Rate
 Date              Name             Hours                                  Amount     Description
                                              Charged    Requested
09/23/16 Anne A. Gruner                7.90         0.00      $0.00            $0.00 Review various expert depositions and add all relevant
                                                                                     information into comprehensive tracking chart with respect
                                                                                     to summary judgment motion; review chart and streamline
                                                                                     for ease of use in drafting motion in advance of circulating to
                                                                                     ACLU; review revised motion for contempt and propose
                                                                                     relevant edits in advance of filing.
09/24/16 Jaime F. Freedman             2.50        0.00       $0.00            $0.00 Review documents and log documentary evidence in Kansas
                                                                                     DPOC chart for inclusion in summary judgment motion.

09/26/16 Jefferson Holder              0.40        0.00       $0.00            $0.00 Docketing/review of case information update into the
                                                                                     MA3000 Case Management Docketing System and
                                                                                     Monitoring (case) status of pending matters.
09/26/16 Elisabeth L. Sachse           0.50        0.00       $0.00            $0.00 Provide support for J. Figorski; prepare additional produced
                                                                                     materials for attorney review.
09/26/16 Jaime F. Freedman             3.00        0.00       $0.00            $0.00 Review documents and log documentary evidence in Kansas
                                                                                     DPOC chart for inclusion in summary judgment motion.

09/26/16 Angela M. Liu                 3.90        3.90     $250.00          $975.00 Continue to oversee issues relating to fact finding in
                                                                                     summary judgment motion, experts, and motion to compel.

09/26/16 Nicole A. La Due              0.80        0.00       $0.00            $0.00 Receive and review new pleadings, convert, upload to
                                                                                     electronic file and prepare deadline reminders of upcoming
                                                                                     date for each team attorney.
09/26/16 Thomas H. Cordova             1.00        0.00       $0.00            $0.00 Review and edit summary judgment preparation document.

09/26/16 Mary H. Kim                   2.70        0.00       $0.00            $0.00 Compile expert documents in preparation for Barreto
                                                                                     deposition; meet and confer regarding Lehman documents;
                                                                                     draft motion to compel.




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                                                Hours       Rate
 Date              Name              Hours                                  Amount      Description
                                               Charged    Requested
09/26/16 Anne A. Gruner                 7.70         0.00      $0.00             $0.00 Prepare for and participate in meet and confer with defense
                                                                                       counsel regarding privileged documents from Ms. Lehman;
                                                                                       review privilege log and confer with Mr. Orion in advance of
                                                                                       teleconference; draft summary of meet and confer and
                                                                                       strategize regarding anticipated motion; review and edit
                                                                                       draft motion to compel; review expert report of Mr. Barreto
                                                                                       and testimony in prior case in order to prepare sections of
                                                                                       mock outline to use in upcoming deposition preparation
                                                                                       session; manage logistics of planning deposition.

09/27/16 Jefferson Holder               0.30        0.00       $0.00             $0.00 Docketing/review of case information update into the
                                                                                       MA3000 Case Management Docketing System and
                                                                                       Monitoring (case) status of pending matters.
09/27/16 Angela M. Liu                  9.30        9.30     $250.00         $2,325.00 Revise motion to compel; oversee expert deposition
                                                                                       materials; organize expert logistics; review Brown order;
                                                                                       prepare for motion for contempt hearing.
09/27/16 Thomas H. Cordova              2.60        0.00       $0.00             $0.00 Attend team meeting and review expert report.
09/27/16 Hilary Bonaccorsi             11.90        0.00       $0.00             $0.00 Conduct research for best arguments that Kansas violates
                                                                                       the right to travel when it treats residents differently by
                                                                                       taking affirmative steps to add Kansas-born residents who
                                                                                       are on the purge list to the voter rolls while not doing the
                                                                                       same for non-Kansas born residents; read relevant Supreme
                                                                                       Court case law on the 14th Amendment's right to travel;
                                                                                       read case law stemming from Saenz v. Roe, in which the
                                                                                       USSC articulated the components of the modern day right to
                                                                                       travel; outline certain cases to use in memo on topic.

09/27/16 Mary H. Kim                    1.80        0.00       $0.00            $0.00 Attend team call; prepare for Barreto deposition.
09/27/16 Tharuni A. Jayaraman           0.80        0.80     $195.00          $156.00 Prepare for and participate in team telephone call.
09/27/16 Robyn M. McAllen               2.30        0.00       $0.00            $0.00 A. Gruner expert witness research - Matt Barreto
         Broughton




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                                             Hours       Rate
 Date               Name          Hours                                  Amount     Description
                                            Charged    Requested
09/27/16 Anne A. Gruner              7.80         0.00      $0.00             $0.00 Review all documents in connection with motion for
                                                                                    contempt; review and edit draft motion to compel and
                                                                                    corresponding declarations in support; correspond with A.
                                                                                    Liu and M. Kim regarding proposed revisions and strategy for
                                                                                    adding substantive edits to motion to compel; review
                                                                                    deposition of expert witnesses and add relevant information
                                                                                    to comprehensive tracking chart in connection with motion
                                                                                    for summary judgment.
09/28/16 Neil A. Steiner             0.70        0.70     $500.00          $350.00 Conference call with co-counsel; numerous emails with co-
                                                                                    counsel.
09/28/16 Brian K. Deaver             2.00        0.00       $0.00             $0.00 Searched Westlaw Next and Bloomberg Law for expert
                                                                                    materials on Steven Camarota for T. Cordova.
09/28/16 Angela M. Liu               9.30        9.30     $250.00         $2,325.00 Prepare for motion for contempt hearing and settlement;
                                                                                    continue to revise motion to compel; continue to review
                                                                                    expert deposition materials.
09/28/16 Nicole A. La Due            0.80        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                    electronic file and prepare deadline reminders of upcoming
                                                                                    date for each team attorney.
09/28/16 Thomas H. Cordova           4.60        0.00       $0.00             $0.00 Prepare for expert deposition for Steven Camarota.
09/28/16 Hilary Bonaccorsi          10.20        0.00       $0.00             $0.00 Draft outline for memo on privileges and immunities
                                                                                    argument; prepare initial draft of memo on privileges and
                                                                                    immunities argument regarding the discriminatory
                                                                                    application of KRA 7-23-15.
09/28/16 Mary H. Kim                 3.10        0.00       $0.00             $0.00 Edit motion to compel.
09/28/16 Daron Hovannisian           7.10        0.00       $0.00             $0.00 Review expert reports; review and summarize prior expert
                                                                                    witness cases and Daubert rulings.
09/28/16 Robyn M. McAllen            0.60        0.00       $0.00             $0.00 Expert witness research - Matt Barreto.
         Broughton
09/28/16 Bayard Dodge                0.40        0.00       $0.00             $0.00 Conference with H. Bonaccorsi on drafting memorandum for
                                                                                    MSJ on right to travel law.




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                                                Hours       Rate
 Date               Name             Hours                                  Amount     Description
                                               Charged    Requested
09/28/16 Anne A. Gruner                 9.02         0.00      $0.00             $0.00 Prepare for and participate in teleconference with Kansas
                                                                                       team to discuss all upcoming deadlines and strategies for
                                                                                       completion; prepare for moot with respect to motion for
                                                                                       contempt; draft and edit outline for use in deposition
                                                                                       preparation session with Mr. Barreto, including review
                                                                                       rebuttal report and report and transcript of counter expert
                                                                                       Mr. McFerron; review various publications by Mr. Barreto to
                                                                                       determine relevance to case; prepare all materials for use in
                                                                                       expert deposition preparation session of Mr. Barreto; review
                                                                                       motion to compel documents from Ms. Lehman and
                                                                                       correspond with team regarding proposed revisions.

09/29/16 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Numerous emails with co-counsel; review and revise
                                                                                       stipulated resolution of contempt; review order.
09/29/16 Angela M. Liu                 10.10       10.10     $250.00         $2,525.00 Continue to draft and revise motion to compel; continue
                                                                                       reviewing and commenting on issues relating to motion for
                                                                                       contempt hearing; continue preparing for expert
                                                                                       depositions.
09/29/16 Nicole A. La Due               1.00        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
09/29/16 Thomas H. Cordova              5.30        0.00       $0.00             $0.00 Prepare for expert deposition for Steven Camarota.
09/29/16 Hilary Bonaccorsi              7.60        0.00       $0.00             $0.00 Draft memo regarding Plaintiffs' best arguments that the
                                                                                       implementation of the 90-day purge rule violates their
                                                                                       constitutional right to travel.
09/29/16 Mary H. Kim                    1.00        0.00       $0.00             $0.00 Edit motion to compel.
09/29/16 Daron Hovannisian              8.30        0.00       $0.00             $0.00 Prepare expert deposition outline for deposition
                                                                                       preparation.
09/29/16 Tharuni A. Jayaraman           5.10        5.10     $195.00          $994.50 Review expert reports and deposition.
09/29/16 Robyn M. McAllen               0.30        0.00       $0.00             $0.00 Article retrieval request.
         Broughton




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                                                Hours       Rate
 Date               Name             Hours                                  Amount      Description
                                               Charged    Requested
09/29/16 Anne A. Gruner                 9.30         0.00      $0.00             $0.00 Draft and edit outline for use in deposition preparation
                                                                                       session with Mr. Barreto, including review rebuttal report
                                                                                       and report and transcript of counter expert Mr. McFerron;
                                                                                       review various publications by Mr. Barreto to determine
                                                                                       relevance to case; prepare all materials for use in expert
                                                                                       deposition preparation session of Mr. Barreto; review
                                                                                       motion to compel documents from Ms. Lehman and
                                                                                       correspond with team regarding proposed revisions;;
                                                                                       correspond with A. Liu and M. Kim regarding finalizing
                                                                                       motion to compel documents.
09/30/16 Neil A. Steiner                0.80        0.80     $500.00          $400.00 Review orders; numerous emails w co-counsel; review draft
                                                                                       motion to compel and multiple emails re same.
09/30/16 Angela M. Liu                  7.60        7.60     $250.00         $1,900.00 Continue drafting and revising motion to compel.
09/30/16 Nicole A. La Due               1.30        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
09/30/16 Thomas H. Cordova              1.80        0.00       $0.00             $0.00 Draft expert deposition outline for Steven Camarota.
09/30/16 Hilary Bonaccorsi              7.70        0.00       $0.00             $0.00 Draft memo regarding Plaintiffs' best arguments that the
                                                                                       implementation of the 90-day purge rule violates their
                                                                                       constitutional right to travel; research summary judgment
                                                                                       standard in Kansas and the 10th Circuit and draft section of
                                                                                       memo summarizing the standard; finalize all citations in
                                                                                       memo and draft email sending to A. Liu for review.
09/30/16 Mary H. Kim                    9.40        0.00       $0.00             $0.00 Conduct legal research on agency exception to privilege ;
                                                                                       conduct legal research on work-product doctrine; edit
                                                                                       motion to compel; prepare for Barreto deposition.
09/30/16 Daron Hovannisian              3.30        0.00       $0.00             $0.00 Revise expert deposition preparation outline.
09/30/16 Tharuni A. Jayaraman           4.00        4.00     $195.00          $780.00 Conduct research for motion to compel; worked on
                                                                                       deposition outline.
09/30/16 Bayard Dodge                   2.70        0.00       $0.00             $0.00 Review and provide comments on draft memorandum
                                                                                       covering right to travel issues to be incorporated in MSJ;
                                                                                       conferences with H. Bonaccorsi.




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                                                 Hours       Rate
 Date              Name               Hours                                  Amount     Description
                                                Charged    Requested
09/30/16 Anne A. Gruner                 10.30         0.00      $0.00             $0.00 Draft and edit outline for use in deposition preparation
                                                                                        session with Mr. Barreto, including review rebuttal report
                                                                                        and report and transcript of counter expert Mr. McFerron;
                                                                                        review various publications by Mr. Barreto to determine
                                                                                        relevance to case; prepare all materials for use in expert
                                                                                        deposition preparation session of Mr. Barreto; review
                                                                                        motion to compel documents from Ms. Lehman and
                                                                                        correspond with team regarding proposed revisions.
10/01/16 Thomas H. Cordova               0.60        0.00       $0.00             $0.00 Draft expert deposition outline for Steven Camarota.
10/01/16 Mary H. Kim                     0.70        0.00       $0.00             $0.00 Draft motion accompanying motion to compel.
10/02/16 Thomas H. Cordova               0.20        0.00       $0.00             $0.00 Draft expert deposition outline for Steven Camarota.
10/02/16 Hilary Bonaccorsi               0.10        0.00       $0.00             $0.00 Attention to correspondence with A. Liu regarding memo on
                                                                                        summary judgment standard and the privileges and
                                                                                        immunities claim.
10/03/16 Katarina V. McClellan           3.50        0.00       $0.00             $0.00 Retrieve summary judgment citation documents.
10/03/16 Angela M. Liu                   7.90        7.90     $250.00         $1,975.00 Prepare for and attend meeting regarding motion for
                                                                                        summary judgment facts; prepare for and attend Barreto
                                                                                        deposition preparation.
10/03/16 Nicole A. La Due                2.90        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                        electronic file and prepare deadline reminders of upcoming
                                                                                        date for each team attorney (1.1); and review materials,
                                                                                        bates stamp and prepare materials for production (1.8).

10/03/16 Thomas H. Cordova               8.90        0.00       $0.00             $0.00 Draft deposition outline for Steven Camarota, attend to
                                                                                        summary judgment documents.
10/03/16 Hilary Bonaccorsi               1.30        0.00       $0.00             $0.00 Prepare for and attend call regarding status of Fish case and
                                                                                        assignments for preparation of fact section of summary
                                                                                        judgment motion; correspondence regarding Caskey
                                                                                        deposition review for additional facts to be used in right to
                                                                                        travel and privileges and immunities argument.
10/03/16 Mary H. Kim                     3.10        0.00       $0.00             $0.00 Review summary judgment chart; attend team call ; review
                                                                                        League initial disclosure documents; call with paralegals to
                                                                                        discuss summary judgment chart.




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                                                 Hours       Rate
 Date              Name               Hours                                  Amount      Description
                                                Charged    Requested
10/03/16 Margaret Mortimer               4.40         4.40    $195.00          $858.00 In preparation for conference call re: summary judgment
                                                                                       briefing, review preliminary injunction brief, Kansas District
                                                                                       Court order granting in part the requested preliminary
                                                                                       injunction, recent fact chart with ACLU comments, and a
                                                                                       summary judgment fact outline provided by ACLU counsel D.
                                                                                       Ha; participated in conference call with A. Liu, T. Cordova,
                                                                                       M. Kim and T. Jayaraman to discuss upcoming deadlines and
                                                                                       division of labor on summary judgment motion; drafted
                                                                                       summary judgment fact paragraph on the Kansas DMV's
                                                                                       implementation of the documentary proof of citizenship
                                                                                       law.

10/03/16 Tharuni A. Jayaraman            5.90        5.90     $195.00         $1,150.50 Research NVRA summary judgment cases; prepare expert
                                                                                        deposition outline; participate in team meeting.
10/03/16 Anne A. Gruner                  9.03        0.00       $0.00             $0.00 Review various materials including transcripts and expert
                                                                                        reports and rebuttal reports in preparation for deposition of
                                                                                        voting rights survey expert Mr. Barreto; meet with and
                                                                                        participate in teleconference with Mr. Barreto in connection
                                                                                        with deposition; correspond with team to prepare for
                                                                                        deposition logistics.
10/03/16 Delaney Berman                  1.78        0.00       $0.00             $0.00 Assist with compiling binders for attorney use.
10/04/16 Katarina V. McClellan           6.50        0.00       $0.00             $0.00 Retrieve summary judgment citation documents.
10/04/16 Angela M. Liu                   4.30        4.30     $250.00         $1,075.00 Continue to prepare for and attend Barreto expert
                                                                                        preparation; continue to oversee summary judgment
                                                                                        pleading.
10/04/16 Thomas H. Cordova               6.40        0.00       $0.00             $0.00 Attend to summary judgment documents and draft expert
                                                                                        deposition outline.
10/04/16 Hilary Bonaccorsi               0.30        0.00       $0.00             $0.00 Correspondence regarding 10/5 hearing on proposed voter
                                                                                        notice.
10/04/16 Mary H. Kim                     1.70        0.00       $0.00             $0.00 Prepare for Barreto deposition; review documents to finalize
                                                                                        summary judgment fact document.
10/04/16 Tharuni A. Jayaraman            4.30        4.30     $195.00          $838.50 Review and revise outline for expert deposition.
10/04/16 Delaney Berman                  4.93        0.00       $0.00             $0.00 Assist with compiling binders for attorney use.
10/05/16 Neil A. Steiner                 0.30        0.30     $500.00          $150.00 Email correspondence with co-counsel; telephone
                                                                                        conversation with A. Liu.


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                                                 Hours       Rate
 Date               Name              Hours                                  Amount      Description
                                                Charged    Requested
10/05/16 Katarina V. McClellan           1.50         0.00      $0.00             $0.00 Review summary judgment citation documents.
10/05/16 Nathan M. McClellan             5.50         0.00      $0.00             $0.00 Prepare for and assist in defending deposition of Matthew
                                                                                        Barreto; post-deposition conversation and strategy.

10/05/16 Angela M. Liu                   7.20        7.20     $250.00         $1,800.00 Defend deposition of M. Barreto; attend hearing; prepare
                                                                                        for deposition of M. Barreto.
10/05/16 Thomas H. Cordova               3.20        0.00       $0.00             $0.00 Attend to deposition preparation and summary judgment
                                                                                        drafting.
10/05/16 Hilary Bonaccorsi               0.80        0.00       $0.00             $0.00 Attend telephonic hearing on the propose voter notice.
10/05/16 Mary H. Kim                     2.40        0.00       $0.00             $0.00 Attend court hearing regarding enforcing preliminary
                                                                                        injunction; draft summary judgment fact section on
                                                                                        standing.
10/05/16 Margaret Mortimer               4.20        4.20     $195.00          $819.00 Culled from Kansas Secretary of State's websites
                                                                                        (http://www.kssos.org/ and http://www.gotvoterid.com/)
                                                                                        indications that voters must present proof of citizenship in
                                                                                        order to register to vote; compiled memorandum identifying
                                                                                        problematic text and the location of such text throughout
                                                                                        the websites; communicated memorandum to Dechert and
                                                                                        ACLU attorneys.

10/05/16 Tharuni A. Jayaraman            1.50        1.50     $195.00          $292.50 Edit outline for expert deposition.
10/05/16 Delaney Berman                  3.18        0.00       $0.00             $0.00 Assist with compiling documents into binders for
                                                                                        preparation for summary judgment.
10/06/16 Neil A. Steiner                 0.50        0.50     $500.00          $250.00 Telephone conversation with A. Liu; continue work on
                                                                                        discovery/motion to compel issues and email
                                                                                        correspondence with co-counsel regarding same.
10/06/16 Angela M. Liu                  11.30       11.30     $250.00         $2,825.00 Continue to revise motion to compel and prepare for filing;
                                                                                        continue to review expert deposition outline; continue
                                                                                        reviewing summary judgment sections.
10/06/16 Thomas H. Cordova               2.00        0.00       $0.00             $0.00 Draft expert deposition outline for Steven Camarota.
10/06/16 Thomas H. Cordova               1.30        0.00       $0.00             $0.00 Draft summary judgment fact section.
10/06/16 Hilary Bonaccorsi               1.20        0.00       $0.00             $0.00 Review deposition transcript for B. Caskey to draft facts
                                                                                        section on the privileges and immunities argument.
10/06/16 Mary H. Kim                     5.30        0.00       $0.00             $0.00 Conduct substantive cite-check and bluebook of motion to
                                                                                        compel; edit motion to compel and declarations.


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                                                Hours       Rate
 Date              Name              Hours                                  Amount      Description
                                               Charged    Requested
10/06/16 Margaret Mortimer              6.60         6.60    $195.00         $1,287.00 In preparation for drafting fact paragraph, section 2, of the
                                                                                       Summary Judgment Presentation of Fact Outline, on the
                                                                                       Kansas DMV application of Kansas documentary-proof of
                                                                                       citizenship (DPOC) laws read: February 26, 2016 Plaintiff's
                                                                                       motion for preliminary injunction, March 17, 2016 amended
                                                                                       complaint for preliminary injunction, April 21, 2016
                                                                                       consolidated reply memorandum in support of plaintiff's
                                                                                       motion for preliminary injunction, and the May 17, 2016
                                                                                       order granting a preliminary injunction in part. Compiled
                                                                                       relevant references within each document to DMV
                                                                                       application of the DPOC law; initial review of relevant
                                                                                       testimony indexed internally, and compiling relevant
                                                                                       information into outline format.
10/06/16 Tharuni A. Jayaraman           2.00        2.00     $195.00          $390.00 Edit outline for expert deposition.
10/06/16 Anne A. Gruner                 9.00        0.00       $0.00             $0.00 Travel time from deposition preparation of Mr. Barreto at
                                                                                       UCLA.
10/07/16 Angela M. Liu                  3.10        3.10     $250.00          $775.00 Prepare for and file motion to compel; continue to revise
                                                                                       summary judgment sections.
10/07/16 Thomas H. Cordova              8.40        0.00       $0.00             $0.00 Draft expert deposition outline for Steven Camarota and
                                                                                       draft summary judgment fact section.
10/07/16 Hilary Bonaccorsi              2.30        0.00       $0.00             $0.00 Run searches in discovery folder to determine whether there
                                                                                       are any additional documents or transcripts from which we
                                                                                       can marshal facts regarding Kobach's disparate treatment of
                                                                                       suspended voters on the basis of their state of birth or state
                                                                                       of marriage.
10/07/16 Mary H. Kim                    8.70        0.00       $0.00             $0.00 Draft summary judgment fact section on standing; draft
                                                                                       summary judgment fact section on compliance; finalize
                                                                                       motion to compel for filing.
10/07/16 Daron Hovannisian              4.40        0.00       $0.00             $0.00 Review expert report of Camarota and outlined arguments
                                                                                       for deposition.
10/07/16 Margaret Mortimer              2.10        2.10     $195.00          $409.50 Began drafting fact paragraph, section 2, on application of
                                                                                       the Kansas documentary proof of citizenship laws to DMV
                                                                                       operations.
10/07/16 Tharuni A. Jayaraman           5.90        5.90     $195.00         $1,150.50 Review and revise outline for expert deposition.



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                                                Hours       Rate
 Date              Name              Hours                                  Amount      Description
                                               Charged    Requested
10/08/16 Angela M. Liu                  3.10         3.10    $250.00          $775.00 Continue to revise expert report and read background
                                                                                      materials.
10/08/16 Thomas H. Cordova              4.00        0.00       $0.00            $0.00 Draft summary judgment fact section.
10/08/16 Hilary Bonaccorsi              5.00        0.00       $0.00            $0.00 Review Caskey transcripts from individual deposition and
                                                                                      30(b)(6) deposition; review Hutchinson and Fish transcripts;
                                                                                      pull facts related to Plaintiffs' privileges and immunities
                                                                                      argument; revise memo regarding how the implementation
                                                                                      of KRA 7-23-15 violates the 14th Amendment right to travel;
                                                                                      draft cover email to A. Liu regarding same.

10/08/16 Margaret Mortimer              5.00        5.00     $195.00          $975.00 Drafted fact paragraph, section 2, on application of the
                                                                                       Kansas documentary proof of citizenship laws to DMV
                                                                                       operations. Compiled relevant testimony and conducted
                                                                                       outside fact-searches to support the fact paragraphs.
10/08/16 Tharuni A. Jayaraman           2.80        2.80     $195.00          $546.00 Edit outline for expert deposition; retrieve documents for
                                                                                       summary judgment motion.
10/09/16 Angela M. Liu                  7.20        7.20     $250.00         $1,800.00 Continue to revise expert outline; continue to revise
                                                                                       summary judgment sections.
10/09/16 Thomas H. Cordova              3.10        0.00       $0.00             $0.00 Draft summary judgment fact section.
10/09/16 Mary H. Kim                    3.40        0.00       $0.00             $0.00 Edit fact section of summary judgment brief.
10/09/16 Margaret Mortimer              5.70        5.70     $195.00         $1,111.50 Draft fact paragraph, section 2, on application of the Kansas
                                                                                       documentary proof of citizenship laws to DMV operations;
                                                                                       communicated fact paragraph to A. Liu for edits and
                                                                                       integration with other fact paragraphs. Incorporated
                                                                                       comments from A. Liu, including conducting additional
                                                                                       compiling of relevant testimony in support of factual
                                                                                       assertions.
10/09/16 Tharuni A. Jayaraman           6.70        6.70     $195.00         $1,306.50 Draft fact sections for motion for summary judgment.
10/10/16 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Telephone conversation with A. Liu; email correspondence
                                                                                       with co-counsel; review draft letter.
10/10/16 Steven B. Singer               0.50        0.00       $0.00             $0.00 Research regarding Rules of Civil Procedure for T.
                                                                                       Jayaraman.
10/10/16 Daphne T. Ha                   6.60        6.60     $240.00         $1,584.00 Review complaint, preliminary injunction briefings, and
                                                                                       summary judgment papers; correspondence with A. Liu.
10/10/16 Angela M. Liu                  4.90        4.90     $250.00         $1,225.00 Continue to revise summary judgment paragraphs.


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                                                Hours       Rate
 Date              Name              Hours                                  Amount      Description
                                               Charged    Requested
10/10/16 Nicole A. La Due               1.10         0.00      $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare several deadline reminders of
                                                                                       upcoming date for each team attorney.
10/10/16 Thomas H. Cordova              7.30        0.00       $0.00             $0.00 Revise deposition outline and draft summary judgment
                                                                                       section.
10/10/16 Hilary Bonaccorsi              4.90        0.00       $0.00             $0.00 Revisions to memo on the privileges and immunities
                                                                                       argument to incorporate facts; correspondence and internal
                                                                                       conferences to finalize the draft facts section of the brief
                                                                                       relating to the privileges & immunities argument.

10/10/16 Mary H. Kim                    2.70        0.00       $0.00            $0.00 Edit summary judgment fact section.
10/10/16 Daron Hovannisian              1.50        0.00       $0.00            $0.00 Address comments related to expert deposition preparation
                                                                                      outline.
10/10/16 Margaret Mortimer              3.60        3.60     $195.00          $702.00 Review and edit draft of fact section paragraph 2 for the
                                                                                      summary judgment brief; conduct supplemental research on
                                                                                      relevant provisions of Kansas law to add in needed citations.

10/10/16 Tharuni A. Jayaraman           7.80        7.80     $195.00         $1,521.00 Edit outline for expert deposition; edit fact sections for
                                                                                       motion for summary judgment.
10/11/16 Daphne T. Ha                   6.00        6.00     $240.00         $1,440.00 Review deposition transcripts, expert materials, and relevant
                                                                                       documents; draft fact section on voter fraud.
10/11/16 Angela M. Liu                  7.10        7.10     $250.00         $1,775.00 Continue revising motion for summary judgment, review pre
                                                                                       trial order, continue preparing for expert deposition.
10/11/16 Thomas H. Cordova              2.60        0.00       $0.00             $0.00 Attend to deposition logistics and revise summary judgment
                                                                                       fact section.
10/11/16 Hilary Bonaccorsi              3.60        0.00       $0.00             $0.00 Review and edit memorandum regarding privileges and
                                                                                       immunities arguments and submit to A. Liu for submission to
                                                                                       ACLU.
10/11/16 Mary H. Kim                    0.80        0.00       $0.00             $0.00 Cull documents referenced in summary judgment fact
                                                                                       section.
10/11/16 Margaret Mortimer              0.50        0.50     $195.00            $97.50 Revise motion for summary judgment; correspondence with
                                                                                       S. Lakin of ACLU to clarify references used within paragraph
                                                                                       and where they could be located; review Default Judgment
                                                                                       Order in companion case issued October 11, 2016.



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                                                Hours       Rate
 Date               Name             Hours                                  Amount      Description
                                               Charged    Requested
10/11/16 Tharuni A. Jayaraman           1.20         1.20    $195.00          $234.00 Edit fact section for motion for summary judgment and
                                                                                       prepare for expert deposition.
10/11/16 Jennifer Maldonado             1.50        0.00       $0.00             $0.00 Prepare index for binder.
10/12/16 Daphne T. Ha                   1.00        1.00     $240.00          $240.00 Revise draft section and correspondence regarding same.
10/12/16 Angela M. Liu                 10.20       10.20     $250.00         $2,550.00 Continue analysis of issues relating to summary judgment,
                                                                                       meet and confer regarding issues relating to Barreto
                                                                                       testimony, issues relating to pre-trial order.
10/12/16 Thomas H. Cordova              4.00        0.00       $0.00             $0.00 Attend to deposition preparation.
10/12/16 Hilary Bonaccorsi              0.10        0.00       $0.00             $0.00 Correspondence with team relating to timing for receipt of
                                                                                       comments from the ACLU on the facts sections of the
                                                                                       motion for summary judgement.
10/12/16 Mary H. Kim                    0.40        0.00       $0.00             $0.00 Update client on voter rights case status.
10/13/16 Daphne T. Ha                   1.30        1.30     $240.00          $312.00 Review motion to compel papers; correspondence regarding
                                                                                       summary judgment brief.
10/13/16 Angela M. Liu                  7.80        7.80     $250.00         $1,950.00 Confer with opposing counsel regarding pre-trial order;
                                                                                       confer with co-counsel regarding pre-trial order; revise pre-
                                                                                       trial order; continue tor revise expert report.
10/13/16 Thomas H. Cordova              2.60        0.00       $0.00             $0.00 Attend to deposition preparation.
10/13/16 Hilary Bonaccorsi              0.20        0.00       $0.00             $0.00 Attention to default judgments filed in companion case to
                                                                                       Fish.
10/13/16 Lisa M. Parisi                 0.20        0.00       $0.00             $0.00 Conduct document pull.
10/13/16 Mary H. Kim                    0.40        0.00       $0.00             $0.00 Update discovery chart.
10/13/16 Margaret Mortimer              0.30        0.30     $195.00            $58.50 Conduct research for summary judgment brief and revise
                                                                                       email regarding same.
10/14/16 Neil A. Steiner                0.40        0.40     $500.00          $200.00 Telephone conversation with A. Liu; deposition preparation.

10/14/16 Daphne T. Ha                   6.00        6.00     $240.00         $1,440.00 Draft summary judgment brief.
10/14/16 Angela M. Liu                  5.00        5.00     $250.00         $1,250.00 Prepare for expert deposition.
10/14/16 Thomas H. Cordova              5.00        0.00       $0.00             $0.00 Attend to Camarota deposition preparation.
10/14/16 Hilary Bonaccorsi              0.10        0.00       $0.00             $0.00 Correspondence with team relating to timing for receipt of
                                                                                       comments from ACLU on facts sections of motion for
                                                                                       summary judgment.
10/14/16 Stephanie Chaung               0.20        0.00       $0.00             $0.00 Internal discussion with M. Kim regarding case.
10/14/16 Mary H. Kim                    0.40        0.00       $0.00             $0.00 Call with new associate to discuss case.
10/14/16 Tharuni A. Jayaraman           6.70        6.70     $195.00         $1,306.50 Edit outline for expert deposition.


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                                                Hours       Rate
 Date              Name              Hours                                  Amount      Description
                                               Charged    Requested
10/15/16 Daphne T. Ha                   8.00         8.00    $240.00         $1,920.00 Review opposition to motion to compel; research and draft
                                                                                       reply brief.
10/15/16 Angela M. Liu                  5.60        5.60     $250.00         $1,400.00 Revise reply brief to motion to compel; prepare for expert
                                                                                       deposition.
10/15/16 Thomas H. Cordova              7.20        0.00       $0.00             $0.00 Attend to Camarota deposition preparation.
10/15/16 Hilary Bonaccorsi              0.10        0.00       $0.00             $0.00 Correspondence with team relating to timing for receipt of
                                                                                       comments from the ACLU on the facts sections of the
                                                                                       motion for summary judgement.
10/15/16 Mary H. Kim                    3.80        0.00       $0.00             $0.00 Distinguish Defendant's cases in motion to compel response.

10/15/16 Margaret Mortimer              3.30        3.30     $195.00          $643.50 Research cases cited by opposition in defendant's response
                                                                                      to plaintiff's motion to compel; compile relevant cases,
                                                                                      proposition and distinguishing factors into document;
                                                                                      communicate with D. Ha.
10/15/16 Tharuni A. Jayaraman           5.00        5.00     $195.00          $975.00 Edit outline for expert deposition.
10/16/16 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Review opposition to motion to compel; review and revise
                                                                                      draft reply; email correspondence with co-counsel re: same.

10/16/16 Daphne T. Ha                   7.00        7.00     $240.00         $1,680.00 Draft summary judgment brief.
10/16/16 Angela M. Liu                  8.70        8.70     $250.00         $2,175.00 Prepare for and travel regarding expert deposition.
10/16/16 Thomas H. Cordova              9.60        0.00       $0.00             $0.00 Travel and prepare for Camarota deposition.
10/16/16 Tharuni A. Jayaraman           5.00        5.00     $195.00          $975.00 Prepare documents for expert deposition.
10/17/16 Neil A. Steiner                4.50        4.50     $500.00         $2,250.00 Camerota deposition (by video).
10/17/16 Daphne T. Ha                   0.90        0.90     $240.00          $216.00 Revise motion to compel reply; correspondence regarding
                                                                                       summary judgment research.
10/17/16 Angela M. Liu                 15.20       15.20     $250.00         $3,800.00 Prepare for, attend, and travel regarding expert deposition.

10/17/16 Thomas H. Cordova             11.20        0.00       $0.00             $0.00 Travel, attend, and prepare for Camarota deposition.
10/17/16 Margaret Mortimer              2.10        1.10     $195.00          $214.50 Conducted research, drafted email and sent research to D.
                                                                                       Ha on case law interpreting the requirements of finding an
                                                                                       attorney-client relationship exists in the context of attorney-
                                                                                       client privilege.
10/17/16 Tharuni A. Jayaraman           9.00        9.00     $195.00         $1,755.00 Prepare for and attended expert deposition.
10/18/16 Daphne T. Ha                   0.80        0.80     $240.00          $192.00 Conference call regarding summary judgment brief; finalize
                                                                                       motion to compel.


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                                                Hours       Rate
 Date              Name              Hours                                  Amount     Description
                                               Charged    Requested
10/18/16 Angela M. Liu                  2.60         2.60    $250.00          $650.00 Call regarding summary judgment; prepare Lehman reply for
                                                                                       filing.
10/18/16 Thomas H. Cordova              1.30        0.00       $0.00             $0.00 Draft fact section of summary judgment.
10/18/16 Stephanie Chaung               6.70        0.00       $0.00             $0.00 Review complaint; PI Order; 10th Circuit Order; PI Brief;
                                                                                       internal discussion with team regarding SJ brief.
10/18/16 Mary H. Kim                    3.00        0.00       $0.00             $0.00 Cite-check motion to compel reply brief; prepare for motion
                                                                                       to compel oral argument; edit summary judgment fact
                                                                                       section on standing.
10/18/16 Margaret Mortimer              2.60        2.60     $195.00          $507.00 Revise motion to compel; conduct weekly check-in call with
                                                                                       Dechert team to update on deposition, brief and pre-trial
                                                                                       conference meeting.
10/18/16 Tharuni A. Jayaraman           0.80        0.80     $195.00          $156.00 Review comments on facts section for motion for summary
                                                                                       judgment and attended call regarding motion for summary
                                                                                       judgment.
10/19/16 Daphne T. Ha                   0.50        0.50     $240.00          $120.00 Correspondence regarding summary judgment fraud facts
                                                                                       section and motion to compel arguments.
10/19/16 Angela M. Liu                  5.20        5.20     $250.00         $1,300.00 Prepare for hearing; answer questions relating to summary
                                                                                       judgment; review summary judgment facts.
10/19/16 Thomas H. Cordova              1.00        0.00       $0.00             $0.00 Draft summary judgment fact section.
10/19/16 Stephanie Chaung               1.80        0.00       $0.00             $0.00 Review PI brief and stipulations.
10/19/16 Mary H. Kim                    6.30        0.00       $0.00             $0.00 Conduct legal research on enforcement of NVRA; prepare for
                                                                                       motion to compel hearing; edit summary judgment fact
                                                                                       section on fraud.
10/19/16 Margaret Mortimer              0.90        0.90     $195.00          $175.50 Update fact paragraphs to Kansas specific formatting;
                                                                                       incorporate comments from ACLU.
10/19/16 Tharuni A. Jayaraman           0.50        0.50     $195.00            $97.50 Revise fact section for motion for summary judgment.
10/20/16 Daphne T. Ha                   0.40        0.40     $240.00            $96.00 Review Order and summary judgment research;
                                                                                       correspondence with A. Liu regarding motion to compel and
                                                                                       summary judgment.
10/20/16 Angela M. Liu                  4.10        4.10     $250.00         $1,025.00 Continue to draft summary judgment brief; prepare for
                                                                                       pretrial conference and hearing regarding Lehman
                                                                                       documents.
10/20/16 Thomas H. Cordova              4.40        0.00       $0.00             $0.00 Attend to fact section for summary judgment.
10/20/16 Stephanie Chaung               3.50        0.00       $0.00             $0.00 Reviewed and revised SJ facts in accordance with
                                                                                       stipulations.


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                                                Hours       Rate
 Date               Name             Hours                                  Amount      Description
                                               Charged    Requested
10/20/16 Mary H. Kim                    2.40         0.00      $0.00             $0.00 Prepare for motion to compel hearing ; edit summary
                                                                                       judgment fact section on standing.
10/20/16 Margaret Mortimer              1.80        1.80     $195.00          $351.00 Review order regarding Plaintiff's Motion to Compel; review
                                                                                       and edit fact paragraph conversions into statements of
                                                                                       uncontroverted fact.
10/20/16 Tharuni A. Jayaraman           6.10        6.10     $195.00         $1,189.50 Edit fact section for motion for summary judgment.
10/21/16 Angela M. Liu                  2.40        2.40     $250.00          $600.00 Continue to draft motion for summary judgment.
10/21/16 Thomas H. Cordova              2.00        0.00       $0.00             $0.00 Attend to fact section of the summary judgment.
10/21/16 Hilary Bonaccorsi              0.60        0.00       $0.00             $0.00 Correspondence with A. Liu regarding action items for MSJ
                                                                                       drafting; begin reviewing 10th Circuit opinion upholding
                                                                                       plaintiffs' motion for preliminary injunction that was
                                                                                       previously granted by the District of Kansas.
10/21/16 Stephanie Chaung               2.50        0.00       $0.00             $0.00 Review and revise uncontroverted fact section of SJ brief.
10/21/16 Mary H. Kim                    5.00        0.00       $0.00             $0.00 Edit summary judgment fact section.
10/21/16 Margaret Mortimer              0.80        0.80     $195.00          $156.00 Review articles relating to defendant Kobach; draft and edit
                                                                                       fact paragraphs as needed before submission to ACLU.

10/21/16 Tharuni A. Jayaraman           2.40        2.40     $195.00          $468.00 Edit fact section for summary judgment brief.
10/22/16 Angela M. Liu                  4.40        4.40     $250.00         $1,100.00 Continue to draft motion for summary judgment.
10/23/16 Angela M. Liu                  3.60        3.60     $250.00          $900.00 Continue to draft motion for summary judgment.
10/23/16 Hilary Bonaccorsi              2.00        0.00       $0.00             $0.00 Review and notate 10th Circuit opinion upholding District of
                                                                                       Kansas opinion granting Plaintiffs' motion for preliminary
                                                                                       injunction.
10/24/16 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Review and revise opposition to reopen discovery and email
                                                                                       correspondence with co-counsel regarding same.
10/24/16 Daphne T. Ha                   4.50        4.50     $240.00         $1,080.00 Research NVRA Section 10.
10/24/16 Angela M. Liu                  4.80        4.80     $250.00         $1,200.00 Continue to draft summary judgment memorandum.
10/24/16 Thomas H. Cordova              0.60        0.00       $0.00             $0.00 Attend to summary judgment edits.
10/24/16 Hilary Bonaccorsi              0.70        0.00       $0.00             $0.00 Call regarding analysis and citations from the 10th Circuit
                                                                                       opinion upholding the motion for preliminary injunction to
                                                                                       be researched and added to the draft MSJ.
10/24/16 Mary H. Kim                    0.70        0.00       $0.00             $0.00 Calls to discuss summary judgment drafting.
10/24/16 Margaret Mortimer              0.70        0.70     $195.00          $136.50 Review summary judgment brief and identify areas of
                                                                                       assigned work; participate in group conference call to
                                                                                       discuss this week's work and timeline.


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                                                Hours       Rate
 Date              Name              Hours                                  Amount     Description
                                               Charged    Requested
10/24/16 Tharuni A. Jayaraman           0.60         0.60    $195.00          $117.00 Attend call re: motion for summary judgment and review
                                                                                       materials in advance.
10/25/16 Daphne T. Ha                   4.60        4.60     $240.00         $1,104.00 Draft Section 10 summary judgment section; review
                                                                                       summary judgment brief and propose edits.
10/25/16 Angela M. Liu                  4.10        4.10     $250.00         $1,025.00 Continue to revise memorandum regarding summary
                                                                                       judgment.
10/25/16 Thomas H. Cordova              3.60        0.00       $0.00             $0.00 Attend to Summary Judgment.
10/25/16 Hilary Bonaccorsi              3.60        0.00       $0.00             $0.00 Work on motion for summary judgment, specifically updates
                                                                                       based on the 10th Circuit opinion.
10/25/16 Mary H. Kim                    4.40        0.00       $0.00             $0.00 Review Tenth Circuit opinion on PI appeal; conduct fact
                                                                                       research for summary judgment brief.
10/25/16 Margaret Mortimer              3.80        3.80     $195.00          $741.00 Review 10th Circuit opinion affirming the District of Kansas
                                                                                       Preliminary Injunction against imposition of Kansas law
                                                                                       requiring motor voter registrants to show documentary
                                                                                       proof of citizenship; revise summary judgment brief for the
                                                                                       Kansas District Court.
10/25/16 Tharuni A. Jayaraman           1.30        1.30     $195.00          $253.50 Edit motion for summary judgment.
10/25/16 Taylor T. Southworth           0.50        0.00       $0.00             $0.00 Research article for M. Kim.
10/26/16 Daphne T. Ha                   0.20        0.20     $240.00            $48.00 Correspondence regarding fraud section and Lehman
                                                                                       affidavit.
10/26/16 Angela M. Liu                  5.10        5.10     $250.00         $1,275.00 Continue to revise motion for summary judgment.
10/26/16 Thomas H. Cordova              5.30        0.00       $0.00             $0.00 Attend to summary judgment.
10/26/16 Hilary Bonaccorsi              5.80        0.00       $0.00             $0.00 In draft motion for summary judgment, review brief and
                                                                                       Tenth Circuit Opinion and update citations to Tenth Circuit
                                                                                       opinion upholding the District Court's order granting a
                                                                                       preliminary injunction.
10/26/16 Mary H. Kim                    4.20        0.00       $0.00             $0.00 Edit summary judgment fact section to incorporate ACLU
                                                                                       comments; edit summary judgment brief.
10/26/16 Margaret Mortimer              2.40        2.40     $195.00          $468.00 Review underlying facts in Gonzalez v. Arizona and ITCA v.
                                                                                       Arizona to supplement summary judgment brief.
10/26/16 Tharuni A. Jayaraman           2.90        2.90     $195.00          $565.50 Edit summary judgment brief.
10/27/16 Daphne T. Ha                   0.70        0.70     $240.00          $168.00 Review revised brief.
10/27/16 Angela M. Liu                  5.82        5.82     $250.00         $1,455.00 Continue to revise motion for summary judgment.
10/27/16 Hilary Bonaccorsi              1.90        0.00       $0.00             $0.00 Review current draft of the motion for summary judgment
                                                                                       and provide edits to Tenth Circuit citations.


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                                                Hours       Rate
 Date               Name             Hours                                  Amount      Description
                                               Charged    Requested
10/27/16 Mary H. Kim                    2.50         0.00      $0.00            $0.00 Edit summary judgment brief.
10/27/16 Margaret Mortimer              3.20         3.20    $195.00          $624.00 Review and proofread summary judgment brief; update
                                                                                      brief as needed; search for additional deposition testimony
                                                                                      and inserted into document where applicable; review
                                                                                      comments on edits of brief, incorporate additional citation
                                                                                      and cross-reference internally the document for consistency.

10/27/16 Tharuni A. Jayaraman           5.30        5.30     $195.00         $1,033.50 Edit summary judgment brief.
10/27/16 Robyn M. McAllen               0.50        0.00       $0.00             $0.00 Retrieve case for T. Jayaraman.
         Broughton
10/28/16 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Review order reopening discovery and email
                                                                                       correspondence with co-counsel regarding same.
10/28/16 Daphne T. Ha                   1.00        1.00     $240.00          $240.00 Correspondence regarding experts and summary judgment;
                                                                                       review expert reports and depositions.
10/28/16 Angela M. Liu                  0.80        0.80     $250.00          $200.00 Continue to revise memorandum in support of motion for
                                                                                       summary judgment.
10/28/16 Hilary Bonaccorsi              0.40        0.00       $0.00             $0.00 Review order from District of Kansas reopening discovery.
10/28/16 Mary H. Kim                    0.80        0.00       $0.00             $0.00 Work on summary judgment brief.
10/28/16 Margaret Mortimer              1.40        1.40     $195.00          $273.00 Review and proofread summary judgment brief; update
                                                                                       brief as needed; search for additional deposition testimony
                                                                                       and insert into document where applicable.
10/28/16 Tharuni A. Jayaraman           5.30        5.30     $195.00         $1,033.50 Edit summary judgment brief.
10/31/16 Brian K. Deaver                1.50        0.00       $0.00             $0.00 Searched Westlaw Next and Bloomberg Law for expert
                                                                                       witness reports and challenges for D. Ha.
10/31/16 Daphne T. Ha                   4.90        4.90     $240.00         $1,176.00 Review draft summary judgment facts, expert report, and
                                                                                       deposition transcript.
10/31/16 Thomas H. Cordova              0.50        0.00       $0.00             $0.00 Review recent 10th Circuit opinion.
11/02/16 Daphne T. Ha                   0.20        0.20     $240.00            $48.00 Correspondence regarding document requests; review same.

11/02/16 Angela M. Liu                  1.60        1.60     $250.00          $400.00 Attend conference call; discuss additional discovery.
11/03/16 Neil A. Steiner                0.40        0.40     $500.00          $200.00 Review revised scheduling order; numerous emails with co-
                                                                                      counsel re conference, SJ briefing.
11/03/16 Daphne T. Ha                   3.30        3.30     $240.00          $792.00 Review prior discovery requests; draft KORA letter
                                                                                      requesting Kansas Department of Health & Environment
                                                                                      records.


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                                                Hours       Rate
 Date              Name              Hours                                  Amount      Description
                                               Charged    Requested
11/03/16 Angela M. Liu                  0.90         0.90    $250.00          $225.00 Attend court hearing; strategize regarding parallel case.
11/03/16 Thomas H. Cordova              1.00         0.00      $0.00            $0.00 Review recent filings in preparation of summary judgment.

11/03/16 Mary H. Kim                    1.00        0.00       $0.00             $0.00 Work on requests for production.
11/03/16 Tharuni A. Jayaraman           3.10        3.10     $195.00          $604.50 Research and draft requests for production.
11/04/16 Daphne T. Ha                   0.40        0.40     $240.00            $96.00 Review Plaintiff's expert deposition transcript.
11/04/16 Tharuni A. Jayaraman           1.60        1.60     $195.00          $312.00 Draft requests for production.
11/05/16 Mary H. Kim                    0.80        0.00       $0.00             $0.00 Work on requests for production.
11/07/16 Daphne T. Ha                   1.20        1.20     $240.00          $288.00 Review Spakovsky deposition transcript and revise draft
                                                                                       document requests.
11/07/16 Thomas H. Cordova              1.60        0.00       $0.00             $0.00 Revise fact section for partial summary judgment.
11/07/16 Mary H. Kim                    1.50        0.00       $0.00             $0.00 Revise requests for production.
11/07/16 Tharuni A. Jayaraman           2.80        2.80     $195.00          $546.00 Revise requests for production.
11/08/16 Daphne T. Ha                   2.50        2.50     $240.00          $600.00 Review Spakovsky deposition transcript and revise draft
                                                                                       document requests.
11/08/16 Thomas H. Cordova              1.60        0.00       $0.00             $0.00 Revise fact section for partial summary judgment.
11/08/16 Mary H. Kim                    0.70        0.00       $0.00             $0.00 Review and revise requests for production.
11/08/16 Tharuni A. Jayaraman           2.20        2.20     $195.00          $429.00 Edit requests for production and facts section for motion for
                                                                                       partial summary judgment.
11/09/16 Nicole A. La Due               0.60        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
11/10/16 Daphne T. Ha                   5.20        5.20     $240.00         $1,248.00 Review McDonald and Minnite expert reports; review
                                                                                       Spakovsky deposition transcript.
11/11/16 Daphne T. Ha                   1.00        1.00     $240.00          $240.00 Review McDonald deposition transcript.
11/11/16 Angela M. Liu                  1.10        1.10     $250.00          $275.00 Review and revise KORA requests, requests for production,
                                                                                       and statement of uncontroverted facts.
11/14/16 Daphne T. Ha                   3.00        3.00     $240.00          $720.00 Review Minnite reports and deposition transcript.
11/15/16 Daphne T. Ha                   2.30        2.30     $240.00          $552.00 Review Minnite reports and deposition transcript; research
                                                                                       Camarota expert reports.
11/15/16 Angela M. Liu                  0.50        0.50     $250.00          $125.00 Review requests for production.
11/15/16 Mary H. Kim                    0.80        0.00       $0.00             $0.00 Finalize request for production and serve on counsel.




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                                             Hours       Rate
 Date              Name           Hours                                  Amount      Description
                                            Charged    Requested
11/15/16 Anne A. Gruner              2.30         0.00      $0.00             $0.00 Review draft discovery demands to serve on defendant;
                                                                                    review and analyze draft statement of undisputed material
                                                                                    facts to file in support of motion for summary judgment;
                                                                                    review draft request for documents pursuant to Kansas
                                                                                    Open Records Act; review and analyze various filings in case
                                                                                    related to scheduling deadlines, pretrial conferences, and
                                                                                    orders; review team correspondence regarding strategy for
                                                                                    upcoming motions and discovery.
11/16/16 Daphne T. Ha                3.20        3.20     $240.00          $768.00 Review Smith and Camarota reports; review Camarota
                                                                                    deposition transcript.
11/16/16 Thomas H. Cordova           2.10        0.00       $0.00             $0.00 Attend to fact section for partial summary judgment.
11/16/16 Mary H. Kim                 1.00        0.00       $0.00             $0.00 Conduct fact research for support in standing section of
                                                                                    summary judgment brief.
11/17/16 Daphne T. Ha                1.70        1.70     $240.00          $408.00 Review Camarota deposition transcript.
11/17/16 Nicole A. La Due            1.50        0.00       $0.00             $0.00 Receive and review new pleadings and upload to archive
                                                                                    folder.
11/17/16 Thomas H. Cordova           1.60        0.00       $0.00             $0.00 Attend to partial summary judgment fact section and
                                                                                    coordinate with ACLU.
11/18/16 Daphne T. Ha                5.50        5.50     $240.00         $1,320.00 Review Camarota deposition transcript; research Daubert
                                                                                    cases in Tenth Circuit.
11/18/16 Angela M. Liu               0.40        0.40     $250.00          $100.00 Oversee deposition review.
11/18/16 Nicole A. La Due            0.70        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                    electronic file and prepare deadline reminders of upcoming
                                                                                    date for each team attorney.
11/21/16 Daphne T. Ha                5.00        5.00     $240.00         $1,200.00 Research and draft Camarota Daubert motion.
11/21/16 Angela M. Liu               0.40        0.40     $250.00          $100.00 Review discovery requests.
11/21/16 Thomas H. Cordova           1.80        0.00       $0.00             $0.00 Draft request for production for Kris Kobach.
11/21/16 Anne A. Gruner              0.60        0.00       $0.00             $0.00 Correspond with team regarding creating summaries of
                                                                                    various depositions for use in upcoming trial; review
                                                                                    deposition of Mr. Caskey in order to generate summary of
                                                                                    pertinent testimony.
11/22/16 Daphne T. Ha                4.00        4.00     $240.00          $960.00 Revise draft request for production; review draft summary
                                                                                    judgment brief; research for Daubert motion.
11/22/16 Angela M. Liu               0.20        0.20     $250.00            $50.00 Prepare discovery requests for service.
11/22/16 Thomas H. Cordova           2.10        0.00       $0.00             $0.00 Draft and file request for production for Kris Kobach.


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                                             Hours       Rate
 Date             Name            Hours                                  Amount     Description
                                            Charged    Requested
11/22/16 Anne A. Gruner              4.80         0.00      $0.00             $0.00 Review draft motion for partial summary judgment and
                                                                                    provide edits; review deposition transcripts of Mr. Caskey
                                                                                    and create topical summary of all relevant information by
                                                                                    subject matter for use by team in anticipation of upcoming
                                                                                    trial.
11/23/16 Daphne T. Ha                4.90        4.90     $240.00         $1,176.00 Research and draft Camarota Daubert motion.
11/23/16 Anne A. Gruner              5.70        0.00       $0.00             $0.00 Review deposition transcripts of Mr. Caskey and incorporate
                                                                                    all relevant testimony into internal memorandum for use in
                                                                                    upcoming proceedings; review draft motion for partial
                                                                                    summary judgment and analyze strength of argument under
                                                                                    privileges and immunities claim.

11/28/16 Daphne T. Ha                0.70        0.70     $240.00          $168.00 Review partial summary judgment brief, comments, and
                                                                                   related correspondence.
11/28/16 Thomas H. Cordova           1.20        0.00       $0.00            $0.00 Draft testimony summary for Camarota in preparation of
                                                                                   summary judgment.
11/28/16 Anne A. Gruner              4.40        0.00       $0.00            $0.00 Review and edit motion for partial summary judgment.
11/29/16 Brian K. Deaver             0.20        0.00       $0.00            $0.00 Provide cases to A. Gruner.
11/29/16 Thomas H. Cordova           3.60        0.00       $0.00            $0.00 Draft fact section for partial summary judgment.
11/29/16 Anne A. Gruner              5.60        0.00       $0.00            $0.00 Review draft motion for partial summary judgment and edit
                                                                                   in order to streamline constitutional privileges and
                                                                                   immunities argument; review proposed edits from ACLU and
                                                                                   incorporate suggested changes; review various cases
                                                                                   regarding requirements to obtain organizational standing
                                                                                   and revise brief in light of case law; ensure cohesiveness of
                                                                                   arguments and transmit proposed revisions to team for
                                                                                   review.
11/30/16 Daphne T. Ha                2.50        2.50     $240.00          $600.00 Reviewed standing section edits; draft Camarota Daubert
                                                                                   outline.
11/30/16 Thomas H. Cordova           3.50        0.00       $0.00            $0.00 Draft and circulate fact section for partial summary
                                                                                   judgment.
12/01/16 Daphne T. Ha                0.20        0.20     $240.00           $48.00 Draft outline of Camarota Daubert motion.
12/01/16 Anne A. Gruner              2.30        0.00       $0.00            $0.00 Review deposition transcripts of Mr. Caskey and memorialize
                                                                                   all pertinent information into summary for use in
                                                                                   conjunction with upcoming trial.


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                                                Hours       Rate
 Date              Name              Hours                                  Amount    Description
                                               Charged    Requested
12/02/16 Angela M. Liu                  0.50         0.50    $250.00          $125.00 Coordinate work flow relating to summary judgment.
12/02/16 Thomas H. Cordova              3.20         0.00      $0.00            $0.00 Review and circulate important document related to
                                                                                      summary judgment and double check past request for
                                                                                      productions.
12/02/16 Hilary Bonaccorsi              0.20        0.00       $0.00            $0.00 Correspondence regarding whether we have discovery
                                                                                      supporting the existence of the Memorandum of
                                                                                      Understanding, or the Memorandum itself.
12/02/16 Tharuni A. Jayaraman           1.70        1.70     $195.00          $331.50 Review deposition in order to summarize.
12/02/16 Anne A. Gruner                 1.20        0.00       $0.00            $0.00 Review deposition transcript of Mr. Caskey and summarize
                                                                                      all pertinent information in internal memorandum for
                                                                                      review; correspond with team regarding status of draft
                                                                                      motion for partial summary judgment.

12/05/16 Daphne T. Ha                   0.30        0.30     $240.00           $72.00 Review Bednasek motion for summary judgment.
12/05/16 Angela M. Liu                  2.50        2.50     $250.00          $625.00 Continue to prepare discovery.
12/05/16 Nicole A. La Due               0.80        0.00       $0.00            $0.00 Receive and review new pleadings, convert, upload to
                                                                                      electronic file and prepare deadline reminders of upcoming
                                                                                      date for each team attorney.
12/05/16 Thomas H. Cordova              1.60        0.00       $0.00            $0.00 Draft summary of deposition in preparation of summary
                                                                                      judgment.
12/05/16 Mary H. Kim                    0.50        0.00       $0.00            $0.00 Review and revise summary judgment motion.
12/05/16 Anne A. Gruner                 2.20        0.00       $0.00            $0.00 Review deposition transcript of Mr. Caskey and summarize
                                                                                      all pertinent information in internal memorandum for team
                                                                                      review; review motion for summary judgment filed in Keener
                                                                                      case and analyze pertinent arguments and facts to insert
                                                                                      into draft motion for partial summary judgment based on
                                                                                      violation of right to travel.

12/06/16 Angela M. Liu                  0.50        0.50     $250.00          $125.00 Review summary judgment pleadings.
12/06/16 Nicole A. La Due               0.70        0.00       $0.00            $0.00 Receive and review new pleadings, prepare electronic copy
                                                                                      for review and upload to archive folder.
12/06/16 Thomas H. Cordova              1.80        0.00       $0.00            $0.00 Review recent briefs from defendant and draft deposition
                                                                                      summary in preparation for summary judgment.




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                                             Hours       Rate
 Date               Name          Hours                                  Amount     Description
                                            Charged    Requested
12/06/16 Margaret Mortimer           3.80         3.80    $195.00          $741.00 Read 10th Circuit Opinion on Defendant's appeal of
                                                                                   preliminary injunction; review plaintiff and defendant
                                                                                   motions for summary judgment in Keever et al. v. Kobach,
12/06/16 Robyn M. McAllen            0.30        0.00       $0.00            $0.00 Document request from PACER.
         Broughton
12/06/16 Anne A. Gruner              4.80        0.00       $0.00            $0.00 Review deposition transcripts and summarize pertinent
                                                                                   information for use during upcoming trial; review
                                                                                   defendant's motion for summary judgment and analyze
                                                                                   issues in order to respond and raise counter-arguments in
                                                                                   motion for partial summary judgment.
12/07/16 Neil A. Steiner             0.80        0.80     $500.00          $400.00 Conference call with co-counsel.
12/07/16 Angela M. Liu               1.20        1.20     $250.00          $300.00 Attend weekly conference call; discuss research issues
                                                                                   relating to Daubert motions.
12/07/16 Nicole A. La Due            0.60        0.00       $0.00            $0.00 Receive new documents, review, prepare electronic copy
                                                                                   and upload to archive folder.
12/07/16 Thomas H. Cordova           4.10        0.00       $0.00            $0.00 Draft summary of depositions in preparation of summary
                                                                                   judgment and review recent and related briefs.
12/07/16 Margaret Mortimer           1.70        1.70     $195.00          $331.50 Research rules in District of Kansas re: timing of Daubert
                                                                                   motions.
12/07/16 Anne A. Gruner              5.60        0.00       $0.00            $0.00 Review defendant's motion for summary judgment and
                                                                                   analyze arguments in relation to addressing counterpoints in
                                                                                   motion for partial summary judgment; prepare for and
                                                                                   participate in team teleconference to discuss strategy for
                                                                                   filing motion for partial summary judgment and other
                                                                                   pending strategy and discovery issues; research and review
                                                                                   rules regarding timing of filing Daubert motions; review
                                                                                   various deposition transcripts and summarize pertinent
                                                                                   testimony for use in upcoming trial; correspond with team
                                                                                   regarding strategy for filing Daubert motions.

12/08/16 Daphne T. Ha                0.20        0.20     $240.00           $48.00 Revise KORA request and correspondence regarding same.

12/08/16 Angela M. Liu               0.50        0.50     $250.00          $125.00 Revise KORA request, organize discovery.
12/08/16 Thomas H. Cordova           5.80        0.00       $0.00            $0.00 Draft deposition summary and review recent court filings.
12/08/16 Mary H. Kim                 0.50        0.00       $0.00            $0.00 Review and revise KORA request.


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                                                Hours       Rate
 Date              Name              Hours                                  Amount      Description
                                               Charged    Requested
12/08/16 Janet Peros                    0.30         0.00      $0.00            $0.00 Obtain docket and scheduling order for A. Gruner.
12/09/16 Daphne T. Ha                   1.50         1.50    $240.00          $360.00 Research Daubert cases and draft outline for motion to
                                                                                      exclude Camarota.
12/09/16 Thomas H. Cordova              0.70        0.00       $0.00            $0.00 Review edits regarding partial summary judgment motion.

12/09/16 Anne A. Gruner                 1.40        0.00       $0.00             $0.00 Memorialize key deposition testimony into internal
                                                                                       memorandum for review.
12/11/16 Angela M. Liu                  1.50        1.50     $250.00          $375.00 Review and comment on Daubert motion.
12/12/16 Daphne T. Ha                   0.80        0.80     $240.00          $192.00 Revise Camarota Daubert outline; correspondence with A.
                                                                                       Liu regarding same.
12/12/16 Angela M. Liu                  2.40        2.40     $250.00          $600.00 Continue to review summary judgment motion.
12/12/16 Nicole A. La Due               1.30        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
12/12/16 Thomas H. Cordova              3.80        0.00       $0.00             $0.00 Draft partial summary judgment motion and respond to
                                                                                       comments from ACLU.
12/12/16 Mary H. Kim                    0.80        0.00       $0.00             $0.00 Review and revise summary judgment motion.
12/12/16 Margaret Mortimer              3.00        3.00     $195.00          $585.00 Review and edit comments in Motion for Summary
                                                                                       Judgment.
12/12/16 Tharuni A. Jayaraman           1.30        1.30     $195.00          $253.50 Review facts in motion for summary judgment.
12/12/16 Anne A. Gruner                 2.90        0.00       $0.00             $0.00 Review updated draft motion for partial summary judgment
                                                                                       and analyze presentation of argument regarding violation of
                                                                                       14th Amendment right to travel; edit and revise argument
                                                                                       with respect to discriminatory intent and effect of DPOC
                                                                                       laws; provide proposed revisions to team for review;
                                                                                       correspond with team regarding strategy for revisions to
                                                                                       updated fact section of brief and other specific comments to
                                                                                       respond to in draft.
12/13/16 Daphne T. Ha                   3.00        3.00     $240.00          $720.00 Revise Camarota Daubert outline and research for same.
12/13/16 Angela M. Liu                  9.00        9.00     $250.00         $2,250.00 Continue to revise motion for summary judgment; meet and
                                                                                       confer with G. Roe; draft notes relating to meet and confer;
                                                                                       correspond with opposing counsel regarding discovery;
                                                                                       review Daubert outline.
12/13/16 Thomas H. Cordova              8.80        0.00       $0.00             $0.00 Draft and edit partial summary judgment motion and
                                                                                       respond to comments from ACLU.


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                                                Hours       Rate
 Date               Name             Hours                                  Amount     Description
                                               Charged    Requested
12/13/16 Mary H. Kim                    0.70         0.00      $0.00             $0.00 Meet and confer with counsel regarding requests for
                                                                                       production.
12/13/16 Margaret Mortimer              6.70        6.70     $195.00         $1,306.50 Review partial motion for summary judgment brief to ensure
                                                                                       all facts asserted in argument section were included in
                                                                                       uncontroverted fact section and updated as needed.

12/13/16 Tharuni A. Jayaraman           3.00        3.00     $195.00          $585.00 Double checked facts in partial summary judgment motion;
                                                                                      reviewed discovery.
12/13/16 Anne A. Gruner                 5.60        0.00       $0.00            $0.00 Review updated draft motion for partial summary judgment
                                                                                      and analyze presentation of argument regarding violation of
                                                                                      14th Amendment right to travel; edit and revise argument
                                                                                      with respect to discriminatory intent and effect of DPOC
                                                                                      laws; provide proposed revisions to team for review;
                                                                                      correspond with team regarding strategy for revisions to
                                                                                      updated fact section of brief.

12/14/16 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Email correspondence with co-counsel; telephone
                                                                                       conversation with A. Liu; continue work on summary
                                                                                       judgment issues.
12/14/16 Daphne T. Ha                   1.50        1.50     $240.00          $360.00 Review expert reports and draft von Spakovsky Daubert
                                                                                       outline.
12/14/16 Angela M. Liu                  6.40        6.40     $250.00         $1,600.00 Research and strategize regarding issues relating to
                                                                                       discovery; continue to revise summary judgment brief.
12/14/16 Thomas H. Cordova              8.30        0.00       $0.00             $0.00 Draft and revise partial summary judgment motion.
12/14/16 Mary H. Kim                    2.90        0.00       $0.00             $0.00 Distinguish Defendant's cases from meet and confer.
12/14/16 Tharuni A. Jayaraman           1.50        1.50     $195.00          $292.50 Research cases regarding breadth of discovery requests.
12/14/16 Anne A. Gruner                 3.80        0.00       $0.00             $0.00 Review motion for partial summary judgment and
                                                                                       incorporate edits with respect to discriminatory
                                                                                       enforcement of DPOC law; correspond with team regarding
                                                                                       proposed revisions regarding argument with respect to
                                                                                       discriminatory intent of DPOC law; review and edit section
                                                                                       on standing in draft motion and correspond with team
                                                                                       regarding benefits of including affirmative argument on
                                                                                       standing; review proposed edits to brief from team.



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                                                Hours       Rate
 Date               Name             Hours                                  Amount      Description
                                               Charged    Requested
12/15/16 Neil A. Steiner                0.30         0.30    $500.00          $150.00 Continue work on discovery issues and email
                                                                                       correspondence with A. Liu re same
12/15/16 Daphne T. Ha                   1.10        1.10     $240.00          $264.00 Review expert reports and draft von Spakovsky Daubert
                                                                                       outline.
12/15/16 Angela M. Liu                  3.10        3.10     $250.00          $775.00 Review transcripts and cases in preparation for discovery
                                                                                       disputes.
12/15/16 Nicole A. La Due               0.70        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
12/15/16 Thomas H. Cordova              2.90        0.00       $0.00             $0.00 Attend to document production issues including draft
                                                                                       summary of past depositions.
12/15/16 Mary H. Kim                    0.30        0.00       $0.00             $0.00 Prepare for meet and confer.
12/15/16 Tharuni A. Jayaraman           3.70        3.70     $195.00          $721.50 Prepare for meet and confer.
12/15/16 Anne A. Gruner                 2.40        0.00       $0.00             $0.00 Review meet and confer correspondence from defense
                                                                                       counsel regarding recent requests for production and
                                                                                       evaluate strength of arguments opposing production of
                                                                                       documents; review requests for documents during
                                                                                       deposition of Mr. Camarota and correspond with team
                                                                                       regarding requests; review motion for partial summary
                                                                                       judgment and ensure necessity of including various
                                                                                       stipulated facts; review defendant's motion to compel.
12/16/16 Brian K. Deaver                0.80        0.00       $0.00             $0.00 Searched PACER and Bloomberg Law for judicial order.
12/16/16 Daphne T. Ha                   2.70        2.70     $240.00          $648.00 Conduct research, review expert reports and draft von
                                                                                       Spakovsky Daubert outline.
12/16/16 Angela M. Liu                  4.10        4.10     $250.00         $1,025.00 Review discovery requests and prepare for motion to quash;
                                                                                       review Daubert motion.
12/16/16 Tharuni A. Jayaraman           5.70        5.70     $195.00         $1,111.50 Research cases for meet and confer; attend (via telephone)
                                                                                       meet and confer; draft letter memorializing meet and
                                                                                       confer.
12/17/16 Daphne T. Ha                   7.00        7.00     $240.00         $1,680.00 Conduct research, review expert reports and draft von
                                                                                       Spakovsky Daubert outline.
12/19/16 Angela M. Liu                  5.10        5.10     $250.00         $1,275.00 Continue to revise and strategize regarding issues relating to
                                                                                       summary judgment motion.




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                                                Hours       Rate
 Date               Name             Hours                                  Amount      Description
                                               Charged    Requested
12/19/16 Anne A. Gruner                 3.70         0.00      $0.00             $0.00 Review and edit draft motion for partial summary judgment,
                                                                                       including provide strategic comments for sections on
                                                                                       organizational standing; review statement of facts to ensure
                                                                                       necessity of including various facts; correspond with Ms. Liu
                                                                                       regarding argument with respect to narrow tailoring and
                                                                                       discuss proposed revisions; review draft outline for use in
                                                                                       drafting Daubert motion in order to exclude expert witness
                                                                                       Mr. Camarota; review directive from court regarding
                                                                                       submission of proposed order for production of documents
                                                                                       responsive to defendant's motion to compel.

12/20/16 Neil A. Steiner                2.50        2.50     $500.00         $1,250.00 Review and revise motion for summary judgment and email
                                                                                       correspondence with co-counsel regarding same.
12/20/16 Angela M. Liu                  3.10        3.10     $250.00          $775.00 Continue revising summary judgment motion.
12/20/16 Nicole A. La Due               1.90        0.00       $0.00             $0.00 Review client materials to obtain documents for attorney
                                                                                       review.
12/20/16 Anne A. Gruner                 5.70        0.00       $0.00             $0.00 Review and edit draft motion for partial summary judgment,
                                                                                       including provide strategic comments for sections on
                                                                                       organizational standing; review statement of facts to ensure
                                                                                       necessity of including various facts; provide proposed
                                                                                       revisions to team for review.
12/21/16 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Continue work on partial summary judgment motion and
                                                                                       email correspondence with co-counsel regarding same.
12/21/16 Daphne T. Ha                   0.20        0.20     $240.00            $48.00 Revise von Spakovsky Daubert outline and correspondence
                                                                                       regarding same; review order on motion to compel.

12/21/16 Angela M. Liu                  5.30        5.30     $250.00         $1,325.00 Continue to revise and strategize regarding issues relating to
                                                                                       summary judgment; continue to strategize regarding issues
                                                                                       relating to document requests.
12/21/16 Thomas H. Cordova              5.10        0.00       $0.00             $0.00 Research cases regarding privilege and immunities and the
                                                                                       organizational standing.
12/21/16 Tharuni A. Jayaraman           0.40        0.40     $195.00            $78.00 Review expert deposition.




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                                                Hours       Rate
 Date              Name              Hours                               Amount         Description
                                               Charged    Requested
12/21/16 Anne A. Gruner                 2.80         0.00      $0.00             $0.00 Review correspondence from team regarding proposed
                                                                                       strategic revisions to memorandum in support of motion for
                                                                                       partial summary judgment; correspond with team regarding
                                                                                       position on asserting standing and review pertinent case
                                                                                       law; review revised brief in advance of finalizing for filing
                                                                                       and ensure adequacy of all revisions; correspond with A. Liu
                                                                                       regarding team consensus on presentation of standing
                                                                                       argument.
12/22/16 Angela M. Liu                  5.10        5.10     $250.00         $1,275.00 Continue to review summary judgment brief and prepare for
                                                                                       filing; confer with opposing counsel regarding issues relating
                                                                                       to discovery; review responses to request for production.

12/22/16 Nicole A. La Due               1.10        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
12/22/16 Anne A. Gruner                 0.80        0.00       $0.00             $0.00 Review draft outlines for strategy with respect to excluding
                                                                                       defendant's expert witnesses.
12/23/16 Daphne T. Ha                   0.20        0.20     $240.00            $48.00 Correspondence regarding motion to compel.
12/23/16 Angela M. Liu                  1.50        1.50     $250.00          $375.00 Review case law regarding issues for motion to compel;
                                                                                       oversee drafting of motion to compel.
12/23/16 Tharuni A. Jayaraman           2.80        2.80     $195.00          $546.00 Review cases cited in Defendant's Response to Plaintiffs'
                                                                                       Sixth Request for Production.
12/27/16 Daphne T. Ha                   3.60        3.60     $240.00          $864.00 Research and draft motion to compel Sixth Request for
                                                                                       Production.
12/27/16 Logan Wiggins                  1.50        0.00       $0.00             $0.00 Review court dockets and update/download case file with
                                                                                       updated pleadings.
12/28/16 Daphne T. Ha                   0.50        0.50     $240.00          $120.00 Research and draft motion to compel Sixth Request for
                                                                                       Production.
12/28/16 Tharuni A. Jayaraman           9.00        9.00     $195.00         $1,755.00 Review and analyze cases in defendant's response to
                                                                                       plaintiff's sixth request for production.
12/28/16 Anne A. Gruner                 1.90        0.00       $0.00             $0.00 Review deposition transcript of Mr. Caskey and synthesize
                                                                                       testimony into summary by categorical topics for use in
                                                                                       upcoming trial.
12/29/16 Daphne T. Ha                   3.50        3.50     $240.00          $840.00 Research and draft motion to compel Sixth Request for
                                                                                       Production.


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                                                Hours       Rate
 Date              Name              Hours                               Amount         Description
                                               Charged    Requested
12/29/16 Angela M. Liu                  0.50         0.50    $250.00          $125.00 Correspond and strategize regarding issues relating to
                                                                                      document discovery.
12/29/16 Tharuni A. Jayaraman           0.20        0.20     $195.00           $39.00 Analyze cases cited in defendant's response to plaintiff's
                                                                                      sixth request for production.
12/29/16 Anne A. Gruner                 3.10        0.00       $0.00            $0.00 Review deposition transcripts of Mr. Caskey and memorialize
                                                                                      key information on policies of Secretary of State's office in
                                                                                      anticipation of upcoming trial; review outline of expert Mr.
                                                                                      Camarota for use in drafting Daubert motion and analyze for
                                                                                      strategy in excluding expert from trial

12/30/16 Daphne T. Ha                   1.30        1.30     $240.00          $312.00 Research and draft motion to compel Sixth Request for
                                                                                      Production.
12/30/16 Margaret Mortimer              1.00        1.00     $195.00          $195.00 Review motion for partial summary judgment filed by client.

12/30/16 Anne A. Gruner                 3.30        0.00       $0.00             $0.00 Review deposition transcripts of fact witnesses and
                                                                                       summarize key testimony topically for use in anticipation of
                                                                                       upcoming trial; review correspondence regarding status of
                                                                                       discovery demands; review requests for production and
                                                                                       strategize regarding document review.
01/03/17 Daphne T. Ha                   4.50        4.50     $240.00         $1,080.00 Research and draft motion to compel Sixth Request for
                                                                                       Production.
01/03/17 Angela M. Liu                  2.10        2.10     $250.00          $525.00 Review motion to compel; oversee document review.
01/03/17 Nicole A. La Due               1.80        0.00       $0.00             $0.00 Receive and review new documents and prepare deadline
                                                                                       reminders of upcoming dates for each team attorney.
01/03/17 Thomas H. Cordova              4.40        0.00       $0.00             $0.00 Review new documents produced by Kansas Secretary of
                                                                                       State.
01/03/17 Mary H. Kim                    0.70        0.00       $0.00             $0.00 Review Defendant's responses to requests for production of
                                                                                       documents.
01/03/17 Tharuni A. Jayaraman           2.00        2.00     $195.00          $390.00 Review documents produced by defendants.
01/04/17 Daphne T. Ha                   2.40        2.40     $240.00          $576.00 Revise motion to compel; correspondence with A. Liu
                                                                                       regarding same.
01/04/17 Angela M. Liu                  0.90        0.90     $250.00          $225.00 Discuss and revise motion to compel.
01/04/17 Thomas H. Cordova              8.00        0.00       $0.00             $0.00 Review new documents produced by Kansas Secretary of
                                                                                       State and draft memo summarizing document production.



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                                             Hours       Rate
 Date              Name           Hours                               Amount       Description
                                            Charged    Requested
01/04/17 Anne A. Gruner              1.10         0.00      $0.00           $0.00 Review documents and emails produced by defendant in
                                                                                  response to requests for production.
01/05/17 Daphne T. Ha                0.50        0.50     $240.00         $120.00 Correspondence regarding motion to compel papers and
                                                                                  revise same.
01/05/17 Angela M. Liu               0.90        0.90     $250.00         $225.00 Review hot docs and prepare for meet and confer.
01/05/17 Thomas H. Cordova           1.50        0.00       $0.00           $0.00 Review new documents produced by Kansas Secretary of
                                                                                  State and draft memo summarizing document production.

01/05/17 Mary H. Kim                 0.10        0.00       $0.00           $0.00 Follow up on KORA request.
01/05/17 Margaret Mortimer           3.90        3.90     $195.00         $760.50 Draft notice of motion to compel, declaration for notice to
                                                                                  compel and accompanying exhibits.
01/05/17 Anne A. Gruner              5.80        0.00       $0.00           $0.00 Review discovery requests and responses from defendant in
                                                                                  advance of upcoming meet and confer teleconference;
                                                                                  review draft motion to compel and provided proposed edits,
                                                                                  including analyze strength of argument with respect to
                                                                                  relevance of request; review documents and emails
                                                                                  produced in response to plaintiffs' request for production;
                                                                                  review deposition testimony regarding voter registration
                                                                                  procedures and memorialize key testimony into
                                                                                  memorandum for internal review.
01/06/17 Daphne T. Ha                0.80        0.80     $240.00         $192.00 Meet and confer; draft summary of same.
01/06/17 Angela M. Liu               2.70        2.70     $250.00         $675.00 Prepare for meet and confer; attend meet and confer and
                                                                                  follow-up discussion.
01/06/17 Thomas H. Cordova           3.20        0.00       $0.00           $0.00 Legal research.
01/06/17 Mary H. Kim                 3.00        0.00       $0.00           $0.00 Conduct legal research on individuals sued in official
                                                                                  capacities.




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                                                Hours       Rate
 Date              Name              Hours                               Amount       Description
                                               Charged    Requested
01/06/17 Anne A. Gruner                 4.60         0.00      $0.00           $0.00 Review discovery requests and responses to plaintiffs'
                                                                                     requests for production as well as meet and confer
                                                                                     correspondence; prepare for and participate in meet and
                                                                                     confer teleconference with defense counsel regarding
                                                                                     discovery deficiencies; review motion for summary
                                                                                     judgment and response to motion in Bednasek matter to
                                                                                     analyze arguments to support pending motion for partial
                                                                                     summary judgment; review proposed edits to outlines for
                                                                                     Daubert motions to exclude defendant's experts Mr.
                                                                                     Camarota and Mr. von Spakovsky from D. Ho.
01/09/17 Daphne T. Ha                   0.70        0.70     $240.00         $168.00 Draft letter to Roe; review correspondence.
01/09/17 Angela M. Liu                  1.80        1.80     $250.00         $450.00 Oversee document review, upcoming deposition outlining,
                                                                                     meet and confer follow up.
01/09/17 Thomas H. Cordova              1.10        0.00       $0.00           $0.00 Review recent filings in preparation of subpoena.
01/09/17 Hilary Bonaccorsi              1.50        0.00       $0.00           $0.00 Review Fish plaintiffs' partial motion for summary judgment
                                                                                     relating to Fourteenth Amendment Constitutional claim
                                                                                     under the Privileges and Immunities Clause.

01/09/17 Margaret Mortimer              2.00        2.00     $195.00         $390.00 Review Defendants Memo in Response to Defendant's
                                                                                     Motion for Summary Judgment and Plaintiff's Response
                                                                                     Memo in Bednasek v. Kobach.
01/10/17 Nicole A. La Due               1.20        0.00       $0.00           $0.00 Receive and review new pleadings, convert, upload to
                                                                                     electronic file and prepare deadline reminders of upcoming
                                                                                     date for each team attorney.
01/10/17 Thomas H. Cordova              5.10        0.00       $0.00           $0.00 Review document production and draft outline for
                                                                                     deposition.
01/10/17 Margaret Mortimer              1.50        1.50     $195.00         $292.50 Reviewed Caskey deposition and document production in
                                                                                     response to fifth request for production to determine areas
                                                                                     of continued discovery and deposition requests.
01/10/17 Tharuni A. Jayaraman           2.00        2.00     $195.00         $390.00 Review documents; prepare deposition outline.
01/11/17 Angela M. Liu                  0.80        0.80     $250.00         $200.00 Call with G. Roe regarding issues relating to discovery;
                                                                                     continue to oversee document review and discovery issues.

01/11/17 Thomas H. Cordova              8.20        0.00       $0.00           $0.00 Review new documents produced by Kansas Secretary of
                                                                                     State and draft deposition outline.


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                                                Hours       Rate
 Date             Name               Hours                               Amount      Description
                                               Charged    Requested
01/11/17 Mary H. Kim                    0.50         0.00      $0.00           $0.00 Prepare documents for 30(b)(6) deposition.
01/11/17 Margaret Mortimer              4.00         4.00    $195.00         $780.00 Prepare charts on known information gathered on DPOC
                                                                                     alternatives; review Caskey deposition and Hot Docs Memo
                                                                                     to input known information; internal discussions regarding
                                                                                     same.
01/11/17 Tharuni A. Jayaraman           3.00        3.00     $195.00         $585.00 Reviewed documents to prepare deposition outline.
01/12/17 Elisabeth L. Sachse            1.40        0.00       $0.00           $0.00 Compile and prepare new KS Secretary of State produced
                                                                                     documents for attorney review; email correspondence with
                                                                                     CDS regarding requests for document processing and related
                                                                                     issues.
01/12/17 Angela M. Liu                  2.60        2.60     $250.00         $650.00 Continue overseeing discovery.
01/12/17 Thomas H. Cordova              3.20        0.00       $0.00           $0.00 Review new documents produced by Kansas Secretary of
                                                                                     State and draft deposition outline.
01/12/17 Mary H. Kim                    0.70        0.00       $0.00           $0.00 Review and organize Defendant's production of documents.

01/12/17 Tharuni A. Jayaraman           3.50        3.50     $195.00         $682.50 Review documents; draft email to opposing counsel.
01/13/17 Elisabeth L. Sachse            1.50        0.00       $0.00           $0.00 Compile and prepare additional KS Secretary of State
                                                                                     produced documents for attorney review; email
                                                                                     correspondence with CDS regarding requests for document
                                                                                     processing and related issues; prepare production review
                                                                                     workflow and relating coding layouts for attorney review.

01/13/17 Angela M. Liu                  0.80        0.80     $250.00         $200.00 Oversee discovery.
01/13/17 Margaret Mortimer              3.80        3.80     $195.00         $741.00 Review documents produced by defendant in response to
                                                                                     5th Request for Production.
01/13/17 Margaret Mortimer              0.30        0.30     $195.00          $58.50 Internal discussions regarding document review of 5th
                                                                                     Request for Production.
01/13/17 Tharuni A. Jayaraman           3.00        3.00     $195.00         $585.00 Review documents and draft email to opposing counsel.
01/14/17 Elisabeth L. Sachse            0.50        0.00       $0.00           $0.00 Compile and prepare additional KS Secretary of State
                                                                                     produced documents for attorney review.




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                                                Hours       Rate
 Date              Name              Hours                               Amount        Description
                                               Charged    Requested
01/15/17 Elisabeth L. Sachse            1.50         0.00      $0.00             $0.00 Compile and prepare additional KS Secretary of State
                                                                                       produced documents for attorney review. Review received
                                                                                       documents for potential attachment extraction issues. Email
                                                                                       correspondence with Dechert team regarding document
                                                                                       issues; prepare chart with overlap Bates information for KS
                                                                                       Secretary of State produced documents.

01/16/17 Margaret Mortimer              5.20        5.20     $195.00         $1,014.00 Review documents produced by defendant in response to
                                                                                       5th Request for Production.
01/17/17 Elisabeth L. Sachse            1.40        0.00       $0.00             $0.00 Compile and prepare additional KS Secretary of State
                                                                                       produced documents for attorney review; email
                                                                                       correspondence with CDS regarding requests for document
                                                                                       processing and related issues; call with T. Jayaraman
                                                                                       regarding issues with KS Secretary of State document
                                                                                       productions.
01/17/17 Daphne T. Ha                   0.20        0.20     $240.00            $48.00 Review correspondence regarding discovery.
01/17/17 Thomas H. Cordova              1.10        0.00       $0.00             $0.00 Review new documents produced by Kansas Secretary of
                                                                                       State and draft deposition outline.
01/17/17 Margaret Mortimer              1.00        1.00     $195.00          $195.00 Review documents in response to 5th Request for
                                                                                       Production.
01/17/17 Tharuni A. Jayaraman           2.80        2.80     $195.00          $546.00 Review documents; draft email to opposing counsel.
01/17/17 Logan Wiggins                  0.50        0.00       $0.00             $0.00 Receipt and review of newly produced documents by
                                                                                       Camarota; confer with M. Kim regarding newly produced
                                                                                       documents; update discovery index with Camarota
                                                                                       documents.
01/18/17 Elisabeth L. Sachse            0.80        0.00       $0.00             $0.00 Compile and prepare additional KS Secretary of State
                                                                                       produced documents for attorney review. Email
                                                                                       correspondence with CDS regarding requests for document
                                                                                       processing and related issues; email correspondence with
                                                                                       Dechert team regarding document production issues.

01/18/17 Daphne T. Ha                   0.90        0.90     $240.00          $216.00 Correspondence regarding discovery; revise motion to
                                                                                      compel papers.




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                                                Hours       Rate
 Date              Name              Hours                               Amount        Description
                                               Charged    Requested
01/18/17 Nicole A. La Due               0.80         0.00      $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       dates for each team attorney.
01/18/17 Thomas H. Cordova              1.40        0.00       $0.00             $0.00 Review new documents produced by Kansas Secretary of
                                                                                       State and draft deposition outline.
01/18/17 Mary H. Kim                    3.80        0.00       $0.00             $0.00 Conduct legal research in preparation for motion to compel
                                                                                       (1.00); draft motion for extension of time (2.80).
01/18/17 Margaret Mortimer              3.40        3.40     $195.00          $663.00 Reviewed documents produced in response to 5th Request
                                                                                       for Production.
01/18/17 Tharuni A. Jayaraman           2.20        2.20     $195.00          $429.00 Review documents and summarize hot docs.
01/19/17 Neil A. Steiner                0.20        0.20     $500.00          $100.00 Telephone conference with A. Liu.
01/19/17 Elisabeth L. Sachse            0.30        0.00       $0.00             $0.00 Email correspondence with Dechert team regarding
                                                                                       document production issues.
01/19/17 Daphne T. Ha                   1.50        1.50     $240.00          $360.00 Correspondence regarding discovery; revise Camarota
                                                                                       Daubert outline.
01/19/17 Angela M. Liu                  3.10        3.10     $250.00          $775.00 Continue to oversee discovery.
01/19/17 Nicole A. La Due               0.90        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
01/19/17 Mary H. Kim                    1.40        0.00       $0.00             $0.00 Edit motion for extension of time.
01/19/17 Margaret Mortimer             10.70       10.70     $195.00         $2,086.50 Draft hot doc summary memo, review privilege logs and
                                                                                       incorporated production summary thereof; draft areas of
                                                                                       follow up discovery.
01/19/17 Tharuni A. Jayaraman           1.00        1.00     $195.00          $195.00 Review documents provided by defendant's expert.
01/20/17 Daphne T. Ha                   4.00        4.00     $240.00          $960.00 Revise Camarota Daubert outline; revise motion to compel
                                                                                       documents; correspondence regarding same.
01/20/17 Angela M. Liu                  1.20        1.20     $250.00          $300.00 Continue to oversee discovery.
01/20/17 Mary H. Kim                    1.00        0.00       $0.00             $0.00 Review related summary judgment motions in preparation
                                                                                       for summary judgment reply.
01/20/17 Margaret Mortimer              1.70        1.70     $195.00          $331.50 Review and revise hot documents memorandum.
01/23/17 Elisabeth L. Sachse            0.30        0.00       $0.00             $0.00 Call with Dechert team regarding potential new materials
                                                                                       from Kansas Secretary of State and related processing
                                                                                       requests.
01/23/17 Daphne T. Ha                   6.00        6.00     $240.00         $1,440.00 Revise motion to compel papers; correspondence regarding
                                                                                       same; draft pro hac vice documents.


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                                             Hours       Rate
 Date              Name           Hours                               Amount         Description
                                            Charged    Requested
01/23/17 Rebecca Kahan Waldman       2.20         2.20    $500.00         $1,100.00 Correspondence regarding case status; review drafts of
                                                                                    filings.
01/23/17 Angela M. Liu               3.10        3.10     $250.00          $775.00 Review case with R. Waldman; continue to oversee
                                                                                    document review; correspond with G. Roe.
01/23/17 Margaret Mortimer           0.50        0.50     $195.00            $97.50 Submit memorandum on documents produced in response
                                                                                    to 5th request for production and downloaded all hot
                                                                                    documents to local drive.
01/24/17 Daphne T. Ha                3.50        3.50     $240.00          $840.00 Correspondence regarding discovery and pro hac vice
                                                                                    motion; draft Camarota Daubert motion.
01/24/17 Rebecca Kahan Waldman       2.50        2.50     $500.00         $1,250.00 Review correspondence regarding discovery; review drafts of
                                                                                    filings; correspondence regarding case status.
01/24/17 Angela M. Liu               2.00        2.00     $250.00          $500.00 Oversee issues relating to fifth request for production.
01/24/17 Nicole A. La Due            0.80        0.00       $0.00             $0.00 Investigate proper archival of deposition transcripts, confer
                                                                                    with attorney regarding case notebook, confer with IT
                                                                                    regarding case notebook.
01/24/17 Thomas H. Cordova           4.00        0.00       $0.00             $0.00 Draft summary memo regarding Kris Kobach's document
                                                                                    production.
01/24/17 Margaret Mortimer           2.20        2.20     $195.00          $429.00 Edit letter to opposing counsel regarding 5th Request for
                                                                                    Production; review documents produced to date to identify
                                                                                    production issue and privilege log issues.
01/24/17 Tharuni A. Jayaraman        2.60        2.60     $195.00          $507.00 Draft and edit email to opposing counsel.
01/25/17 Daphne T. Ha                7.50        7.50     $240.00         $1,800.00 Draft Camarota Daubert motion.
01/25/17 Rebecca Kahan Waldman       3.50        3.50     $500.00         $1,750.00 Correspondence regarding discovery; participate in weekly
                                                                                    status call; review draft filings; review hot docs memo.

01/25/17 Angela M. Liu               4.30        4.30     $250.00         $1,075.00 Attend weekly conference call; draft email to G. Roe;
                                                                                    continue to oversee document review.
01/25/17 Thomas H. Cordova           5.80        0.00       $0.00             $0.00 Review privilege logs, draft summary to recent document
                                                                                    production, and create hot document binder for team.
01/25/17 Mary H. Kim                 0.60        0.00       $0.00             $0.00 Edit motion for extension.
01/25/17 Margaret Mortimer           4.40        4.40     $195.00          $858.00 Edit hot documents memo incorporating information on
                                                                                    barriers to using alternatives and the extent Kansas
                                                                                    Secretary of State is already using those alternatives; review
                                                                                    updated privilege log correspondence and incorporate such
                                                                                    information into memorandum.


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                                                Hours       Rate
 Date              Name              Hours                               Amount       Description
                                               Charged    Requested
01/25/17 Tharuni A. Jayaraman           1.30         1.30    $195.00         $253.50 Review documents.
01/25/17 Jennifer Maldonado             2.00         0.00      $0.00           $0.00 Prepare index for hot documents.
01/25/17 Delaney Berman                 0.55         0.00      $0.00           $0.00 Assist T. Jayaraman with indexing which privilege logs have
                                                                                     been produced to Dechert.
01/26/17 Elisabeth L. Sachse            0.60        0.00       $0.00           $0.00 Compile production information for Kansas Secretary of
                                                                                     State productions for use in responding to requests.
01/26/17 Daphne T. Ha                   0.80        0.80     $240.00         $192.00 Review correspondence regarding Seventh Request and
                                                                                     discovery.
01/26/17 Rebecca Kahan Waldman          1.50        1.50     $500.00         $750.00 Correspondence regarding recent developments; draft
                                                                                     document requests and correspondence regarding same.
01/26/17 Angela M. Liu                  3.10        3.10     $250.00         $775.00 Continue to oversee discovery.
01/26/17 Nicole A. La Due               1.10        0.00       $0.00           $0.00 Receive and review new pleadings, convert, upload to
                                                                                     electronic file and prepare deadline reminders of upcoming
                                                                                     dates for each team attorney.
01/26/17 Thomas H. Cordova              6.10        0.00       $0.00           $0.00 Review recent production and draft memo regarding recent
                                                                                     production.
01/26/17 Mary H. Kim                    1.50        0.00       $0.00           $0.00 Draft Seventh Request for Production and coordinate filings
                                                                                     of RFP and Motion for Extension of Time.
01/26/17 Margaret Mortimer              0.30        0.30     $195.00          $58.50 Review media coverage of case.
01/26/17 Tharuni A. Jayaraman           2.30        2.30     $195.00         $448.50 Edit memo summarizing defendant's response to request for
                                                                                     production.
01/27/17 Elisabeth L. Sachse            0.40        0.00       $0.00           $0.00 Review PDFs for potential technical issues.
01/27/17 Daphne T. Ha                   2.50        2.50     $240.00         $600.00 Research and draft Daubert motion for Camarota.
01/27/17 Angela M. Liu                  2.60        2.60     $250.00         $650.00 Continue to oversee discovery.
01/27/17 Thomas H. Cordova              4.00        0.00       $0.00           $0.00 Review recent production and draft memo regarding recent
                                                                                     production.
01/27/17 Margaret Mortimer              3.60        3.60     $195.00         $702.00 Edit memo summarizing production in response to fifth
                                                                                     request for production.
01/27/17 Margaret Mortimer              1.50        1.50     $195.00         $292.50 Review Defendants Response to Plaintiff's Request for
                                                                                     Partial Summary Judgment.
01/27/17 Tharuni A. Jayaraman           3.40        3.40     $195.00         $663.00 Edit memo summarizing defendant's fifth request for
                                                                                     production.
01/28/17 Daphne T. Ha                   2.00        2.00     $240.00         $480.00 Draft Camarota Daubert report.
01/28/17 Angela M. Liu                  2.80        2.80     $250.00         $700.00 Continue to organize discovery; review hot docs memo.



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                                                Hours       Rate
 Date              Name              Hours                               Amount        Description
                                               Charged    Requested
01/29/17 Daphne T. Ha                   0.30         0.30    $240.00            $72.00 Review correspondence regarding discovery; revise von
                                                                                       Spakovsky Daubert outline.
01/29/17 Angela M. Liu                  3.30        3.30     $250.00          $825.00 Review summary judgment briefing; continue to manage
                                                                                       case; confer with opposing counsel regarding document
                                                                                       review.
01/30/17 Elisabeth L. Sachse            3.20        0.00       $0.00             $0.00 Review new PDF book productions to compare to previously
                                                                                       received productions; prepare chart matching prior
                                                                                       productions to new PDF book productions; call(s) with M.
                                                                                       Mortimer and T. Jayaraman regarding Secretary of State
                                                                                       productions and related requests.
01/30/17 Rebecca Kahan Waldman          2.00        2.00     $500.00         $1,000.00 Prepare for meet and confer; review pleadings;
                                                                                       correspondence regarding discovery.
01/30/17 Angela M. Liu                  3.60        3.60     $250.00          $900.00 Organize case and oversee discovery.
01/30/17 Nicole A. La Due               2.30        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       dates for each team attorney; review docket in comparison
                                                                                       to current deadlines and deadline chart.
01/30/17 Thomas H. Cordova              0.30        0.00       $0.00             $0.00 Review third party subpoena.
01/30/17 Mary H. Kim                    1.80        0.00       $0.00             $0.00 Draft third party subpoena and corresponding documents
                                                                                       for Phillips.
01/30/17 Margaret Mortimer              2.20        2.20     $195.00          $429.00 Legal research on requiring an expert witness to produce
                                                                                       calculations in District of Kansas.
01/30/17 Tharuni A. Jayaraman           3.50        3.50     $195.00          $682.50 Research ahead of meet and confer.
01/31/17 Neil A. Steiner                0.40        0.40     $500.00          $200.00 Review Richman report; email correspondence with co-
                                                                                       counsel.
01/31/17 Elisabeth L. Sachse            2.30        0.00       $0.00             $0.00 Call(s) and email correspondence with M. Mortimer
                                                                                       regarding Secretary of State productions and related
                                                                                       requests and issues; confirm production issues regarding
                                                                                       Kansas Secretary of State productions.
01/31/17 Daphne T. Ha                   3.00        3.00     $240.00          $720.00 Revise Camarota brief; correspondence regarding discovery.

01/31/17 Rebecca Kahan Waldman          2.00        2.00     $500.00         $1,000.00 Prepare for and participate in meet and confer; revise
                                                                                       correspondence regarding outstanding discovery issues.
01/31/17 Angela M. Liu                  3.20        3.20     $250.00          $800.00 Prepare for meet and confer; continue to review oversee
                                                                                       discovery.


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                                                Hours       Rate
 Date              Name              Hours                               Amount         Description
                                               Charged    Requested
01/31/17 Thomas H. Cordova              4.00         0.00      $0.00             $0.00 Review privilege logs, review third party subpoena, and draft
                                                                                       partial summary judgment.
01/31/17 Mary H. Kim                    2.50        0.00       $0.00             $0.00 Review and revise reply to partial motion for summary
                                                                                       judgment.
01/31/17 Margaret Mortimer              6.10        6.10     $195.00         $1,189.50 Edit summary of documents produced in response to fifth
                                                                                       request for production; verify and summarize differences
                                                                                       between first and second production of documents within
                                                                                       the fifth request; meet and confer with defendant's counsel
                                                                                       regarding such production and discrepancies; summarize
                                                                                       meet and confer and items still needed to be produced or
                                                                                       addressed.
01/31/17 Tharuni A. Jayaraman           4.40        4.40     $195.00          $858.00 Research; assist with draft letter for meet and confer; edit
                                                                                       Daubert motion.
01/31/17 Logan Wiggins                  1.00        0.00       $0.00             $0.00 Prepare binder of Summary Judgment pleadings per request
                                                                                       of M. Kim.
02/01/17 Elisabeth L. Sachse            0.70        0.00       $0.00             $0.00 Prepare additional Kansas Secretary of State productions for
                                                                                       attorney review; email correspondence with T. Cordova
                                                                                       regarding production issues.
02/01/17 Daphne T. Ha                   3.00        3.00     $240.00          $720.00 Revise von Spakovsky Daubert outline; team call; review
                                                                                       partial summary judgment brief.
02/01/17 Rebecca Kahan Waldman          2.80        2.80     $500.00         $1,400.00 Attend weekly update call; call with Dechert team;
                                                                                       correspondence regarding strategy for discovery.
02/01/17 Angela M. Liu                  4.20        4.20     $250.00         $1,050.00 Attend weekly meeting; meeting with internal Dechert team
                                                                                       regarding third-party subpoenas, document review, and
                                                                                       motion for partial summary judgment.
02/01/17 Thomas H. Cordova              4.20        0.00       $0.00             $0.00 Draft partial summary judgment fact section, participate in
                                                                                       team meeting regarding recent developments, and oversee
                                                                                       the creation of an updated hot documents binder.

02/01/17 Mary H. Kim                    3.80        0.00       $0.00            $0.00 Review and revise reply to partial motion for summary
                                                                                      judgment (3.3); Team call (0.5)
02/01/17 Margaret Mortimer              1.00        1.00     $195.00          $195.00 Internal status call and pulled documents for email to
                                                                                      defendant.
02/01/17 Tharuni A. Jayaraman           3.70        3.70     $195.00          $721.50 Draft facts for partial summary judgment statement of facts;
                                                                                      attend team call.


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                                                Hours       Rate
 Date              Name              Hours                               Amount       Description
                                               Charged    Requested
02/01/17 Anne A. Gruner                 1.40         0.00      $0.00           $0.00 Prepare for and participate in team teleconference to
                                                                                     discuss all outstanding tasks and deadlines; discuss finalizing
                                                                                     motion for partial summary judgment.
02/01/17 Jennifer Maldonado             4.00        0.00       $0.00           $0.00 Extract requested hot documents and prepare index.
02/02/17 Cheryl Inwek                   0.60        0.00       $0.00           $0.00 Conferences with T. Cordova regarding document
                                                                                     productions and related document review project.
02/02/17 Neil A. Steiner                0.30        0.30     $500.00         $150.00 Meet with RK.
02/02/17 Elisabeth L. Sachse            0.80        0.00       $0.00           $0.00 Call(s) and email correspondence with T. Cordova regarding
                                                                                     Secretary of State productions and related requests and
                                                                                     issues; compile additional materials for attorney review.

02/02/17 Rebecca Kahan Waldman          1.50        1.50     $500.00         $750.00 Correspondence regarding strategy for discovery.

02/02/17 Angela M. Liu                  2.20        2.20     $250.00         $550.00 Continue to oversee discovery.
02/02/17 Thomas H. Cordova              5.70        0.00       $0.00           $0.00 Draft partial summary judgment fact section.
02/02/17 Margaret Mortimer              5.00        5.00     $195.00         $975.00 Draft replies to defendant additional uncontroverted facts.

02/02/17 Margaret Mortimer              1.50        1.50     $195.00         $292.50 Edit replies to additional uncontroverted facts included in
                                                                                     defendant's opposition to partial summary judgment
                                                                                     motion.
02/02/17 Tharuni A. Jayaraman           3.90        3.90     $195.00         $760.50 Draft facts for response to motion for partial summary
                                                                                     judgment.
02/02/17 Anne A. Gruner                 0.40        0.00       $0.00           $0.00 Correspond with team regarding drafting statement of facts
                                                                                     in support of motion for partial summary judgment.
02/02/17 Delaney Berman                 2.15        0.00       $0.00           $0.00 Assisting with reviewing produced documents to note
                                                                                     disparities between the original production (on Relativity)
                                                                                     and the production sent as PDF composite books.
02/03/17 Cheryl Inwek                   0.70        0.00       $0.00           $0.00 Review/compare documents in productions to determine
                                                                                     completeness.
02/03/17 Daphne T. Ha                   3.50        3.50     $240.00         $840.00 Revise replies and responses to fact statements.
02/03/17 Thomas H. Cordova              2.40        0.00       $0.00           $0.00 Draft partial summary judgment fact section.
02/03/17 Mary H. Kim                    1.80        0.00       $0.00           $0.00 Draft reply to partial motion for summary judgment.




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                                                Hours       Rate
 Date             Name               Hours                               Amount        Description
                                               Charged    Requested
02/03/17 Margaret Mortimer              3.50         3.50    $195.00          $682.50 Edit replies to additional uncontroverted facts included in
                                                                                      defendant's opposition to partial summary judgment
                                                                                      motion; review evidence produced during discovery to
                                                                                      determine controverted status; internal discussions
                                                                                      regarding same.
02/03/17 Tharuni A. Jayaraman           2.00        2.00     $195.00          $390.00 Edit facts section for partial summary judgment response;
                                                                                      started memo on potential witnesses for depositions.
02/03/17 Anne A. Gruner                 6.10        0.00       $0.00            $0.00 Review draft statement of undisputed material facts to
                                                                                      include in reply brief in support of motion for partial
                                                                                      summary judgment; review various underlying facts for
                                                                                      accuracy; edit controverted facts to ensure accuracy of all
                                                                                      disputed statements and provide proposed revisions to team
                                                                                      for review.
02/03/17 Delaney Berman                 0.58        0.00       $0.00            $0.00 Continuing to assist with reviewing produced documents to
                                                                                      note disparities between the original production (on
                                                                                      Relativity) and the production sent as PDF composite books.

02/05/17 Thomas H. Cordova              1.00        0.00       $0.00             $0.00 Draft partial summary judgment fact section.
02/05/17 Mary H. Kim                    2.00        0.00       $0.00             $0.00 Edit reply to partial motion for summary judgment.
02/05/17 Tharuni A. Jayaraman           0.50        0.50     $195.00            $97.50 Edit facts for partial summary judgment brief.
02/06/17 Daphne T. Ha                   0.40        0.40     $240.00            $96.00 Review revised facts statement and correspondence
                                                                                       regarding same.
02/06/17 Rebecca Kahan Waldman          2.00        2.00     $500.00         $1,000.00 Correspondence regarding discovery; call regarding USCIS
                                                                                       databases.
02/06/17 Angela M. Liu                  2.00        2.00     $250.00          $500.00 Continue to oversee discovery.
02/06/17 Thomas H. Cordova              6.40        0.00       $0.00             $0.00 Draft summaries about who to depose regarding
                                                                                       alternatives to DPOC and update production memo with
                                                                                       new information.
02/06/17 Mary H. Kim                    1.80        0.00       $0.00             $0.00 Review hot documents and draft summary for Beckner's
                                                                                       deposition preparation.
02/06/17 Margaret Mortimer              5.00        5.00     $195.00          $975.00 Draft summary for a possible deposition witness and
                                                                                       summarized key documents relating to such deposition;
                                                                                       reviewed and edit entire deposition witness summary
                                                                                       memo.



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                                                Hours       Rate
 Date              Name              Hours                               Amount         Description
                                               Charged    Requested
02/06/17 Tharuni A. Jayaraman           6.80         6.80    $195.00         $1,326.00 Edit memo regarding possible deposition witnesses and
                                                                                       review documents.
02/06/17 Anne A. Gruner                 4.40        0.00       $0.00             $0.00 Review updated statement of undisputed facts to ensure
                                                                                       appropriate responses to all comments and adjustments to
                                                                                       items in dispute; correspond with team regarding
                                                                                       completion of all outstanding comments in draft statement
                                                                                       of undisputed facts; review responses to defendant's newly-
                                                                                       asserted facts; perform final review of fact section in
                                                                                       advance of circulating to team for review; review
                                                                                       memorandum from team regarding objectives for
                                                                                       anticipated depositions of additional fact witnesses.
02/06/17 Jennifer Maldonado             3.48        0.00       $0.00             $0.00 Update index with new bates stamped documents.
02/06/17 Jennifer Maldonado             1.30        0.00       $0.00             $0.00 Revise brief.
02/06/17 Delaney Berman                 0.75        0.00       $0.00             $0.00 Assist with reconciliation of documents productions by
                                                                                       defendant.
02/07/17 Angela M. Liu                  0.60        0.60     $250.00          $150.00 Continue to oversee discovery.
02/07/17 Nicole A. La Due               1.70        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       dates for each team attorney.
02/07/17 Thomas H. Cordova              2.30        0.00       $0.00             $0.00 Coordinate privilege log review, draft letter regarding errors
                                                                                       of last production, and update memo with new information.

02/07/17 Mary H. Kim                    3.80        0.00       $0.00            $0.00 Analyze Roe's privilege log and prepare chart identifying
                                                                                      issues with privilege claims.
02/07/17 Tharuni A. Jayaraman           2.60        2.60     $195.00          $507.00 Research alternatives to DPOC and review privilege logs.
02/08/17 Neil A. Steiner                1.00        1.00     $500.00          $500.00 Conference call with co-counsel; telephone conversation
                                                                                      with A. Liu; telephone conversation with D. Ha.
02/08/17 Daphne T. Ha                   2.30        2.30     $240.00          $552.00 Calls with team and O. Danjuma; compile motion to compel
                                                                                      documents.
02/08/17 Rebecca Kahan Waldman          1.50        1.50     $500.00          $750.00 Attend weekly update call; call with O. Danjuma.

02/08/17 Angela M. Liu                  2.30        2.30     $250.00          $575.00 Attend weekly conference call; continue to oversee
                                                                                      discovery.
02/08/17 Nicole A. La Due               0.60        0.00       $0.00            $0.00 Receive and review new pleadings, prepare electronic copy
                                                                                      for review and upload to archive folder.


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                                                Hours       Rate
 Date             Name               Hours                               Amount        Description
                                               Charged    Requested
02/08/17 Thomas H. Cordova              4.80         0.00      $0.00             $0.00 Review privilege log and draft summary; address ACLU's
                                                                                       request, and summarize cases in Defendant's motion to
                                                                                       compel brief.
02/08/17 Margaret Mortimer              3.40        3.40     $195.00          $663.00 Review privilege logs for substantive issues and summarize
                                                                                       issues in charts.
02/08/17 Tharuni A. Jayaraman           6.00        6.00     $195.00         $1,170.00 Review privilege log; retrieve cases cited in defendant's
                                                                                       opposition to motion to compel.
02/08/17 Anne A. Gruner                 0.80        0.00       $0.00             $0.00 Review status of all upcoming tasks and deadlines in case,
                                                                                       including finalizing reply brief in support of motion for
                                                                                       partial summary judgment and correspond with team
                                                                                       regarding completion of all tasks.
02/08/17 Delaney Berman                 1.48        0.00       $0.00             $0.00 Assist with reconciliation of documents productions by
                                                                                       defendant.
02/09/17 Thomas H. Cordova              3.10        0.00       $0.00             $0.00 Update fifth production hot documents binder; summarize
                                                                                       cases in preparation of motion to compel reply.

02/09/17 Mary H. Kim                    5.40        0.00       $0.00             $0.00 Distinguish cases cited in Defendant's Response to Motion to
                                                                                       Compel.
02/09/17 Tharuni A. Jayaraman           6.00        6.00     $195.00         $1,170.00 Review cases cited in defendant's opposition.
02/10/17 Daphne T. Ha                   0.40        0.40     $240.00            $96.00 Review opposition to motion to compel.
02/10/17 Angela M. Liu                  0.40        0.40     $250.00          $100.00 Oversee discovery.
02/10/17 Thomas H. Cordova              4.20        0.00       $0.00             $0.00 Update fifth production hot documents binder; summarize
                                                                                       cases in preparation of motion to compel reply; draft
                                                                                       deposition outline for Bryan Caskey.
02/10/17 Tharuni A. Jayaraman           2.20        2.20     $195.00          $429.00 Summarize cases cited in defendants' opposition.
02/12/17 Ellen L. Ratigan               1.90        0.00       $0.00             $0.00 Review background materials for case.
02/13/17 Daphne T. Ha                   2.50        2.50     $240.00          $600.00 Draft reply on motion to compel and research for same.
02/13/17 Angela M. Liu                  2.20        2.20     $250.00          $550.00 Continue to oversee discovery.
02/13/17 Thomas H. Cordova              2.10        0.00       $0.00             $0.00 Draft deposition outline for Bryan Caskey.
02/13/17 Ellen L. Ratigan               0.40        0.00       $0.00             $0.00 Review background materials on case.
02/14/17 Daphne T. Ha                   0.50        0.50     $240.00          $120.00 Draft reply on motion to compel and research for same.
02/14/17 Rebecca Kahan Waldman          3.50        3.50     $500.00         $1,750.00 Correspondence regarding strategy; review brief.

02/14/17 Angela M. Liu                  2.00        2.00     $250.00          $500.00 Continue to oversee discovery.
02/14/17 Thomas H. Cordova              1.50        0.00       $0.00            $0.00 Draft deposition outline for Bryan Caskey.


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                                                Hours       Rate
 Date               Name             Hours                               Amount      Description
                                               Charged    Requested
02/14/17 Lisa M. Parisi                 0.90         0.00      $0.00           $0.00 Person search.
02/14/17 Mary H. Kim                    3.30         0.00      $0.00           $0.00 Work on third party subpoena for Baker deposition (0.3);
                                                                                     conduct legal research on mootness (3.0).
02/14/17 Ellen L. Ratigan               4.00        0.00       $0.00           $0.00 Review background materials on case; confer with A. Liu
                                                                                     regarding case and third party deposition; draft document
                                                                                     requests for third party subpoena.
02/14/17 Margaret Mortimer              0.80        0.80     $195.00         $156.00 Research Brad Bryant address for subpoena.
02/15/17 Daphne T. Ha                   2.80        2.80     $240.00         $672.00 Draft reply on motion to compel and research for same.
02/15/17 Thomas H. Cordova              2.10        0.00       $0.00           $0.00 Draft response to opposing counsel regarding the fifth
                                                                                     production.
02/15/17 Mary H. Kim                    0.40        0.00       $0.00           $0.00 Edit subpoena request for Baker.
02/15/17 Janet Peros                    0.20        0.00       $0.00           $0.00 Obtain citation using Heinonline for M. Kim.
02/16/17 Daphne T. Ha                   3.10        3.10     $240.00         $744.00 Draft reply on motion to compel and research for same.
02/16/17 Thomas H. Cordova              4.10        0.00       $0.00           $0.00 Draft motion to compel reply brief and draft reply to
                                                                                     opposing counsel regarding the fifth production.
02/16/17 Margaret Mortimer              0.20        0.20     $195.00          $39.00 Internal discussions regarding status of proceedings.
02/16/17 Tharuni A. Jayaraman           1.80        1.80     $195.00         $351.00 Review documents and edit email to opposing counsel.
02/17/17 Daphne T. Ha                   0.60        0.60     $240.00         $144.00 Draft reply on motion to compel and research for same.
02/17/17 Angela M. Liu                  1.70        1.70     $250.00         $425.00 Continue to oversee discovery.
02/17/17 Thomas H. Cordova              1.70        0.00       $0.00           $0.00 Draft Caskey deposition outline.
02/17/17 Ellen L. Ratigan               0.20        0.00       $0.00           $0.00 Correspond regarding document subpoena to Oklahoma
                                                                                     third party.
02/17/17 Margaret Mortimer              1.00        1.00     $195.00         $195.00 Review defendants production in response to 5th request
                                                                                     for production for documents discussion to whom a
                                                                                     temporary driver's license is issued.
02/17/17 Tharuni A. Jayaraman           0.50        0.50     $195.00          $97.50 Review documents.
02/20/17 Daphne T. Ha                   0.40        0.40     $240.00          $96.00 Correspondence regarding motion to compel reply brief.
02/20/17 Thomas H. Cordova              0.30        0.00       $0.00           $0.00 Review recent documents produced by opposing counsel.
02/20/17 Margaret Mortimer              1.30        1.30     $195.00         $253.50 Research 10th Circuit case law on compelled production
                                                                                     over relevant and attorney-client privilege objections.
02/20/17 Tharuni A. Jayaraman           2.20        2.20     $195.00         $429.00 Research cases for reply brief.
02/21/17 Daphne T. Ha                   0.30        0.30     $240.00          $72.00 Review motion to compel reply and correspondence with O.
                                                                                     Danjuma regarding same.
02/21/17 Rebecca Kahan Waldman          0.50        0.50     $500.00         $250.00 Correspondence regarding discovery.



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                                                Hours       Rate
 Date               Name             Hours                               Amount       Description
                                               Charged    Requested
02/21/17 Angela M. Liu                  0.30         0.30    $250.00          $75.00 Oversee discovery.
02/21/17 Thomas H. Cordova              0.70         0.00      $0.00           $0.00 Review recent documents produced by opposing counsel.
02/21/17 Ellen L. Ratigan               0.20         0.00      $0.00           $0.00 Coordinate logistics of deposition in Oklahoma City.
02/21/17 Tharuni A. Jayaraman           0.30         0.30    $195.00          $58.50 Call with A. Liu and related follow-up.
02/22/17 Steven B. Singer               0.10         0.00      $0.00           $0.00 Retrieve case document for A. Gruner.
02/22/17 Daphne T. Ha                   0.20         0.20    $240.00          $48.00 Review correspondence.
02/22/17 Angela M. Liu                  2.70         2.70    $250.00         $675.00 Oversee discovery.
02/22/17 Thomas H. Cordova              8.10         0.00      $0.00           $0.00 Review new document production, and draft deposition
                                                                                     outline for Bryan Caskey.
02/22/17 Ellen L. Ratigan               0.30        0.00       $0.00           $0.00 Correspond regarding third party subpoena and tasks in
                                                                                     Kansas voter id case.
02/22/17 Margaret Mortimer              0.30        0.30     $195.00          $58.50 Discuss jury duty questionnaire scope internally.
02/22/17 Tharuni A. Jayaraman           2.00        2.00     $195.00         $390.00 Draft deposition outline and review documents.
02/22/17 Anne A. Gruner                 1.30        0.00       $0.00           $0.00 Review motion for partial summary judgment based on
                                                                                     violation of right to travel pursuant to privileges and
                                                                                     immunities clause in order to draft questions for team to
                                                                                     raise during upcoming moot session with ACLU in advance of
                                                                                     hearing.
02/23/17 Daphne T. Ha                   0.60        0.60     $240.00         $144.00 Call with A. Liu and E. Mossman; review ACLU
                                                                                     memorandum.
02/23/17 Nicole A. La Due               1.30        0.00       $0.00           $0.00 Receive and review new pleadings, convert, upload to
                                                                                     electronic file and prepare deadline reminders of upcoming
                                                                                     dates for each team attorney.
02/23/17 Nicole A. La Due               1.00        0.00       $0.00           $0.00 Review recently received production materials for loading to
                                                                                     Box folder;. begin loading materials for transmission.
02/23/17 Thomas H. Cordova              3.20        0.00       $0.00           $0.00 Draft deposition outline for Bryan Caskey and assist with
                                                                                     draft deposition outline for Eric Rucker.
02/23/17 Ellen L. Ratigan               0.40        0.00       $0.00           $0.00 Finalize third party subpoena and document requests to
                                                                                     Kelly Baker; correspond with M. Mortimer regarding third
                                                                                     party subpoenas.
02/23/17 Tharuni A. Jayaraman           0.90        0.90     $195.00         $175.50 Draft deposition outline.




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                                                Hours       Rate
 Date               Name             Hours                               Amount         Description
                                               Charged    Requested
02/23/17 Anne A. Gruner                 2.40         0.00      $0.00             $0.00 Review motion for partial summary judgment based on
                                                                                       violation of right to travel pursuant to privileges and
                                                                                       immunities clause and begin to draft questions for team to
                                                                                       raise during upcoming moot session with ACLU in advance of
                                                                                       hearing.
02/24/17 Nicole A. La Due               1.90        0.00       $0.00             $0.00 Receive and review new pleadings, prepare electronic copy
                                                                                       for review and upload to archive folder.
02/24/17 Ellen L. Ratigan               0.30        0.00       $0.00             $0.00 Confer with M. Mortimer regarding third party subpoenas.

02/24/17 Margaret Mortimer              1.20        1.20     $195.00          $234.00 Draft Brad Bryant subpoena and exhibit for document
                                                                                       production; internal discussions regarding same.
02/24/17 Tharuni A. Jayaraman           0.90        0.90     $195.00          $175.50 Review documents.
02/24/17 Anne A. Gruner                 5.10        0.00       $0.00             $0.00 Review all briefing and exhibits in connection with motion
                                                                                       for partial summary judgment based on violation of right to
                                                                                       travel pursuant to privileges and immunities clause and draft
                                                                                       questions for team to raise during upcoming moot session
                                                                                       with ACLU in advance of hearing; transmit proposed moot
                                                                                       questions to team for review.
02/25/17 Daphne T. Ha                   0.10        0.10     $240.00            $24.00 Review draft subpoena.
02/25/17 Angela M. Liu                  4.10        4.10     $250.00         $1,025.00 Continue to oversee discovery.
02/25/17 Thomas H. Cordova              1.10        0.00       $0.00             $0.00 Update documents on internal system and draft Caskey
                                                                                       deposition outline.
02/26/17 Angela M. Liu                  0.80        0.80     $250.00          $200.00 Continue to oversee discovery.
02/27/17 Neil A. Steiner                1.70        1.70     $500.00          $850.00 Prepare for and moot for partial summary judgment
                                                                                       argument.
02/27/17 Daphne T. Ha                   1.10        1.10     $240.00          $264.00 Prepare for and moot for partial summary judgment
                                                                                       argument.
02/27/17 Rebecca Kahan Waldman          1.50        1.50     $500.00          $750.00 Prepare for and moot for partial summary judgment
                                                                                       argument.
02/27/17 Angela M. Liu                  4.30        4.30     $250.00         $1,075.00 Continue to oversee discovery.
02/27/17 Thomas H. Cordova              5.80        0.00       $0.00             $0.00 Draft deposition outline for Bryan Caskey and draft letter to
                                                                                       opposing counsel regarding privilege log issues.
02/27/17 Mary H. Kim                    1.10        0.00       $0.00             $0.00 Update discovery chart and organize Defendant's
                                                                                       productions; draft notice of deposition for Baker.



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                                                Hours       Rate
 Date               Name             Hours                               Amount         Description
                                               Charged    Requested
02/27/17 Ellen L. Ratigan               0.20         0.00      $0.00            $0.00 Correspond with M. Kim regarding notice of deposition;
                                                                                      revise K. Baker subpoena.
02/27/17 Margaret Mortimer              2.50        2.50     $195.00          $487.50 Prepare for and attend Partial Summary Judgment moot.
02/28/17 Angela M. Liu                  2.50        2.50     $250.00          $625.00 Oversee discovery.
02/28/17 Thomas H. Cordova              6.10        0.00       $0.00            $0.00 Draft deposition outline for Bryan Caskey and draft letter to
                                                                                      opposing counsel regarding privilege log issues.
02/28/17 Mary H. Kim                    0.30        0.00       $0.00            $0.00 Coordinate filing of notice of deposition for Baker.
02/28/17 Ellen L. Ratigan               0.80        0.00       $0.00            $0.00 Finalize and arrange service for and filing of Kelly Baker
                                                                                      subpoena.
03/01/17 Thomas H. Cordova              5.80        0.00       $0.00            $0.00 Draft notices of deposition, manage and oversee recently
                                                                                      produced documents, and update privilege log summaries.

03/01/17 Mary H. Kim                    3.00        0.00       $0.00             $0.00 Draft notice of deposition for Beckner; draft motion for
                                                                                       extension of time and prepare for filing; work on
                                                                                       reformatting Defendant's privilege logs.
03/01/17 Margaret Mortimer              5.60        5.60     $195.00         $1,092.00 Review issues with privilege logs, update privilege log
                                                                                       summaries; draft email summaries re: such issues; internal
                                                                                       discussions regarding same; draft subpoena notices; internal
                                                                                       call discussing deposition outline content.

03/01/17 Tharuni A. Jayaraman           2.50        2.50     $195.00          $487.50 Draft and edit third-party subpoena documents; call with M.
                                                                                      Mortimer, T. Cordova, and M. Kim regarding same.
03/01/17 Logan Wiggins                  2.00        0.00       $0.00            $0.00 Confer with M. Kim regarding privilege logs produced by
                                                                                      opposing counsel; review privilege logs.
03/02/17 Daphne T. Ha                   1.60        1.60     $240.00          $384.00 Finalize subpoenas and deposition notices; correspondence
                                                                                      regarding same.
03/02/17 Angela M. Liu                  0.60        0.60     $250.00          $150.00 Continue to oversee discovery.
03/02/17 Mary H. Kim                    1.80        0.00       $0.00            $0.00 Coordinate service for third party subpoenas for Beckner,
                                                                                      Bryant, Caskey, and Rucker.
03/02/17 Margaret Mortimer              2.10        2.10     $195.00          $409.50 Determine location of third party for subpoenaing, including
                                                                                      external phone calls and internal discussion regarding such.

03/02/17 Tharuni A. Jayaraman           1.20        1.20     $195.00          $234.00 Edit third party subpoenas.
03/02/17 Taylor T. Southworth           0.40        0.00       $0.00            $0.00 Address searches for M. Kim.
03/03/17 Daphne T. Ha                   0.90        0.90     $240.00          $216.00 Call regarding depositions and related correspondence.


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                                                Hours       Rate
 Date               Name             Hours                               Amount       Description
                                               Charged    Requested
03/03/17 Angela M. Liu                  3.40         3.40    $250.00         $850.00 Attend conference call with team; continue to oversee
                                                                                     discovery.
03/03/17 Thomas H. Cordova              1.00        0.00       $0.00           $0.00 Participate in group meeting regarding upcoming
                                                                                     depositions, and draft deposition outline.
03/03/17 Mary H. Kim                    0.60        0.00       $0.00           $0.00 Participate in team call.
03/03/17 Ellen L. Ratigan               0.20        0.00       $0.00           $0.00 Correspond with D. Ha regarding pro hac and motion for
                                                                                     class certification.
03/03/17 Margaret Mortimer              0.60        0.60     $195.00         $117.00 Internal status call and discuss deposition outline content.

03/03/17 Tharuni A. Jayaraman           1.10        1.10     $195.00         $214.50 Participate in team call; review and revise deposition
                                                                                     outline.
03/04/17 Thomas H. Cordova              2.00        0.00       $0.00           $0.00 Draft deposition outline for Bryan Caskey, and assist with
                                                                                     Eric Rucker deposition outline.
03/05/17 Thomas H. Cordova              2.00        0.00       $0.00           $0.00 Draft deposition outline for Bryan Caskey, and assist with
                                                                                     Eric Rucker deposition outline.
03/06/17 Daphne T. Ha                   0.30        0.30     $240.00          $72.00 Correspondence regarding meet and confer.
03/06/17 Angela M. Liu                  3.00        3.00     $250.00         $750.00 Continue to oversee discovery.
03/06/17 Thomas H. Cordova              5.10        0.00       $0.00           $0.00 Draft deposition outline for Bryan Caskey and assist with
                                                                                     deposition outline for Eric Rucker; update privilege log
                                                                                     summaries.
03/06/17 Mary H. Kim                    0.50        0.00       $0.00           $0.00 Update document reflecting issues with Defendant's
                                                                                     privilege logs.
03/06/17 Ellen L. Ratigan               0.10        0.00       $0.00           $0.00 Correspond with A. Liu regarding subpoena.
03/06/17 Margaret Mortimer              2.10        2.10     $195.00         $409.50 Coordinate with Subpoena server to confirm address of Brad
                                                                                     Bryant; address discrepancies between privilege log
                                                                                     summaries after reformatting; edit privilege log summaries.

03/07/17 Daphne T. Ha                   2.60        2.60     $240.00         $624.00 Meet and confer; preparation for same.
03/07/17 Angela M. Liu                  3.20        3.20     $250.00         $800.00 Continue to discuss depositions, discovery, and meet and
                                                                                     confer with G. Roe.
03/07/17 Nicole A. La Due               0.60        0.00       $0.00           $0.00 Receive and review new pleadings, convert, upload to
                                                                                     electronic file and prepare deadline reminders of upcoming
                                                                                     date for each team attorney.
03/07/17 Nicole A. La Due               2.70        0.00       $0.00           $0.00 Load electronic documents to drive for attorney document
                                                                                     review.


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                                                Hours       Rate
 Date               Name             Hours                               Amount         Description
                                               Charged    Requested
03/07/17 Thomas H. Cordova              1.80         0.00      $0.00            $0.00 Draft document outlining privilege log issues, and draft
                                                                                      deposition outline.
03/07/17 Mary H. Kim                    2.80        0.00       $0.00            $0.00 Prepare for meet and confer.
03/07/17 Ellen L. Ratigan               0.70        0.00       $0.00            $0.00 Confer with counsel for K. Baker regarding subpoena;
                                                                                      correspond with A. Liu regarding the same.
03/07/17 Margaret Mortimer              2.00        2.00     $195.00          $390.00 Review Eric Rucker and update Kriegshauser privilege log
                                                                                      and summarize substantive issues.
03/08/17 Daphne T. Ha                   2.70        2.70     $240.00          $648.00 Team call; correspondence regarding meet and confer.
03/08/17 Rebecca Kahan Waldman          1.50        1.50     $500.00          $750.00 Weekly update call; correspondence regarding discovery.

03/08/17 Angela M. Liu                  5.20        5.20     $250.00         $1,300.00 Continue to review issues relating to privilege, oversee
                                                                                       discovery, and attend weekly conference call.
03/08/17 Thomas H. Cordova              3.00        0.00       $0.00             $0.00 Participate in team call regarding next steps, draft letter to
                                                                                       opposing counsel regarding document production, and draft
                                                                                       deposition outlines.
03/08/17 Ellen L. Ratigan               1.50        0.00       $0.00             $0.00 Telephone call with counsel for K. Baker and NAPHSIS
                                                                                       regarding documents requested and subpoena scope; draft
                                                                                       summary of call with counsel; draft search terms for
                                                                                       documents from K. Baker.
03/08/17 Margaret Mortimer              2.90        2.90     $195.00          $565.50 Prepare for and participate in status call with ACLU and
                                                                                       Dechert team; verified processing of Brad Bryant's
                                                                                       subpoena; internal discussions and email correspondence
                                                                                       regarding Daubert motion for Mr. Richman.

03/08/17 Tharuni A. Jayaraman           4.70        4.70     $195.00          $916.50 Call with team; work on deposition outline.
03/08/17 Anne A. Gruner                 0.90        0.00       $0.00            $0.00 Prepare for and participate in teleconference to discuss all
                                                                                      outstanding tasks and deadlines, including strategy for
                                                                                      upcoming depositions and review of hearing on motion for
                                                                                      partial summary judgment.
03/09/17 Steven B. Singer               0.70        0.00       $0.00            $0.00 Retrieve background materials for deposition.
03/09/17 Daphne T. Ha                   0.20        0.20     $240.00           $48.00 Correspondence regarding discovery.
03/09/17 Angela M. Liu                  1.70        1.70     $250.00          $425.00 Continue to prepare for meet and confer; coordinate
                                                                                      deposition schedule; coordinate requests for admission and
                                                                                      expert issues.
03/09/17 Mary H. Kim                    1.70        0.00       $0.00            $0.00 Conduct fact research on Beckner for deposition outline.


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                                                Hours       Rate
 Date               Name             Hours                               Amount        Description
                                               Charged    Requested
03/09/17 Ellen L. Ratigan               0.70         0.00      $0.00            $0.00 Correspond regarding EVVE database; draft list of search
                                                                                      terms for Oklahoma document subpoena.
03/10/17 Daphne T. Ha                   1.80        1.80     $240.00          $432.00 Meet and confer with Roe; follow up correspondence
                                                                                      regarding same.
03/10/17 Angela M. Liu                  1.30        1.30     $250.00          $325.00 Prepare for meet and confer; attend meet and confer.
03/10/17 Ellen L. Ratigan               1.00        0.00       $0.00            $0.00 Correspond with A. Liu regarding third party subpoena; draft
                                                                                      and send to counsel search terms for third party document
                                                                                      subpoena; review documents in response to third party
                                                                                      subpoena.
03/10/17 Margaret Mortimer              2.90        2.90     $195.00          $565.50 Review defendant's March 10th production in response to a
                                                                                      recent Meet and Confer, comparing against list of
                                                                                      outstanding requests and circulated updated outstanding list
                                                                                      of requested documents internally.
03/10/17 Margaret Mortimer              3.00        3.00     $195.00          $585.00 Reviewed Richman Expert Report and associated materials.

03/10/17 Tharuni A. Jayaraman           0.70        0.70     $195.00          $136.50 Review documents to draft request for admission.
03/12/17 Tharuni A. Jayaraman           0.80        0.80     $195.00          $156.00 Draft requests for admission.
03/13/17 Daphne T. Ha                   1.60        1.60     $240.00          $384.00 Correspondence regarding Fifth Request for Production and
                                                                                       Richman Daubert preparation.
03/13/17 Mary H. Kim                    0.50        0.00       $0.00             $0.00 Coordinate logistics for third party depositions.
03/13/17 Margaret Mortimer              9.20        9.20     $195.00         $1,794.00 Review expert report materials; call with ACLU; draft
                                                                                       summary email identifying issues with expert reports.
03/13/17 Tharuni A. Jayaraman           1.80        1.80     $195.00          $351.00 Draft requests for admission; call with D. Ho from ACLU
                                                                                       regarding same.
03/14/17 Thomas H. Cordova              1.20        0.00       $0.00             $0.00 Call with client regarding updates to the case, draft notes
                                                                                       from conversation, and follow up with liaison in Wichita.
03/14/17 Tharuni A. Jayaraman           2.60        2.60     $195.00          $507.00 Edit deposition outline.
03/15/17 Daphne T. Ha                   0.70        0.70     $240.00          $168.00 Correspondence regarding document discovery and
                                                                                       depositions.
03/15/17 Thomas H. Cordova              0.80        0.00       $0.00             $0.00 Review new documents in preparation of meet and confer.

03/15/17 Mary H. Kim                    2.00        0.00       $0.00             $0.00 Review documents in preparation for Beckner deposition.
03/15/17 Ellen L. Ratigan               0.20        0.00       $0.00             $0.00 Correspond with counsel for third party deponent regarding
                                                                                       documents and interview.



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                                                Hours       Rate
 Date              Name              Hours                               Amount        Description
                                               Charged    Requested
03/16/17 Daphne T. Ha                   3.00         3.00    $240.00          $720.00 Meet and confer and preparation for same; review
                                                                                       productions.
03/16/17 Thomas H. Cordova              3.10        0.00       $0.00             $0.00 Prepare for and attend meet and confer with opposing
                                                                                       counsel.
03/16/17 Mary H. Kim                    4.20        0.00       $0.00             $0.00 Draft deposition outline for Beckner.
03/16/17 Margaret Mortimer              1.10        1.10     $195.00          $214.50 Draft Brad Bryant deposition summary.
03/16/17 Tharuni A. Jayaraman           1.80        1.80     $195.00          $351.00 Review documents; edit deposition outlines.
03/17/17 Daphne T. Ha                   1.20        1.20     $240.00          $288.00 Follow up regarding meet and confer; review produced
                                                                                       documents.
03/17/17 Thomas H. Cordova              2.00        0.00       $0.00             $0.00 Attend to the deposition preparation.
03/17/17 Margaret Mortimer              7.30        7.30     $195.00         $1,423.50 Draft Brad Bryant deposition outline.
03/17/17 Tharuni A. Jayaraman           4.40        4.40     $195.00          $858.00 Edit deposition outlines.
03/18/17 Thomas H. Cordova              2.50        0.00       $0.00             $0.00 Edit and draft deposition outlines.
03/18/17 Margaret Mortimer             10.60       10.60     $195.00         $2,067.00 Draft Brad Bryant deposition outline.
03/18/17 Tharuni A. Jayaraman           6.20        6.20     $195.00         $1,209.00 Edit deposition outlines; draft requests for admission.
03/19/17 Daphne T. Ha                   0.50        0.50     $240.00          $120.00 Revise requests for admission and correspondence regarding
                                                                                       same.
03/19/17 Thomas H. Cordova              2.20        0.00       $0.00             $0.00 Attend to deposition preparation.
03/19/17 Mary H. Kim                    1.50        0.00       $0.00             $0.00 Review and edit deposition outline for Rucker.
03/19/17 Margaret Mortimer              6.40        6.40     $195.00         $1,248.00 Draft Brad Bryant deposition outline and compile summary
                                                                                       chart.
03/19/17 Tharuni A. Jayaraman           5.60        5.60     $195.00         $1,092.00 Edit deposition outlines.
03/20/17 Daphne T. Ha                   0.20        0.20     $240.00            $48.00 Correspondence regarding upcoming depositions.
03/20/17 Mary H. Kim                    0.50        0.00       $0.00             $0.00 Prepare witness kit for Beckner deposition.
03/20/17 Margaret Mortimer              1.50        1.50     $195.00          $292.50 Edit deposition outlines.
03/20/17 Tharuni A. Jayaraman           0.50        0.50     $195.00            $97.50 Pull exhibits for deposition.
03/21/17 Daphne T. Ha                   1.00        1.00     $240.00          $240.00 Correspondence regarding deposition preparation and Fifth
                                                                                       Request for Production.
03/21/17 Nicole A. La Due               0.70        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       dates for each team attorney.
03/21/17 Thomas H. Cordova              2.00        0.00       $0.00             $0.00 Organize deposition materials.
03/21/17 Margaret Mortimer              1.20        1.20     $195.00          $234.00 Review D. Ho' s Caskey deposition outline, identify
                                                                                       differences in subject matter coverage; internal discussions
                                                                                       regarding same.


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                                                Hours       Rate
 Date               Name             Hours                               Amount        Description
                                               Charged    Requested
03/21/17 Tharuni A. Jayaraman           0.70         0.70    $195.00          $136.50 Call regarding deposition outlines; review deposition outline.

03/22/17 Daphne T. Ha                   1.00        1.00     $240.00          $240.00 Review deposition outlines and meet and confer
                                                                                       correspondence.
03/22/17 Rebecca Kahan Waldman          0.80        0.80     $500.00          $400.00 Correspondence regarding experts, discovery and case
                                                                                       management.
03/22/17 Angela M. Liu                  1.90        1.90     $250.00          $475.00 Continue to oversee discovery.
03/22/17 Mary H. Kim                    3.60        0.00       $0.00             $0.00 Edit outlines for Beckner, Rucker, and Bryant.
03/22/17 Ellen L. Ratigan               2.30        0.00       $0.00             $0.00 Prepare notes and review documents for interview with K.
                                                                                       Baker and counsel regarding EVVE; interview K. Baker and
                                                                                       counsel regarding EVVE.
03/22/17 Margaret Mortimer              6.80        6.80     $195.00         $1,326.00 Update deposition outlines to include questioning on all
                                                                                       identified alternatives to DPOC law in accordance with D.
                                                                                       Ho's edits.
03/22/17 Tharuni A. Jayaraman           5.40        5.40     $195.00         $1,053.00 Update deposition outline.
03/23/17 Daphne T. Ha                   1.50        1.50     $240.00          $360.00 Deposition preparation.
03/23/17 Angela M. Liu                  0.90        0.90     $250.00          $225.00 Review deposition outlines.
03/23/17 Thomas H. Cordova              5.10        0.00       $0.00             $0.00 Coordinate deposition materials, and edit deposition
                                                                                       outlines.
03/23/17 Mary H. Kim                    1.40        0.00       $0.00             $0.00 Edit deposition outline for Beckner.
03/23/17 Margaret Mortimer              1.30        1.30     $195.00          $253.50 Edit B. Bryant deposition outline.
03/23/17 Tharuni A. Jayaraman           4.00        4.00     $195.00          $780.00 Edit deposition outline.
03/24/17 Daphne T. Ha                   1.00        1.00     $240.00          $240.00 Deposition preparation.
03/24/17 Angela M. Liu                  0.50        0.50     $250.00          $125.00 Prepare for depositions.
03/24/17 Thomas H. Cordova              2.20        0.00       $0.00             $0.00 Attend to deposition preparation.
03/24/17 Mary H. Kim                    1.10        0.00       $0.00             $0.00 Edit deposition outline for Beckner.
03/24/17 Ellen L. Ratigan               1.30        0.00       $0.00             $0.00 Confer with A. Liu regarding K. Baker interview and steps
                                                                                       forward; draft interview memorandum regarding K. Baker
                                                                                       witness interview; correspond regarding K. Baker witness
                                                                                       interview and affidavit or deposition strategy.
03/24/17 Margaret Mortimer              0.80        0.80     $195.00          $156.00 Edit B. Bryant deposition outline.
03/24/17 Tharuni A. Jayaraman           1.90        1.90     $195.00          $370.50 Edit deposition outline.
03/25/17 Daphne T. Ha                   4.80        4.80     $240.00         $1,152.00 Deposition preparation.
03/26/17 Daphne T. Ha                   2.10        2.10     $240.00          $504.00 Deposition preparation.
03/27/17 Daphne T. Ha                  13.50       13.50     $240.00         $3,240.00 Deposition preparation and travel for same.


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                                                Hours       Rate
 Date              Name              Hours                               Amount        Description
                                               Charged    Requested
03/27/17 Rebecca Kahan Waldman          1.40         1.40    $500.00          $700.00 Correspondence regarding document productions;
                                                                                      depositions and discovery related motions.
03/27/17 Angela M. Liu                  0.90        0.90     $250.00          $225.00 Review deposition materials.
03/27/17 Thomas H. Cordova              5.20        0.00       $0.00            $0.00 Review request for admission, draft motion to compel, and
                                                                                      review new documents provided by opposing counsel.

03/27/17 Margaret Mortimer              1.70        1.70     $195.00          $331.50 Draft Deposition Subpoena for Tabitha Lehman and Notice
                                                                                      of Deposition; review defendants production of documents.

03/27/17 Tharuni A. Jayaraman           5.40        5.40     $195.00         $1,053.00 Edit RFAs, an MTC, and interrogatories.
03/28/17 Daphne T. Ha                  16.00       16.00     $240.00         $3,840.00 Rucker and Caskey depositions; deposition preparation for
                                                                                       Bryant and Beckner.
03/28/17 Rebecca Kahan Waldman          1.00        1.00     $500.00          $500.00 Correspondence regarding discovery, depositions and
                                                                                       motion practice.
03/28/17 Angela M. Liu                  5.10        5.10     $250.00         $1,275.00 Attend depositions; oversee third-party discovery and expert
                                                                                       deposition set up.
03/28/17 Nicole A. La Due               0.60        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
03/28/17 Thomas H. Cordova              1.50        0.00       $0.00             $0.00 Review documents sent by opposing counsel.
03/28/17 Ellen L. Ratigan               1.80        0.00       $0.00             $0.00 Confer with administrator for NAPHSIS regarding EVVE
                                                                                       requirements; draft summary of the same; correspond
                                                                                       regarding withdrawal of subpoena to Kelly Baker;
                                                                                       correspond regarding expert deposition of Lori Minette.
03/28/17 Margaret Mortimer              4.90        4.90     $195.00          $955.50 Incorporate various edits into final Bryant deposition
                                                                                       outline.
03/28/17 Tharuni A. Jayaraman           1.40        1.40     $195.00          $273.00 Review documents; coordinate deposition logistics.
03/29/17 Daphne T. Ha                  14.00       14.00     $240.00         $3,360.00 Prepare for depositions; Bryant and Beckner depositions;
                                                                                       travel.
03/29/17 Angela M. Liu                  4.10        4.10     $250.00         $1,025.00 Attend depositions and prepare for upcoming expert
                                                                                       depositions.
03/29/17 Margaret Mortimer              0.50        0.50     $195.00            $97.50 Internal discussions to set up deposition rooms.
03/29/17 Tharuni A. Jayaraman           0.70        0.70     $195.00          $136.50 Organized deposition logistics.
03/30/17 Ellen L. Ratigan               0.70        0.00       $0.00             $0.00 Review materials for Lori Minette deposition.



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                                                Hours       Rate
 Date               Name             Hours                               Amount        Description
                                               Charged    Requested
03/30/17 Margaret Mortimer              0.60         0.60    $195.00          $117.00 Scheduled conference rooms for two days of deposition in
                                                                                       Boston.
03/31/17 Ellen L. Ratigan               4.50        0.00       $0.00             $0.00 Review materials for Lori Minette deposition; attend Lori
                                                                                       Minette deposition.
03/31/17 Margaret Mortimer              0.70        0.70     $195.00          $136.50 Scheduled conference video links and conference dial-ins for
                                                                                       the two days of deposition in Boston; email to relevant
                                                                                       parties with pertinent information.
04/04/17 Angela M. Liu                  0.40        0.40     $250.00          $100.00 Strategize regarding issues relating to summary judgment.
04/05/17 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Conf. call with co-counsel.
04/05/17 Daphne T. Ha                   0.40        0.40     $240.00            $96.00 Attend weekly status conference.
04/05/17 Rebecca Kahan Waldman          2.00        2.00     $500.00         $1,000.00 Participate in weekly call; review draft declaration;
                                                                                       correspondence regarding strategy.
04/05/17 Angela M. Liu                  1.40        1.40     $250.00          $350.00 Attend weekly conference call; discuss summary judgment
                                                                                       with D. Ho; discuss upcoming deposition with M. Mortimer.

04/05/17 Nicole A. La Due               0.50        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
04/05/17 Nicole A. La Due               2.70        0.00       $0.00             $0.00 Review transcript materials and begin loading materials to
                                                                                       case database for attorney review and mark up.
04/05/17 Ellen L. Ratigan               3.10        0.00       $0.00             $0.00 Draft affidavit for Kelly Baker; correspond regarding same.

04/05/17 Tharuni A. Jayaraman           1.00        1.00     $195.00          $195.00 Attend team call; review outline for summary judgment
                                                                                      brief.
04/06/17 Rebecca Kahan Waldman          1.00        1.00     $500.00          $500.00 Correspondence regarding strategy for discovery.

04/06/17 Margaret Mortimer              3.70        3.70     $195.00          $721.50 Draft Daubert motion outline for Jesse Richman.
04/07/17 Daphne T. Ha                   0.20        0.20     $240.00           $48.00 Correspondence regarding deposition transcripts and
                                                                                      summary judgment.
04/07/17 Margaret Mortimer              3.70        3.70     $195.00          $721.50 Review Richman expert report, plaintiff's expert reports and
                                                                                      response reports, as well as relevant materials for the
                                                                                      Richman Daubert motion.
04/07/17 Tharuni A. Jayaraman           2.70        2.70     $195.00          $526.50 Review fact deposition transcripts.
04/09/17 Margaret Mortimer              4.60        4.60     $195.00          $897.00 Draft Daubert motion.



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                                                Hours       Rate
 Date               Name             Hours                               Amount        Description
                                               Charged    Requested
04/10/17 Nicole A. La Due               2.00         0.00      $0.00             $0.00 Review deposition transcripts and prepare materials for
                                                                                       loading on CaseNotebook for attorney review and mark up.

04/10/17 Mary H. Kim                    0.20        0.00       $0.00             $0.00 Call to discuss summary judgment brief.
04/10/17 Margaret Mortimer             11.50       11.50     $195.00         $2,242.50 Draft Daubert motion for Richman.
04/10/17 Tharuni A. Jayaraman           0.30        0.30     $195.00            $58.50 Attend team call; related preparation.
04/11/17 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Conference call with co-counsel.
04/11/17 Rebecca Kahan Waldman          0.20        0.20     $500.00          $100.00 Correspondence regarding upcoming deposition.

04/11/17 Angela M. Liu                  0.60        0.60     $250.00          $150.00 Review Richman deposition outline and Daubert outline.
04/11/17 Ellen L. Ratigan               0.30        0.00       $0.00             $0.00 Confer with A. Liu and correspond regarding Tabitha Lehman
                                                                                       deposition.
04/11/17 Margaret Mortimer             12.70       12.70     $195.00         $2,476.50 Drafted deposition questions regarding Richman et al 2014
                                                                                       article.
04/11/17 Tharuni A. Jayaraman           0.40        0.40     $195.00            $78.00 Review deposition transcript.
04/12/17 Angela M. Liu                  0.50        0.50     $250.00          $125.00 Continue to review correspondence regarding expert
                                                                                       depositions.
04/13/17 Margaret Mortimer              0.70        0.70     $195.00          $136.50 Booked travel transportation.
04/14/17 Margaret Mortimer              2.70        2.70     $195.00          $526.50 Research expert deposition questions.
04/17/17 Rebecca Kahan Waldman          0.80        0.80     $500.00          $400.00 Review opinion and correspondence regarding same.

04/17/17 Angela M. Liu                  0.40        0.40     $250.00          $100.00 Strategize regarding motion for sanctions.
04/17/17 Ellen L. Ratigan               0.30        0.00       $0.00            $0.00 Confer and correspond with A. Liu regarding Tabitha Lehman
                                                                                      deposition.
04/17/17 Margaret Mortimer              2.80        2.80     $195.00          $546.00 Prepare for Richman deposition and conduct research on
                                                                                      voting activities based on Age, Gender and Race.
04/18/17 Rebecca Kahan Waldman          0.50        0.50     $500.00          $250.00 Correspondence regarding strategy.

04/18/17 Thomas H. Cordova              2.50        0.00       $0.00            $0.00 Draft fact section for summary judgment.
04/18/17 Ellen L. Ratigan               3.50        0.00       $0.00            $0.00 Review previous deposition and materials for Tabitha
                                                                                      Lehman deposition; coordinate logistics of Tabitha Lehman
                                                                                      deposition.
04/18/17 Margaret Mortimer              2.90        2.90     $195.00          $565.50 Compose memo on asked and answered objections during
                                                                                      deposition.
04/19/17 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Telephone conference with co-counsel.


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                                                Hours       Rate
 Date               Name             Hours                               Amount         Description
                                               Charged    Requested
04/19/17 Rebecca Kahan Waldman          0.50         0.50    $500.00          $250.00 Voters rights case - weekly update call.

04/19/17 Thomas H. Cordova              3.50        0.00       $0.00             $0.00 Draft fact section for summary judgment section.
04/19/17 Mary H. Kim                    2.80        0.00       $0.00             $0.00 Review deposition transcripts of Rucker, Bryant, and Beckner
                                                                                       for summary judgment brief (2.3); Team call (0.5).

04/19/17 Ellen L. Ratigan               3.00        0.00       $0.00            $0.00 Prepare for Tabitha Lehman deposition; correspond
                                                                                      regarding the same.
04/19/17 Tharuni A. Jayaraman           1.00        1.00     $195.00          $195.00 Team call and related follow-up.
04/20/17 Rebecca Kahan Waldman          0.80        0.80     $500.00          $400.00 Revise draft of opposition to motion for stay.

04/20/17 Thomas H. Cordova              0.60        0.00       $0.00             $0.00 Participate and prepare for team call.
04/20/17 Ellen L. Ratigan               4.30        0.00       $0.00             $0.00 Analyze spreadsheets and prepare deposition outline for
                                                                                       Tabitha Lehman deposition; confer with S. Lankin regarding
                                                                                       deposition.
04/20/17 Tharuni A. Jayaraman           0.80        0.80     $195.00          $156.00 Update requests for admission.
04/21/17 Thomas H. Cordova              2.70        0.00       $0.00             $0.00 Draft fact section for summary judgment.
04/21/17 Ellen L. Ratigan               3.20        0.00       $0.00             $0.00 Prepare for and take Tabitha Lehman deposition.
04/21/17 Margaret Mortimer              9.40        9.40     $195.00         $1,833.00 Prepare for and participate (via dial-in) in Jesse Richman
                                                                                       deposition.
04/23/17 Angela M. Liu                  0.40        0.40     $250.00          $100.00 Strategize regarding survey expert report.
04/24/17 Daphne T. Ha                   1.60        1.60     $240.00          $384.00 Review correspondence and filings; correspondence
                                                                                       regarding pretrial exhibits and objections to order.
04/24/17 Mary H. Kim                    3.00        0.00       $0.00             $0.00 Review Caskey deposition transcripts and annotate for
                                                                                       summary judgment briefing purposes.
04/24/17 Ellen L. Ratigan               0.20        0.00       $0.00             $0.00 Correspond regarding T. Lehman deposition exhibits for trial
                                                                                       exhibit marking.
04/24/17 Margaret Mortimer              6.50        6.50     $195.00         $1,267.50 Review deposition exhibits and draft summary of such
                                                                                       documents for the pretrial order; draft fact sections for
                                                                                       motion for summary judgment.
04/25/17 Mary H. Kim                    0.50        0.00       $0.00             $0.00 Review deposition exhibits for draft of pretrial order.
04/25/17 Margaret Mortimer              3.80        3.80     $195.00          $741.00 Draft fact sections for motion for summary judgment.
04/25/17 Tharuni A. Jayaraman           0.60        0.60     $195.00          $117.00 Draft summary judgment facts section.
04/26/17 Angela M. Liu                  0.40        0.40     $250.00          $100.00 Strategize regarding issues relating to summary judgment.



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                                                Hours       Rate
 Date               Name             Hours                               Amount       Description
                                               Charged    Requested
04/26/17 Negin Hadaghian                0.30         0.00      $0.00           $0.00 Review and analyze pleadings relevant to the magistrate
                                                                                     judge's decision on Plaintiffs' motion to compel.
04/26/17 Mary H. Kim                    2.00        0.00       $0.00           $0.00 Draft fact section for partial summary judgment motion.
04/26/17 Tharuni A. Jayaraman           5.00        5.00     $195.00         $975.00 Draft summary judgment fact section.
04/27/17 Daphne T. Ha                   1.00        1.00     $240.00         $240.00 Review potential exhibit list.
04/27/17 Negin Hadaghian                9.10        0.00       $0.00           $0.00 Review and analyze defendants' motion for a review of the
                                                                                     magistrate judge's opinion; researched and analyzed case
                                                                                     law involving defendants' privilege arguments (executive
                                                                                     privilege, attorney-client privilege, deliberative process
                                                                                     privilege); confer with ACLU attorney concerning argument
                                                                                     strategy; draft arguments in opposition to defendants'
                                                                                     privilege claims.
04/27/17 Ellen L. Ratigan               0.40        0.00       $0.00           $0.00 Review and make suggestions regarding draft pretrial order.

04/27/17 Tharuni A. Jayaraman           0.30        0.30     $195.00          $58.50 Review defendant's responses to requests for admission.
04/28/17 Daphne T. Ha                   0.20        0.20     $240.00          $48.00 Correspondence regarding draft opposition.
04/28/17 Negin Hadaghian                2.30        0.00       $0.00           $0.00 Confer with B. Stone concerning citation edits to the draft
                                                                                     opposition; confer with ACLU co-counsel concerning edits;
                                                                                     research and draft 'standard of review,' and other sections
                                                                                     requiring citation support.
04/28/17 Matthew B. Stone               6.70        0.00       $0.00           $0.00 Review and cite check opposition memorandum;
                                                                                     communicate with N. Hadaghian regarding same.
05/01/17 Negin Hadaghian                2.10        0.00       $0.00           $0.00 Assisted ACLU co-counsel with filing matters related to
                                                                                     Plaintiffs' response to Defendants' motion to review the
                                                                                     magistrate judge's April 17, 2017 order.
05/01/17 Margaret Mortimer              4.40        4.40     $195.00         $858.00 Draft Motion for Summary Judgment Fact Section and
                                                                                     review Richman expert report and deposition materials.
05/02/17 Margaret Mortimer              0.60        0.60     $195.00         $117.00 Revise motion for summary judgment fact section.
05/03/17 Mary H. Kim                    1.50        0.00       $0.00           $0.00 Revise motion for summary judgment fact section.
05/03/17 Margaret Mortimer              2.20        2.20     $195.00         $429.00 Revise motion for summary judgment fact section.
05/03/17 Tharuni A. Jayaraman           1.80        1.80     $195.00         $351.00 Revise motion for summary judgment fact section.
05/04/17 Neil A. Steiner                0.30        0.30     $500.00         $150.00 Begin reviewing opinions; email correspondence with client.

05/04/17 Thomas H. Cordova              1.00        0.00       $0.00           $0.00 Draft summary judgment fact section.



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                                                Hours       Rate
 Date              Name              Hours                               Amount        Description
                                               Charged    Requested
05/04/17 Mary H. Kim                    2.80         0.00      $0.00            $0.00 Conduct substantive cite check of fact section of summary
                                                                                      judgment brief.
05/04/17 Margaret Mortimer              3.70        3.70     $195.00          $721.50 Revise motion for summary judgment fact section.
05/04/17 Tharuni A. Jayaraman           0.50        0.50     $195.00           $97.50 Revise motion for summary judgment fact section.
05/05/17 Daphne T. Ha                   0.20        0.20     $240.00           $48.00 Review correspondence.
05/05/17 Nicole A. La Due               0.50        0.00       $0.00            $0.00 Receive and review new pleadings, prepare electronic copy
                                                                                      for review and upload to archive folder.
05/05/17 Thomas H. Cordova              1.50        0.00       $0.00            $0.00 Revise motion for summary judgment fact section.
05/05/17 Ellen L. Ratigan               0.40        0.00       $0.00            $0.00 Review and transmit to case team transcript and exhibits
                                                                                      from Tabitha Lehman deposition.
05/05/17 Margaret Mortimer              0.50        0.50     $195.00           $97.50 Review deposition transcript to identify location of support
                                                                                      for motion for summary judgment fact paragraphs.

05/05/17 Tharuni A. Jayaraman           7.70        7.70     $195.00         $1,501.50 Revise motion for summary judgment fact section.
05/05/17 Delaney Berman                 0.07        0.00       $0.00             $0.00 Assist T. Jayaraman with checking deposition citations.
05/05/17 Delaney Berman                 0.53        0.00       $0.00             $0.00 Assist T. Jayaraman with checking deposition citations.
05/08/17 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Conference call with co-counsel.
05/08/17 Nicole A. La Due               0.60        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       dates for each team attorney.
05/08/17 Mary H. Kim                    1.50        0.00       $0.00             $0.00 Call to discuss summary judgment (0.3); work on summary
                                                                                       judgment brief (1.2).
05/08/17 Ellen L. Ratigan               0.60        0.00       $0.00             $0.00 Status update conference call.
05/08/17 Margaret Mortimer              0.20        0.20     $195.00            $39.00 Call to discuss motion for summary judgment timing.
05/08/17 Tharuni A. Jayaraman           0.90        0.90     $195.00          $175.50 Team call regarding summary judgment argument section;
                                                                                       related preparation and follow-up.
05/09/17 Mary H. Kim                    2.40        0.00       $0.00             $0.00 Review Kansas Voting Rights Report and related summary
                                                                                       judgment opinions to draft summary judgment brief.
05/10/17 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Review opinion; email corresp. with co-counsel.
05/10/17 Nicole A. La Due               0.40        0.00       $0.00             $0.00 Check previous deadlines, review new pleadings, prepare
                                                                                       deadline reminders of upcoming date for each team
                                                                                       attorney.
05/10/17 Thomas H. Cordova              0.50        0.00       $0.00             $0.00 Participate in update call with plaintiff minder.
05/10/17 Negin Hadaghian                0.30        0.00       $0.00             $0.00 Review and analyze order on the motion to review.



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                                                Hours       Rate
 Date               Name             Hours                               Amount       Description
                                               Charged    Requested
05/10/17 Margaret Mortimer              0.30         0.30    $195.00          $58.50 Status meeting call and composed email summary of the
                                                                                     same.
05/10/17 Tharuni A. Jayaraman           0.20        0.20     $195.00          $39.00 Attend team call.
05/11/17 Tharuni A. Jayaraman           0.20        0.20     $195.00          $39.00 Review comments on summary judgment fact section.
05/12/17 Neil A. Steiner                0.40        0.40     $500.00         $200.00 Email correspondence with co-counsel, GR re production,
                                                                                     protective order; email correspondence with co-counsel re
                                                                                     sanctions.
05/13/17 Angela M. Liu                  0.40        0.40     $250.00         $100.00 Strategize regarding motion for sanctions.
05/14/17 Negin Hadaghian                1.90        0.00       $0.00           $0.00 Research matters involving the Kansas Open Records Act
                                                                                     and draft analysis for ACLU and internal review.
05/15/17 Neil A. Steiner                0.80        0.80     $500.00         $400.00 Conference call with co-counsel; continue work on sanctions
                                                                                     issues.
05/15/17 Daphne T. Ha                   1.20        1.20     $240.00         $288.00 Team call and review correspondence regarding meet and
                                                                                     confer.
05/15/17 Rebecca Kahan Waldman          1.00        1.00     $500.00         $500.00 Call regarding strategy for sanctions motion and other
                                                                                     requests for relief.
05/15/17 Angela M. Liu                  0.90        0.90     $250.00         $225.00 Attend conference call regarding motion for sanctions;
                                                                                     strategize regarding motion for sanctions with J. Van
                                                                                     Strander.
05/15/17 Negin Hadaghian                1.60        0.00       $0.00           $0.00 Circulate research on the Kansas Open Records Act to team,
                                                                                     and participate in call with co-counsel concerning litigation
                                                                                     strategy.
05/15/17 James T. Van Strander          3.10        0.00       $0.00           $0.00 Status update call regarding potential discovery motions
                                                                                     (0.9); draft motion to reopen discovery and take deposition
                                                                                     of Kris Kobach (2.2).
05/16/17 Thomas H. Cordova              2.10        0.00       $0.00           $0.00 Draft summary judgment.
05/16/17 Negin Hadaghian                1.40        0.00       $0.00           $0.00 Legal research in support of motion for an order to remove
                                                                                     confidentiality design.
05/16/17 Mary H. Kim                    1.40        0.00       $0.00           $0.00 Draft summary judgment brief.
05/16/17 Margaret Mortimer              5.00        5.00     $195.00         $975.00 Draft part of argument section in motion for summary
                                                                                     judgment opening brief.
05/16/17 James T. Van Strander          4.60        0.00       $0.00           $0.00 Draft motion to reopen discovery for purpose of taking
                                                                                     deposition of Chris Kobach.




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                                             Hours       Rate
 Date              Name           Hours                               Amount        Description
                                            Charged    Requested
05/17/17 Negin Hadaghian             3.20         0.00      $0.00             $0.00 Draft argument for motion for an order removing the
                                                                                    confidentiality designation from Defendant's responsive
                                                                                    documents.
05/17/17 Margaret Mortimer           6.20        6.20     $195.00         $1,209.00 Draft part of the argument section in the motion for
                                                                                    summary judgment opening brief.
05/17/17 James T. Van Strander       0.40        0.00       $0.00             $0.00 Incorporate comments from senior associate into draft
                                                                                    motion to reopen discovery.
05/18/17 Daphne T. Ha                0.20        0.20     $240.00            $48.00 Review draft motion and correspondence.
05/18/17 Thomas H. Cordova           6.20        0.00       $0.00             $0.00 Draft summary judgment motion.
05/18/17 James T. Van Strander       0.60        0.00       $0.00             $0.00 Review comments to draft motion for sanctions.
05/19/17 Mary H. Kim                 4.50        0.00       $0.00             $0.00 Draft summary judgment brief.
05/21/17 Angela M. Liu               0.40        0.40     $250.00          $100.00 Review motion for sanctions.
05/21/17 Thomas H. Cordova           1.40        0.00       $0.00             $0.00 Draft summary judgment motion.
05/21/17 Mary H. Kim                 2.90        0.00       $0.00             $0.00 Draft and edit summary judgment brief.
05/22/17 Neil A. Steiner             1.50        1.50     $500.00          $750.00 Revise motion for sanctions; email correspondence with co-
                                                                                    counsel.
05/22/17 Daphne T. Ha                0.20        0.20     $240.00            $48.00 Review draft sanctions motion.
05/22/17 Angela M. Liu               0.50        0.50     $250.00          $125.00 Continue to review motion for sanctions and
                                                                                    correspondence.
05/22/17 Thomas H. Cordova           4.10        0.00       $0.00             $0.00 Draft summary judgment motion.
05/22/17 Negin Hadaghian             0.50        0.00       $0.00             $0.00 Review and analyze draft motion for sanctions and remove
                                                                                    confidentiality designations.
05/22/17 Mary H. Kim                 2.00        0.00       $0.00             $0.00 Edit summary judgment brief.
05/22/17 Margaret Mortimer           1.00        1.00     $195.00          $195.00 Edit argument section of motion for summary judgment.
05/22/17 Tharuni A. Jayaraman        5.00        5.00     $195.00          $975.00 Draft summary judgment brief.
05/22/17 James T. Van Strander       0.50        0.00       $0.00             $0.00 Review comments to draft motion for sanctions.
05/23/17 Daphne T. Ha                0.20        0.20     $240.00            $48.00 Review correspondence and sanctions brief.
05/23/17 Thomas H. Cordova           3.00        0.00       $0.00             $0.00 Draft summary judgment motion.
05/23/17 Mary H. Kim                 1.50        0.00       $0.00             $0.00 Address issues with proposed stipulations.
05/23/17 Margaret Mortimer           1.20        1.20     $195.00          $234.00 Edit contested stipulated fact section in pretrial order.
05/23/17 Tharuni A. Jayaraman        0.30        0.30     $195.00            $58.50 Work on summary judgment brief.
05/24/17 Daphne T. Ha                0.60        0.60     $240.00          $144.00 Correspondence regarding summary judgment.
05/24/17 Angela M. Liu               0.40        0.40     $250.00          $100.00 Strategize regarding summary judgment projects.
05/24/17 Thomas H. Cordova           2.70        0.00       $0.00             $0.00 Draft summary judgment motion.



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                                                Hours       Rate
 Date              Name              Hours                               Amount        Description
                                               Charged    Requested
05/24/17 Margaret Mortimer              7.00         7.00    $195.00         $1,365.00 Edit fact paragraphs for the motion for summary judgment
                                                                                       including citation checking.
05/24/17 Tharuni A. Jayaraman           0.90        0.90     $195.00          $175.50 Edit pre-trial order.
05/25/17 Daphne T. Ha                   0.30        0.30     $240.00            $72.00 Correspondence regarding summary judgment.
05/25/17 Thomas H. Cordova              2.10        0.00       $0.00             $0.00 Draft summary judgment motion.
05/25/17 Mary H. Kim                    0.90        0.00       $0.00             $0.00 Edit summary judgment brief after first round of comments.

05/25/17 Margaret Mortimer              0.70        0.70     $195.00          $136.50 Pulled documents from discovery production; internal
                                                                                       discussions regarding argument drafting.
05/30/17 Nicole A. La Due               0.90        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney.
05/30/17 Thomas H. Cordova              1.00        0.00       $0.00             $0.00 Draft summary judgment motion.
05/30/17 Margaret Mortimer              7.60        7.60     $195.00         $1,482.00 Edit sections of the SJ Brief Argument section.
05/30/17 Cara Kaplan                    0.50        0.00       $0.00             $0.00 Attend meeting with D. Ha, T. Cordova, and S. Turret
                                                                                       regarding status of Kansas voter ID case.
05/30/17 Cara Kaplan                    0.53        0.00       $0.00             $0.00 Review materials regarding Kansas DMV voter registration
                                                                                       case.
05/31/17 Thomas H. Cordova              4.50        0.00       $0.00             $0.00 Draft summary judgment motion.
05/31/17 Mary H. Kim                    3.90        0.00       $0.00             $0.00 Revise fact section of summary judgment brief.
05/31/17 Margaret Mortimer              5.80        5.80     $195.00         $1,131.00 Revise Uncontroverted Statement of Facts section of SJ
                                                                                       Brief, including incorporation of finalized stipulations.
06/01/17 Margaret Mortimer              1.00        1.00     $195.00          $195.00 Revise Uncontroverted Statement of Facts section of SJ
                                                                                       Brief, including incorporation of finalized stipulations.
06/02/17 Margaret Mortimer              1.50        1.50     $195.00          $292.50 Revise argument sections of the SJ brief.
06/05/17 Thomas H. Cordova              2.20        0.00       $0.00             $0.00 Draft summary judgment motion.
06/05/17 Mary H. Kim                    3.70        0.00       $0.00             $0.00 Revise summary judgment brief after first round of
                                                                                       comments.
06/07/17 Neil A. Steiner                1.00        1.00     $500.00          $500.00 Conference call with co-counsel.
06/07/17 Rebecca Kahan Waldman          1.50        1.50     $500.00          $750.00 Review reply to sanctions motion; weekly update call.

06/07/17 Angela M. Liu                  0.70        0.70     $250.00          $175.00 Attend weekly conference call.
06/07/17 Negin Hadaghian                0.10        0.00       $0.00            $0.00 Attention to correspondence concerning defendants'
                                                                                      opposition brief.
06/07/17 Mary H. Kim                    1.00        0.00       $0.00            $0.00 Team call.


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                                                Hours       Rate
 Date              Name              Hours                               Amount       Description
                                               Charged    Requested
06/07/17 Margaret Mortimer              0.90         0.90    $195.00         $175.50 Attend weekly status conference call.
06/07/17 Tharuni A. Jayaraman           1.00         1.00    $195.00         $195.00 Team call.
06/07/17 James T. Van Strander          1.10         0.00      $0.00           $0.00 Review defendants' reply brief in response to motion for
                                                                                     sanctions.
06/08/17 Daphne T. Ha                   0.30        0.30     $240.00          $72.00 Review summary judgment draft.
06/08/17 Thomas H. Cordova              0.40        0.00       $0.00           $0.00 Draft summary judgment motion.
06/08/17 Tharuni A. Jayaraman           0.80        0.80     $195.00         $156.00 Edit summary judgment brief.
06/09/17 Thomas H. Cordova              0.80        0.00       $0.00           $0.00 Prepare for attend team regarding new assignments.
06/09/17 Negin Hadaghian                0.60        0.00       $0.00           $0.00 Confer with ACLU co-counsel concerning response brief.
06/09/17 Janet Peros                    0.50        0.00       $0.00           $0.00 Obtained Kansas voting statistics from Secretary of State
                                                                                     website.
06/10/17 Mary H. Kim                    1.90        0.00       $0.00           $0.00 Edit summary judgment brief after second round of
                                                                                     comments.
06/12/17 Margaret Mortimer              3.40        3.40     $195.00         $663.00 Review and edit motion for summary judgment.
06/12/17 Tharuni A. Jayaraman           0.50        0.50     $195.00          $97.50 Edit summary judgment brief.
06/13/17 Daphne T. Ha                   0.20        0.20     $240.00          $48.00 Review pre-trial order.
06/13/17 Negin Hadaghian                2.60        0.00       $0.00           $0.00 Research legal matters concerning Defendant's
                                                                                     confidentiality designation and begin drafting section of
                                                                                     reply brief.
06/13/17 Tharuni A. Jayaraman           0.30        0.30     $195.00          $58.50 Pulled documents for summary judgment brief.
06/14/17 Neil A. Steiner                0.50        0.50     $500.00         $250.00 Conference call with co-counsel.
06/14/17 Daphne T. Ha                   0.60        0.60     $240.00         $144.00 Attend team meeting.
06/14/17 Rebecca Kahan Waldman          1.00        1.00     $500.00         $500.00 Weekly call; correspondence with team regarding
                                                                                     outstanding tasks.
06/14/17 Thomas H. Cordova              1.00        0.00       $0.00           $0.00 Prepare for and attend team meeting with ACLU regarding
                                                                                     next steps.
06/14/17 Negin Hadaghian                3.60        0.00       $0.00           $0.00 Research and draft section on removing the confidentiality
                                                                                     designation in sanctions motion.
06/14/17 Mary H. Kim                    0.40        0.00       $0.00           $0.00 Team call.
06/14/17 Margaret Mortimer              3.10        3.10     $195.00         $604.50 Attend status conference call; review materials for Richman
                                                                                     Daubert outline and updated outline accordingly, including
                                                                                     identification of areas for additional content in light of
                                                                                     motion for summary judgment.
06/14/17 Tharuni A. Jayaraman           0.30        0.30     $195.00          $58.50 Team call.



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                                             Hours       Rate
 Date               Name          Hours                               Amount         Description
                                            Charged    Requested
06/14/17 Cara Kaplan                 0.70         0.00      $0.00             $0.00 Attend conference call about status of motion for summary
                                                                                    judgment.
06/15/17 Negin Hadaghian             5.60        0.00       $0.00             $0.00 Research law regarding confidentiality and draft section for
                                                                                    Reply brief on motion for sanctions.
06/15/17 Margaret Mortimer           0.50        0.50     $195.00            $97.50 Research federal privacy law, Wisconsin privacy law, and
                                                                                    Wisconsin case law on use of confidential information
                                                                                    disclosed pursuant to a protective order in the solicitation of
                                                                                    plaintiffs; compose summary and analysis email.
06/16/17 Negin Hadaghian             3.80        0.00       $0.00             $0.00 Confer with O. Danjuma of ACLU concerning upcoming
                                                                                    motion filing; incorporate edits to draft brief.
06/16/17 Margaret Mortimer           5.80        5.80     $195.00         $1,131.00 Research federal privacy law, Wisconsin privacy law, and
                                                                                    Wisconsin case law on use of confidential information
                                                                                    disclosed pursuant to a protective order in the solicitation of
                                                                                    plaintiffs; compose summary and analysis email.
06/18/17 Negin Hadaghian             1.10        0.00       $0.00             $0.00 Legal research and drafting in support of motion.
06/19/17 Neil A. Steiner             0.50        0.50     $500.00          $250.00 Review revised drafts of sanctions reply; email
                                                                                    correspondence with co-counsel.
06/19/17 Daphne T. Ha                0.60        0.60     $240.00          $144.00 Review draft summary judgment brief.
06/19/17 Rebecca Kahan Waldman       3.50        3.50     $500.00         $1,750.00 Revise brief.

06/19/17 Angela M. Liu               0.50        0.50     $250.00          $125.00 Review motion for sanctions.
06/19/17 Negin Hadaghian             0.40        0.00       $0.00            $0.00 Review and analyze press concerning filed motions and
                                                                                   Kobach statements.
06/20/17 Neil A. Steiner             1.50        1.50     $500.00          $750.00 Revise sanctions reply brief; meet with R. Waldman; email
                                                                                   correspondence with co-counsel.
06/20/17 Daphne T. Ha                0.50        0.50     $240.00          $120.00 Review sanctions reply brief.
06/20/17 Rebecca Kahan Waldman       1.00        1.00     $500.00          $500.00 Correspondence regarding sanctions motion and revised
                                                                                   draft of same.
06/20/17 Angela M. Liu               0.50        0.50     $250.00          $125.00 Review and revise reply in support of motion for sanctions.

06/20/17 Negin Hadaghian             1.30        0.00       $0.00            $0.00 Research and draft analysis of law on public access to
                                                                                   judicial records for co-counsel's review.
06/20/17 Mary H. Kim                 2.50        0.00       $0.00            $0.00 Review and edit summary judgment brief.
06/20/17 Margaret Mortimer           1.10        1.10     $195.00          $214.50 Review and summarize the Drivers Privacy Protection Act
                                                                                   and associated case law.


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                                             Hours       Rate
 Date               Name          Hours                               Amount         Description
                                            Charged    Requested
06/21/17 Thomas H. Cordova           0.30         0.00      $0.00             $0.00 Participate in client update call, and review recent draft of
                                                                                    the summary judgment motion.
06/21/17 Negin Hadaghian             0.20        0.00       $0.00             $0.00 Confer with O. Danjuma.
06/21/17 Mary H. Kim                 0.70        0.00       $0.00             $0.00 Update client on case status.
06/22/17 Rebecca Kahan Waldman       3.00        3.00     $500.00         $1,500.00 Revise summary judgment brief.

06/23/17 Neil A. Steiner             0.30        0.30     $500.00          $150.00 Review sanctions opinion; email correspondence with co-
                                                                                   counsel regarding same.
06/23/17 Daphne T. Ha                0.10        0.10     $240.00           $24.00 Review sanctions order.
06/23/17 Negin Hadaghian             0.30        0.00       $0.00            $0.00 Review and analyze order on motion for sanctions.
06/26/17 Rebecca Kahan Waldman       0.70        0.70     $500.00          $350.00 Correspondence regarding deposition.

06/26/17 Angela M. Liu               0.20        0.20     $250.00           $50.00 Review correspondence relating to deposition.
06/26/17 Negin Hadaghian             0.10        0.00       $0.00            $0.00 Review press coverage of sanctions decision.
06/27/17 Daphne T. Ha                0.20        0.20     $240.00           $48.00 Correspondence with T. Cordova; review class certification
                                                                                   documents.
06/27/17 Thomas H. Cordova           2.10        0.00       $0.00            $0.00 Prepare for and participate in meeting laying out new
                                                                                   assignments for summer associates.
06/28/17 Neil A. Steiner             0.50        0.50     $500.00          $250.00 Conference call with co-counsel; email correspondence with
                                                                                   co-counsel, defendants re motion, schedule, deposition.

06/28/17 Angela M. Liu               0.50        0.50     $250.00          $125.00 Attend conference call.
06/28/17 Nicole A. La Due            0.70        0.00       $0.00            $0.00 Receive and review new pleadings, convert, upload to
                                                                                   electronic file and prepare deadline reminders of upcoming
                                                                                   dates for each team attorney.
06/28/17 Thomas H. Cordova           1.90        0.00       $0.00            $0.00 Participate in team call and prepare for Kobach deposition.

06/28/17 Mary H. Kim                 0.30        0.00       $0.00            $0.00 Team call.
06/29/17 Rebecca Kahan Waldman       0.80        0.80     $500.00          $400.00 Review filings, correspond regarding schedule and strategy.

06/29/17 Thomas H. Cordova           1.00        0.00       $0.00            $0.00 Prepare for Kobach deposition.
06/30/17 Neil A. Steiner             0.70        0.70     $500.00          $350.00 Review and revise opposition to motion for reconsideration;
                                                                                   email correspondence with co-counsel.
06/30/17 Angela M. Liu               0.50        0.50     $250.00          $125.00 Review and revise memorandum and response for motion
                                                                                   for reconsideration.


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                                                 Hours       Rate
 Date               Name              Hours                               Amount        Description
                                                Charged    Requested
07/02/17 Neil A. Steiner                 0.40         0.40    $500.00          $200.00 Review articles, documents, preparation for deposition.
07/05/17 Neil A. Steiner                 0.40         0.40    $500.00          $200.00 Review opinion; email correspondence with co-counsel
                                                                                       regarding same; review Kobach objections to magistrate
                                                                                       recommendations.
07/05/17 Daphne T. Ha                    0.20        0.20     $240.00           $48.00 Review correspondence and filing.
07/05/17 Nicole A. La Due                1.10        0.00       $0.00            $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       dates for each team attorney.
07/07/17 Neil A. Steiner                 0.30        0.30     $500.00          $150.00 Review additional production and email correspondence
                                                                                       with same.
07/07/17 Rebecca Kahan Waldman           0.50        0.50     $500.00          $250.00 Correspondence regarding recently produced documents.

07/07/17 Thomas H. Cordova               0.30        0.00       $0.00             $0.00 Preparation related to deposition of Kobach.
07/09/17 Neil A. Steiner                 2.50        2.50     $500.00         $1,250.00 Review and revise summary judgment brief; email
                                                                                        correspondence with D. Ho re same.
07/11/17 Neil A. Steiner                 0.40        0.40     $500.00          $200.00 Email corresp. with co-counsel; work on summary judgment
                                                                                        issues.
07/11/17 Katarina V. McClellan           0.50        0.00       $0.00             $0.00 Cite check, shepardize, quote check response in opposition
                                                                                        to Rule 72(a).
07/11/17 Negin Hadaghian                 0.10        0.00       $0.00             $0.00 Attention to correspondence.
07/12/17 Rebecca Kahan Waldman           2.00        2.00     $500.00         $1,000.00 Review summary judgment brief.

07/13/17 Daphne T. Ha                    2.80        2.80     $240.00          $672.00 Review summary judgment brief; team lunch meeting.
07/13/17 Rebecca Kahan Waldman           3.50        3.50     $500.00         $1,750.00 Team lunch meeting; review summary judgment brief.

07/13/17 Angela M. Liu                   1.30        1.30     $250.00          $325.00 Review motion for summary judgment.
07/13/17 Thomas H. Cordova               1.00        0.00       $0.00            $0.00 Preparation for Kobach deposition.
07/13/17 Mary H. Kim                     2.50        0.00       $0.00            $0.00 Edit summary judgment brief and finalize for filing.
07/14/17 Neil A. Steiner                 0.50        0.50     $500.00          $250.00 Review and revise motion to unseal; email correspondence
                                                                                       with co-counsel.
07/14/17 Daphne T. Ha                    0.30        0.30     $240.00           $72.00 Review summary judgment brief.
07/15/17 Neil A. Steiner                 0.20        0.20     $500.00          $100.00 Review articles; email correspondence with co-counsel.
07/17/17 Thomas H. Cordova               0.60        0.00       $0.00            $0.00 Preparation for Kobach deposition.
07/17/17 Mary H. Kim                     0.80        0.00       $0.00            $0.00 Update pleadings index and internal files.
07/20/17 Daphne T. Ha                    0.40        0.40     $240.00           $96.00 Correspondence regarding deposition preparation.


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                                                Hours       Rate
 Date               Name             Hours                               Amount        Description
                                               Charged    Requested
07/20/17 Thomas H. Cordova              1.00         0.00      $0.00            $0.00 Discuss Kobach deposition preparation.
07/20/17 Mary H. Kim                    1.00         0.00      $0.00            $0.00 Prepare for deposition of Kobach.
07/24/17 Neil A. Steiner                0.40         0.40    $500.00          $200.00 Preparation for Kobach dep and email correspondence
                                                                                      regarding same.
07/24/17 Thomas H. Cordova              0.20        0.00       $0.00            $0.00 Preparation for Kobach deposition.
07/25/17 Jefferson Holder               0.40        0.00       $0.00            $0.00 Docketing/review of case information update into the
                                                                                      MA3000 Case Management Docketing System and
                                                                                      Monitoring (case) status of pending matters; distribution of
                                                                                      filed legal documents to listed attorneys. (Memo and Order).

07/25/17 Negin Hadaghian                0.20        0.00       $0.00            $0.00 Review and analyze order.
07/26/17 Neil A. Steiner                1.00        1.00     $500.00          $500.00 Conference call with co-counsel; preparation for Kobach
                                                                                      deposition; email correspondence with T. Cordova; meet
                                                                                      with T. Cordova.
07/26/17 Daphne T. Ha                   0.70        0.70     $240.00          $168.00 Team call.
07/26/17 Rebecca Kahan Waldman          1.00        1.00     $500.00          $500.00 Correspondence regarding strategy.

07/26/17 Angela M. Liu                  0.60        0.60     $250.00          $150.00 Attend conference call.
07/26/17 Tiffany Lewis                  1.30        0.00       $0.00             $0.00 Preparation of exhibits for Kobach deposition.
07/26/17 Thomas H. Cordova              2.20        0.00       $0.00             $0.00 Participate in team meeting regarding Kobach deposition,
                                                                                       and preparation for Kobach deposition.
07/26/17 Mary H. Kim                    0.70        0.00       $0.00             $0.00 Weekly status conference call.
07/26/17 Margaret Mortimer              0.60        0.60     $195.00          $117.00 Weekly status conference call.
07/26/17 Tharuni A. Jayaraman           0.80        0.80     $195.00          $156.00 Weekly status conference call; review outline for reply.
07/27/17 Daphne T. Ha                   0.10        0.10     $240.00            $24.00 Correspondence with T. Cordova regarding deposition
                                                                                       preparation.
07/27/17 Thomas H. Cordova              2.10        0.00       $0.00             $0.00 Participate in the team meeting regarding Kobach
                                                                                       deposition, and prepare for Kobach deposition.
07/27/17 Mary H. Kim                    1.10        0.00       $0.00             $0.00 Work on summary judgment reply brief.
07/28/17 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Preparation for Kobach deposition; email correspondence
                                                                                       with co-counsel.
07/28/17 Thomas H. Cordova              1.10        0.00       $0.00             $0.00 Preparation for Kobach deposition.
07/30/17 Neil A. Steiner                2.50        2.50     $500.00         $1,250.00 Preparation for Kobach deposition.
07/31/17 Neil A. Steiner                1.00        1.00     $500.00          $500.00 Email correspondence with co-counsel regarding deposition
                                                                                       preparation.


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                                                Hours       Rate
 Date               Name             Hours                               Amount         Description
                                               Charged    Requested
07/31/17 Angela M. Liu                  0.50         0.50    $250.00          $125.00 Review issues relating to expert depositions.
07/31/17 Thomas H. Cordova              1.50         0.00      $0.00            $0.00 Attend meeting to discuss Reply brief to Motion for
                                                                                      summary judgment, and attend to the preparation of the
                                                                                      Kobach deposition.
07/31/17 Mary H. Kim                    0.40        0.00       $0.00            $0.00 Call to discuss summary judgment reply brief.
07/31/17 Margaret Mortimer              2.40        2.40     $195.00          $468.00 Review Motion for Summary Judgment outline and revisions
                                                                                      to Richman Daubert outline in preparation for status call.

07/31/17 Tharuni A. Jayaraman           0.50        0.50     $195.00            $97.50 Team call; review notes for reply to response to summary
                                                                                       judgment brief.
08/01/17 Neil A. Steiner                1.50        1.50     $500.00          $750.00 Preparation for deposition; email correspondence with co-
                                                                                       counsel.
08/01/17 Thomas H. Cordova              0.70        0.00       $0.00             $0.00 Prepare for Kobach deposition.
08/02/17 Neil A. Steiner                6.50        6.50     $500.00         $3,250.00 Review emergency petition or stay; review order; prep for
                                                                                       Kobach deposition; telephone conversation with D. Ho;
                                                                                       attempted travel to KS; review and revise deposition outline
                                                                                       and email correspondence with D. Ho, OD.
08/02/17 Thomas H. Cordova              1.20        0.00       $0.00             $0.00 Prepare for Kobach deposition.
08/02/17 Margaret Mortimer              3.00        3.00     $195.00          $585.00 Review of Daubert motion and Summary Judgment Reply,
                                                                                       outlines in preparation for drafting Daubert motion.
08/03/17 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Email correspondence with co-counsel.
08/03/17 Thomas H. Cordova              1.20        0.00       $0.00             $0.00 Assist in the preparation of Kobach's deposition.
08/03/17 Mary H. Kim                    0.70        0.00       $0.00             $0.00 Assist in preparation for Kobach deposition.
08/03/17 Margaret Mortimer              1.00        1.00     $195.00          $195.00 Attention to Daubert motion drafting.
08/04/17 Mary H. Kim                    2.40        0.00       $0.00             $0.00 Conduct legal research on adequacy of relief for summary
                                                                                       judgment reply brief.
08/04/17 Margaret Mortimer              3.00        3.00     $195.00          $585.00 Review of the Defendant's response for Summary
                                                                                       Judgement.
08/05/17 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Begin reviewing defendant's summary judgment brief.
08/06/17 Neil A. Steiner                1.50        1.50     $500.00          $750.00 Review Kobach transcript; continue reviewing summary
                                                                                       judgment brief.
08/06/17 Mary H. Kim                    1.80        0.00       $0.00             $0.00 Review Plaintiff's summary judgment opposition and
                                                                                       strategize outline for reply brief.
08/07/17 Daphne T. Ha                   1.80        1.80     $240.00          $432.00 Research von Spakovsky Daubert issues.



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                                                Hours       Rate
 Date               Name             Hours                               Amount        Description
                                               Charged    Requested
08/07/17 Mary H. Kim                    4.00         0.00      $0.00            $0.00 Work on fact section of summary judgment reply brief (3.7);
                                                                                      call to discuss summary judgment reply brief (0.3).
08/07/17 Margaret Mortimer              3.10        3.10     $195.00          $604.50 Draft Daubert Motion for Richman.
08/07/17 Tharuni A. Jayaraman           1.10        1.10     $195.00          $214.50 Team call; review rough draft of Kobach deposition
                                                                                      transcript.
08/08/17 Daphne T. Ha                   0.20        0.20     $240.00           $48.00 Correspondence with S. Lakin regarding von Spakovsky
                                                                                      Daubert.
08/08/17 Thomas H. Cordova              3.10        0.00       $0.00            $0.00 Draft reply to Summary Judgment Motion.
08/08/17 Margaret Mortimer              4.40        4.40     $195.00          $858.00 Drafted Daubert motion for Richman.
08/08/17 Tharuni A. Jayaraman           3.40        3.40     $195.00          $663.00 Edit response to defendant's reply to summary judgment
                                                                                      brief.
08/09/17 Neil A. Steiner                1.00        1.00     $500.00          $500.00 Continue work on summary judgment, motion to unseal
                                                                                      issues; conference call with co-counsel.
08/09/17 Daphne T. Ha                   0.60        0.60     $240.00          $144.00 Team call.
08/09/17 Angela M. Liu                  0.50        0.50     $250.00          $125.00 Attend conference call.
08/09/17 Thomas H. Cordova              3.20        0.00       $0.00            $0.00 Prepare for and participate in team call regarding next steps
                                                                                      (1.0); draft reply motion for summary judgment (2.2).

08/09/17 Mary H. Kim                    0.60        0.00       $0.00             $0.00 Team call.
08/09/17 Margaret Mortimer              4.80        4.87     $195.00          $949.65 Draft Daubert motion for Richman and had status
                                                                                       conference call.
08/09/17 Tharuni A. Jayaraman           3.50        3.50     $195.00          $682.50 Edit reply to defendant's response to motion for summary
                                                                                       judgment.
08/10/17 Thomas H. Cordova              2.00        0.00       $0.00             $0.00 Draft reply for motion for summary judgment.
08/10/17 Margaret Mortimer             12.30       12.30     $195.00         $2,398.50 Draft Daubert motion.
08/11/17 Daphne T. Ha                   2.10        2.10     $240.00          $504.00 Revise Richman Daubert; draft van Spakovsky Daubert.
08/11/17 Thomas H. Cordova              1.80        0.00       $0.00             $0.00 Draft reply to motion for summary judgment.
08/11/17 Margaret Mortimer              8.60        8.60     $195.00         $1,677.00 Draft Daubert Motion for Jesse Richman.
08/11/17 Margaret Mortimer              8.50        8.50     $195.00         $1,657.50 Draft Daubert Motion for Jesse Richman.
08/11/17 Tharuni A. Jayaraman           6.30        6.30     $195.00         $1,228.50 Edit Daubert motion.
08/12/17 Thomas H. Cordova              2.60        0.00       $0.00             $0.00 Draft reply to Motion for Summary Judgment.
08/14/17 Thomas H. Cordova              3.70        0.00       $0.00             $0.00 Draft reply to Motion for Summary Judgment.
08/14/17 Mary H. Kim                    1.00        0.00       $0.00             $0.00 Draft fact section of summary judgment reply brief.
08/14/17 Tharuni A. Jayaraman           2.30        2.30     $195.00          $448.50 Draft fact section of summary judgment reply brief.
08/15/17 Daphne T. Ha                   1.10        1.10     $240.00          $264.00 Draft Daubert motion.


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                                                Hours       Rate
 Date              Name              Hours                               Amount        Description
                                               Charged    Requested
08/15/17 Thomas H. Cordova              2.80         0.00      $0.00             $0.00 Draft reply to motion for summary judgment.
08/15/17 Mary H. Kim                    4.10         0.00      $0.00             $0.00 Draft fact section of summary judgment reply brief .
08/15/17 Margaret Mortimer              8.80         8.85    $195.00         $1,725.75 Draft Richman section of the Motion for Summary Judgment
                                                                                       Reply.
08/15/17 Tharuni A. Jayaraman           5.10        5.10     $195.00          $994.50 Draft reply to motion for summary judgment.
08/16/17 Neil A. Steiner                0.20        0.20     $500.00          $100.00 Phone conference with A. Liu.
08/16/17 Daphne T. Ha                   4.70        4.70     $240.00         $1,128.00 Draft von Spakovsky Daubert motion.
08/16/17 Thomas H. Cordova              3.90        0.00       $0.00             $0.00 Draft reply motion for summary judgment.
08/16/17 Mary H. Kim                    6.50        0.00       $0.00             $0.00 Draft summary judgment reply brief.
08/16/17 Margaret Mortimer              7.00        7.00     $195.00         $1,365.00 Incorporate comments to Richman Daubert Motion and edit
                                                                                       document.
08/16/17 Tharuni A. Jayaraman           9.00        9.00     $195.00         $1,755.00 Edit summary judgment reply.
08/17/17 Daphne T. Ha                   0.20        0.20     $240.00            $48.00 Review correspondence and Richman draft.
08/17/17 Tharuni A. Jayaraman           1.50        1.50     $195.00          $292.50 Edit Summary Judgment Reply.
08/18/17 Daphne T. Ha                   1.30        1.30     $240.00          $312.00 Revise draft Daubert motion to exclude von Spakovsky.
08/19/17 Mary H. Kim                    1.80        0.00       $0.00             $0.00 Review and edit Daubert motion for Plaintiff's expert.
08/20/17 Thomas H. Cordova              1.50        0.00       $0.00             $0.00 Edit and revise reply to motion for summary judgment.
08/21/17 Bernard G. Powell              2.50        0.00       $0.00             $0.00 Discuss case with D. Ha; prepare Draft Notice and
                                                                                       Declaration for Attorney Review; review Exhibits.
08/21/17 Daphne T. Ha                   0.40        0.40     $240.00            $96.00 Correspondence with B. Powell regarding supporting papers
                                                                                       for von Spakovsky motion.
08/21/17 Angela M. Liu                  1.00        1.00     $250.00          $250.00 Review summary judgment and Daubert briefing.
08/21/17 Thomas H. Cordova              1.40        0.00       $0.00             $0.00 Draft reply motion for summary judgment.
08/21/17 Mary H. Kim                    2.50        0.00       $0.00             $0.00 Edit summary judgment reply brief.
08/21/17 Tharuni A. Jayaraman           1.30        1.30     $195.00          $253.50 Edit summary judgment reply brief.
08/22/17 Neil A. Steiner                0.80        0.80     $500.00          $400.00 Review and revise summary judgment reply and email
                                                                                       correspondence with co-counsel re same.
08/22/17 Bernard G. Powell              2.50        0.00       $0.00             $0.00 Review and revise brief - Cite Check and Key Cite.
08/22/17 Daphne T. Ha                   1.10        1.10     $240.00          $264.00 Correspondence regarding Richman Daubert papers; review
                                                                                       summary judgment opposition.
08/22/17 Angela M. Liu                  2.00        2.00     $250.00          $500.00 Continue to review, discuss, and revise summary judgment
                                                                                       reply.
08/22/17 Thomas H. Cordova              3.00        0.00       $0.00             $0.00 Draft and revise reply motion for summary judgment.
08/22/17 Margaret Mortimer              4.60        4.60     $195.00          $897.00 Edit Motion for Summary Judgement and Richman Daubert.



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                                                Hours       Rate
 Date               Name             Hours                               Amount         Description
                                               Charged    Requested
08/22/17 Tharuni A. Jayaraman           6.70         6.70    $195.00         $1,306.50 Edit summary judgment reply.
08/23/17 Bernard G. Powell              6.70         0.00      $0.00             $0.00 Review and Revise Brief - Cite Check and Key Cite.
08/23/17 Daphne T. Ha                   1.30         1.30    $240.00          $312.00 Revise von Spakovsky Daubert motion and correspondence
                                                                                       regarding same.
08/23/17 Thomas H. Cordova              2.20        0.00       $0.00             $0.00 Draft reply motion for summary judgment.
08/23/17 Margaret Mortimer              1.40        1.40     $195.00          $273.00 Incorporate edits to motion for summary judgment and
                                                                                       Richman Daubert motion.
08/23/17 Tharuni A. Jayaraman           1.00        1.00     $195.00          $195.00 Edit summary judgment reply.
08/24/17 Bernard G. Powell              3.10        0.00       $0.00             $0.00 Review and Revise Brief - Cite Check and Key Cite.
08/24/17 Daphne T. Ha                   0.40        0.40     $240.00            $96.00 Correspondence regarding Daubert motions.
08/24/17 Thomas H. Cordova              0.60        0.00       $0.00             $0.00 Review and revise Daubert motion.
08/24/17 Margaret Mortimer              9.00        9.00     $195.00         $1,755.00 Preparation of Daubert motion for filing, including cite-
                                                                                       checking, exhibit formatting, declaration and notice editing.

08/24/17 Tharuni A. Jayaraman           1.00        1.00     $195.00          $195.00 Proofread Daubert motion.
08/25/17 Daphne T. Ha                   2.80        2.80     $240.00          $672.00 Revise and finalize von Spakovsky motion papers.
08/25/17 Thomas H. Cordova              1.70        0.00       $0.00             $0.00 Review and revise Daubert motion.
08/28/17 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Review motion to dismiss appeal and response; email
                                                                                       corresp. with co-counsel.
08/29/17 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Email corresp. with co-counsel re schedule, in limine motion
                                                                                       issues.
08/30/17 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Review Kobach interview; email corresp with co-counsel.
09/05/17 Daphne T. Ha                   0.10        0.10     $240.00            $24.00 Correspondence regarding reply Daubert brief.
09/06/17 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Email correspondence with co-counsel; analyze
                                                                                       confidentiality issue.
09/06/17 Angela M. Liu                  0.50        0.50     $250.00          $125.00 Strategize regarding overview of case.
09/07/17 Rebecca Kahan Waldman          2.50        2.50     $500.00         $1,250.00 Review testimony and correspondence regarding discovery
                                                                                       issues.
09/07/17 Angela M. Liu                  0.30        0.30     $250.00            $75.00 Review issues relating to deposition.
09/12/17 Daphne T. Ha                   0.10        0.10     $240.00            $24.00 Correspondence regarding Hans van Spakovsky reply brief.

09/13/17 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Conference call with co-counsel.
09/13/17 Rebecca Kahan Waldman          0.30        0.30     $500.00          $150.00 Conference call with co-counsel.

09/13/17 Angela M. Liu                  0.30        0.30     $250.00            $75.00 Conference call with co-counsel.


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                                                Hours       Rate
 Date              Name              Hours                               Amount        Description
                                               Charged    Requested
09/15/17 Bernard G. Powell              0.50         0.00      $0.00             $0.00 Review files on docket and download same; prepare binder
                                                                                       for attorney review.
09/15/17 Daphne T. Ha                   0.50        0.50     $240.00          $120.00 Review von Spakovsky opposition brief.
09/15/17 Margaret Mortimer              4.00        4.00     $195.00          $780.00 Review defendant's response to Richman Daubert and began
                                                                                       drafting response outline.
09/18/17 Daphne T. Ha                   1.00        1.00     $240.00          $240.00 Calls regarding Daubert reply brief.
09/18/17 Angela M. Liu                  0.30        0.30     $250.00            $75.00 Strategize regarding issues relating to correspondence over
                                                                                       Gmail account.
09/18/17 Margaret Mortimer              7.80        7.80     $195.00         $1,521.00 Prepare for and participate in call to discuss Richman
                                                                                       Daubert response; draft Daubert response.
09/18/17 Tharuni A. Jayaraman           1.00        1.00     $195.00          $195.00 Review defendant's response to von Spakovsky Daubert
                                                                                       motion; follow-up with D. Ha regarding same.
09/19/17 Daphne T. Ha                   0.60        0.60     $240.00          $144.00 Draft Richman Daubert reply.
09/19/17 Margaret Mortimer              3.40        3.40     $195.00          $663.00 Draft Richman Daubert reply.
09/20/17 Daphne T. Ha                   0.20        0.20     $240.00            $48.00 Correspondence regarding Richman reply.
09/20/17 Rebecca Kahan Waldman          0.50        0.50     $500.00          $250.00 Weekly call and related communications.

09/20/17 Margaret Mortimer              5.90        5.90     $195.00         $1,150.50 Draft Daubert reply and discussions regarding same.
09/21/17 Daphne T. Ha                   5.10        5.10     $240.00         $1,224.00 Draft von Spakovsky reply brief.
09/21/17 Margaret Mortimer              6.50        6.50     $195.00         $1,267.50 Draft Richman Daubert Reply.
09/22/17 Daphne T. Ha                   4.00        4.00     $240.00          $960.00 Draft Richman Daubert Reply.
09/22/17 Margaret Mortimer              5.50        5.50     $195.00         $1,072.50 Draft Richman Daubert Reply.
09/22/17 Tharuni A. Jayaraman          12.00       12.00     $195.00         $2,340.00 Draft Richman Daubert Reply.
09/24/17 Margaret Mortimer              8.00        8.00     $195.00         $1,560.00 Draft Richman Daubert Reply.
09/25/17 Daphne T. Ha                   1.40        1.40     $240.00          $336.00 Revise draft reply brief and correspondence regarding same.

09/25/17 Margaret Mortimer              9.00        9.00     $195.00         $1,755.00 Draft Richman Daubert reply.
09/25/17 Tharuni A. Jayaraman           3.90        3.90     $195.00          $760.50 Edit reply to response to Daubert motion.
09/26/17 Daphne T. Ha                   0.20        0.20     $240.00            $48.00 Correspondence regarding von Spakovsky reply brief and
                                                                                       declaration.
09/26/17 Tharuni A. Jayaraman           0.60        0.60     $195.00          $117.00 Draft declaration for reply to Daubert response.
09/29/17 Tharuni A. Jayaraman           2.00        2.00     $195.00          $390.00 Edit Daubert motion.
10/02/17 David W. Lang                  0.10        0.00       $0.00             $0.00 Research for D. Berman to obtain House Judiciary
                                                                                       Committee hearing transcript on Protecting America's
                                                                                       Harvest from 2010.


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                                                Hours       Rate
 Date               Name             Hours                               Amount         Description
                                               Charged    Requested
10/02/17 Rebecca Kahan Waldman          1.00         1.00    $500.00          $500.00 Revise letter.

10/02/17 Margaret Mortimer              7.30        7.30     $195.00         $1,423.50 Edit Richman Reply Daubert Draft.
10/02/17 Tharuni A. Jayaraman           6.00        6.00     $195.00         $1,170.00 Edit Daubert motion.
10/02/17 Delaney Berman                 4.20        0.00       $0.00             $0.00 Assist T. Jayaraman with research for preparation of Daubert
                                                                                       motion.
10/03/17 Rebecca Kahan Waldman          0.80        0.80     $500.00          $400.00 Review letter.

10/03/17 Margaret Mortimer              1.00        1.00     $195.00          $195.00 Review of Defendant's Reply Motion for Summary
                                                                                      Judgment.
10/04/17 Bernard G. Powell              3.60        0.00       $0.00            $0.00 Review and revise brief - Cite Check and Key Cite.
10/04/17 Mary H. Kim                    2.20        0.00       $0.00            $0.00 Edit Daubert reply briefs for von Spakovsky and Richman.
10/04/17 Tharuni A. Jayaraman           2.30        2.30     $195.00          $448.50 Edit Daubert response.
10/05/17 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Review opinion on unsealing; telephone conversation with
                                                                                      A. Liu; email correspondence with co-counsel.
10/05/17 Bernard G. Powell              7.50        0.00       $0.00            $0.00 Review and revise brief - Cite Check and Key Cite.
10/05/17 Rebecca Kahan Waldman          0.50        0.50     $500.00          $250.00 Review opinion.

10/05/17 Negin Hadaghian                0.20        0.00       $0.00            $0.00 Review order on motion to unseal.
10/05/17 Mary H. Kim                    2.50        0.00       $0.00            $0.00 Finalize Daubert reply briefs for filing.
10/05/17 Margaret Mortimer              1.30        1.30     $195.00          $253.50 Edit and prepare von Spakovsky Reply Daubert for filing.
10/05/17 Tharuni A. Jayaraman           0.90        0.90     $195.00          $175.50 Edit von Spakovsky Daubert reply.
10/06/17 Bernard G. Powell              1.80        0.00       $0.00            $0.00 Proofread brief.
10/12/17 Mary H. Kim                    3.20        0.00       $0.00            $0.00 Review summary judgment and Daubert briefings and
                                                                                      update pleadings chart.
10/16/17 Nicole A. La Due               0.30        0.00       $0.00            $0.00 Receive and review new pleadings, convert, upload to
                                                                                      electronic file and prepare deadline reminders of upcoming
                                                                                      date for each team attorney.
10/23/17 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Email correspondence with A. Liu and co-counsel.
10/23/17 Daphne T. Ha                   0.20        0.20     $240.00           $48.00 Correspondence regarding meet and confer notes.
10/23/17 Angela M. Liu                  1.00        1.00     $250.00          $250.00 Strategize regarding ethics issues relating to K. Kobach; call
                                                                                      plaintiffs regarding ethics issues relating to K. Kobach.
10/23/17 Mary H. Kim                    0.40        0.00       $0.00            $0.00 Call clients regarding ethics investigation.
10/24/17 Elisabeth L. Sachse            0.60        0.00       $0.00            $0.00 Compile production information for ACLU.
10/25/17 Daphne T. Ha                   0.20        0.20     $240.00           $48.00 House testimony regarding voter lists.


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                                                Hours       Rate
 Date               Name             Hours                               Amount       Description
                                               Charged    Requested
10/25/17 Mary H. Kim                    0.40         0.00      $0.00           $0.00 Conference regarding redactions to summary judgment
                                                                                     briefs.
10/26/17 Angela M. Liu                  1.20        1.20     $250.00         $300.00 Review materials in conjunction with motion to compel sixth
                                                                                     request for documents; meet with ethics investigator;
                                                                                     strategize regarding staffing on case.
11/01/17 Angela M. Liu                  0.10        0.10     $250.00          $25.00 Strategize regarding weekly conference call.
11/08/17 Neil A. Steiner                0.40        0.40     $500.00         $200.00 Conference call with co-counsel; phone conference with A.
                                                                                     Liu.
11/08/17 Angela M. Liu                  0.70        0.70     $250.00         $175.00 Weekly conference call; strategize regarding motion to
                                                                                     compel and upcoming trial.
11/08/17 Tharuni A. Jayaraman           0.30        0.30     $195.00          $58.50 Team call.
11/09/17 Angela M. Liu                  1.00        1.00     $250.00         $250.00 Strategize regarding upcoming trial.
11/10/17 Angela M. Liu                  1.30        1.30     $250.00         $325.00 Strategize regarding issues relating to work flow and trial;
                                                                                     manage issues relating to discovery and notice issues.
11/10/17 Margaret Mortimer              0.80        0.80     $195.00         $156.00 Review letter and exhibits to G. Roe regarding non-
                                                                                     compliance with prior requests.
11/13/17 Daphne T. Ha                   1.30        1.30     $240.00         $312.00 Revise draft motion to compel.
11/14/17 Rebecca Kahan Waldman          0.80        0.80     $500.00         $400.00 Review motion to compel and related correspondence.

11/14/17 Angela M. Liu                  0.80        0.80     $250.00         $200.00 Review and strategize regarding motion to compel.
11/16/17 Daphne T. Ha                   0.70        0.70     $240.00         $168.00 Revise motions to compel and for sanctions.
11/22/17 Angela M. Liu                  0.40        0.40     $250.00         $100.00 Review letter from S. Becker to D. Ho, corresponding
                                                                                     transcript, and manage response.
11/22/17 Margaret Mortimer              1.10        1.10     $195.00         $214.50 Review ACLU letter to Secretary Kobach, Kobach response
                                                                                     letter, and Kobach deposition transcript regarding discovery
                                                                                     compliance; draft response email.
11/28/17 Angela M. Liu                  0.20        0.20     $250.00          $50.00 Review correspondence to Defendants relating to discovery
                                                                                     issues.
11/29/17 Angela M. Liu                  0.60        0.60     $250.00         $150.00 Review and revise correspondence with Defendants
                                                                                     regarding discovery issues; strategize regarding issues
                                                                                     relating to discovery.
11/29/17 Margaret Mortimer              0.80        0.80     $195.00         $156.00 Status call with ACLU; implement changes to the Kobach
                                                                                     Letter.
11/30/17 Angela M. Liu                  0.30        0.30     $250.00          $75.00 Review issues relating to response letter to S. Becker.



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                                                Hours       Rate
 Date               Name             Hours                               Amount       Description
                                               Charged    Requested
12/06/17 Neil A. Steiner                0.40         0.40    $500.00         $200.00 Telephone conversation with A. Liu; email correspondence
                                                                                     with A. Liu; email correspondence with D. Ho.

12/06/17 Rebecca Kahan Waldman          0.50        0.50     $500.00         $250.00 Call regarding witness list.

12/07/17 Margaret Mortimer              0.70        0.70     $195.00         $136.50 Research local rules for final exhibit and witness list
                                                                                     productions as well as deadlines for motions in limine.
12/08/17 Neil A. Steiner                0.70        0.70     $500.00         $350.00 Phone conference with co-counsel; work on
                                                                                     discovery/compliance issues.
12/08/17 Tharuni A. Jayaraman           1.00        1.00     $195.00         $195.00 Team call.
12/11/17 Neil A. Steiner                1.50        1.50     $500.00         $750.00 Lunch meeting with D. Ho.
12/20/17 Neil A. Steiner                0.80        0.80     $500.00         $400.00 Email correspondence with D. Ho; conference call with co-
                                                                                     counsel.
12/20/17 Daphne T. Ha                   1.00        1.00     $240.00         $240.00 Team call and follow up correspondence regarding potential
                                                                                     exhibits.
12/20/17 Rebecca Kahan Waldman          1.00        1.00     $500.00         $500.00 Telephone conference.

12/20/17 Thomas H. Cordova              1.00        0.00       $0.00           $0.00 Prepare for and participate in team call regarding next steps.

12/20/17 Mary H. Kim                    0.80        0.00       $0.00           $0.00 Team call.
12/20/17 Margaret Mortimer              0.80        0.80     $195.00         $156.00 Status call with client and internal discussions regarding the
                                                                                     same.
12/26/17 Daphne T. Ha                   1.80        1.80     $240.00         $432.00 Review deposition transcripts and exhibits.
12/26/17 Margaret Mortimer              1.80        1.80     $195.00         $351.00 Review Summary Judgment briefing for Kansas Department
                                                                                     of Vehicles witness testimony.
12/27/17 Angela M. Liu                  0.40        0.40     $250.00         $100.00 Manage issues relating to deposition review.
12/27/17 Mary H. Kim                    1.50        0.00       $0.00           $0.00 Review PI briefing and create chart of deposition testimony
                                                                                     in preparation for trial examinations.
12/27/17 Margaret Mortimer              2.70        2.70     $195.00         $526.50 Identify deposition testimony from Summary Judgment
                                                                                     briefing not referenced in Pretrial Order.
12/28/17 Margaret Mortimer              0.50        0.50     $195.00          $97.50 Draft email regarding DOV witness testimony; internal
                                                                                     discussions regarding the same.
01/02/18 Neil A. Steiner                0.50        0.50     $500.00         $250.00 Telephone conference with D. Ho; telephone conference
                                                                                     with A. Liu; trial preparation.
01/02/18 Angela M. Liu                  0.30        0.30     $250.00          $75.00 Manage issues relating to trial exhibits.


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                                                Hours       Rate
 Date              Name              Hours                               Amount        Description
                                               Charged    Requested
01/02/18 Thomas H. Cordova              0.60         0.00      $0.00             $0.00 Review Camarota transcript to determine exhibits for trial.

01/02/18 Mary H. Kim                    1.60        0.00       $0.00            $0.00 Review deposition of Bucci and compile list of exhibits for
                                                                                      use at trial.
01/02/18 Margaret Mortimer              2.50        2.50     $195.00          $487.50 Review Tabitha Lehman deposition transcripts and identify
                                                                                      useful exhibits; compose summary email of witness
                                                                                      deposition exhibits.
01/02/18 Tharuni A. Jayaraman           1.00        1.00     $195.00          $195.00 Review deposition testimony.
01/03/18 Neil A. Steiner                0.70        0.70     $500.00          $350.00 Conference call with co-counsel; begin reviewing summary
                                                                                      judgment decision; email correspondence with co-counsel.

01/03/18 Daphne T. Ha                   0.30        0.30     $240.00            $72.00 Review summary judgment order and related
                                                                                       correspondence.
01/03/18 Rebecca Kahan Waldman          2.50        2.50     $500.00         $1,250.00 Weekly call; review opinion; correspondence regarding trial
                                                                                       preparation.
01/03/18 Angela M. Liu                  2.50        2.50     $250.00          $625.00 Attend weekly call; prepare for trial.
01/03/18 Mary H. Kim                    0.60        0.00       $0.00             $0.00 Team call.
01/03/18 Margaret Mortimer              5.20        5.20     $195.00         $1,014.00 Reviewed Summary Judgment Order, Summary Judgment
                                                                                       briefing and Pre Trial Order.
01/03/18 Tharuni A. Jayaraman           2.00        2.00     $195.00          $390.00 Prepare portion of draft exhibit list; team call.
01/04/18 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Conference call with co-counsel and trial preparation.
01/04/18 Daphne T. Ha                   1.00        1.00     $240.00          $240.00 Team call and correspondence with TJ Boynton.
01/04/18 Rebecca Kahan Waldman          1.80        1.80     $500.00          $900.00 Call with team; call with defendants regarding pre trial
                                                                                       order; correspondence regarding trial.
01/04/18 Angela M. Liu                  0.80        0.80     $250.00          $200.00 Review summary judgment opinion; strategize regarding
                                                                                       witness preparation.
01/04/18 Margaret Mortimer              2.50        2.50     $195.00          $487.50 Review Summary Judgment Order.
01/04/18 Rachel Ryu                     2.00        0.00       $0.00             $0.00 Review chart of discovery correspondence and productions.

01/05/18 Rebecca Kahan Waldman          0.60        0.60     $500.00          $300.00 Review draft status report; correspondence regarding
                                                                                      preparation for trial.
01/05/18 Rachel Ryu                     1.90        0.00       $0.00            $0.00 Review chart of discovery correspondence and productions.

01/05/18 Rachel Ryu                     1.20        0.00       $0.00             $0.00 Prepare chart of deposition materials.



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                                                 Hours       Rate
 Date              Name               Hours                               Amount         Description
                                                Charged    Requested
01/08/18 Rebecca Kahan Waldman           0.80         0.80    $500.00          $400.00 Correspondence regarding upcoming trial.

01/08/18 Angela M. Liu                   4.30        4.30     $250.00         $1,075.00 Manage logistics, exhibit list for trial.
01/08/18 Rachel Ryu                      2.60        0.00       $0.00             $0.00 Prepare chart of deposition materials.
01/09/18 Neil A. Steiner                 0.50        0.50     $500.00          $250.00 Conference call with co-counsel; trial preparation.
01/09/18 Katarina V. McClellan           5.50        0.00       $0.00             $0.00 Organization of trial kit and logistical issues surrounding
                                                                                        general trial.
01/09/18 Daphne T. Ha                    0.90        0.90     $240.00          $216.00 Team call and follow up correspondence.
01/09/18 Rebecca Kahan Waldman           3.00        3.00     $500.00         $1,500.00 Team meeting; correspondence regarding preparation for
                                                                                        trial; preparation for trial.
01/09/18 Angela M. Liu                   4.30        4.30     $250.00         $1,075.00 Continue to manage logistics and prepare for trial.
01/09/18 Mary H. Kim                     0.60        0.00       $0.00             $0.00 Team call to discuss trial logistics.
01/09/18 Margaret Mortimer               5.30        5.30     $195.00         $1,033.50 Internal trial preparation meeting; compile local database of
                                                                                        preliminary injunction, 10th Circuit appeal and summary
                                                                                        judgment briefings and transcripts, as well as compile
                                                                                        relevant documents for Caskey and Bryant witnesses;
                                                                                        prepare 3-month calendar for trial deadlines.
01/09/18 Tharuni A. Jayaraman            1.20        1.20     $195.00          $234.00 Team calls regarding trial preparation.
01/09/18 Rachel Ryu                      4.00        0.00       $0.00             $0.00 Review chart of depositions and assemble deposition
                                                                                        materials.
01/10/18 Neil A. Steiner                 0.50        0.50     $500.00          $250.00 Conference call with co-counsel; review order.
01/10/18 Katarina V. McClellan           4.30        0.00       $0.00             $0.00 Organization of trial kit and logistical issues surrounding
                                                                                        general trial.
01/10/18 Daphne T. Ha                    0.20        0.20     $240.00            $48.00 Correspondence regarding trial preparation.
01/10/18 Rebecca Kahan Waldman           4.20        4.20     $500.00         $2,100.00 Trial preparation.

01/10/18 Angela M. Liu                   2.90        2.90     $250.00          $725.00 Prepare for trial.
01/10/18 Margaret Mortimer               4.00        4.00     $195.00          $780.00 Prepare Caskey and Bryant witness binders; update and
                                                                                       share trial calendar in light of court order setting pretrial
                                                                                       deadlines.
01/10/18 Rachel Ryu                      1.30        0.00       $0.00            $0.00 Review chart of depositions and assemble deposition
                                                                                       materials.
01/10/18 Rachel Ryu                      0.30        0.00       $0.00            $0.00 Review hard copy materials of depositions and manage files
                                                                                       to prepare for upload.



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                                                 Hours       Rate
 Date               Name              Hours                               Amount         Description
                                                Charged    Requested
01/11/18 Neil A. Steiner                 0.80         0.80    $500.00          $400.00 Conference call with co-counsel; telephone conversation
                                                                                        with A. Liu; trial preparation.
01/11/18 Katarina V. McClellan           7.50        0.00       $0.00             $0.00 Update Trial Kit; pull Caskey and Lehman declarations for
                                                                                        attorney review; create trial checklist.
01/11/18 Daphne T. Ha                    1.60        1.60     $240.00          $384.00 Team call and follow up correspondence.
01/11/18 Rebecca Kahan Waldman           4.50        4.50     $500.00         $2,250.00 Trial preparation.

01/11/18 Angela M. Liu                   7.60        7.60     $250.00         $1,900.00 Attend weekly conference call; continue to strategize
                                                                                        regarding issues regarding trial preparation; manage exhibit
                                                                                        list, logistics, and direct and cross examination outlines;
                                                                                        review Camarota testimony.
01/11/18 Mary H. Kim                     3.50        0.00       $0.00             $0.00 Team call; draft witness list; review local rules and standing
                                                                                        orders to prepare trial logistics.
01/11/18 Margaret Mortimer               4.40        4.40     $195.00          $858.00 Prepare for and attend status call with ACLU; update pre-
                                                                                        trial calendar; pull Caskey affidavits; review Kansas local
                                                                                        rules for trials and Judge Robinson's standing order for trial
                                                                                        rules.
01/11/18 Tharuni A. Jayaraman            1.20        1.20     $195.00          $234.00 Team call; reviewed documents for exhibit list.
01/11/18 Rachel Ryu                      1.40        0.00       $0.00             $0.00 Review hard copy materials of depositions and manage files
                                                                                        to prepare for upload.
01/12/18 Katarina V. McClellan           5.60        0.00       $0.00             $0.00 Exhibit compilation, organization of files for trial.
01/12/18 Rebecca Kahan Waldman           1.50        1.50     $500.00          $750.00 Meet and confer and related correspondence.

01/12/18 Angela M. Liu                   3.30        3.30     $250.00          $825.00 Meet and confer with opposing counsel regarding trial
                                                                                        witness lists; continue to prepare for trial.
01/12/18 Nicole A. La Due                0.50        0.00       $0.00             $0.00 Review deposition transcripts in order to prepare materials
                                                                                        for upcoming trials.
01/12/18 Mary H. Kim                     2.40        0.00       $0.00             $0.00 Work on exhibit list for trial.
01/12/18 Margaret Mortimer               6.00        6.00     $195.00         $1,170.00 Draft additional fact stipulations and attention to exhibit list
                                                                                        production.
01/12/18 Tharuni A. Jayaraman            0.50        0.50     $195.00            $97.50 Review documents for Daubert motion.
01/12/18 Rachel Ryu                      3.40        0.00       $0.00             $0.00 Update and maintain pleadings.
01/13/18 Katarina V. McClellan           1.50        0.00       $0.00             $0.00 Update trial exhibits.
01/13/18 Mary H. Kim                     2.00        0.00       $0.00             $0.00 Work on witness and exhibit lists for trial.
01/14/18 Katarina V. McClellan           1.00        0.00       $0.00             $0.00 Update trial exhibits.


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                                                 Hours       Rate
 Date              Name               Hours                               Amount         Description
                                                Charged    Requested
01/14/18 Mary H. Kim                     1.70         0.00      $0.00            $0.00 Edit witness list.
01/14/18 Margaret Mortimer               1.80         1.80    $195.00          $351.00 Implement update to draft additional fact stipulations.
01/15/18 Thomas H. Cordova               0.20         0.00      $0.00            $0.00 Review recent updates regarding the case.
01/15/18 Margaret Mortimer               3.60         3.60    $195.00          $702.00 Attention to Bryan Caskey witness examination.
01/16/18 Rebecca Kahan Waldman           0.80         0.80    $500.00          $400.00 Trial preparation.

01/16/18 Angela M. Liu                   2.20        2.20     $250.00          $550.00 Continue to prepare for trial.
01/16/18 Nicole A. La Due                1.00        0.00       $0.00            $0.00 Receive and review new pleadings, convert, upload to
                                                                                       electronic file and prepare deadline reminders of upcoming
                                                                                       date for each team attorney (.5); update case information
                                                                                       (.5)
01/16/18 Thomas H. Cordova               1.50        0.00       $0.00            $0.00 Review internal work product; discuss upcoming projects
                                                                                       with team members, review key documents related to
                                                                                       Tabitha Lehman.
01/16/18 Mary H. Kim                     3.10        0.00       $0.00            $0.00 Cross reference exhibit list form with collected documents.

01/16/18 Margaret Mortimer               5.30        5.30     $195.00         $1,033.50 Attention to exhibit list and research of witness rules of
                                                                                        evidence.
01/16/18 Tharuni A. Jayaraman            1.70        1.70     $195.00          $331.50 Review deposition transcript; edit Daubert outline.
01/16/18 Rachel Ryu                      5.20        0.00       $0.00             $0.00 Maintain and organize deposition files in preparation for
                                                                                        trial (4.2); update case calendar with upcoming deadlines
                                                                                        (1.0).
01/17/18 Neil A. Steiner                 0.30        0.30     $500.00          $150.00 Trial prep and email correspondence with co-counsel.
01/17/18 Katarina V. McClellan           2.50        0.00       $0.00             $0.00 Trial preparation - update exhibits.
01/17/18 Daphne T. Ha                    3.10        3.10     $240.00          $744.00 Review Bryant and Rucker transcripts and correspondence
                                                                                        regarding same.
01/17/18 Rebecca Kahan Waldman           3.40        3.40     $500.00         $1,700.00 Trial Preparation.

01/17/18 Angela M. Liu                   2.70        2.70     $250.00          $675.00 Scheduling for pretrial dates; review Camarota Daubert
                                                                                       brief; manage issues relating to TDL spreadsheet; review
                                                                                       witness list.
01/17/18 Thomas H. Cordova               1.70        0.00       $0.00            $0.00 Draft cross examination of Tabitha Lehman.
01/17/18 Mary H. Kim                     1.80        0.00       $0.00            $0.00 Work on exhibit list for trial; edit witness list.




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                                                 Hours       Rate
 Date              Name               Hours                               Amount         Description
                                                Charged    Requested
01/17/18 Margaret Mortimer               5.40         5.40    $195.00         $1,053.00 Draft Hans von Spakovsky and Richman Daubert motions;
                                                                                        attention to exhibit list and pulling additional Caskey
                                                                                        Exhibits.
01/17/18 Tharuni A. Jayaraman            4.20        4.20     $195.00          $819.00 Edit Daubert motion.
01/17/18 Delaney Berman                  3.20        0.00       $0.00             $0.00 Assist T. Jayaraman with cite-checking Daubert Motion to
                                                                                        Strike Camarota.
01/17/18 Rachel Ryu                      1.00        0.00       $0.00             $0.00 Update and maintain electronic deposition files in
                                                                                        preparation for trial.
01/18/18 Neil A. Steiner                 0.30        0.30     $500.00          $150.00 Conference call with co-counsel; trial preparation.
01/18/18 Katarina V. McClellan           2.00        0.00       $0.00             $0.00 Trial preparation - exhibit update.
01/18/18 Daphne T. Ha                    0.80        0.80     $240.00          $192.00 Team call regarding trial preparation.
01/18/18 Rebecca Kahan Waldman           1.50        1.50     $500.00          $750.00 Trial preparation.

01/18/18 Angela M. Liu                   4.50        4.50     $250.00         $1,125.00 Prepare for trial; attend weekly conference call.
01/18/18 Nicole A. La Due                0.30        0.00       $0.00             $0.00 Receive and review new pleadings, convert, upload to
                                                                                        electronic file and prepare deadline reminders of upcoming
                                                                                        date for each team attorney.
01/18/18 Thomas H. Cordova               1.50        0.00       $0.00             $0.00 Participate in team call regarding trial, review relevant
                                                                                        document related to Tabitha Lehman.
01/18/18 Mary H. Kim                     6.60        0.00       $0.00             $0.00 Team call with client about trial logistics; review Caskey
                                                                                        spreadsheets for inclusion in exhibit list; draft exhibit list.
01/18/18 Margaret Mortimer               5.50        5.50     $195.00         $1,072.50 Attention to Richman and von Spakovsky Daubert motions
                                                                                        and exhibit list.
01/18/18 Tharuni A. Jayaraman            4.10        4.10     $195.00          $799.50 Team call; edit exhibit list; edit Daubert motion.
01/18/18 Rachel Ryu                      1.50        0.00       $0.00             $0.00 Update and maintain electronic deposition files in
                                                                                        preparation for trial; update case calendar with meetings
                                                                                        with client.
01/19/18 Katarina V. McClellan           6.00        0.00       $0.00             $0.00 Trial preparation - exhibits updated; correspondence exhibit
                                                                                        list review.
01/19/18 Angela M. Liu                   2.20        2.20     $250.00          $550.00 Correspond with L. Benham (.1); strategize regarding
                                                                                        mediation brief (2.1).
01/19/18 Angela M. Liu                   3.00        3.00     $250.00          $750.00 Review Camarota motion in limine; continue to prepare for
                                                                                        trial.
01/19/18 Thomas H. Cordova               3.50        0.00       $0.00             $0.00 Review key Tabitha Lehman documents and draft cross
                                                                                        examination.


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                                                Hours       Rate
 Date              Name              Hours                               Amount         Description
                                               Charged    Requested
01/19/18 Mary H. Kim                    2.70         0.00      $0.00             $0.00 Work on exhibit list for trial.
01/19/18 Margaret Mortimer              0.50         0.50    $195.00            $97.50 Attention to draft additional stipulations.
01/19/18 Tharuni A. Jayaraman           0.70         0.70    $195.00          $136.50 Edit Daubert motion.
01/19/18 Rachel Ryu                     3.20         0.00      $0.00             $0.00 Procure and update deposition materials in preparation for
                                                                                       trial.
01/20/18 Tharuni A. Jayaraman           0.30        0.30     $195.00            $58.50 Edit Daubert motion.
01/21/18 Bernard G. Powell             11.00        0.00       $0.00             $0.00 Review and revise Brief - Cite Check and Key Cite.
01/21/18 Katarina V. McClellan          3.50        0.00       $0.00             $0.00 Update exhibits for exchange with counsel.
01/21/18 Tharuni A. Jayaraman           2.00        2.00     $195.00          $390.00 Edit Daubert motion.
01/22/18 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Trial preparation; email correspondence with co-counsel.
01/22/18 Katarina V. McClellan          1.00        0.00       $0.00             $0.00 Update exhibits to be exchanged.
01/22/18 Daphne T. Ha                   0.20        0.20     $240.00            $48.00 Review Camarota declaration and exhibits.
01/22/18 Rebecca Kahan Waldman          2.00        2.00     $500.00         $1,000.00 Correspondence regarding exhibits and trial preparation.

01/22/18 Angela M. Liu                  6.70        6.70     $250.00         $1,675.00 Review and revise Daubert motions; review exhibit list;
                                                                                       review Camarota deposition; review correspondence
                                                                                       relating to exhibit list.
01/22/18 Thomas H. Cordova              1.70        0.00       $0.00             $0.00 Review work product in preparation of trial.
01/22/18 Mary H. Kim                    1.00        0.00       $0.00             $0.00 Work on exhibit list for trial.
01/22/18 Tharuni A. Jayaraman           5.70        5.70     $195.00         $1,111.50 Edit Daubert motion.
01/22/18 Rachel Ryu                     2.10        0.00       $0.00             $0.00 Update and maintain electronic deposition materials in
                                                                                       preparation for trial (1.6); review pleadings in preparation
                                                                                       for trial (0.5).
01/23/18 Katarina V. McClellan          1.00        0.00       $0.00             $0.00 Update exhibits.
01/23/18 Rebecca Kahan Waldman          1.40        1.40     $500.00          $700.00 Trial preparation.

01/23/18 Angela M. Liu                  5.10        5.10     $250.00         $1,275.00 Continue to prepare for trial.
01/23/18 Nicole A. La Due               0.50        0.00       $0.00             $0.00 Confer with staff regarding materials needed for trial
                                                                                       preparation.
01/23/18 Thomas H. Cordova              3.90        0.00       $0.00             $0.00 Prepare for trial identifying exhibits, and draft cross
                                                                                       examination for Tabitha Lehman.
01/23/18 Mary H. Kim                    0.80        0.00       $0.00             $0.00 Review proof chart and strategize potential exhibit
                                                                                       additions.
01/23/18 Mary H. Kim                    1.40        0.00       $0.00             $0.00 Conduct research into Lehman documents in preparation for
                                                                                       cross examination.


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                                             Hours       Rate
 Date               Name          Hours                               Amount         Description
                                            Charged    Requested
01/23/18 Rachel Ryu                  1.40         0.00      $0.00             $0.00 Review pleadings in preparation for trial (1.0); update and
                                                                                    maintain deposition files (.4).
01/24/18 Matthew B. Tate             1.50        0.00       $0.00             $0.00 Download and upload requested videos to the W:Drive for K.
                                                                                    McClellan with related conversions; multiple attempts and
                                                                                    cropping of videos in effort to screen grab a third video from
                                                                                    website; and emails with K. McClellan regarding the same.

01/24/18 Neil A. Steiner             1.00        1.00     $500.00          $500.00 Conf. call with co-counsel; trial preparation.
01/24/18 Daphne T. Ha                3.30        3.30     $240.00          $792.00 Draft deposition designations for Rucker and Bryant; team
                                                                                    call.
01/24/18 Rebecca Kahan Waldman       2.50        2.50     $500.00         $1,250.00 Weekly call; trial preparation.

01/24/18 Angela M. Liu               5.20        5.20     $250.00         $1,300.00 Continue to prepare for trial.
01/24/18 Thomas H. Cordova           3.40        0.00       $0.00             $0.00 Participate in team call regarding the trial, draft cross
                                                                                    examination for Tabitha Lehman, and discuss possible
                                                                                    exhibits for stipulation.
01/24/18 Mary H. Kim                 1.70        0.00       $0.00             $0.00 Team call; draft direct examination outline for Bucci.
01/24/18 Tharuni A. Jayaraman        1.60        1.60     $195.00          $312.00 Team call; review exhibit list.
01/25/18 Daphne T. Ha                0.20        0.20     $240.00            $48.00 Correspondence regarding trial preparation.
01/25/18 Rebecca Kahan Waldman       2.50        2.50     $500.00         $1,250.00 Trial preparation.

01/25/18 Angela M. Liu               4.50        4.50     $250.00         $1,125.00 Manage issues relating to deposition designation, exhibits,
                                                                                    outlines for Lehman and Camarota.
01/25/18 Thomas H. Cordova           2.10        0.00       $0.00             $0.00 Attend to trial preparation and draft cross motions.
01/25/18 Mary H. Kim                 5.00        0.00       $0.00             $0.00 Draft direct examination outline for Bucci; review exhibit list
                                                                                    for documents to pre-admit with counsel.
01/25/18 Rachel Ryu                  1.60        0.00       $0.00             $0.00 Prepare deposition designations for transmittal to court and
                                                                                    opposing counsel.
01/26/18 Daphne T. Ha                0.20        0.20     $240.00            $48.00 Review deposition designations.
01/26/18 Thomas H. Cordova           1.40        0.00       $0.00             $0.00 Attend to trial preparation and draft cross examination.
01/26/18 Mary H. Kim                 0.60        0.00       $0.00             $0.00 Edit exhibit list for documents to pre-admit with counsel.
01/26/18 Rachel Ryu                  0.40        0.00       $0.00             $0.00 Prepare deposition designations for transmittal to court and
                                                                                    opposing counsel.
01/27/18 Mary H. Kim                 0.50        0.00       $0.00             $0.00 Edit direct examination outline for Bucci.
01/28/18 Angela M. Liu               0.50        0.50     $250.00          $125.00 Analyze issues relating to exhibit stipulations.


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                                                 Hours       Rate
 Date              Name               Hours                               Amount         Description
                                                Charged    Requested
01/29/18 Neil A. Steiner                 0.30         0.30    $500.00          $150.00 Review and revise reply brief and email corresp re same.
01/29/18 Daphne T. Ha                    0.10         0.10    $240.00           $24.00 Correspondence regarding deposition designations.
01/29/18 Rebecca Kahan Waldman           0.80         0.80    $500.00          $400.00 Trial preparation.

01/29/18 Angela M. Liu                   2.30        2.30     $250.00          $575.00 Strategize regarding issues relating to experts; prepare for
                                                                                        trial.
01/29/18 Thomas H. Cordova               6.40        0.00       $0.00             $0.00 Attend to trial preparation and draft Lehman cross
                                                                                        examination.
01/29/18 Mary H. Kim                     6.00        0.00       $0.00             $0.00 Draft direct examination outline for Boynton; draft exhibit
                                                                                        list for filing; prepare exhibit and witness lists and deposition
                                                                                        designations for filing.
01/29/18 Tharuni A. Jayaraman            1.20        1.20     $195.00          $234.00 Call regarding cross-examination.
01/29/18 Rachel Ryu                      0.20        0.00       $0.00             $0.00 Update case calendar.
01/30/18 Neil A. Steiner                 0.50        0.50     $500.00          $250.00 Review filings, supplemental expert report; trial prep; email
                                                                                        corresp with co-counsel.
01/30/18 Katarina V. McClellan           4.00        0.00       $0.00             $0.00 Update exhibits.
01/30/18 Daphne T. Ha                    0.10        0.10     $240.00            $24.00 Correspondence regarding filings.
01/30/18 Rebecca Kahan Waldman           3.00        3.00     $500.00         $1,500.00 Trial preparation.

01/30/18 Angela M. Liu                   4.10        4.10     $250.00         $1,025.00 Review and strategize regarding witness lists, deposition
                                                                                        designations, witnesses, directs and crosses.
01/30/18 Thomas H. Cordova               1.30        0.00       $0.00             $0.00 Attend to trial preparation by reviewing key submissions.
01/30/18 Mary H. Kim                     1.00        0.00       $0.00             $0.00 Finalize exhibit list for filing.
01/30/18 Rachel Ryu                      1.00        0.00       $0.00             $0.00 Update case filings folder (.5); review pleadings in
                                                                                        preparation for trial (.5).
01/31/18 Neil A. Steiner                 0.70        0.70     $500.00          $350.00 Trial prep; email correspondence with co-counsel.
01/31/18 Katarina V. McClellan           8.20        0.00       $0.00             $0.00 Deposition designations marked; updated trial and
                                                                                        impeachment exhibits.
01/31/18 Daphne T. Ha                    1.60        1.60     $240.00          $384.00 Call regarding plaintiffs' testimony.
01/31/18 Rebecca Kahan Waldman           3.50        3.50     $500.00         $1,750.00 Call regarding trial preparation; review witness list, exhibit
                                                                                        list and deposition designations.
01/31/18 Angela M. Liu                   4.20        4.20     $250.00         $1,050.00 Strategize with ACLU regarding issues relating to plaintiff;
                                                                                        continue to prepare exhibit lists, review filings, review direct
                                                                                        and cross outlines, and prepare for trial.



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                                             Hours       Rate
 Date               Name          Hours                               Amount         Description
                                            Charged    Requested
01/31/18 Thomas H. Cordova           2.30         0.00      $0.00             $0.00 Participate in team call regarding next steps; attend to trial
                                                                                    preparation.
01/31/18 Mary H. Kim                 4.30        0.00       $0.00             $0.00 Review Defendant's pre-trial filings and strategize response;
                                                                                    draft amended exhibit list; call regarding presenting
                                                                                    plaintiffs at trial; edit direct examination outlines for Bucci
                                                                                    and Boynton.
01/31/18 Rachel Ryu                  0.50        0.00       $0.00             $0.00 Gather deposition materials in preparation for trial.
02/01/18 Neil A. Steiner             2.00        2.00     $500.00         $1,000.00 Conference call with co-counsel; trial preparation.
02/01/18 Daphne T. Ha                1.10        1.10     $240.00          $264.00 Team call; correspondence regarding designations.
02/01/18 Rebecca Kahan Waldman       2.80        2.80     $500.00         $1,400.00 Weekly call; prepared for trial.

02/01/18 Angela M. Liu               2.00        2.00     $250.00          $500.00 Continue to prepare for trial.
02/01/18 Thomas H. Cordova           8.50        0.00       $0.00             $0.00 Participate in team call regarding next steps; call with team
                                                                                    member regarding Lehman cross-examination ; update team
                                                                                    calendar; draft motion to strike expert witness supplemental
                                                                                    opinion.
02/01/18 Mary H. Kim                 6.60        0.00       $0.00             $0.00 Conduct legal research for and draft request for judicial
                                                                                    notice; weekly team call; edit direct examination outline for
                                                                                    Boynton; review Defendant's exhibit list for objections;
                                                                                    review and provide comments for draft motion to strike
                                                                                    Richman.
02/02/18 Neil A. Steiner             0.80        0.80     $500.00          $400.00 Review and revise Minnitte Daubert opposition and email
                                                                                    correspondence with co-counsel; trial preparation.
02/02/18 Daphne T. Ha                2.00        2.00     $240.00          $480.00 Trial preparation.
02/02/18 Rebecca Kahan Waldman       2.00        2.00     $500.00         $1,000.00 Reviewed motion to strike; correspondence regarding
                                                                                    exhibit list; correspondence regarding trial preparation.
02/02/18 Angela M. Liu               2.00        2.00     $250.00          $500.00 Review exhibit list and correspond with opposing counsel
                                                                                    regarding exhibit list.
02/02/18 Mary H. Kim                 3.80        0.00       $0.00             $0.00 Analyze Defendant's exhibit list and create chart of issues
                                                                                    (2.0); conduct legal research for and draft motion to strike
                                                                                    McFerron testimony (1.8).
02/02/18 Rachel Ryu                  0.30        0.00       $0.00             $0.00 Review pleadings in preparation for trial.
02/03/18 Angela M. Liu               4.20        4.20     $250.00         $1,050.00 Review deposition transcripts.
02/03/18 Mary H. Kim                 0.50        0.00       $0.00             $0.00 Review deposition designations for Bucci and Boynton and
                                                                                    mark counter-designations.


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                                                 Hours       Rate
 Date              Name               Hours                               Amount         Description
                                                Charged    Requested
02/04/18 Katarina V. McClellan           2.00         0.00      $0.00             $0.00 Prepare designations for upcoming filing.
02/04/18 Angela M. Liu                   1.60         1.60    $250.00          $400.00 Review expert reports.
02/04/18 Tharuni A. Jayaraman            3.00         3.00    $195.00          $585.00 Draft cross outline.
02/05/18 Neil A. Steiner                 0.80         0.80    $500.00          $400.00 Trial preparation.
02/05/18 Rebecca Kahan Waldman           3.70         3.70    $500.00         $1,850.00 Trial preparation.

02/05/18 Angela M. Liu                   4.10        4.10     $250.00         $1,025.00 Trial preparation.
02/05/18 Thomas H. Cordova               6.20        0.00       $0.00             $0.00 Review recent filings; check scheduling issues between
                                                                                        Daubert and motion in limine; draft reply briefs; discuss
                                                                                        updates with team members.
02/05/18 Mary H. Kim                     7.00        0.00       $0.00             $0.00 Conduct legal research for and draft motion to exclude
                                                                                        McFerron; draft letter to client regarding trial preparation;
                                                                                        assist in preparations for 5 witness examinations.

02/05/18 Margaret Mortimer               8.70        8.70     $195.00         $1,696.50 Attention to deposition designations, witness and exhibit list
                                                                                        issues, as well as to Caskey examination and cross
                                                                                        examination outlines.
02/05/18 Robyn M. McAllen                1.30        0.00       $0.00             $0.00 Retrieve document per M. Mortimer.
         Broughton
02/06/18 Neil A. Steiner                 1.00        1.00     $500.00          $500.00 Trial prep; review opposition to Camarota motion; email
                                                                                       correspondence with co-counsel.
02/06/18 Katarina V. McClellan           3.00        0.00       $0.00            $0.00 Update deposition designations.
02/06/18 Brian K. Deaver                 1.50        0.00       $0.00            $0.00 Downloaded cases from Westlaw Find & Print for S. Medina.

02/06/18 Rebecca Kahan Waldman           2.50        2.50     $500.00         $1,250.00 Caskey outline.

02/06/18 Angela M. Liu                   3.50        3.50     $250.00          $875.00 Trial preparation.
02/06/18 Thomas H. Cordova               2.70        0.00       $0.00             $0.00 Attend to trial preparation; draft cross-examination; check
                                                                                        exhibit list; work on reply to Daubert motions.
02/06/18 Mary H. Kim                     3.70        0.00       $0.00             $0.00 Conduct legal research for and draft motion to exclude
                                                                                        McFerron; contact client about rescheduling trial
                                                                                        preparation call.
02/06/18 Margaret Mortimer               8.20        8.20     $195.00         $1,599.00 Attention to Caskey witness examination and Defendant's
                                                                                        exhibit list.



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                                                 Hours       Rate
 Date              Name               Hours                               Amount         Description
                                                Charged    Requested
02/06/18 Tharuni A. Jayaraman            1.40         1.40    $195.00          $273.00 Call with A. Liu regarding Daubert replies; review Daubert
                                                                                       responses.
02/06/18 Robyn M. McAllen                4.30        0.00       $0.00            $0.00 Retrieve document per M. Mortimer.
         Broughton
02/06/18 Rachel Ryu                      1.00        0.00       $0.00             $0.00 Update pleadings in shared workspace (.6); determine due
                                                                                        date for pleading (.4).
02/07/18 Neil A. Steiner                 2.00        2.00     $500.00         $1,000.00 Met with co-counsel; trial preparation.
02/07/18 Katarina V. McClellan           5.00        0.00       $0.00             $0.00 Status meeting; coordination regarding trial tech and
                                                                                        exhibits; branded exhibits review.
02/07/18 Rebecca Kahan Waldman           3.50        3.50     $500.00         $1,750.00 Team meeting; prepared for trial.

02/07/18 Angela M. Liu                   5.00        5.00     $250.00         $1,250.00 Attend strategy session, manage issues relating to exhibit
                                                                                        list, deposition designations, and witness outlines.
02/07/18 Thomas H. Cordova               6.30        0.00       $0.00             $0.00 Distinguish cases for von Spakovsky, draft Lehman cross,
                                                                                        attend to Exhibits and Exhibit list, review Defendant's Exhibit
                                                                                        list for objections.
02/07/18 Mary H. Kim                     8.70        0.00       $0.00             $0.00 Conduct legal research for and draft motion to exclude
                                                                                        McFerron; work on compiling exhibits to share with counsel;
                                                                                        weekly team meeting .
02/07/18 Margaret Mortimer              13.40       13.40     $195.00         $2,613.00 Attention to Caskey witness examination and defendant's
                                                                                        exhibit list, as well as group status meeting.
02/07/18 Tharuni A. Jayaraman            2.30        2.30     $195.00          $448.50 Call regarding court conference.
02/08/18 Elisabeth L. Sachse             3.00        0.00       $0.00             $0.00 Compile and finalize requested video exhibit for K.
                                                                                        McClellan.
02/08/18 Rebecca Kahan Waldman           3.50        3.50     $500.00         $1,750.00 Call regarding court conference; review evidence; prepare
                                                                                        outline.
02/08/18 Angela M. Liu                   6.00        6.00     $250.00         $1,500.00 Attend status conference, strategize regarding issues
                                                                                        relating to Lehman, prepare exhibits, prepare for trial,
                                                                                        manage issues relating to Daubert motions.
02/08/18 Thomas H. Cordova               5.40        0.00       $0.00             $0.00 Attend to trial preparation; discuss Lehman direct with
                                                                                        ACLU; draft objections to exhibit list.




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                                                Hours       Rate
 Date              Name              Hours                               Amount         Description
                                               Charged    Requested
02/08/18 Mary H. Kim                    8.30         0.00      $0.00             $0.00 Review and draft notes on Defendant's amended exhibit list
                                                                                       in advance of pre-trial conference; pre-trial conference;
                                                                                       draft motion to exclude McFerron; edit Bucci outline;
                                                                                       distinguish cases cited in Camarota response and draft
                                                                                       summaries.
02/08/18 Margaret Mortimer              7.60        7.60     $195.00         $1,482.00 Attention to McFerron deposition designations and
                                                                                       defendant's exhibit list.
02/08/18 Tharuni A. Jayaraman           1.50        1.50     $195.00          $292.50 Update cross outline.
02/09/18 Katarina V. McClellan          6.10        0.00       $0.00             $0.00 Trial preparation.
02/09/18 Rebecca Kahan Waldman          1.20        1.20     $500.00          $600.00 Trial preparation.

02/09/18 Angela M. Liu                  3.20        3.20     $250.00          $800.00 Strategize regarding issues relating to exhibits.
02/09/18 Thomas H. Cordova              2.20        0.00       $0.00             $0.00 Draft Lehman cross examination.
02/09/18 Mary H. Kim                    1.00        0.00       $0.00             $0.00 Distinguish cases cited in Camarota response and draft
                                                                                       summaries.
02/09/18 Margaret Mortimer             10.30       10.30     $195.00         $2,008.50 Attention to McFerron counter deposition designations and
                                                                                       defendant's exhibit list.
02/09/18 Tharuni A. Jayaraman           3.10        3.10     $195.00          $604.50 Edit cross outline.
02/10/18 Angela M. Liu                  8.70        8.70     $250.00         $2,175.00 Manage issues relating to deposition designations, Daubert
                                                                                       replies, and exhibit lists.
02/10/18 Mary H. Kim                    9.00        0.00       $0.00             $0.00 Edit Motion for Judicial Notice and Motion to Strike
                                                                                       McFerron (1.5); review exhibits for Barreto, Boynton, Bucci,
                                                                                       and McFerron for objections (0.7); draft objections to
                                                                                       Defendant's exhibit list (6.8).
02/10/18 Tharuni A. Jayaraman           5.20        5.20     $195.00         $1,014.00 Draft Daubert reply; edit exhibit list.
02/11/18 Rebecca Kahan Waldman          3.00        3.00     $500.00         $1,500.00 Trial preparation.

02/11/18 Angela M. Liu                  7.50        7.50     $250.00         $1,875.00 Deposition designations, strategize regarding exhibits and
                                                                                       Daubert replies.
02/11/18 Thomas H. Cordova              5.50        0.00       $0.00             $0.00 Research and drafting related to the Lehman cross; research
                                                                                       into stipulation.
02/11/18 Mary H. Kim                    1.20        0.00       $0.00             $0.00 Work on objections to Defendant's exhibit list.
02/11/18 Margaret Mortimer              6.10        6.10     $195.00         $1,189.50 Attention to defendant's exhibit list and McFerron
                                                                                       deposition designations.
02/11/18 Tharuni A. Jayaraman           8.20        8.20     $195.00         $1,599.00 Draft Daubert reply.


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                                                 Hours       Rate
 Date              Name               Hours                               Amount         Description
                                                Charged    Requested
02/12/18 Katarina V. McClellan           1.50         0.00      $0.00             $0.00 Update exhibits, deposition designations.
02/12/18 Daphne T. Ha                    4.10         4.10    $240.00          $984.00 Revise Daubert replies.
02/12/18 Rebecca Kahan Waldman           2.50         2.50    $500.00         $1,250.00 Trial preparation.

02/12/18 Angela M. Liu                   3.60        3.60     $250.00          $900.00 Review Daubert replies, exhibit list, deposition designations.

02/12/18 Mary H. Kim                     8.70        0.00       $0.00             $0.00 Edit Motion to Strike McFerron (3.3); work on objections to
                                                                                        Defendant's revised exhibit list (3.5); review expert report
                                                                                        and deposition transcript of Barreto in preparation for trial
                                                                                        examination (1.9).
02/12/18 Margaret Mortimer               7.10        7.10     $195.00         $1,384.50 Attention to Richman Daubert Reply, McFerron deposition
                                                                                        designation and McFerron cross examination outline.

02/12/18 Tharuni A. Jayaraman            4.20        4.20     $195.00          $819.00 Draft Daubert replies.
02/12/18 Rachel Ryu                      0.30        0.00       $0.00             $0.00 Update case calendar in light of new deadlines.
02/13/18 Katarina V. McClellan           3.30        0.00       $0.00             $0.00 Deposition designations updated, review for filing; IT
                                                                                        meeting.
02/13/18 Daphne T. Ha                    2.50        2.50     $240.00          $600.00 Trial preparation.
02/13/18 Rebecca Kahan Waldman           2.50        2.50     $500.00         $1,250.00 Trial preparation.

02/13/18 Angela M. Liu                   2.00        2.00     $250.00          $500.00 Prepare exhibit lists, deposition designations and motion to
                                                                                       exclude for filing.
02/13/18 Thomas H. Cordova               1.40        0.00       $0.00            $0.00 Review recent submissions; draft Lehman cross examination.

02/13/18 Mary H. Kim                     8.30        0.00       $0.00             $0.00 Finalize objections to Defendant's revised exhibit list for
                                                                                        filing; finalize Motion to Strike McFerron for filing.
02/13/18 Margaret Mortimer               7.60        7.60     $195.00         $1,482.00 Attention to objections and counter designations to
                                                                                        defendant's deposition designations.
02/13/18 Tharuni A. Jayaraman            3.70        3.70     $195.00          $721.50 Edit exhibit list; review Daubert replies.
02/13/18 Delaney Berman                  3.10        0.00       $0.00             $0.00 Assist T. Jayaraman and M. Kim with document
                                                                                        management.
02/14/18 Katarina V. McClellan           2.50        0.00       $0.00             $0.00 Status call; redact exhibits; prepare for copying;
                                                                                        housekeeping matters of logistics.
02/14/18 Daphne T. Ha                    4.50        4.50     $240.00         $1,080.00 Trial preparation.



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                                                Hours       Rate
 Date              Name              Hours                               Amount         Description
                                               Charged    Requested
02/14/18 Rebecca Kahan Waldman          5.50         5.50    $500.00         $2,750.00 Trial preparation.

02/14/18 Angela M. Liu                  2.10        2.10     $250.00          $525.00 Attend weekly conference call and prepare for trial.
02/14/18 Thomas H. Cordova              2.50        0.00       $0.00             $0.00 Prepare for and participate in team meeting regarding trial
                                                                                       and strategy.
02/14/18 Mary H. Kim                    1.80        0.00       $0.00             $0.00 Weekly team call.
02/14/18 Margaret Mortimer              6.70        6.72     $195.00         $1,310.40 Meeting regarding admitting evidence into the record
                                                                                       procedures, status meeting, and attention to McFerron and
                                                                                       Caskey cross examination outlines.
02/14/18 Tharuni A. Jayaraman           2.00        2.00     $195.00          $390.00 Team Call.
02/14/18 Robert Mora                    1.00        0.00       $0.00             $0.00 Docket search for expert witness testimony and docket entry
                                                                                       retrieval.
02/14/18 Rachel Ryu                     0.30        0.00       $0.00             $0.00 Update and maintain pleadings in shared workspace.
02/15/18 Daphne T. Ha                   1.50        1.50     $240.00          $360.00 Trial preparation.
02/15/18 Rebecca Kahan Waldman          4.50        4.50     $500.00         $2,250.00 Meet and Confer; correspondence regarding trial outlines;
                                                                                       correspondence regarding upcoming filings; trial
                                                                                       preparation.
02/15/18 Thomas H. Cordova              1.80        0.00       $0.00             $0.00 Prepare for trial; review recent filings.
02/15/18 Margaret Mortimer              5.60        5.60     $195.00         $1,092.00 Attention to defendant's counter deposition designations
                                                                                       and McFerron's cross examination.
02/16/18 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Trial prep; email corresp with co-counsel.
02/16/18 Daphne T. Ha                   0.50        0.50     $240.00          $120.00 Trial preparation.
02/16/18 Mary H. Kim                    8.00        0.00       $0.00             $0.00 Draft trial outline for Barreto.
02/16/18 Margaret Mortimer              5.60        5.60     $195.00         $1,092.00 Attention to McFerron cross examination outline.
02/16/18 Tharuni A. Jayaraman           5.60        5.60     $195.00         $1,092.00 Edit cross outline; edit Daubert replies.
02/17/18 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Trial prep; email correspondence with A. Liu; email
                                                                                       correspondence with co-counsel.
02/17/18 Angela M. Liu                  1.90        1.90     $250.00          $475.00 Continue to strategize regarding issues at trial.
02/17/18 Thomas H. Cordova              2.20        0.00       $0.00             $0.00 Draft Lehman examination, research potential objections.
02/18/18 Bernard G. Powell              5.80        0.00       $0.00             $0.00 Review and edit brief - Cite Check and Key Cite; Westlaw
                                                                                       research; review previous exhibits; create Exhibits; draft
                                                                                       declaration and review same; prepare email regarding brief,
                                                                                       declaration and exhibits.
02/18/18 Angela M. Liu                  9.30        9.30     $250.00         $2,325.00 Continue to prepare outlines of Camarota and Lehman.



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                                                Hours       Rate
 Date               Name             Hours                               Amount         Description
                                               Charged    Requested
02/18/18 Thomas H. Cordova              2.40         0.00      $0.00             $0.00 Draft Lehman examination, conduct research regarding trial
                                                                                       preparation.
02/19/18 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Review and revise proposed findings of fact; email
                                                                                       correspondence with co-counsel.
02/19/18 Mary H. Kim                    2.50        0.00       $0.00             $0.00 Review and revise exhibits for marking.
02/19/18 Margaret Mortimer              6.20        6.20     $195.00         $1,209.00 Attention to exhibit list preparation, McFerron cross, and pre
                                                                                       trial conference details.
02/19/18 Tharuni A. Jayaraman           1.50        1.50     $195.00          $292.50 Edit cross outline.
02/20/18 Katarina V. McClellan          3.80        0.00       $0.00             $0.00 Update trial exhibits; general trial preparation.
02/20/18 Daphne T. Ha                   8.20        8.20     $240.00         $1,968.00 Review filings and trial preparation.
02/20/18 Rebecca Kahan Waldman          5.20        5.20     $500.00         $2,600.00 Trial preparation.

02/20/18 Angela M. Liu                  1.00        1.00     $250.00          $250.00 Strategize regarding issues relating to Plaintiffs.
02/20/18 Thomas H. Cordova              2.60        0.00       $0.00             $0.00 Attend to trial preparation; revise Lehman examination.
02/20/18 Mary H. Kim                    2.30        0.00       $0.00             $0.00 Review and revise exhibits for marking (1.0); team call
                                                                                       regarding plaintiffs (1.0); review objections to defendant's
                                                                                       counter deposition designations and provide comments
                                                                                       (0.3).
02/20/18 Margaret Mortimer              6.20        6.18     $195.00         $1,205.10 Attention to deposition designation objection and Richman
                                                                                       Daubert filings, as well as to Caskey cross examination
                                                                                       outline.
02/20/18 Tharuni A. Jayaraman           1.00        1.00     $195.00          $195.00 Edit Daubert Replies.
02/20/18 Delaney Berman                 0.60        0.00       $0.00             $0.00 Assist T. Jayaraman with proofreading Plaintiffs' Reply in
                                                                                       Further Support of Their Motion to Exclude the Testimony
                                                                                       and Report of Steven A. Camarota.
02/21/18 Neil A. Steiner                1.50        1.50     $500.00          $750.00 Conference call with co-counsel; trial preparation.
02/21/18 Katarina V. McClellan          5.00        0.00       $0.00             $0.00 Status call; general trial preparation.
02/21/18 Daphne T. Ha                   8.60        8.60     $240.00         $2,064.00 Trial preparation and correspondence regarding same.
02/21/18 Rebecca Kahan Waldman          3.80        3.80     $500.00         $1,900.00 Weekly call; reviewed filings; trial preparation.

02/21/18 Angela M. Liu                  8.00        8.00     $250.00         $2,000.00 Continue to revise outlines and prepare for trial.
02/21/18 Thomas H. Cordova              1.20        0.00       $0.00             $0.00 Prepare for and participate in call regarding trial
                                                                                       preparation.




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                                                 Hours       Rate
 Date              Name               Hours                               Amount         Description
                                                Charged    Requested
02/21/18 Mary H. Kim                     2.90         0.00      $0.00             $0.00 Edit Bucci trial outline; weekly team call; coordinate travel
                                                                                        logistics for witnesses; prepare for oral arguments on
                                                                                        Daubert motions.
02/21/18 Margaret Mortimer               6.00        6.00     $195.00         $1,170.00 Status call and attention to exhibits and Caskey witness
                                                                                        examination outline.
02/21/18 Tharuni A. Jayaraman            5.50        5.50     $195.00         $1,072.50 Edit cross outline.
02/21/18 Taylor T. Southworth            2.10        0.00       $0.00             $0.00 Case pulls for Mary Kim.
02/22/18 Neil A. Steiner                 0.50        0.50     $500.00          $250.00 Meet with R. Waldman; trial preparation.
02/22/18 Katarina V. McClellan           4.80        0.00       $0.00             $0.00 Trial preparation.
02/22/18 Daphne T. Ha                    5.80        5.80     $240.00         $1,392.00 Trial preparation; draft Boynton direct.
02/22/18 Rebecca Kahan Waldman           4.00        4.00     $500.00         $2,000.00 Correspondence regarding filings; trial preparation.

02/22/18 Angela M. Liu                   3.00        3.00     $250.00          $750.00 Continue to revise direct and cross outlines.
02/22/18 Thomas H. Cordova               1.50        0.00       $0.00             $0.00 Revise Lehman examination outline.
02/22/18 Mary H. Kim                     0.50        0.00       $0.00             $0.00 Prepare exhibits for use at trial.
02/22/18 Margaret Mortimer               7.00        7.00     $195.00         $1,365.00 Attention to McFerron and Caskey witness examination
                                                                                        outlines and exhibits.
02/22/18 Tharuni A. Jayaraman            4.60        4.60     $195.00          $897.00 Edit cross outline.
02/22/18 Taylor T. Southworth            0.40        0.00       $0.00             $0.00 Research to locate article for T. Jayaraman.
02/22/18 Rachel Ryu                      1.60        0.00       $0.00             $0.00 Assembly of briefs, exhibits, and cases for attorney review.

02/23/18 Katarina V. McClellan           6.00        0.00       $0.00             $0.00 Trial preparation.
02/23/18 Daphne T. Ha                    2.90        2.90     $240.00          $696.00 Trial preparation.
02/23/18 Angela M. Liu                   5.00        5.00     $250.00         $1,250.00 Prepare D. Bucci; review and revise outlines and exhibits.
02/23/18 Mary H. Kim                     1.90        0.00       $0.00             $0.00 Work on submission of disputes concerning deposition
                                                                                        designations; prepare for call and call with client for trial
                                                                                        preparation.
02/23/18 Margaret Mortimer              14.20       14.20     $195.00         $2,769.00 Attention to Caskey examination outline and exhibits
                                                                                        preparation.
02/23/18 Tharuni A. Jayaraman            1.20        1.20     $195.00          $234.00 Review motion to strike; discussed cross outline.
02/23/18 Rachel Ryu                      4.00        0.00       $0.00             $0.00 Assembly of briefs, exhibits, and cases for attorney review.

02/24/18 Katarina V. McClellan           3.50        0.00       $0.00             $0.00 Deposition designations drafted.
02/24/18 Angela M. Liu                   4.20        4.20     $250.00         $1,050.00 Trial preparation.



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                                                Hours       Rate
 Date             Name               Hours                               Amount         Description
                                               Charged    Requested
02/25/18 Rebecca Kahan Waldman          2.10         2.10    $500.00         $1,050.00 Trial preparation.

02/25/18 Angela M. Liu                  7.00        7.00     $250.00         $1,750.00 Trial preparation.
02/25/18 Thomas H. Cordova              4.10        0.00       $0.00             $0.00 Trial preparation.
02/25/18 Margaret Mortimer              2.50        2.50     $195.00          $487.50 Attention to McFerron cross examination outline.
02/25/18 Tharuni A. Jayaraman           1.90        1.90     $195.00          $370.50 Distinguished cases in defendant's brief.
02/26/18 Katarina V. McClellan          3.00        0.00       $0.00             $0.00 Prepare witness materials for Lehman.
02/26/18 Daphne T. Ha                   0.70        0.70     $240.00          $168.00 Trial preparation.
02/26/18 Rebecca Kahan Waldman          2.50        2.50     $500.00         $1,250.00 Trial preparation.

02/26/18 Angela M. Liu                  7.00        7.00     $250.00         $1,750.00 Trial preparation.
02/26/18 Thomas H. Cordova              4.60        0.00       $0.00             $0.00 Attend to the preparation of Tabitha Lehman.
02/26/18 Mary H. Kim                    0.90        0.00       $0.00             $0.00 Compile Defendant's marked exhibits; prepare for Barreto
                                                                                       examination.
02/26/18 Margaret Mortimer             11.70       11.70     $195.00         $2,281.50 Call to discuss Caskey examination outline; call to discuss
                                                                                       Ahrens cross examination outline; attention to Deposition
                                                                                       Designation Dispute filing and McFerron cross examination
                                                                                       outline.
02/26/18 Tharuni A. Jayaraman           4.90        4.90     $195.00          $955.50 Edit notes for judicial notice motion.
02/26/18 Robyn M. McAllen               1.40        0.00       $0.00             $0.00 Attention to M. Kim request to determine if expert worked
         Broughton                                                                     on a case.
02/26/18 Rachel Ryu                     0.30        0.00       $0.00             $0.00 Update shared workspace with briefs filed.
02/27/18 Daphne T. Ha                   2.50        2.50     $240.00          $600.00 Trial preparation.
02/27/18 Rebecca Kahan Waldman          3.80        3.80     $500.00         $1,900.00 Trial preparation.

02/27/18 Angela M. Liu                  7.40        7.40     $250.00         $1,850.00 Continue to prepare for trial.
02/27/18 Thomas H. Cordova              4.30        0.00       $0.00             $0.00 Attend to the preparation of Tabitha Lehman, participate in
                                                                                       presentation from trial technician, and review recent filings.

02/27/18 Mary H. Kim                    2.10        0.00       $0.00             $0.00 Edit trial outline for Bucci; prepare for Barreto examination;
                                                                                       review Defendant's marked exhibits.
02/27/18 Margaret Mortimer              9.70        9.70     $195.00         $1,891.50 Attention to deposition designations disputes, Ahrens cross
                                                                                       examination preparation, McFerron cross examination
                                                                                       outline, and trial technology training.
02/27/18 Tharuni A. Jayaraman           3.70        3.70     $195.00          $721.50 Edit cross outline.


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                                             Hours       Rate
 Date               Name          Hours                               Amount         Description
                                            Charged    Requested
02/27/18 Delaney Berman              3.00         0.00      $0.00             $0.00 Assist T. Jayaraman with preparation of Camarota Cross
                                                                                    Outline.
02/27/18 Janet Peros                 1.50        0.00       $0.00             $0.00 Obtain expert testimony transcripts and background
                                                                                    information for expert for M. Mortimer.
02/27/18 Rachel Ryu                  0.10        0.00       $0.00             $0.00 Update shared workspace with filed briefs.
02/28/18 Neil A. Steiner             1.50        1.50     $500.00          $750.00 Telephone conference call with co-counsel; preparation for
                                                                                    trial.
02/28/18 Katarina V. McClellan       4.50        0.00       $0.00             $0.00 Status call; exhibits updated; general trial preparation.
02/28/18 Daphne T. Ha                5.10        5.10     $240.00         $1,224.00 Weekly call and follow up.
02/28/18 Rebecca Kahan Waldman       5.80        5.80     $500.00         $2,900.00 Weekly call; trial preparation.

02/28/18 Angela M. Liu               8.00        8.00     $250.00         $2,000.00 Prepare for trial.
02/28/18 Thomas H. Cordova           7.20        0.00       $0.00             $0.00 Participate in team call regarding recent developments;
                                                                                    create summary of various spreadsheets; review underlying
                                                                                    documents in preparation for trial.
02/28/18 Mary H. Kim                 3.30        0.00       $0.00             $0.00 Work on second amended exhibit list; weekly team call.
02/28/18 Margaret Mortimer          13.40       13.40     $195.00         $2,613.00 Attention to Ahrens cross examination preparation and
                                                                                    redirect examination; attention to plaintiffs exhibits; status
                                                                                    call with team; attention to Sedgwick County spreadsheet
                                                                                    summary.
02/28/18 Tharuni A. Jayaraman        5.40        5.40     $195.00         $1,053.00 Team calls; edit cross outline.
03/01/18 Neil A. Steiner             1.50        1.50     $500.00          $750.00 Trial preparation.
03/01/18 Katarina V. McClellan       5.50        0.00       $0.00             $0.00 Trial preparation.
03/01/18 Daphne T. Ha                2.10        2.10     $240.00          $504.00 Trial preparation.
03/01/18 Rebecca Kahan Waldman       5.00        5.00     $500.00         $2,500.00 Trial preparation.

03/01/18 Angela M. Liu              12.10       12.10     $250.00         $3,025.00 Trial preparation.
03/01/18 Thomas H. Cordova           8.10        0.00       $0.00             $0.00 Revise examination outlines; prepare exhibits for trial; make
                                                                                    redactions to exhibits.
03/01/18 Mary H. Kim                 2.80        0.00       $0.00             $0.00 Review Defendant's third amended exhibit list and prepare
                                                                                    objections; prepare for Bucci and Barreto examinations.

03/01/18 Margaret Mortimer           6.70        6.70     $195.00         $1,306.50 Attention to Caskey examination out and to defendant and
                                                                                    plaintiff's exhibit production; research Pennsylvania voter
                                                                                    fraud dispute.


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                                                Hours       Rate
 Date             Name               Hours                               Amount         Description
                                               Charged    Requested
03/01/18 Tharuni A. Jayaraman           7.20         7.20    $195.00         $1,404.00 Edit cross outline; assembled exhibits.
03/01/18 Robyn M. McAllen               0.30         0.00      $0.00             $0.00 Attention to M. Mortimer address verification request.
         Broughton
03/01/18 Taylor T. Southworth           0.30        0.00       $0.00             $0.00 Research re: article availability for M. Kim.
03/01/18 Delaney Berman                 0.20        0.00       $0.00             $0.00 Assist T. Jayaraman with preparation of trial exhibit.
03/02/18 Katarina V. McClellan          7.00        0.00       $0.00             $0.00 Trial preparation.
03/02/18 Daphne T. Ha                   4.00        4.00     $240.00          $960.00 Trial preparation and related correspondence.
03/02/18 Rebecca Kahan Waldman          4.50        4.50     $500.00         $2,250.00 Trial preparation.

03/02/18 Angela M. Liu                 14.00       14.00     $250.00         $3,500.00 Trial preparation.
03/02/18 Thomas H. Cordova              6.20        0.00       $0.00             $0.00 Trial preparation.
03/02/18 Mary H. Kim                   10.00        0.00       $0.00             $0.00 Travel to and from Wichita (8.0); preparation session with
                                                                                       Bucci.
03/02/18 Margaret Mortimer             10.10       10.10     $195.00         $1,969.50 Attention to Bryant cross examination and Caskey
                                                                                       examination outline; research Pennsylvania voter
                                                                                       registration case.
03/02/18 Tharuni A. Jayaraman           6.10        6.10     $195.00         $1,189.50 Edit cross outline; update exhibit list.
03/02/18 Delaney Berman                 2.00        0.00       $0.00             $0.00 Assist T. Jayaraman with preparation of trial library
                                                                                       materials.
03/03/18 Neil A. Steiner                1.00        1.00     $500.00          $500.00 Trial prep and email correspondence with co-counsel.
03/03/18 Katarina V. McClellan          4.00        0.00       $0.00             $0.00 Trial preparation.
03/03/18 Rebecca Kahan Waldman          1.80        1.80     $500.00          $900.00 Trial preparation.

03/03/18 Angela M. Liu                  5.20        5.20     $250.00         $1,300.00 Continue to prepare for trial.
03/03/18 Thomas H. Cordova              5.10        0.00       $0.00             $0.00 Revise examination outlines; prepare exhibits for trial; make
                                                                                       redactions to exhibits.
03/03/18 Mary H. Kim                    6.40        0.00       $0.00             $0.00 Work on redacting exhibits.
03/03/18 Margaret Mortimer              8.00        8.00     $195.00         $1,560.00 Attention to Caskey examination outline, including review of
                                                                                       Lehman and Hersh examination outlines.
03/03/18 Tharuni A. Jayaraman           6.90        6.90     $195.00         $1,345.50 Updated exhibits.
03/04/18 Neil A. Steiner                1.30        1.30     $500.00          $650.00 Trial prep and email corresp with co-counsel.
03/04/18 Katarina V. McClellan          2.00        0.00       $0.00             $0.00 Trial preparation.
03/04/18 Daphne T. Ha                  12.50       12.50     $240.00         $3,000.00 Travel to Kansas and trial preparation.
03/04/18 Rebecca Kahan Waldman          1.80        1.80     $500.00          $900.00 Trial preparation.



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                                                Hours       Rate
 Date               Name             Hours                               Amount         Description
                                               Charged    Requested
03/04/18 Angela M. Liu                 13.70       13.70     $250.00         $3,425.00 Continue to prepare for trial.
03/04/18 Thomas H. Cordova              5.50         0.00      $0.00             $0.00 Revise examination outlines; prepare exhibits for trial; make
                                                                                       redactions to exhibits.
03/04/18 Mary H. Kim                    0.50        0.00       $0.00             $0.00 Work on redacting exhibits.
03/04/18 Margaret Mortimer              9.50        9.50     $195.00         $1,852.50 Trial preparation and travel to Kansas.
03/04/18 Tharuni A. Jayaraman           7.50        7.50     $195.00         $1,462.50 Trial Preparation.
03/04/18 Tharuni A. Jayaraman           3.00        3.00     $195.00          $585.00 Flight to Kansas.
03/05/18 Neil A. Steiner               11.00       11.00     $500.00         $5,500.00 Travel to Kansas; preparation for trial.
03/05/18 Steven B. Singer               0.10        0.00       $0.00             $0.00 Retrieve article for M. Mortimer.
03/05/18 Steven B. Singer               1.20        0.00       $0.00             $0.00 Searched for article of the U.S. Census Bureau's Current
                                                                                       Population Survey.
03/05/18 Daphne T. Ha                  14.50       14.50     $240.00         $3,480.00 Trial preparation.
03/05/18 Rebecca Kahan Waldman         14.00       14.00     $500.00         $7,000.00 Travel to Kansas; prepared for trial.

03/05/18 Angela M. Liu                 13.50       13.50     $250.00         $3,375.00 Trial preparation.
03/05/18 Thomas H. Cordova              8.20        0.00       $0.00             $0.00 Revise examination outlines; prepare exhibits for trial; make
                                                                                       redactions to exhibits; travel from New York City to Kansas
                                                                                       City.
03/05/18 Mary H. Kim                    7.00        0.00       $0.00             $0.00 Travel to Kansas City (4.0); meet with clients prior to trial;
                                                                                       prepare for first day examinations.
03/05/18 Margaret Mortimer             12.00       12.00     $195.00         $2,340.00 Trial Preparation.
03/05/18 Tharuni A. Jayaraman          12.00       12.00     $195.00         $2,340.00 Trial Preparation.
03/06/18 Neil A. Steiner               16.00       16.00     $500.00         $8,000.00 Trial and preparation for day 2.
03/06/18 Katarina V. McClellan          2.00        0.00       $0.00             $0.00 Review and prepare Bryant deposition designations.
03/06/18 Daphne T. Ha                  17.00       17.00     $240.00         $4,080.00 Trial and preparation for day 2.
03/06/18 Rebecca Kahan Waldman         11.00       11.00     $500.00         $5,500.00 Trial and preparation for day 2.

03/06/18 Angela M. Liu                 14.60       14.60     $250.00         $3,650.00 Trial and preparation for day 2.
03/06/18 Thomas H. Cordova             15.40        0.00       $0.00             $0.00 Trial and preparation for day 2.
03/06/18 Mary H. Kim                   10.70        0.00       $0.00             $0.00 Trial and preparation for day 2.
03/06/18 Margaret Mortimer             14.00       14.00     $195.00         $2,730.00 Trial and preparation for day 2.
03/06/18 Tharuni A. Jayaraman          16.00       16.00     $195.00         $3,120.00 Trial and preparation for day 2.
03/07/18 Andrew J. Levander             0.50        0.00       $0.00             $0.00 Email correspondence and telephone conversation with
                                                                                       NAS; review documents and email correspondence, AN.
03/07/18 Neil A. Steiner               16.00       16.00     $500.00         $8,000.00 Trial and preparation for day 3.


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                                                Hours      Rate
 Date             Name               Hours                              Amount         Description
                                               Charged   Requested
03/07/18 Daphne T. Ha                  13.50       13.50    $240.00         $3,240.00 Trial and preparation for day 3.
03/07/18 Rebecca Kahan Waldman         12.50       12.50    $500.00         $6,250.00 Trial and preparation for day 3.

03/07/18 Angela M. Liu                 17.20       17.20    $250.00         $4,300.00 Trial and preparation for day 3.
03/07/18 Thomas H. Cordova             17.40        0.00      $0.00             $0.00 Trial and preparation for day 3.
03/07/18 Mary H. Kim                   12.00        0.00      $0.00             $0.00 Trial and preparation for day 3; travel from Kansas City.
03/07/18 Margaret Mortimer             14.00       14.00    $195.00         $2,730.00 Trial and preparation for day 3.
03/07/18 Tharuni A. Jayaraman          14.00       14.00    $195.00         $2,730.00 Trial and preparation for day 3.
03/08/18 Neil A. Steiner               15.00       15.00    $500.00         $7,500.00 Trial and preparation for day 4.
03/08/18 Daphne T. Ha                  13.50       13.50    $240.00         $3,240.00 Trial and preparation for day 4.
03/08/18 Rebecca Kahan Waldman         14.50       14.50    $500.00         $7,250.00 Trial and preparation for day 4.

03/08/18 Angela M. Liu                 17.30       17.30    $250.00         $4,325.00 Trial and preparation for day 4.
03/08/18 Thomas H. Cordova             16.40        0.00      $0.00             $0.00 Prepare for and attend trial; travel from Kansas City back to
                                                                                      New York.
03/08/18 Margaret Mortimer             12.00       12.00    $195.00         $2,340.00 Trial and preparation for day 4.
03/08/18 Tharuni A. Jayaraman          16.00       16.00    $195.00         $3,120.00 Trial and preparation for day 4.
03/09/18 Neil A. Steiner               12.00       12.00    $500.00         $6,000.00 Trial; return travel to NY.
03/09/18 Daphne T. Ha                  16.60       16.60    $240.00         $3,984.00 Trial and preparation for day 5.
03/09/18 Rebecca Kahan Waldman          8.20        8.20    $500.00         $4,100.00 Trial and preparation for day 5.

03/09/18 Angela M. Liu                 10.10       10.10    $250.00         $2,525.00 Trial and preparation for day 5.
03/09/18 Thomas H. Cordova              1.40        0.00      $0.00             $0.00 Review trial transcripts for post trial briefing, and address
                                                                                      Lehman spreadsheet questions.
03/09/18 Margaret Mortimer             14.00       14.00    $195.00         $2,730.00 Trial and preparation.
03/09/18 Tharuni A. Jayaraman          10.00       10.00    $195.00         $1,950.00 Trial and preparation.
03/10/18 Neil A. Steiner                3.00        3.00    $500.00         $1,500.00 Telephone conversation with R. Waldman; conference call
                                                                                      with co-counsel; email correspondence with A. Liu; trial
                                                                                      preparation.
03/10/18 Rebecca Kahan Waldman          3.50        3.50    $500.00         $1,750.00 Continue to prepare for trial.

03/10/18 Angela M. Liu                  5.90        5.90    $250.00         $1,475.00 Continue to prepare for trial.
03/10/18 Thomas H. Cordova              2.40        0.00      $0.00             $0.00 Participate in team call regarding developments, and review
                                                                                      trial transcripts.



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                                                Hours       Rate
 Date             Name               Hours                               Amount         Description
                                               Charged    Requested
03/10/18 Mary H. Kim                    2.10         0.00      $0.00             $0.00 Team call; review documents produced regarding alternative
                                                                                       process and strategize response.
03/10/18 Margaret Mortimer              9.00        9.00     $195.00         $1,755.00 Continue to prepare for trial.
03/10/18 Tharuni A. Jayaraman           3.00        3.00     $195.00          $585.00 Continue to prepare for trial.
03/10/18 Taylor T. Southworth           0.10        0.00       $0.00             $0.00 Person information research.
03/11/18 Neil A. Steiner               12.50       12.50     $500.00         $6,250.00 Travel to KC; trial preparation.
03/11/18 Daphne T. Ha                  17.00       17.00     $240.00         $4,080.00 Travel to KC; trial preparation.
03/11/18 Rebecca Kahan Waldman          2.00        2.00     $500.00         $1,000.00 Continue to prepare for trial.

03/11/18 Angela M. Liu                  9.70        9.70     $250.00         $2,425.00 Continue to prepare for trial.
03/11/18 Thomas H. Cordova              7.10        0.00       $0.00             $0.00 Research regarding jury lists; team call to discuss
                                                                                       developments; and draft chart of RCD applicants.
03/11/18 Margaret Mortimer             10.00       10.00     $195.00         $1,950.00 Continue to prepare for trial.
03/11/18 Tharuni A. Jayaraman           5.00        5.00     $195.00          $975.00 Continue to prepare for trial.
03/11/18 Robyn M. McAllen               0.50        0.00       $0.00             $0.00 Article purchases for T. Jayaraman.
         Broughton
03/12/18 Neil A. Steiner               13.00       13.00     $500.00         $6,500.00 Trial and prep for day 6.
03/12/18 Elisabeth L. Sachse            0.40        0.00       $0.00             $0.00 Provide Relativity support for case team.
03/12/18 Daphne T. Ha                  12.00       12.00     $240.00         $2,880.00 Trial and prep for day 6.
03/12/18 Rebecca Kahan Waldman         12.00       12.00     $500.00         $6,000.00 Trial and prep for day 6.

03/12/18 Angela M. Liu                 14.30       14.30     $250.00         $3,575.00 Trial and prep for day 6.
03/12/18 Margaret Mortimer             11.00       11.00     $195.00         $2,145.00 Trial and prep for day 6; witness interview.
03/12/18 Tharuni A. Jayaraman           8.50        8.50     $195.00         $1,657.50 Trial and prep for day 6.
03/12/18 Rachel Ryu                     0.10        0.00       $0.00             $0.00 Update shared workspace with deposition files.
03/13/18 Neil A. Steiner               12.00       12.00     $500.00         $6,000.00 Trial and meet with co-counsel.
03/13/18 Katarina V. McClellan          0.50        0.00       $0.00             $0.00 Prepare deposition designations for Court.
03/13/18 Daphne T. Ha                  14.50       14.50     $240.00         $3,480.00 Trial and travel.
03/13/18 Rebecca Kahan Waldman          7.00        7.00     $500.00         $3,500.00 Trial and related correspondence.

03/13/18 Angela M. Liu                 10.00       10.00     $250.00         $2,500.00 Trial and travel.
03/13/18 Thomas H. Cordova              2.20        0.00       $0.00             $0.00 Review trial transcripts in preparation for Proposed Finding
                                                                                       of Fact.
03/13/18 Margaret Mortimer             16.00       16.00     $195.00         $3,120.00 Trial and travel.
03/13/18 Tharuni A. Jayaraman           8.00        8.00     $195.00         $1,560.00 Trial and travel.


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                                                 Hours       Rate
 Date               Name              Hours                               Amount         Description
                                                Charged    Requested
03/14/18 Neil A. Steiner                 5.00         5.00    $500.00         $2,500.00 Return to NY; prep for day 7.
03/14/18 Daphne T. Ha                    2.30         2.30    $240.00          $552.00 Review transcripts for closing and other trial follow-up.
03/14/18 Rebecca Kahan Waldman           4.00         4.00    $500.00         $2,000.00 Review of testimony for closing; attention to other trial
                                                                                        related issues.
03/14/18 Angela M. Liu                   7.90        7.90     $250.00         $1,975.00 Prepare for trial.
03/14/18 Thomas H. Cordova               2.20        0.00       $0.00             $0.00 Review trial transcript in preparation for the closing
                                                                                        argument and circulate relevant portions of the transcript.

03/14/18 Mary H. Kim                     0.80        0.00       $0.00             $0.00 Prepare for Barreto examination and closing argument.
03/14/18 Margaret Mortimer               5.70        5.70     $195.00         $1,111.50 Attention to closing and post trial matters.
03/14/18 Tharuni A. Jayaraman            0.70        0.70     $195.00          $136.50 Reviewed trial transcripts.
03/15/18 Neil A. Steiner                 2.50        2.50     $500.00         $1,250.00 Prep for day 7; email correspondence with co-counsel; email
                                                                                        correspondence with defense counsel; conference call with
                                                                                        co-counsel; review Barreto transcript.
03/15/18 Daphne T. Ha                    1.60        1.60     $240.00          $384.00 Team call and trial follow up.
03/15/18 Rebecca Kahan Waldman           4.80        4.80     $500.00         $2,400.00 Review testimony; prepared for closings.

03/15/18 Angela M. Liu                   9.20        9.20     $250.00         $2,300.00 Continue to prepare for trial.
03/15/18 Thomas H. Cordova               2.80        0.00       $0.00             $0.00 Review trial transcripts and draft proposed finding of fact.
03/15/18 Mary H. Kim                     0.30        0.00       $0.00             $0.00 Team call.
03/15/18 Margaret Mortimer               4.40        4.40     $195.00          $858.00 Attention to trial and closing preparation and proposed
                                                                                        findings of fact.
03/15/18 Tharuni A. Jayaraman            1.20        1.20     $195.00          $234.00 Research expert witness; team call.
03/16/18 Neil A. Steiner                 2.50        2.50     $500.00         $1,250.00 Prep for trial day 7; video prep with Barreto.
03/16/18 Katarina V. McClellan           7.50        0.00       $0.00             $0.00 Prepare links to all admitted exhibits; prepare chart of all
                                                                                        individual trial testimony.
03/16/18 Angela M. Liu                   4.60        4.60     $250.00         $1,150.00 Continue to prepare for trial.
03/16/18 Mary H. Kim                     1.00        0.00       $0.00             $0.00 Review trial transcripts and edit proposed findings of fact.
03/16/18 Margaret Mortimer               8.50        8.50     $195.00         $1,657.50 Attention to trial preparation.
03/17/18 Neil A. Steiner                 2.00        2.00     $500.00         $1,000.00 Prep for day 7; review stipulation; email correspondence
                                                                                        with co-counsel.
03/17/18 Rebecca Kahan Waldman           0.50        0.50     $500.00          $250.00 Prepare for closing arguments.

03/17/18 Angela M. Liu                   0.90        0.90     $250.00          $225.00 Continue to prepare for trial.
03/18/18 Neil A. Steiner                10.00       10.00     $500.00         $5,000.00 Prep for day 7; travel to Kansas; met with Barreto.


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                                                 Hours       Rate
 Date              Name               Hours                               Amount         Description
                                                Charged    Requested
03/18/18 Rebecca Kahan Waldman           0.50         0.50    $500.00          $250.00 Prepare for closing arguments.

03/18/18 Angela M. Liu                   7.20        7.20     $250.00         $1,800.00 Travel for and continue to prepare for trial.
03/18/18 Mary H. Kim                     7.10        0.00       $0.00             $0.00 Review trial transcripts and edit proposed findings of fact
                                                                                        (2.3); travel to Kansas City (3.8); prepare for Barreto
                                                                                        examination (1.0).
03/18/18 Margaret Mortimer               6.50        6.50     $195.00         $1,267.50 Travel for and continue to prepare for trial.
03/18/18 Tharuni A. Jayaraman            4.00        4.00     $195.00          $780.00 Travel for and continue to prepare for trial.
03/19/18 Neil A. Steiner                 8.00        8.00     $500.00         $4,000.00 Trial day 7.
03/19/18 Daphne T. Ha                   18.50       18.50     $240.00         $4,440.00 Travel for and continue to prepare for trial.
03/19/18 Angela M. Liu                   8.20        8.20     $250.00         $2,050.00 Prepare for and attend trial day 7.
03/19/18 Mary H. Kim                     9.00        0.00       $0.00             $0.00 Prepare for and attend trial day 7.
03/19/18 Margaret Mortimer              11.00       11.00     $195.00         $2,145.00 Prepare for and attend trial day 7.
03/19/18 Tharuni A. Jayaraman           11.00       11.00     $195.00         $2,145.00 Prepare for and attend trial day 7.
03/20/18 Neil A. Steiner                 3.50        3.50     $500.00         $1,750.00 Return to NY.
03/20/18 Mary H. Kim                     3.50        0.00       $0.00             $0.00 Travel from Kansas City.
03/20/18 Margaret Mortimer               8.00        8.00     $195.00         $1,560.00 Travel and attention to post-closing briefing.
03/20/18 Tharuni A. Jayaraman            4.00        4.00     $195.00          $780.00 Travel back to D.C.
03/21/18 Katarina V. McClellan           1.00        0.00       $0.00             $0.00 Update witness trial transcript chart.
03/21/18 Rebecca Kahan Waldman           0.50        0.50     $500.00          $250.00 Review updated PFOF.

03/21/18 Margaret Mortimer               7.70        7.70     $195.00         $1,501.50 Attention to findings of fact and post-closing items.
03/22/18 Katarina V. McClellan           6.50        0.00       $0.00             $0.00 Update exhibits; post-trial work.
03/22/18 Daphne T. Ha                    0.30        0.30     $240.00            $72.00 Post-trial correspondence.
03/22/18 Rebecca Kahan Waldman           1.00        1.00     $500.00          $500.00 Correspondence regarding post-trial submissions.

03/22/18 Angela M. Liu                   2.90        2.90     $250.00          $725.00 Manage post trial findings of fact.
03/22/18 Margaret Mortimer               8.80        8.80     $195.00         $1,716.00 Attention to post-closing items.
03/22/18 Tharuni A. Jayaraman            0.30        0.30     $195.00            $58.50 Review PFOF.
03/23/18 Katarina V. McClellan           1.00        0.00       $0.00             $0.00 Post-trial work.
03/23/18 Margaret Mortimer               2.60        2.60     $195.00          $507.00 Attention to post-trial items including proposed findings of
                                                                                        fact.
03/23/18 Tharuni A. Jayaraman            1.20        1.20     $195.00          $234.00 Review contempt hearing transcript; review proposed
                                                                                        findings of fact.
03/25/18 Tharuni A. Jayaraman            2.00        2.00     $195.00          $390.00 Edit proposed findings of fact.


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                                                Hours       Rate
 Date             Name               Hours                               Amount         Description
                                               Charged    Requested
03/26/18 Rebecca Kahan Waldman          2.50         2.50    $500.00         $1,250.00 Review trial transcripts.

03/26/18 Thomas H. Cordova              2.50        0.00       $0.00             $0.00 Attend to issues related to the proposed finding of fact.
03/26/18 Margaret Mortimer              0.80        0.80     $195.00          $156.00 Attention to post-trial items, including proposed findings of
                                                                                       fact.
03/26/18 Tharuni A. Jayaraman           2.80        2.80     $195.00          $546.00 Edit proposed findings of fact.
03/27/18 Daphne T. Ha                   0.40        0.40     $240.00            $96.00 Correspondence with witnesses post-trial.
03/27/18 Thomas H. Cordova              3.20        0.00       $0.00             $0.00 Attend to the drafting of proposed finding of fact.
03/27/18 Mary H. Kim                    2.40        0.00       $0.00             $0.00 Review trial transcripts and edit proposed findings of fact.
03/27/18 Margaret Mortimer              8.80        8.80     $195.00         $1,716.00 Attention to post-trial items, including proposed findings of
                                                                                       fact.
03/28/18 Rebecca Kahan Waldman          1.00        1.00     $500.00          $500.00 Reviewed proposed findings of fact.

03/28/18 Thomas H. Cordova              2.20        0.00       $0.00            $0.00 Participate in team call regarding recent developments and
                                                                                      attend to the proposed finding of fact document.
03/28/18 Mary H. Kim                    2.60        0.00       $0.00            $0.00 Review trial transcripts and edit proposed findings of fact;
                                                                                      attend team call.
03/28/18 Margaret Mortimer              3.90        3.90     $195.00          $760.50 Attention to proposed findings of fact.
03/28/18 Tharuni A. Jayaraman           2.50        2.50     $195.00          $487.50 Team call; edited proposed findings of fact.
03/29/18 Daphne T. Ha                   0.30        0.30     $240.00           $72.00 Correspondence regarding hearing alternatives and Jo
                                                                                      French in proposed findings of fact.
03/29/18 Rebecca Kahan Waldman          0.50        0.50     $500.00          $250.00 Correspondence regarding PFOF/COL.

03/29/18 Margaret Mortimer              1.30        1.30     $195.00          $253.50 Attention to proposed findings of fact.
03/30/18 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Email correspondence with co-counsel; work on post-trial
                                                                                      issues.
04/04/18 Rebecca Kahan Waldman          0.80        0.80     $500.00          $400.00 Attention to proposed findings of fact.

04/05/18 Margaret Mortimer              1.30        1.30     $195.00          $253.50 Attention to proposed findings of fact.
04/06/18 Rebecca Kahan Waldman          0.60        0.60     $500.00          $300.00 Attention to proposed findings of fact.

04/06/18 Thomas H. Cordova              1.40        0.00       $0.00            $0.00 Draft proposed finding of fact.
04/06/18 Tharuni A. Jayaraman           2.20        2.20     $195.00          $429.00 Edit potential findings of fact and conclusions of law.
04/07/18 Mary H. Kim                    1.60        0.00       $0.00            $0.00 Edit proposed findings of fact.



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                                             Hours       Rate
 Date               Name          Hours                               Amount        Description
                                            Charged    Requested
04/09/18 Neil A. Steiner             0.50         0.50    $500.00          $250.00 Work on post-trial issues, email correspondence with co-
                                                                                    counsel.
04/09/18 Daphne T. Ha                0.50        0.50     $240.00          $120.00 Review post-trial findings of fact and related
                                                                                    correspondence.
04/09/18 Rebecca Kahan Waldman       4.50        4.50     $500.00         $2,250.00 Revise PFOF/COL.

04/09/18 Thomas H. Cordova           2.40        0.00       $0.00            $0.00 Draft and revise the proposed finding of fact.
04/09/18 Mary H. Kim                 2.40        0.00       $0.00            $0.00 Edit proposed findings of fact.
04/09/18 Tharuni A. Jayaraman        2.50        2.50     $195.00          $487.50 Edit proposed findings of fact and conclusions of law.
04/10/18 Rebecca Kahan Waldman       0.50        0.50     $500.00          $250.00 Attention to trial exhibits.

04/10/18 Margaret Mortimer           6.30        6.30     $195.00         $1,228.50 Attention to proposed findings of fact.
04/11/18 Neil A. Steiner             0.30        0.30     $500.00          $150.00 Conference call with co-counsel.
04/11/18 Rebecca Kahan Waldman       0.70        0.70     $500.00          $350.00 Correspondence regarding extension; weekly call;
                                                                                    correspondence regarding PFOF.
04/11/18 Mary H. Kim                 0.30        0.00       $0.00             $0.00 Conference call with co-counsel.
04/11/18 Margaret Mortimer           0.30        0.30     $195.00            $58.50 Conference call with co-counsel.
04/12/18 Rebecca Kahan Waldman       0.50        0.50     $500.00          $250.00 Correspondence regarding new cases.

04/16/18 Rebecca Kahan Waldman       1.00        1.00     $500.00          $500.00 Proposed findings of fact and conclusions of law.

04/16/18 Angela M. Liu               3.50        3.50     $250.00          $875.00 Continue to revise proposed findings of fact and conclusions
                                                                                   of law.
04/16/18 Thomas H. Cordova           2.20        0.00       $0.00            $0.00 Revise and proposed finding of fact.
04/17/18 Angela M. Liu               3.70        3.70     $250.00          $925.00 Continue to review and revise findings of fact and
                                                                                   conclusions of law.
04/17/18 Thomas H. Cordova           2.70        0.00       $0.00            $0.00 Revise and draft proposed finding of fact.
04/17/18 Mary H. Kim                 1.30        0.00       $0.00            $0.00 Edit Proposed Findings of Fact.
04/17/18 Margaret Mortimer           1.00        1.00     $195.00          $195.00 Attention to proposed findings of fact.
04/17/18 Tharuni A. Jayaraman        1.90        1.90     $195.00          $370.50 Edited proposed findings of fact and conclusions of law.
04/18/18 Neil A. Steiner             0.80        0.80     $500.00          $400.00 Numerous emails re same; review articles re same.
04/18/18 Daphne T. Ha                2.60        2.60     $240.00          $624.00 Review proposed findings of fact.
04/18/18 Rebecca Kahan Waldman       1.00        1.00     $500.00          $500.00 Review opinion.




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                                                 Hours       Rate
 Date               Name              Hours                               Amount       Description
                                                Charged    Requested
04/18/18 Thomas H. Cordova               1.00         0.00      $0.00           $0.00 Participate in team call regarding recent developments and
                                                                                      draft proposed finding of facts.
04/18/18 Tharuni A. Jayaraman            2.40        2.40     $195.00         $468.00 Team call; updated proposed findings of fact and
                                                                                      conclusions of law.
04/18/18 Delaney Berman                  0.20        0.00       $0.00           $0.00 Assist T. Jayaraman with blue booking.
04/19/18 Katarina V. McClellan           8.00        0.00       $0.00           $0.00 Cite check, shepardize, quote and fact check post trial brief.

04/19/18 Rebecca Kahan Waldman           1.20        1.20     $500.00         $600.00 Call regarding potential litigation.

04/19/18 Angela M. Liu                   0.80        0.80     $250.00         $200.00 Conference call regarding issues relating to ADA violations;
                                                                                      strategize regarding issues relating to staffing.
04/20/18 Katarina V. McClellan           7.50        0.00       $0.00           $0.00 Cite check, shepardize, quote check post trial brief; review
                                                                                      for formatting consistencies.
04/22/18 Neil A. Steiner                 0.20        0.20     $500.00         $100.00 Review article; email correspondence with co-counsel.
04/22/18 Angela M. Liu                   0.70        0.70     $250.00         $175.00 Preliminary research regarding issues relating to ADA case.

04/23/18 Rebecca Kahan Waldman           1.00        1.00     $500.00         $500.00 Correspondence regarding filing.

04/23/18 Thomas H. Cordova               0.60        0.00       $0.00           $0.00 Confer with team regarding suing Kobach in a related
                                                                                      matter.
04/23/18 Mary H. Kim                     1.00        0.00       $0.00           $0.00 Conduct legal research on disabled voters' signatures.
04/24/18 Neil A. Steiner                 0.70        0.70     $500.00         $350.00 Review defendants proposed findings of fact; email
                                                                                      correspondence with co-counsel regarding same; review
                                                                                      articles.
04/24/18 Rebecca Kahan Waldman           1.00        1.00     $500.00         $500.00 Attention to refiled statement of facts.

04/25/18 Angela M. Liu                   0.40        0.40     $250.00         $100.00 Review fees motion.
04/25/18 Thomas H. Cordova               0.60        0.00       $0.00           $0.00 Participate in team call regarding next steps.
04/25/18 Mary H. Kim                     2.30        0.00       $0.00           $0.00 Team call; conduct legal research on disabled voters'
                                                                                      signatures.
04/25/18 Tharuni A. Jayaraman            3.70        3.70     $195.00         $721.50 Edit declaration in support of motion for attorneys' fees.
04/26/18 Rebecca Kahan Waldman           1.50        1.50     $500.00         $750.00 Attention to fee application and related issues.

04/26/18 Tharuni A. Jayaraman            0.40        0.40     $195.00          $78.00 Edit declaration in support of motion for attorneys' fees.
04/26/18 Delaney Berman                  0.60        0.00       $0.00           $0.00 Assist T. Jayaraman with fee calculations.


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                                                Hours       Rate
 Date               Name             Hours                               Amount       Description
                                               Charged    Requested
04/30/18 Angela M. Liu                  0.60         0.60    $250.00         $150.00 Review declaration and prepare expenses for fees motion.

05/01/18 Neil A. Steiner                1.30        1.30     $500.00         $650.00 Work on contempt motion, fee application, email
                                                                                     correspondence with Co-counsel.
05/01/18 Rebecca Kahan Waldman          0.50        0.50     $500.00         $250.00 Review brief.

05/02/18 Neil A. Steiner                0.70        0.70     $500.00         $350.00 Conference call with co-counsel; work on contempt fee
                                                                                     application.
05/02/18 Rebecca Kahan Waldman          0.60        0.60     $500.00         $300.00 Weekly call; review brief; correspondence regarding appeal.

05/02/18 Mary H. Kim                    0.20        0.00       $0.00           $0.00 Team call.
05/02/18 Tharuni A. Jayaraman           0.50        0.50     $195.00          $97.50 Team call; review declaration for contempt motion.
05/03/18 Neil A. Steiner                0.30        0.30     $500.00         $150.00 Email correspondence with co-counsel; review motion to
                                                                                     dismiss appeal.
05/03/18 Angela M. Liu                  1.40        1.40     $250.00         $350.00 Confer with TS regarding issues relating to fees application;
                                                                                     review time entries and prepare for fee application; review
                                                                                     correspondence relating to appeal.
05/03/18 Tharuni A. Jayaraman           2.50        2.50     $195.00         $487.50 Edit declaration for fees petition; prepare related exhibits.

05/03/18 Delaney Berman                 0.80        0.00       $0.00           $0.00 Assist T. Jayaraman with calculating time spent on Contempt
                                                                                     Papers.
05/04/18 Tharuni A. Jayaraman           2.00        2.00     $195.00         $390.00 Update declaration in support of attorneys fees.
05/07/18 Neil A. Steiner                0.80        0.80     $500.00         $400.00 Finalize declaration, fee application; email correspondence
                                                                                     with co-counsel; telephone conversation with A. Liu.

05/07/18 Angela M. Liu                  0.40        0.40     $250.00         $100.00 Review and discuss litigation memo regarding disability
                                                                                     claims.
05/08/18 Angela M. Liu                  0.40        0.40     $250.00         $100.00 Strategize regarding litigation memo.
05/09/18 Rebecca Kahan Waldman          0.50        0.50     $500.00         $250.00 Review draft of letter regarding compliance with PO and
                                                                                     correspondence regarding same.
05/09/18 Angela M. Liu                  0.30        0.30     $250.00          $75.00 Review and strategize regarding county compliance letter.
05/10/18 Neil A. Steiner                0.30        0.30     $500.00         $150.00 Review draft letter and email correspondence with co-
                                                                                     counsel.
05/14/18 Robyn M. McAllen               0.50        0.00       $0.00           $0.00 Attention to D. Ha tweet request.
         Broughton


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                                             Hours       Rate
 Date               Name          Hours                               Amount        Description
                                            Charged    Requested
05/17/18 Neil A. Steiner             0.50         0.50    $500.00          $250.00 Email correspondence with co-counsel; email
                                                                                   correspondence with defense counsel; follow-up on non-
                                                                                   compliance issue; telephone conversation with A. Liu.
05/21/18 Rebecca Kahan Waldman       0.80        0.80     $500.00          $400.00 Correspondence regarding appeal and compliance with
                                                                                   court orders.
06/04/18 Neil A. Steiner             0.30        0.30     $500.00          $150.00 Review letter re confidentiality; email correspondence with
                                                                                   co-counsel.
06/04/18 Rebecca Kahan Waldman       0.80        0.80     $500.00          $400.00 Review litigation memo and correspondence regarding
                                                                                   same.
06/04/18 Tharuni A. Jayaraman        0.60        0.60     $195.00          $117.00 Edit litigation memo; discuss same with M. Mortimer.
06/05/18 Rebecca Kahan Waldman       0.50        0.50     $500.00          $250.00 Review pleadings.

06/06/18 Rebecca Kahan Waldman       1.30        1.30     $500.00          $650.00 Review reply brief; correspondence regarding new case.

06/13/18 Neil A. Steiner             0.20        0.20     $500.00          $100.00 Email correspondence with co-counsel; review draft
                                                                                   response letter.
06/13/18 Rebecca Kahan Waldman       0.80        0.80     $500.00          $400.00 Review correspondence regarding supplemental authority.

06/15/18 James Kilduff               1.00        0.00       $0.00            $0.00 Prepare Kansas Voting Rights Complaint.
06/18/18 Neil A. Steiner             1.50        1.50     $500.00          $750.00 Begin reviewing opinion; email correspondence with co-
                                                                                   counsel; review articles.
06/18/18 Rebecca Kahan Waldman       1.50        1.50     $500.00          $750.00 Review opinion and correspondence regarding same.

06/18/18 Angela M. Liu               0.70        0.70     $250.00          $175.00 Review and analyze opinion.
06/18/18 Thomas H. Cordova           2.00        0.00       $0.00            $0.00 Review decision and correspondence regarding next steps.

06/19/18 Neil A. Steiner             2.00        2.00     $500.00         $1,000.00 Conference call with co-counsel; continue reviewing opinion;
                                                                                    review articles; phone conference with AP.
06/19/18 Daphne T. Ha                0.70        0.70     $240.00          $168.00 Team call.
06/19/18 Rebecca Kahan Waldman       3.50        3.50     $500.00         $1,750.00 Team call; review opinion; correspondence regarding
                                                                                    findings.
06/20/18 Rebecca Kahan Waldman       2.10        2.10     $500.00         $1,050.00 Attention to issues regarding compliance with court order.

06/20/18 Margaret Mortimer           1.20        1.20     $195.00          $234.00 Research and review of case law regarding court appointed
                                                                                   monitors.


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                                                Hours       Rate
 Date               Name             Hours                               Amount       Description
                                               Charged    Requested
06/20/18 Tharuni A. Jayaraman           0.58         0.58    $195.00         $113.10 Draft outline for motion for contempt; discuss same with M.
                                                                                     Mortimer.
06/25/18 Neil A. Steiner                0.30        0.30     $500.00         $150.00 Email correspondence with co-counsel re compliance, fee
                                                                                     petition.
06/25/18 Tharuni A. Jayaraman           1.10        1.10     $195.00         $214.50 Review cases in which court approved monitor was raised in
                                                                                     consent decrees.
06/26/18 Neil A. Steiner                0.60        0.60     $500.00         $300.00 Conference call with co-counsel.
06/26/18 Rebecca Kahan Waldman          1.00        1.00     $500.00         $500.00 Prepared for and participated in meeting regarding strategy
                                                                                     on appeal.
06/28/18 Neil A. Steiner                0.20        0.20     $500.00         $100.00 Email correspondence with co-counsel; continue work on
                                                                                     fee issue.
07/01/18 Neil A. Steiner                0.20        0.20     $500.00         $100.00 Email correspondence with co-counsel.
07/02/18 Neil A. Steiner                0.20        0.20     $500.00         $100.00 Email correspondence with co-counsel; review court email;
                                                                                     review order.
07/05/18 Neil A. Steiner                0.20        0.20     $500.00         $100.00 Review and revise 10th circuit appearances and email
                                                                                     corresp with co-counsel re same.
07/05/18 Nicole A. La Due               0.50        0.00       $0.00           $0.00 Review client files to obtain attorney filing credential
                                                                                     information for each attorney, for use in upcoming ECF
                                                                                     filing.
07/27/18 Neil A. Steiner                0.40        0.40     $500.00         $200.00 Review Jordan brief; email correspondence with co-counsel.

08/01/18 Neil A. Steiner                0.30        0.30     $500.00         $150.00 Continue work on record for appeal; email correspondence
                                                                                     with co-counsel.
08/01/18 Rebecca Kahan Waldman          0.50        0.50     $500.00         $250.00 Correspondence regarding record on appeal and decision
                                                                                     regarding motion for fees.
08/03/18 Rebecca Kahan Waldman          0.40        0.40     $500.00         $200.00 Correspondence regarding appeal.

08/23/18 Neil A. Steiner                0.30        0.30     $500.00         $150.00 Review draft briefing schedule; email correspondence with
                                                                                     co-counsel.
08/24/18 Nicole A. La Due               0.60        0.00       $0.00           $0.00 Receive and review new pleadings, convert, upload to
                                                                                     electronic file and prepare deadline reminders of upcoming
                                                                                     date for each team attorney.
08/28/18 Tharuni A. Jayaraman           1.00        1.00     $195.00         $195.00 Review trial transcript; review cases regarding disclosure of
                                                                                     sealed materials.
09/04/18 Tharuni A. Jayaraman           4.50        4.50     $195.00         $877.50 Research for letter regarding release of deposition tape.


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                                                Hours       Rate
 Date               Name             Hours                               Amount         Description
                                               Charged    Requested
09/05/18 Tharuni A. Jayaraman           1.20         1.20    $195.00          $234.00 Edit letter to defendant regarding releasing tape of
                                                                                      deposition.
09/05/18 Trevor Fortenberry             0.30        0.00       $0.00            $0.00 Perform cite check on draft memo at request of T.
                                                                                      Jayaraman.
09/14/18 Rebecca Kahan Waldman          0.30        0.30     $500.00          $150.00 Correspondence regarding Kobach tape.

09/14/18 Tharuni A. Jayaraman           1.70        1.70     $195.00          $331.50 Prepare for meet and confer with opposing counsel
                                                                                      regarding deposition tape; meet and confer with opposing
                                                                                      counsel; related follow-up.
09/15/18 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Email correspondence with co-counsel.
09/20/18 Nicole A. La Due               3.50        0.00       $0.00            $0.00 Modify documents for filing, prepare all materials, circulate
                                                                                      to team members and discuss upcoming filing of materials.

09/21/18 Nicole A. La Due               2.00        0.00       $0.00             $0.00 Modify documents for filing, prepare all materials, convert,
                                                                                       file pleadings via CM/ECF and circulate electronically file
                                                                                       stamped materials to team for review.
09/27/18 Rebecca Kahan Waldman          2.00        2.00     $500.00         $1,000.00 Revise brief and correspondence regarding same.

09/27/18 Angela M. Liu                  0.60        0.60     $250.00          $150.00 Revise opposition brief regarding distribution of deposition
                                                                                      tape.
09/28/18 Rebecca Kahan Waldman          1.20        1.20     $500.00          $600.00 Revise brief; correspondence regarding same.

09/28/18 Angela M. Liu                  1.20        1.20     $250.00          $300.00 Review Appellant’s brief and Appellee outline.
10/15/18 Neil A. Steiner                1.00        1.00     $500.00          $500.00 Review Kansas opposition and reply briefs; review and revise
                                                                                      reply on video dep; email corresp with co-counsel.
10/22/18 Rebecca Kahan Waldman          0.30        0.30     $500.00          $150.00 Correspondence regarding briefing.

10/23/18 Rebecca Kahan Waldman          0.30        0.30     $500.00          $150.00 Correspondence regarding appeals.

11/08/18 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Correspondence regarding appeals.
11/14/18 Angela M. Liu                  1.00        1.00     $250.00          $250.00 Review and revise appellate briefing.
11/15/18 Rebecca Kahan Waldman          1.20        1.20     $500.00          $600.00 Review and revise appeal brief.

11/16/18 Neil A. Steiner                0.80        0.80     $500.00          $400.00 Conference call with co-counsel; continue work on appeal
                                                                                      issues.


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                                            Hours       Rate
 Date               Name         Hours                               Amount        Description
                                           Charged    Requested
11/16/18 Angela M. Liu              0.80         0.80    $250.00          $200.00 Call regarding issues relating to appellate brief.
11/17/18 Neil A. Steiner            2.50         2.50    $500.00         $1,250.00 Review and revise appeal brief.
11/22/18 Angela M. Liu              2.00         2.00    $250.00          $500.00 Review and revise appeal brief.
11/23/18 Neil A. Steiner            2.50         2.50    $500.00         $1,250.00 Review and revise appeal brief.
11/24/18 Neil A. Steiner            3.50         3.50    $500.00         $1,750.00 Review and revise appeal brief.
11/24/18 Angela M. Liu              1.30         1.30    $250.00          $325.00 Continue reviewing and revising appellate brief.
11/25/18 Neil A. Steiner            4.00         4.00    $500.00         $2,000.00 Review and revise appeal brief.
11/26/18 Neil A. Steiner            0.50         0.50    $500.00          $250.00 Continue work on appeal brief; email correspondence with
                                                                                   co-counsel.
11/26/18 Rebecca Kahan Waldman      1.50        1.50     $500.00          $750.00 Review brief.

11/26/18 Angela M. Liu              1.90        1.90     $250.00          $475.00 Continue to review and revise 10th Circuit appellate brief.
11/27/18 Neil A. Steiner            0.50        0.50     $500.00          $250.00 Continue work on appeal brief; phone conference with D.
                                                                                  Ho.
11/28/18 Neil A. Steiner            0.40        0.40     $500.00          $200.00 Work on appeal issues; email correspondence with co-
                                                                                  counsel.
11/28/18 Angela M. Liu              2.00        2.00     $250.00          $500.00 Continue to review and revise 10th Circuit appellate brief.
12/04/18 Neil A. Steiner            0.50        0.50     $500.00          $250.00 Review orders; email correspondence with D.Ha; email
                                                                                  correspondence with co-counsel.
12/05/18 Neil A. Steiner            0.80        0.80     $500.00          $400.00 Conf. call w co-counsel; email corresp with co-counsel; case
                                                                                  strategy.
12/07/18 Tharuni A. Jayaraman       0.70        0.70     $195.00          $136.50 Prepare electronic briefing binders.
12/10/18 Benjamin E. Rosenberg      1.50        0.00       $0.00            $0.00 Review briefs in case.
12/11/18 Neil A. Steiner            0.20        0.20     $500.00          $100.00 Email correspondence with opposing counsel, co-counsel.
12/28/18 Benjamin E. Rosenberg      3.20        0.00       $0.00            $0.00 Review of briefs in Kansas voting case.
12/29/18 Benjamin E. Rosenberg      7.50        0.00       $0.00            $0.00 Research regarding voting rights issues.
12/31/18 Benjamin E. Rosenberg      4.10        0.00       $0.00            $0.00 Research regarding voting rights issues.
01/30/19 Rebecca Kahan Waldman      0.30        0.30     $500.00          $150.00 Review client letters.

02/06/19 Nicole A. La Due           2.50        0.00       $0.00             $0.00 Review client materials to obtain documents for attorney
                                                                                   review.
02/12/19 Robyn M. McAllen           0.50        0.00       $0.00             $0.00 Retrieve docket entry for M. Mortimer.
         Broughton
02/25/19 Rebecca Kahan Waldman      2.50        2.50     $500.00         $1,250.00 Review appeal briefs.



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                                                Hours       Rate
 Date               Name             Hours                               Amount        Description
                                               Charged    Requested
02/27/19 Rebecca Kahan Waldman          1.00         1.00    $500.00          $500.00 Prepare for moot.

02/28/19 Benjamin E. Rosenberg          1.20        0.00       $0.00             $0.00 Review briefs and cases.
03/01/19 Benjamin E. Rosenberg          2.00        0.00       $0.00             $0.00 Prepare for and moot for argument.
03/01/19 Neil A. Steiner                2.00        2.00     $500.00         $1,000.00 Prepare for and moot for argument.
03/01/19 Rebecca Kahan Waldman          1.80        1.80     $500.00          $900.00 Prepare for and moot for argument.

03/01/19 Tharuni A. Jayaraman           1.90        1.90     $195.00          $370.50 Prepare for and moot for argument.
03/07/19 Neil A. Steiner                2.00        2.00     $500.00         $1,000.00 Prepare for and moot for argument.
03/07/19 Rebecca Kahan Waldman          0.50        0.50     $500.00          $250.00 Prepare for and moot for argument.

03/07/19 Angela M. Liu                  1.50        1.50     $250.00          $375.00 Prepare for and moot for argument.
03/08/19 Neil A. Steiner                0.20        0.20     $500.00          $100.00 Email correspondence with co-counsel; review panel.
03/12/19 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Work on discovery issues; email correspondence with co-
                                                                                       counsel.
03/13/19 Neil A. Steiner                2.00        2.00     $500.00         $1,000.00 Prepare for and moot for argument.
03/13/19 Rebecca Kahan Waldman          2.50        2.50     $500.00         $1,250.00 Prepare for and moot for argument.

03/13/19 Angela M. Liu                  1.50        1.50     $250.00          $375.00 Prepare for and moot for argument.
03/18/19 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Email correspondence with co-counsel regarding argument.

04/03/19 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Review and revised satisfaction and email correspondence
                                                                                       with co-counsel regarding same.
04/04/19 Neil A. Steiner                0.30        0.30     $500.00          $150.00 Review and revise draft satisfaction of contempt award;
                                                                                       email correspondence with co-counsel regarding same.
07/02/19 Jefferson Holder               0.30        0.00       $0.00             $0.00 Docketing/review of case information update into the E-
                                                                                       Docket Case Management System and Monitoring (case)
                                                                                       status of pending matters.
04/29/20 Neil A. Steiner                1.00        1.00     $500.00          $500.00 Begin reviewing opinion; numerous emails re same; review
                                                                                       and revise press release.
04/29/20 Rebecca Kahan Waldman          2.00        2.00     $500.00         $1,000.00 Review opinion and correspondence regarding same.

04/29/20 Angela M. Liu                  1.50        1.50     $250.00          $375.00 Review and analyze opinion; administrative tasks.
04/29/20 Tharuni A. Jayaraman           1.70        1.70     $195.00          $331.50 Read and analyze 10th Circuit Opinion.



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                                                Hours       Rate
 Date               Name             Hours                               Amount         Description
                                               Charged    Requested
05/21/20 Jefferson Holder               0.40         0.00      $0.00            $0.00 Docketing of various E-Filed documents, input of
                                                                                      corresponding dates for responses and submission of legal
                                                                                      documents (motions, stipulations, decisions ) and review of
                                                                                      case information update into the E-Docket Case
                                                                                      Management System. Monitoring (case) status of pending
                                                                                      matters.
07/28/20 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Begin to review petition for certification; email
                                                                                      correspondence with co-counsel.
08/02/20 Angela M. Liu                  0.50        0.50     $250.00          $125.00 Review petition for cert.
08/05/20 Tharuni A. Jayaraman           0.30        0.30     $195.00           $58.50 Team call to discuss case strategy.
08/08/20 Neil A. Steiner                0.20        0.20     $500.00          $100.00 Review draft extension request and email correspondence
                                                                                      with co-counsel regarding same.
08/28/20 Neil A. Steiner                0.50        0.50     $500.00          $250.00 Zoom call with co-counsel re S. Ct cert petition, opposition.

08/28/20 Angela M. Liu                  1.00        1.00     $250.00          $250.00 Call with M. Johnson regarding cert petition
09/23/20 Angela M. Liu                  0.90        0.90     $250.00          $225.00 Review outline for SCOTUS cert opposition.
09/24/20 Angela M. Liu                  0.80        0.80     $250.00          $200.00 Review outline for SCOTUS cert opposition.
09/25/20 Angela M. Liu                  1.00        1.00     $250.00          $250.00 Meeting with co-counsel regarding opposition to Supreme
                                                                                       Court briefing.
09/27/20 Angela M. Liu                  2.30        2.30     $250.00          $575.00 Conduct research and draft SCOTUS brief.
09/28/20 Angela M. Liu                  2.20        2.20     $250.00          $550.00 Draft SCOTUS brief.
09/29/20 Angela M. Liu                  4.90        4.90     $250.00         $1,225.00 Call with D. Cole and D. Ho regarding SCOTUS brief; call with
                                                                                       T. Jayaraman regarding SCOTUS brief; continue to revise
                                                                                       SCOTUS brief.
09/29/20 Tharuni A. Jayaraman           2.90        2.90     $195.00          $565.50 Legal research for opposition to petition for certiorari.
09/30/20 Angela M. Liu                  2.10        2.10     $250.00          $525.00 Continue to research and revise SCOTUS brief.
09/30/20 Tharuni A. Jayaraman           4.90        4.90     $195.00          $955.50 Draft and edit brief.
10/01/20 Angela M. Liu                  0.80        0.80     $250.00          $200.00 Continue to draft opposition to cert.
10/01/20 Tharuni A. Jayaraman           6.20        6.20     $195.00         $1,209.00 Edit opposition brief.
10/02/20 Angela M. Liu                  3.30        3.30     $250.00          $825.00 Draft and research Anderson Burdick framework.
10/02/20 Tharuni A. Jayaraman           3.00        3.00     $195.00          $585.00 Edit opposition; summarize cert petitions.
10/03/20 Angela M. Liu                  4.70        4.70     $250.00         $1,175.00 Research and draft cert opposition.
10/03/20 Tharuni A. Jayaraman           2.40        2.40     $195.00          $468.00 Edit opposition to cert petition (2.20); review rules for
                                                                                       admission to Supreme Court bar (0.30).
10/04/20 Angela M. Liu                  0.40        0.40     $250.00          $100.00 Review cert opposition.


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                                                 Hours       Rate
 Date              Name               Hours                               Amount       Description
                                                Charged    Requested
10/05/20 Angela M. Liu                   1.20         1.20    $250.00         $300.00 Review cert opposition.
10/07/20 Angela M. Liu                   0.30         0.30    $250.00          $75.00 Continue to review cert opposition.
10/08/20 Rebecca Kahan Waldman           0.50         0.50    $500.00         $250.00 Review opinion.

10/09/20 Tharuni A. Jayaraman            1.10        1.10     $195.00         $214.50 Call with co-counsel regarding next steps on opposition to
                                                                                      cert petition.
10/13/20 David H. Kistenbroker           1.20        0.00       $0.00           $0.00 Additional review of district court opinions; study appendix;
                                                                                      continue working on outline of draft opposition to cert.

10/15/20 Rebecca Kahan Waldman           1.70        1.70     $500.00         $850.00 Review documents related to petition for cert.

10/17/20 David H. Kistenbroker           4.00        0.00       $0.00           $0.00 Study district court opinions and appellate court opinions
                                                                                      and legal research regarding same.
10/18/20 David H. Kistenbroker           3.00        0.00       $0.00           $0.00 Study district court opinions and appeal court opinions.
10/19/20 Tharuni A. Jayaraman            1.70        1.70     $195.00         $331.50 Legal research for cert opposition.
10/20/20 Tharuni A. Jayaraman            4.70        4.70     $195.00         $916.50 Legal research for cert opposition.
10/21/20 Tharuni A. Jayaraman            4.30        4.30     $195.00         $838.50 Legal research for cert opposition; draft summary of the
                                                                                      same; review draft cert opposition and propose edits to the
                                                                                      same.
10/22/20 David H. Kistenbroker           4.20        0.00       $0.00           $0.00 Study appendix; study and draft outline for opposition to
                                                                                      certification.
10/22/20 Tharuni A. Jayaraman            1.50        1.50     $195.00         $292.50 Review edits to opposition to cert brief; team call to discuss
                                                                                      opposition to cert brief.
10/23/20 David H. Kistenbroker           3.00        0.00       $0.00           $0.00 Additional review of district court opinions; study appendix;
                                                                                      continue working on outline of draft opposition to cert.

10/23/20 Tharuni A. Jayaraman            0.90        0.90     $195.00         $175.50 Draft summary of team call; legal research for opposition to
                                                                                      cert.
10/25/20 Tharuni A. Jayaraman            4.80        4.80     $195.00         $936.00 Legal research for opposition to cert motion.
10/26/20 Neil A. Steiner                 0.50        0.50     $500.00         $250.00 Numerous emails re cert opposition.
10/26/20 Angela M. Liu                   1.30        1.30     $250.00         $325.00 Review draft of opposition to cert.
10/26/20 Tharuni A. Jayaraman            2.00        2.00     $195.00         $390.00 Legal research for cert opposition.
10/27/20 Angela M. Liu                   0.80        0.80     $250.00         $200.00 Review opposition briefing.
10/27/20 Tharuni A. Jayaraman            0.90        0.90     $195.00         $175.50 Edit opposition to cert brief.
10/28/20 David H. Kistenbroker           3.00        0.00       $0.00           $0.00 Work on revisions to opposition to certification petition.


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                                                   Hours       Rate
  Date               Name              Hours                                Amount        Description
                                                  Charged    Requested
 10/29/20 David H. Kistenbroker            3.20         0.00      $0.00             $0.00 Work on revisions to opposition to certification petition.
 10/29/20 Angela M. Liu                    0.50         0.50    $250.00          $125.00 Opposition to cert petition.
 10/30/20 David H. Kistenbroker            1.50         0.00      $0.00             $0.00 Review opposition to certification and legal research
                                                                                          regarding same.
 10/31/20 Neil A. Steiner                  2.50        2.50     $500.00         $1,250.00 Review and revise opposition to cert; email correspondence
                                                                                          with D. Ho, A. Liu.
 10/31/20 Angela M. Liu                    1.30        1.30     $250.00          $325.00 Review and revise opposition to cert petition.
 10/31/20 Tharuni A. Jayaraman             1.00        1.00     $195.00          $195.00 Edit opposition to cert brief.
 11/02/20 David H. Kistenbroker            2.50        0.00       $0.00             $0.00 Continue studying opposition to certification and legal
                                                                                          research regarding same.
 11/02/20 Angela M. Liu                    0.40        0.40     $250.00          $100.00 Review final draft of brief.
 11/03/20 David H. Kistenbroker            2.00        0.00       $0.00             $0.00 Continue studying opposition to certification and legal
                                                                                          research regarding same.
 11/03/20 Tharuni A. Jayaraman             0.30        0.30     $195.00            $58.50 Review emails; draft correspondence to clients.
 11/16/20 Tharuni A. Jayaraman             0.20        0.20     $195.00            $39.00 Review reply brief.
 12/01/20 Rebecca Kahan Waldman            1.80        1.80     $500.00          $900.00 Review opposition to petition for cert.

 12/14/20 Neil A. Steiner                  0.30        0.30     $500.00       $150.00 Phone conference with A. Liu; email correspondence with co-
                                                                                      counsel.
 12/14/20 Rebecca Kahan Waldman            1.00        1.00     $500.00       $500.00 Correspondence regarding denial of cert petition and
                                                                                      application for fees.
 12/17/20 Neil A. Steiner                  0.20        0.20     $500.00       $100.00 Email correspondence with D. Ho; work on fee application
                                                                                      issues.
TOTAL                                  8,417.52    4,586.22             $1,320,006.50




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                      EXHIBIT 2
                  TO EXHIBIT B
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                               Category                     Amount
Air Fare                                                       $16,790.01
Car Rental Charges                                              $3,410.31
Consultants Fees                                               $28,145.01
Courtlink Search                                                  $888.63
Federal Express and Postage                                     $3,024.83
Filing, Court Costs, Docket, and Subpoena                       $3,434.35
Hotel                                                          $15,937.30
Lexis Accurint and Lexis Search Fees                            $4,109.47
Local Parking Charges                                             $150.00
Meals                                                           $8,919.57
Miscellaneous Expenses                                          $4,103.39
Binding, Copying, and Duplication                               $6,208.48
Pacer Research Fees                                             $4,387.30
Research Fees                                                     $109.10
Search Fees                                                        $74.32
Supplies                                                        $2,589.78
Taxi Fare                                                       $4,995.17
Telephone                                                         $117.70
Toll Charges                                                       $11.50
Train Fare                                                        $383.00
Transcripts and Depositions                                    $17,877.76
Travel (Other)                                                  $1,157.05
Video and Electronic Expenses                                   $2,844.55
Westlaw Search Fees                                             $9,265.60
TOTAL                                                         $138,934.18
